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                 UNITED BEHAVIORAL HEALTH and
           11    UNITED HEALTHCARE INSURANCE COMPANY
           12                                    UNITED STATES DISTRICT COURT

           13                                 NORTHERN DISTRICT OF CALIFORNIA

           14                                            OAKLAND DIVISION

           15    LD, DB, BW, RH and CJ, on behalf of              CASE NO. 4:20-cv-02254
                 themselves and all others similarly situated,
           16                                                     DEFENDANT UNITED BEHAVIORAL
                                        Plaintiffs,               HEALTH’S AND UNITED HEALTHCARE
           17                                                     INSURANCE COMPANY’S RESPONSES
                        v.                                        AND OBJECTIONS TO PLAINTIFF’S
           18                                                     FOURTH SET OF REQUESTS FOR
                 UNITED HEALTHCARE INSURANCE                      PRODUCTION OF DOCUMENTS
           19    COMPANY, a Connecticut Corporation,
                 UNITED BEHAVIORAL HEALTH, a
           20    California Corporation, and MULTIPLAN
                 INC., a New York corporation,
           21
                                        Defendants.
           22

           23    PROPOUNDING PARTY:                    LD, DB, BW, RH and CJ

           24    RESPONDING PARTY:                     UNITED BEHAVIORAL HEALTH and UNITED

           25                                          HEALTHCARE INSURANCE COMPANY

           26    SET NUMBER:                           Four (4)

           27

           28

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            1                                      PRELIMINARY STATEMENT
            2           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Civil Rules
            3    for the United States District Court for the Northern District of California, Defendant United
            4    Behavioral Health (“UBH”) and United Healthcare Insurance Co. (“UHC”) respond to Plaintiffs’
            5    Fourth Set of Requests for Production of Documents (the “Requests” and each individual “Request”).
            6    Pursuant to Federal Rule of Civil Procedure 34(b)(2)(B). As discussed with Plaintiffs’ counsel on
            7    multiple calls, including calls on January 18, 2022 (before these Requests were served) and February
            8    14, 2022 (shortly thereafter), and as the United Defendants again reminded Plaintiffs in email
            9    correspondence on February 28, for the United Defendants to search for and produce call records
           10    Plaintiffs need to target a reasonable number of calls (i.e., 25 calls) and provide specific information
           11    about those calls in Plaintiffs’ possession (i.e., date, time, incoming phone number, and CSA
           12    identity). Even though Plaintiffs have represented repeatedly that they would provide this
           13    information, they have yet to do so. Instead, Plaintiffs’ Requests are for “phone records” related to
           14    87 different member/provider combinations, who collectively submitted more than 1,200 IOP claims
           15    according to the data summary produced in this case, and it would not be feasible to search for,
           16    review, and produce this many call recordings, particularly in the remaining time available for
           17    discovery under the schedule in the case. Additionally, it appears that Plaintiffs have “cherry-picked”
           18    particular member/provider combinations, and the Requests are objectionable on this basis as well.
           19    As framed, Plaintiffs’ Requests are objectionable for all of the reasons stated herein, but the United
           20    Defendants remain willing to conduct a reasonable, good faith search if Plaintiffs can reasonably
           21    tailor their Requests and provide the necessary information that they previously represented they
           22    would provide. UBH and UHC reserve the right to amend, supplement, and correct its objections or
           23    responses as necessary.
           24                                         GENERAL OBJECTIONS
           25           1.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           26    extent it purports to impose obligations on UBH and UHC greater than or beyond those required
           27    under the Federal Rules of Civil Procedure (“Federal Rules”), and the Local Civil Rules of the United
           28

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            1    States District Court for the Northern District of California (“Local Rules”), or the Parties’
            2    anticipated ESI Protocol.
            3           2.      UBH and UHC objects to each and every Request, Definition, and Instruction as
            4    overly broad to the extent it seeks discovery on merits issues outside the scope of the administrative
            5    record for the claims at issue in this case. Plaintiffs’ case involves claims for benefits under ERISA,
            6    and therefore discovery should generally be limited to the administrative record for the claims at
            7    issue. See Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).
            8           3.      UBH and UHC object to each and every Request, Definition, and Instruction to the
            9    extent that it seeks information that is exempt from discovery and protected from disclosure by the
           10    attorney-client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
           11    applicable privilege, doctrine, or protection.
           12           4.      UBH and UHC object to each and every Request, Definition, and Instruction as overly
           13    broad to the extent it seeks information not relevant to the claims or defenses of any party, or
           14    information disproportionate to the needs of the case and of such marginal relevance that its probative
           15    value is substantially outweighed by the burden imposed on UBH and UHC in having to search for
           16    and provide such information.
           17           5.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           18    extent that it seeks proprietary or other confidential information. To the extent any confidential
           19    health information or other sensitive or protected business information is non-privileged and
           20    responsive to the Requests for Production of Documents and not otherwise objectionable, UBH and
           21    UHC will provide such information pursuant to the protections stipulated in the Parties’ protective
           22    order and in accordance with such other procedures as the Parties or Court may establish to protect
           23    sensitive or confidential information. UBH and UHC also reserve the right to redact discrete
           24    categories of especially sensitive information that are not directly relevant to the issues in this case.
           25           6.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           26    extent that the documents requested are already in Plaintiffs’ possession or are available to Plaintiffs
           27    from another source that is more convenient, less burdensome, or less expensive.
           28

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            1           7.      UBH and UHC object to each and every Request, Definition, and Instruction to the
            2    extent it calls for production of documents or electronic information that would be unduly
            3    burdensome.
            4           8.      UBH and UHC object to each and every Request, Definition, and Instruction to the
            5    extent it calls for production of electronic information that is not reasonably accessible, including any
            6    archived data or backup tapes that would be unduly burdensome to search or restore.
            7           9.      UBH and UHC object to each and every Request, Definition, and Instruction to the
            8    extent that it implicates the privacy interests of third parties established by law, contract, or custom.
            9    This includes, but is not limited to, information covered by the Health Insurance Portability and
           10    Accountability Act, and in particular sensitive health information regarding the mental health and
           11    substance abuse conditions and treatments of participants and beneficiaries who are not named
           12    Plaintiffs in this case. To the extent any confidential health information is non-privileged and
           13    responsive to the Requests and not otherwise objectionable, UBH and UHC will provide such
           14    documents and information pursuant to the Protective Order, and reserves the right to redact
           15    identifiers and other patient-specific information as well.
           16           10.     UBH and UHC object to each and every Request, Definition, and Instruction to the
           17    extent that it seeks documents outside of UBH’s and UHC’s possession, custody, and control,
           18    including to the extent any Requests seek information from a “United” entity other than UBH and
           19    UHC.
           20           11.     Nothing contained herein or provided in response to the Requests consists of, or
           21    should be construed as, an admission relating to the accuracy, relevance, existence, or nonexistence
           22    of any alleged facts or information referenced in any Requests. By indicating that it will produce
           23    non-objectionable, non-privileged responsive documents, UBH and UHC does not make a
           24    representation that such documents exist or are in UBH’s and UHC’s possession, but only that UBH
           25    and UHC will conduct the reasonable searches indicated for the documents sought.
           26           12.     UBH and UHC objects to each and every Request, Definition, and Instruction to the
           27    extent that it seeks documents outside of the relevant scope of discovery and statute of limitations for
           28    this case which is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims.

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            1    See Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238
            2    F.3d 1006, 1108 (9th Cir. 2001). In the event that UBH and UHC agree to produce documents
            3    outside of the April 2, 2016 to present timeframe—the governing statute of limitations in this case—
            4    such agreement should be deemed limited to that specific Request and is not to be construed as a
            5    waiver or admission of any kind.
            6           13.     UBH and UHC object to each and every Request, Definition, and Instruction to the
            7    extent that it is overly broad, unduly burdensome, and imposes substantial, unjustifiable, and
            8    significant discovery costs and search burdens on UBH and UHC.
            9           14.     Inadvertent production or identification of documents or communications that are
           10    privileged or otherwise immune from discovery shall not constitute a waiver of any such claim with
           11    respect to the disclosed documents or communications or any other documents or communications or
           12    of the right of UBH and UHC to object to the use of any such documents or the subject matter thereof
           13    during subsequent proceedings. In the event of inadvertent disclosure of such documents, Plaintiff
           14    will return the documents to UBH and UHC and will be precluded from disclosing or relying upon
           15    such documents in any way.
           16           15.     All the General Objections contained herein and Objections to Definitions and
           17    Instructions are expressly incorporated into each of the responses set forth below.
           18                                     OBJECTIONS TO DEFINITIONS
           19           1.      UBH and UHC object to Plaintiffs’ definition of “Defendants” on the ground that it is
           20    vague and ambiguous. In particular, Plaintiffs purport to exclude Defendant United Healthcare
           21    Insurance Company. UBH and UHC will respond to these Requests for Production of Documents on
           22    behalf of United Behavioral Health and UnitedHealthcare Insurance Company, which are the named
           23    defendants in this case.
           24           2.      UBH and UHC object to Plaintiffs’ definition of “United” (as well as “You” and
           25    “Your”) on the ground that it is vague, ambiguous, overly broad and unduly burdensome. In
           26    particular, Plaintiffs purport to sweep in various distinct persons and entities through this definition
           27    who are not proper parties to this case and not properly subject to discovery. UBH and UHC will
           28

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            1    respond to these Requests for Production of Documents on behalf of United Behavioral Health and
            2    UnitedHealthcare Insurance Company, which are the named defendants in this case
            3           3.      UBH and UHC object to Plaintiffs’ definition of “person” on the ground that it is
            4    overly broad and unduly burdensome. In particular, Plaintiffs purport to sweep in various distinct
            5    persons and entities through this definition who are not proper parties to this case and not properly
            6    subject to discovery. UBH and UHC will respond to these Requests for Production of Documents on
            7    behalf of United Behavioral Health and UnitedHealthcare Insurance Company, which are the named
            8    defendants in this case
            9           4.      UBH and UHC object to Plaintiffs’ definition of “document(s)” to the extent that it
           10    seeks to impose obligations on UBH and UHC beyond those required by the Federal rules. UBH and
           11    UHC further object to this definition to the extent it calls for production of electronic information that
           12    is not reasonably accessible, including any archived data or backup tapes that would be unduly
           13    burdensome to search or restore. UBH and UHC will use the definition of “documents” set out in
           14    Federal Rule 34.
           15           5.      UBH and UHC object to Plaintiffs’ definition of “Verification of benefits” and “VOB”
           16    to the extent it assumes that benefits were “verified.” UBH and UHC further object that this
           17    definition is vague, ambiguous, and overly broad in that it appears to refer to unlimited forms of
           18    communication.
           19           6.      UBH and UHC object to Plaintiffs’ definition of “Prior authorization” to the extent it
           20    assumes that “approval” or “authorization” was obtained. UBH and UHC further object that this
           21    definition is vague, ambiguous, and overly broad in that it appears to refer to unlimited forms of
           22    communication.
           23           7.      UBH and UHC object to Plaintiffs’ definition of “Utilization review” on the grounds
           24    that this definition is vague, ambiguous, and overly broad in that it appears to refer to unlimited forms
           25    of communication.
           26

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            1                                   OBJECTIONS TO INSTRUCTIONS
            2           1.      UBH and UHC object to Plaintiffs’ failure to number the Instructions. For purposes of
            3    clarity in responding and objecting to Plaintiffs’ Instructions, UBH and UHC have assigned a number
            4    to each Instruction based on the Instruction’s paragraph break.
            5           2.      UBH and UHC object to Plaintiffs’ Instruction 1 to the extent it seeks documents that
            6    are exempt from discovery and protected from disclosure by the attorney-client privilege, the attorney
            7    work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine or
            8    protection.
            9           3.      UBH and UHC object to Plaintiffs’ Instruction 2 that Defendants “must make a
           10    diligent search of your records and of other papers and materials in your possession or available to
           11    you or your representatives” to the extent that this Instruction seeks to impose obligations on UBH
           12    and UHC beyond those required by the Federal Rules. UBH and UHC further object to Instruction 2
           13    to the extent it calls for the production of information outside of UBH’s and UHC’s possession,
           14    custody, and control and includes documents that may already be in Plaintiffs’ possession or are
           15    available to Plaintiffs from another source that is more convenient, less burdensome, or less
           16    expensive.
           17           4.      UBH and UHC object to Plaintiffs’ Instruction 4 to the extent it requires Defendants to
           18    “[i]dentify the portion to which you cannot respond; state the reason for your inability to respond to
           19    it; and provide whatever materials you possess regarding that portion.” Where UBH and UHC are
           20    unable to fully respond to a request, UBH and UHC will state the reason for its inability to respond,
           21    and otherwise reserves the right to meet and confer.
           22           5.      UBH and UHC object to Plaintiffs’ Instruction 5 to the extent it purports to confer
           23    obligations on UBH and UHC beyond what the Parties have agreed to in their ESI protocol.
           24           6.      UBH and UHC object to Plaintiffs’ Instruction 6 to the extent that this Instruction
           25    seeks to impose obligations on UBH and UHC beyond those required by the Federal Rules.
           26           7.      UBH and UHC object to Plaintiffs’ Instruction 7 that “you should identify the relevant
           27    Bates or reference number (or range of numbers) that corresponds” on the ground that such obligation
           28    would be unduly burdensome given the broad scope and number of the requests.

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            1           8.      UBH and UHC object to Plaintiffs’ Instruction 8 that the “time period encompassed by
            2    each Request for Production is the same as the time period relevant to the allegations in the
            3    Complaint” to the extent that this Instruction includes periods outside the relevant scope of discovery
            4    and statute of limitations for this case which, unless otherwise noted in the specific responses below,
            5    is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims. See Withrow v.
            6    Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238 F.3d 1006, 1108
            7    (9th Cir. 2001).
            8           9.      UBH and UHC object to Plaintiffs’ Instruction 9 that each request be deemed
            9    “continuing in nature” on the ground that such obligation would be unduly burdensome given the
           10    broad scope and number of the requests.
           11         SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
           12    REQUEST NO. 1:
           13           Any and all recordings of phone calls between United and THE EDGE TREATMENT
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00000371574. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 1:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 2:
           27           Any and all recordings of phone calls between United and WESTSIDE TREATMENT, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00001314949. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 2:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 3:
           13           Any and all recordings of phone calls between United and SILICON BEACH OP LLC, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00023139900. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 3:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 4:
           27           Any and all recordings of phone calls between United and SILICON BEACH OP LLC, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00023139903. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 4:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 5:
           13           Any and all recordings of phone calls between United and RECOVERY UNPLUGGED
           14    ENCORE, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00049856700. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 5:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 6:
           27           Any and all recordings of phone calls between United and EMBARK RECOVERY, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00611584800. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 6:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 7:
           13           Any and all recordings of phone calls between United and OCEAN BREEZE RECOVERY
           14    LLC LLC, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00803377277. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 7:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 8:
           27           Any and all recordings of phone calls between United and HIGH WATCH RECOVERY
           28    CENTER INC, or its representatives, related to the member identified on your claims report

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            1    production with MEMBER_ALT_ID 00803433562. This request includes the verification/eligibility
            2    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
            3    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
            4    services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 8:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9            Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 9:
           13            Any and all recordings of phone calls between United and TRANSFORMATION
           14    TREATMENT CENTER INC INC, or its representatives, related to the member identified on your
           15    claims report production with MEMBER_ALT_ID 00806080045. This request includes the
           16    verification/eligibility of benefits call and all subsequent utilization review, pre-certification or prior
           17    authorization calls, as well any other calls (such as claim dispute, appeal or inquiry calls), related to
           18    this member and the services they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 9:
           20            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 10:
           27           Any and all recordings of phone calls between United and OCEAN BREEZE RECOVERY
           28    LLC LLC, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00808361210. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 10:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 11:
           13           Any and all recordings of phone calls between United and SHORELINE RECOVERY
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00810273004. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 11:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 12:
           27           Any and all recordings of phone calls between United and PACIFIC RECOVERY
           28    SOLUTIONS, or its representatives, related to the member identified on your claims report

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            1    production with MEMBER_ALT_ID 00823248387. This request includes the verification/eligibility
            2    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
            3    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
            4    services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 12:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 13:
           13           Any and all recordings of phone calls between United and ARISE RECOVERY CENTERS
           14    OF AMERICA LLC, or its representatives, related to the member identified on your claims report
           15    production with MEMBER_ALT_ID 00829849663. This request includes the verification/eligibility
           16    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
           17    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
           18    services they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 13:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 14:
           27           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           28    CENTER, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00831138754. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 14:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 15:
           13           Any and all recordings of phone calls between United and SUMMIT AT FLORHAM PARK
           14    LLC, or its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00836327606. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 15:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 16:
           27           Any and all recordings of phone calls between United and BRIDGING THE GAPS, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00838324198. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 16:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 17:
           13           Any and all recordings of phone calls between United and AUGUSTINE RECOVERY
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00843472685. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 17:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 18:
           27           Any and all recordings of phone calls between United and HIGH WATCH RECOVERY
           28    CENTER INC, or its representatives, related to the member identified on your claims report

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            1    production with MEMBER_ALT_ID 00843696068. This request includes the verification/eligibility
            2    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
            3    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
            4    services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 18:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 19:
           13           Any and all recordings of phone calls between United and SAGEBRUSH, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00867126787. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 19:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 20:
           27           Any and all recordings of phone calls between United and MONARCH SHORES, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00876698069. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 20:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 21:
           13           Any and all recordings of phone calls between United and AQUILA RECOVERY INC, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00877312318. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 21:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 22:
           27           Any and all recordings of phone calls between United and 449 RECOVERY INC, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00900605473. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 22:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 23:
           13           Any and all recordings of phone calls between United and FOOTPRINTS TO RECOVERY,
           14    or its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00900713556. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 23:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 24:
           27           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           28    CENTER, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00903573655. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 24:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 25:
           13           Any and all recordings of phone calls between United and AQUILA RECOVERY INC, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00906146417. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 25:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 26:
           27           Any and all recordings of phone calls between United and WESTSIDE TREATMENT, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00906519368. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 26:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 27:
           13           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00907326522. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 27:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 28:
           27           Any and all recordings of phone calls between United and OCEAN BREEZE RECOVERY
           28    LLC LLC, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00909309712. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 28:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 29:
           13           Any and all recordings of phone calls between United and MONARCH SHORES, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00910388432. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 29:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 30:
           27           Any and all recordings of phone calls between United and CASA RECOVERY INC, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00910503370. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 30:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 31:
           13           Any and all recordings of phone calls between United and SEA CHANGE STA MONICA
           14    LP, or its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00913267265. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 31:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 32:
           27           Any and all recordings of phone calls between United and BUCKEYE RECOVERY
           28    NETWORK LLC, or its representatives, related to the member identified on your claims report

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            1    production with MEMBER_ALT_ID 00914028074. This request includes the verification/eligibility
            2    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
            3    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
            4    services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 32:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 33:
           13           Any and all recordings of phone calls between United and AUGUSTINE RECOVERY
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00914150600. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 33:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 34:
           27           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           28    CENTER, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00916273392. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 34:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 35:
           13           Any and all recordings of phone calls between United and ARISE RECOVERY CENTERS
           14    OF AMERICA LLC, or its representatives, related to the member identified on your claims report
           15    production with MEMBER_ALT_ID 00916825497. This request includes the verification/eligibility
           16    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
           17    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
           18    services they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 35:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 36:
           27           Any and all recordings of phone calls between United and PACIFIC RECOVERY
           28    SOLUTIONS, or its representatives, related to the member identified on your claims report

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            1    production with MEMBER_ALT_ID 00919034770. This request includes the verification/eligibility
            2    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
            3    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
            4    services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 36:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 37:
           13           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00919776590. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 37:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 38:
           27           Any and all recordings of phone calls between United and OMEGA RECOVERY, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00920103417. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 38:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 39:
           13           Any and all recordings of phone calls between United and SALS RECOVERY CENTER
           14    LLC, or its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00920195984. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 39:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 40:
           27           Any and all recordings of phone calls between United and PATHWAY TO HOPE, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00920940449. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 40:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 41:
           13           Any and all recordings of phone calls between United and PCI WEST LAKE CENTER, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00921842279. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 41:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 42:
           27           Any and all recordings of phone calls between United and PATHWAY TO HOPE, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00922024974. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 42:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9            Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 43:
           13            Any and all recordings of phone calls between United and TRANSFORMATION
           14    TREATMENT CENTER INC INC, or its representatives, related to the member identified on your
           15    claims report production with MEMBER_ALT_ID 00924458450. This request includes the
           16    verification/eligibility of benefits call and all subsequent utilization review, pre-certification or prior
           17    authorization calls, as well any other calls (such as claim dispute, appeal or inquiry calls), related to
           18    this member and the services they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 43:
           20            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 44:
           27           Any and all recordings of phone calls between United and AQUILA RECOVERY CLINIC,
           28    or its representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00925194151. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 44:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 45:
           13           Any and all recordings of phone calls between United and TRANSFORMATIONS BY THE
           14    GULF, or its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00926400679. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 45:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 46:
           27           Any and all recordings of phone calls between United and STEPPING STONE OF SAN
           28    DIEGO, INC., or its representatives, related to the member identified on your claims report

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            1    production with MEMBER_ALT_ID 00926598613. This request includes the verification/eligibility
            2    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
            3    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
            4    services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 46:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 47:
           13           Any and all recordings of phone calls between United and DESERT COVE RECOVERY
           14    CENTER LLC, or its representatives, related to the member identified on your claims report
           15    production with MEMBER_ALT_ID 00927338851. This request includes the verification/eligibility
           16    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
           17    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
           18    services they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 47:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 48:
           27           Any and all recordings of phone calls between United and DESERT COVE RECOVERY
           28    CENTER LLC, or its representatives, related to the member identified on your claims report

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            1    production with MEMBER_ALT_ID 00928705921. This request includes the verification/eligibility
            2    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
            3    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
            4    services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 48:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9            Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 49:
           13            Any and all recordings of phone calls between United and CALIFORNIA PRIME
           14    RECOVERY SERVICES INC, or its representatives, related to the member identified on your claims
           15    report production with MEMBER_ALT_ID 00929014421. This request includes the
           16    verification/eligibility of benefits call and all subsequent utilization review, pre-certification or prior
           17    authorization calls, as well any other calls (such as claim dispute, appeal or inquiry calls), related to
           18    this member and the services they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 49:
           20            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 50:
           27           Any and all recordings of phone calls between United and SHORELINE RECOVERY
           28    CENTER, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00929341187. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 50:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 51:
           13           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00929466977. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 51:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 52:
           27           Any and all recordings of phone calls between United and CLEAR RECOVERY INC, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00929724242. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 52:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 53:
           13           Any and all recordings of phone calls between United and SEA CHANGE RECOVERY, or
           14    its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00930025361. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 53:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 54:
           27           Any and all recordings of phone calls between United and EMBARK RECOVERY, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00932031073. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 54:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 55:
           13           Any and all recordings of phone calls between United and WEST COAST RECOVERY
           14    CENTER LLC, or its representatives, related to the member identified on your claims report
           15    production with MEMBER_ALT_ID 00933053310. This request includes the verification/eligibility
           16    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
           17    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
           18    services they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 55:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 56:
           27           Any and all recordings of phone calls between United and THE EDGE TREATMENT
           28    CENTER, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00933073093. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 56:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 57:
           13           Any and all recordings of phone calls between United and PATHWAY TO HOPE, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00935433322. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 57:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 58:
           27           Any and all recordings of phone calls between United and WESTSIDE TREATMENT, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00936471950. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 58:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 59:
           13           Any and all recordings of phone calls between United and THE EDGE TREATMENT
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00943979982. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 59:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 60:
           27           Any and all recordings of phone calls between United and MONARCH SHORES, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00945068167. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 60:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 61:
           13           Any and all recordings of phone calls between United and SAGEBRUSH, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00946646309. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 61:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 62:
           27           Any and all recordings of phone calls between United and OCEAN BREEZE RECOVERY
           28    LLC LLC, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00947615779. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 62:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 63:
           13           Any and all recordings of phone calls between United and EMBARK RECOVERY, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00947646442. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 63:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 64:
           27           Any and all recordings of phone calls between United and OMEGA RECOVERY, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00948253331. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 64:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 65:
           13           Any and all recordings of phone calls between United and BRIDGING THE GAPS, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00949489123. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 65:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 66:
           27           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           28    CENTER, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00949798800. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 66:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 67:
           13           Any and all recordings of phone calls between United and THE EDGE TREATMENT
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00951448603. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 67:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 68:
           27           Any and all recordings of phone calls between United and CALIFORNIA PRIME
           28    RECOVERY SERVICES INC, or its representatives, related to the member identified on your claims

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            1    report production with MEMBER_ALT_ID 00952120516. This request includes the
            2    verification/eligibility of benefits call and all subsequent utilization review, pre-certification or prior
            3    authorization calls, as well any other calls (such as claim dispute, appeal or inquiry calls), related to
            4    this member and the services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 68:
            6            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 69:
           13           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00952777284. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 69:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 70:
           27           Any and all recordings of phone calls between United and FOOTPRINTS TO RECOVERY,
           28    or its representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00954754083. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 70:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 71:
           13           Any and all recordings of phone calls between United and GOOD LANDING RECOVERY
           14    CORP, or its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00958510794. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 71:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 72:
           27           Any and all recordings of phone calls between United and WESTSIDE TREATMENT, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00959501384. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 72:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 73:
           13           Any and all recordings of phone calls between United and CASA RECOVERY INC, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00959885725. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 73:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 74:
           27           Any and all recordings of phone calls between United and FOOTPRINTS TO RECOVERY,
           28    or its representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00960459791. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 74:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 75:
           13           Any and all recordings of phone calls between United and BRIDGING THE GAPS, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00960679481. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 75:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 76:
           27           Any and all recordings of phone calls between United and OCEAN BREEZE RECOVERY
           28    LLC LLC, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00965503758. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 76:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 77:
           13           Any and all recordings of phone calls between United and PACIFIC RECOVERY
           14    SOLUTIONS, or its representatives, related to the member identified on your claims report
           15    production with MEMBER_ALT_ID 00966703288. This request includes the verification/eligibility
           16    of benefits call and all subsequent utilization review, pre-certification or prior authorization calls, as
           17    well any other calls (such as claim dispute, appeal or inquiry calls), related to this member and the
           18    services they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 77:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 78:
           27           Any and all recordings of phone calls between United and PATHWAY TO HOPE, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00966743694. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 78:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 79:
           13           Any and all recordings of phone calls between United and SUMMIT AT FLORHAM PARK
           14    LLC, or its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00968736096. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 79:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 80:
           27           Any and all recordings of phone calls between United and CASA RECOVERY INC, or its
           28    representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00969266183. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 80:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 81:
           13           Any and all recordings of phone calls between United and RECOVER INTEGRITY LLC, or
           14    its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00971763607. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 81:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 82:
           27           Any and all recordings of phone calls between United and THE EDGE TREATMENT
           28    CENTER, or its representatives, related to the member identified on your claims report production

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            1    with MEMBER_ALT_ID 00971990746. This request includes the verification/eligibility of benefits
            2    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
            3    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
            4    they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 82:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 83:
           13           Any and all recordings of phone calls between United and SUMMIT ESTATE RECOVERY
           14    CENTER, or its representatives, related to the member identified on your claims report production
           15    with MEMBER_ALT_ID 00975814665. This request includes the verification/eligibility of benefits
           16    call and all subsequent utilization review, pre-certification or prior authorization calls, as well any
           17    other calls (such as claim dispute, appeal or inquiry calls), related to this member and the services
           18    they received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 83:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 84:
           27           Any and all recordings of phone calls between United and TRANSFORMATION
           28    TREATMENT CENTER INC INC, or its representatives, related to the member identified on your

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            1    claims report production with MEMBER_ALT_ID 00977839683. This request includes the
            2    verification/eligibility of benefits call and all subsequent utilization review, pre-certification or prior
            3    authorization calls, as well any other calls (such as claim dispute, appeal or inquiry calls), related to
            4    this member and the services they received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 84:
            6            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 85:
           13           Any and all recordings of phone calls between United and PATHWAY TO HOPE, or its
           14    representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00978022192. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 85:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
           26    REQUEST NO. 86:
           27           Any and all recordings of phone calls between United and FOOTPRINTS TO RECOVERY,
           28    or its representatives, related to the member identified on your claims report production with

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            1    MEMBER_ALT_ID 00978534002. This request includes the verification/eligibility of benefits call
            2    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
            3    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
            4    received from this provider in your possession.
            5    RESPONSE TO REQUEST NO. 86:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           10    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           11    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           12    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           13    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           14    HIPAA for seeking information about irrelevant treatments to putative class members who are not
           15    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
           16    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
           17    members, and instead seeks information about phone calls by providers (or unidentified
           18    “representatives”) even though they are not parties to this case and provider claims previously were
           19    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
           20    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
           21    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
           22    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
           23    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           24    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           25    the phone numbers, dates, and other specific information that could be used to search for particular
           26    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           27    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           28    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to

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            1    the data summary produced in this case, and it would not be feasible to search for, review, and
            2    produce this many call recordings, particularly in the remaining time available for discovery under
            3    the schedule in the case. Furthermore, the member/provider combinations appear to have been
            4    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
            5    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
            6    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
            7    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
            8    what can be located and produced relevant to the claims at issue in this case and these Requests.
            9           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           10    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           11    call recordings in the manner previously discussed, as described above.
           12    REQUEST NO. 87:
           13           Any and all recordings of phone calls between United and TRANSFORMATIONS BY THE
           14    GULF, or its representatives, related to the member identified on your claims report production with
           15    MEMBER_ALT_ID 00979839706. This request includes the verification/eligibility of benefits call
           16    and all subsequent utilization review, pre-certification or prior authorization calls, as well any other
           17    calls (such as claim dispute, appeal or inquiry calls), related to this member and the services they
           18    received from this provider in your possession.
           19    RESPONSE TO REQUEST NO. 87:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
           22    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    calls about topics other than the reimbursement amount for out-of-network claims for intensive
           25    outpatient programs to treat substance abuse for which reimbursement rates were calculated using
           26    Viant’s OPR product. By requesting information about irrelevant calls and treatments, Plaintiffs’
           27    requests not only are objectionable under the Federal Rules, but they are also objectionable under
           28    HIPAA for seeking information about irrelevant treatments to putative class members who are not

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            1    named plaintiffs or otherwise parties in the case. UBH and UHC further object to this Request on the
            2    ground that it seeks information about phone calls not involving Plaintiffs or any putative class
            3    members, and instead seeks information about phone calls by providers (or unidentified
            4    “representatives”) even though they are not parties to this case and provider claims previously were
            5    dismissed by the Court. UBH and UHC further object to this Request on the grounds that it is vague
            6    and ambiguous as to the terms “verification/eligibility of benefits call,” “utilization review,” “pre-
            7    certification,” and “prior authorization.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “recordings of phone calls” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request (i.e., by
           10    provider or member name). Plaintiffs’ counsel previously stated that they could and would provide
           11    the phone numbers, dates, and other specific information that could be used to search for particular
           12    phone calls that Plaintiffs view as relevant, but they have yet to do so. UBH and UHC further object
           13    on the basis that, as framed, Plaintiffs appear to be seeking “phone records” for 87 different
           14    member/provider combinations, who collectively submitted more than 1,200 IOP claims according to
           15    the data summary produced in this case, and it would not be feasible to search for, review, and
           16    produce this many call recordings, particularly in the remaining time available for discovery under
           17    the schedule in the case. Furthermore, the member/provider combinations appear to have been
           18    “cherrypicked” based on counsel’s relationships with particular treatment centers and/or provider
           19    organizations. Counsel previously have discussed that Plaintiffs’ counsel should identify a
           20    manageable and appropriate subset (25 calls) to prioritize in any search, and provide the available
           21    details in Plaintiffs’ counsel’s possession related to these calls, so that UBH and UHC can explore
           22    what can be located and produced relevant to the claims at issue in this case and these Requests.
           23           Subject to and without waiving the foregoing general and specific objections, UBH and UHC
           24    remain willing to meet and confer with Plaintiffs on a potential search and production of available
           25    call recordings in the manner previously discussed, as described above.
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            1    Dated: February 28, 2022
            2                                         GIBSON, DUNN & CRUTCHER LLP
            3

            4                                         By: /s/ Geoffrey Sigler
                                                              Geoffrey Sigler (admitted pro hac vice)
            5

            6                                         Attorneys for Defendant
                                                      UNITED BEHAVIORAL HEALTH and UNITED
            7                                         HEALTHCARE INSURANCE COMPANY
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            1                                        CERTIFICATE OF SERVICE
            2           I, hereby certify that on this 28th day of February 2022, pursuant to an agreement of the parties
                 dated April 23, 2021, a copy of the foregoing was served via email to the following:
            3
                        Matthew M. Lavin, Esq. (pro hac vice)
            4           Aaron Richard Modiano (pro hac vice)
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            9           DL Law Group
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           10           San Francisco, CA 94102
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           12

           13
                                                                /s/ Geoffrey Sigler
           14                                                                         Geoffrey M. Sigler
           15

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                 UNITED BEHAVIORAL HEALTH and
           12    UNITED HEALTHCARE INSURANCE COMPANY
           13                                    UNITED STATES DISTRICT COURT

           14                                 NORTHERN DISTRICT OF CALIFORNIA

           15                                            OAKLAND DIVISION

           16    LD, DB, BW, RH and CJ, on behalf of              CASE NO. 4:20-cv-02254
                 themselves and all others similarly situated,
           17                                                     DEFENDANT UNITED BEHAVIORAL
                                        Plaintiffs,               HEALTH’S AND UNITED HEALTHCARE
           18                                                     INSURANCE COMPANY’S RESPONSES
                        v.                                        AND OBJECTIONS TO PLAINTIFF’S
           19                                                     FIFTH SET OF REQUESTS FOR
                 UNITED HEALTHCARE INSURANCE                      PRODUCTION OF DOCUMENTS
           20    COMPANY, a Connecticut Corporation,
                 UNITED BEHAVIORAL HEALTH, a
           21    California Corporation, and MULTIPLAN
                 INC., a New York corporation,
           22
                                        Defendants.
           23

           24    PROPOUNDING PARTY:                    LD, DB, BW, RH and CJ

           25    RESPONDING PARTY:                     UNITED BEHAVIORAL HEALTH and UNITED

           26                                          HEALTHCARE INSURANCE COMPANY

           27    SET NUMBER:                           Five (5)

           28

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            1                                       PRELIMINARY STATEMENT
            2           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Civil Rules
            3    for the United States District Court for the Northern District of California, Defendant United
            4    Behavioral Health (“UBH”) and United Healthcare Insurance Co. (“UHC”) respond to Plaintiffs’
            5    Fifth Set of Requests for Production of Documents (the “Requests” and each individual “Request”).
            6    Plaintiffs’ Requests are objectionable for all of the reasons stated herein but in particular, because
            7    they seek information and documents already sought from third parties via Rule 45 subpoenas, as
            8    well as through discovery requests previously propounded by Plaintiffs on UBH and UHC. To the
            9    extent Plaintiffs’ Requests seek documents already requested from Defendants, UBH and UHC will
           10    continue the rolling production of documents UBH and UHC have already agreed to produce, as
           11    described in the responses below. UBH and UHC remain willing to promptly and reasonably resolve
           12    the objections and other issues set out below through a meet-and-confer that should be scheduled
           13    shortly after Plaintiffs’ counsel have had an opportunity to review these responses. UBH and UHC
           14    reserve the right to amend, supplement, and correct their objections or responses as necessary.
           15                                          GENERAL OBJECTIONS
           16           1.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           17    extent it purports to impose obligations on UBH and UHC greater than or beyond those required
           18    under the Federal Rules of Civil Procedure (“Federal Rules”), and the Local Civil Rules of the United
           19    States District Court for the Northern District of California (“Local Rules”), or the Parties’
           20    anticipated ESI Protocol.
           21           2.      UBH and UHC objects to each and every Request, Definition, and Instruction as
           22    overly broad to the extent it seeks discovery on merits issues outside the scope of the administrative
           23    record for the claims at issue in this case. Plaintiffs’ case involves claims for benefits under ERISA,
           24    and therefore discovery should generally be limited to the administrative record for the claims at
           25    issue. See Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).
           26           3.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           27    extent that it seeks information that is exempt from discovery and protected from disclosure by the
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            1    attorney-client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
            2    applicable privilege, doctrine, or protection.
            3           4.      UBH and UHC object to each and every Request, Definition, and Instruction as overly
            4    broad to the extent it seeks information not relevant to the claims or defenses of any party, or
            5    information disproportionate to the needs of the case and of such marginal relevance that its probative
            6    value is substantially outweighed by the burden imposed on UBH and UHC in having to search for
            7    and provide such information.
            8           5.      UBH and UHC object to each and every Request, Definition, and Instruction to the
            9    extent that it seeks proprietary or other confidential information. To the extent any confidential
           10    health information or other sensitive or protected business information is non-privileged and
           11    responsive to the Requests for Production of Documents and not otherwise objectionable, UBH and
           12    UHC will provide such information pursuant to the protections stipulated in the Parties’ protective
           13    order and in accordance with such other procedures as the Parties or Court may establish to protect
           14    sensitive or confidential information. UBH and UHC also reserve the right to redact discrete
           15    categories of especially sensitive information that are not directly relevant to the issues in this case.
           16           6.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           17    extent that the documents requested are already in Plaintiffs’ possession or are available to Plaintiffs
           18    from another source that is more convenient, less burdensome, or less expensive.
           19           7.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           20    extent it calls for production of documents or electronic information that would be unduly
           21    burdensome.
           22           8.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           23    extent it calls for production of electronic information that is not reasonably accessible, including any
           24    archived data or backup tapes that would be unduly burdensome to search or restore.
           25           9.      UBH and UHC object to each and every Request, Definition, and Instruction to the
           26    extent that it implicates the privacy interests of third parties established by law, contract, or custom.
           27    This includes, but is not limited to, information covered by the Health Insurance Portability and
           28    Accountability Act, and in particular sensitive health information regarding the mental health and

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            1    substance abuse conditions and treatments of participants and beneficiaries who are not named
            2    Plaintiffs in this case. To the extent any confidential health information is non-privileged and
            3    responsive to the Requests and not otherwise objectionable, UBH and UHC will provide such
            4    documents and information pursuant to the Protective Order, and reserves the right to redact
            5    identifiers and other patient-specific information as well.
            6            10.    UBH and UHC object to each and every Request, Definition, and Instruction to the
            7    extent that it seeks documents outside of UBH’s and UHC’s possession, custody, and control,
            8    including to the extent any Requests seek information from a “United” entity other than UBH and
            9    UHC.
           10            11.    Nothing contained herein or provided in response to the Requests consists of, or
           11    should be construed as, an admission relating to the accuracy, relevance, existence, or nonexistence
           12    of any alleged facts or information referenced in any Requests. By indicating that it will produce
           13    non-objectionable, non-privileged responsive documents, UBH and UHC does not make a
           14    representation that such documents exist or are in UBH’s and UHC’s possession, but only that UBH
           15    and UHC will conduct the reasonable searches indicated for the documents sought.
           16            12.    UBH and UHC objects to each and every Request, Definition, and Instruction to the
           17    extent that it seeks documents outside of the relevant scope of discovery and statute of limitations for
           18    this case which is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims.
           19    See Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238
           20    F.3d 1006, 1108 (9th Cir. 2001). In the event that UBH and UHC agree to produce documents
           21    outside of the April 2, 2016 to present timeframe—the governing statute of limitations in this case—
           22    such agreement should be deemed limited to that specific Request and is not to be construed as a
           23    waiver or admission of any kind.
           24            13.    UBH and UHC object to each and every Request, Definition, and Instruction to the
           25    extent that it is overly broad, unduly burdensome, and imposes substantial, unjustifiable, and
           26    significant discovery costs and search burdens on UBH and UHC.
           27            14.    Inadvertent production or identification of documents or communications that are
           28    privileged or otherwise immune from discovery shall not constitute a waiver of any such claim with

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            1    respect to the disclosed documents or communications or any other documents or communications or
            2    of the right of UBH and UHC to object to the use of any such documents or the subject matter thereof
            3    during subsequent proceedings. In the event of inadvertent disclosure of such documents, Plaintiff
            4    will return the documents to UBH and UHC and will be precluded from disclosing or relying upon
            5    such documents in any way.
            6           15.     All the General Objections contained herein and Objections to Definitions and
            7    Instructions are expressly incorporated into each of the responses set forth below.
            8                                     OBJECTIONS TO DEFINITIONS
            9           1.      UBH and UHC object to Plaintiffs’ definition of “Defendants” on the ground that it is
           10    vague and ambiguous.
           11           2.      UBH and UHC object to Plaintiffs’ definition of “United” (as well as “You” and
           12    “Your”) on the ground that it is vague, ambiguous, overly broad and unduly burdensome. In
           13    particular, Plaintiffs purport to sweep in various distinct persons and entities through this definition
           14    who are not proper parties to this case and not properly subject to discovery. UBH and UHC will
           15    respond to these Requests for Production of Documents on behalf of United Behavioral Health and
           16    UnitedHealthcare Insurance Company, which are the named defendants in this case.
           17           3.      UBH and UHC object to Plaintiffs’ definition of “person” on the ground that it is
           18    overly broad and unduly burdensome. In particular, Plaintiffs purport to sweep in various distinct
           19    persons and entities through this definition who are not proper parties to this case and not properly
           20    subject to discovery. UBH and UHC will respond to these Requests for Production of Documents on
           21    behalf of United Behavioral Health and UnitedHealthcare Insurance Company, which are the named
           22    defendants in this case.
           23           4.      UBH and UHC object to Plaintiffs’ definition of “document(s)” to the extent that it
           24    seeks to impose obligations on UBH and UHC beyond those required by the Federal rules. UBH and
           25    UHC further object to this definition to the extent it calls for production of electronic information that
           26    is not reasonably accessible, including any archived data or backup tapes that would be unduly
           27    burdensome to search or restore. UBH and UHC will use the definition of “documents” set out in
           28    Federal Rule 34.

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            1           5.      UBH and UHC object to Plaintiffs’ definition of “Administrative Service Agreement”
            2    on the grounds that this definition is vague, ambiguous, and overly broad. For example, the
            3    definition uses the phrase “including affiliated and associated entities,” and could be interpreted as
            4    seeking amendments irrelevant to the issues in the case. Any productions of Administrative Services
            5    Agreements by UBH or UHC will be focused on the agreements and amendments in its own
            6    possession, for its own customers, referring to Facility R&C.
            7                                    OBJECTIONS TO INSTRUCTIONS
            8           1.      UBH and UHC object to Plaintiffs’ failure to number the Instructions. For purposes of
            9    clarity in responding and objecting to Plaintiffs’ Instructions, UBH and UHC have assigned a number
           10    to each Instruction based on the Instruction’s paragraph break.
           11           2.      UBH and UHC object to Plaintiffs’ Instruction 1 to the extent it seeks documents that
           12    are exempt from discovery and protected from disclosure by the attorney-client privilege, the attorney
           13    work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine or
           14    protection.
           15           3.      UBH and UHC object to Plaintiffs’ Instruction 2 that Defendants “must make a
           16    diligent search of your records and of other papers and materials in your possession or available to
           17    you or your representatives” to the extent that this Instruction seeks to impose obligations on UBH
           18    and UHC beyond those required by the Federal Rules. UBH and UHC further object to Instruction 2
           19    to the extent it calls for the production of information outside of UBH’s and UHC’s possession,
           20    custody, and control and includes documents that may already be in Plaintiffs’ possession or are
           21    available to Plaintiffs from another source that is more convenient, less burdensome, or less
           22    expensive.
           23           4.      UBH and UHC object to Plaintiffs’ Instruction 4 to the extent it requires Defendants to
           24    “[i]dentify the portion to which you cannot respond; state the reason for your inability to respond to
           25    it; and provide whatever materials you possess regarding that portion.” Where UBH and UHC are
           26    unable to fully respond to a request, UBH and UHC will state the reason for its inability to respond,
           27    and otherwise reserves the right to meet and confer.
           28

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            1            5.      UBH and UHC object to Plaintiffs’ Instruction 5 to the extent it purports to confer
            2    obligations on UBH and UHC beyond what the Parties have agreed to in their ESI protocol.
            3            6.      UBH and UHC object to Plaintiffs’ Instruction 6 to the extent that this Instruction
            4    seeks to impose obligations on UBH and UHC beyond those required by the Federal Rules.
            5            7.      UBH and UHC object to Plaintiffs’ Instruction 7 that “you should identify the relevant
            6    Bates or reference number (or range of numbers) that corresponds” on the ground that such obligation
            7    would be unduly burdensome given the broad scope and number of the requests.
            8            8.      UBH and UHC object to Plaintiffs’ Instruction 8 that the “time period encompassed by
            9    each Request for Production is the same as the time period relevant to the allegations in the
           10    Complaint” to the extent that this Instruction includes periods outside the relevant scope of discovery
           11    and statute of limitations for this case which, unless otherwise noted in the specific responses below,
           12    is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims. See Withrow v.
           13    Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238 F.3d 1006, 1108
           14    (9th Cir. 2001). UBH and UHC further object to Plaintiffs’ Instruction 8 that each request be deemed
           15    “continuing in nature” on the ground that such obligation would be unduly burdensome given the
           16    broad scope and number of the requests.
           17         SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
           18    REQUEST NO. 1:
           19            Any and all documents produced in response to subpoenas issued by United counsel to third
           20    party healthcare providers in connection with this litigation.
           21    RESPONSE TO REQUEST NO. 1:
           22            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           23    Instructions in their entirety into this response.
           24            Subject to and without waiving the General Objections, the Objections to Definitions and
           25    Instructions, UBH and UHC will share any third party productions received from the healthcare
           26    providers subpoenaed by UBH or UHC in this action.
           27

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            1    REQUEST NO. 2:
            2            Any and all communications with third party healthcare providers relating to subpoenas
            3    issued to them by counsel for United in connection with this litigation
            4    RESPONSE TO REQUEST NO. 2:
            5            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            7    that it seeks “communications” that are irrelevant to the issues in the case. Additionally, this Request
            8    exceeds UBH and UHC’s obligations under Judge Spero’s civil minutes from the parties’ April 1,
            9    2022 hearing. See Dkt. 125. Per the Court’s instructions, UBH and UHC will give notice in advance
           10    to Plaintiffs of any scheduled meet and confer conference with the subpoenaed providers at issue in
           11    the parties’ joint letter “regarding substantive scope of document production by the subpoenaed
           12    parties.”
           13    REQUEST NO. 3:
           14            Any and all documents and correspondence, from January 1, 2015 to present, in your
           15    possession referencing “OPR Percentile Reduction” or “Percentile Reduction”, “Fac60th”,
           16    “Fac40th”, or “Fac30th”.
           17    RESPONSE TO REQUEST NO. 3:
           18            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           19    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           20    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           21    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           22    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           23    rates were calculated using Viant’s OPR product. This Request could be interpreted as seeking
           24    documents that use the listed terms even though they have nothing to do with the reimbursement
           25    program and claims at issue in the case. UBH and UHC further object to this Request as overly
           26    broad and unduly burdensome. By way of example only, this Request is overly broad and unduly
           27    burdensome to the extent it purports to require UBH and UHC to produce “any and all documents”
           28    within a broadly-defined category that includes programs not at issue in this action. UBH and UHC

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            1    further object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery
            2    requests and/or purports to require UBH or UHC to re-review documents already subject to review in
            3    accordance with the parameters disclosed on December 20, 2021. UBH and UHC object to this
            4    Request on the grounds that it seeks information which is subject to a claim of privilege or which is
            5    otherwise protected from disclosure by, including without limitation, the attorney-client privilege or
            6    the attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
            7    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
            8    in this case.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
           10    Instructions, or the foregoing specific objections, UBH and UHC refers Plaintiffs to the documents
           11    they are already producing in response to Plaintiffs’ previous requests, pursuant to the parameters
           12    disclosed to Plaintiffs on December 20, 2021, which are anticipated to include relevant documents
           13    responsive to this new Request as well. UBH and UHC will also meet and confer with Plaintiffs to
           14    discuss any specific issues or proposed modifications sought through this Request, to extent they are
           15    reasonably tailored to the issues in the case and do not require re-review of documents already
           16    reviewed in connection with Plaintiffs’ previous requests.
           17    REQUEST NO. 4:
           18            Any and all documents, from January 1, 2015 to present, reflecting United’s formulation and
           19    implementation of the Facility R&C program (also sometimes known as “OPR”, “Facility
           20    Reasonable & Customary”, “SSP VIANT” and “SSP Facility R&C”) as well as the language used by
           21    United in its Administrative Service Agreements.
           22    RESPONSE TO REQUEST NO. 4:
           23            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           24    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           25    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           26    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           27    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           28    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as

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            1    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            2    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            3    documents” within a broadly-defined category that includes programs not at issue in this action.
            4    UBH and UHC further object to the extent this Request is duplicative of Plaintiffs’ previously-served
            5    discovery requests and/or purports to require UBH or UHC to re-review documents already subject to
            6    review in accordance with the parameters disclosed on December 20, 2021. UBH and UHC object to
            7    this Request on the grounds that it seeks information which is subject to a claim of privilege or which
            8    is otherwise protected from disclosure by, including without limitation, the attorney-client privilege
            9    or the attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
           10    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
           11    in this case.
           12            Subject to and without waiving the General Objections, the Objections to Definitions and
           13    Instructions, or the foregoing specific objections, UBH and UHC refers Plaintiffs to the documents
           14    they are already producing in response to Plaintiffs’ previous requests, pursuant to the parameters
           15    disclosed to Plaintiffs on December 20, 2021, which are anticipated to include relevant documents
           16    responsive to this new Request as well. UBH and UHC will also meet and confer with Plaintiffs to
           17    discuss specific issues or proposed modifications sought through this Request, to extent they are
           18    reasonably tailored to the issues in the case and do not require re-review of documents already
           19    reviewed in connection with Plaintiffs’ previous requests.
           20    REQUEST NO. 5:
           21            Any and all documents and correspondence, from January 1, 2015 to present, relating to the
           22    creation, development and existence of sales and marketing materials for the Facility R&C program.
           23    This request includes PowerPoint presentations and .pdfs reflecting suggested “elevator pitches”,
           24    printed marketing materials, and other similar resources and strategies.
           25    RESPONSE TO REQUEST NO. 5:
           26            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           27    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           28    that it seeks information not relevant to the claims or defenses of any party and not reasonably

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            1    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            2    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            3    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            4    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            5    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            6    documents” within a broadly-defined category. UBH and UHC further object to the extent this
            7    Request is duplicative of Plaintiffs’ previously-served discovery requests, including Request No. 28
            8    in Plaintiffs’ Third Set of Requests for Production, and/or purports to require UBH or UHC to re-
            9    review documents already subject to review in accordance with the parameters disclosed on
           10    December 20, 2021. UBH and UHC further object that the terms “sales and marketing materials,”
           11    “elevator pitches,” and “similar resources and strategies” are vague and ambiguous. UBH and UHC
           12    further object to this Request on the grounds that it seeks information which is subject to a claim of
           13    privilege or which is otherwise protected from disclosure by, including without limitation, the
           14    attorney-client privilege or the attorney work product doctrine. UBH and UHC also object to the
           15    extent this Request seeks documents outside the time period properly subject to discovery for
           16    Plaintiffs’ claims and allegations in this case.
           17           Subject to and without waiving the General Objections, the Objections to Definitions and
           18    Instructions, or the foregoing specific objections, UBH and UHC refers Plaintiffs to the documents
           19    they are already producing in response to Plaintiffs’ previous requests, pursuant to the parameters
           20    disclosed to Plaintiffs on December 20, 2021, which are anticipated to include relevant documents
           21    responsive to this new Request as well. UBH and UHC will also meet and confer with Plaintiffs to
           22    discuss specific issues or proposed modifications sought through this Request, to extent they are
           23    reasonably tailored to the issues in the case and do not require re-review of documents already
           24    reviewed in connection with Plaintiffs’ previous requests.
           25    REQUEST NO. 6:
           26           Documents sufficient to show any and all civil lawsuits, administrative proceedings, or
           27    investigations in which You have been a party and/or given any sworn statements, depositions, or
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            1    trial testimony during the last five (5) years related to billing, coding, claims submission, or payment
            2    for services related to intensive outpatient mental health or substance abuse treatments.
            3    RESPONSE TO REQUEST NO. 6:
            4           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            5    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            6    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            7    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            8    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            9    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           10    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           11    unduly burdensome to the extent it purports to require UBH and UHC to produce “documents
           12    sufficient to show any and all civil lawsuits, administrative proceedings, or investigations” within a
           13    broadly-defined category that includes programs not at issue in this action. UBH and UHC further
           14    object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery requests,
           15    including Request Nos. 77 and 90 in Plaintiffs’ First Set of Requests for Production, and/or purports
           16    to require UBH or UHC to re-review documents already subject to review in accordance with the
           17    parameters disclosed on December 20, 2021. UBH and UHC object to the extent this Request seeks
           18    information subject to protective orders in other cases. UBH and UHC object to this Request to the
           19    extent that it requests documents that are publicly available and equally accessible to Plaintiffs. UBH
           20    and UHC object to this Request on the grounds that it seeks information which is subject to a claim of
           21    privilege or which is otherwise protected from disclosure by, including without limitation, the
           22    attorney-client privilege or the attorney work product doctrine. UBH and UHC further object that the
           23    terms “billing,” “coding,” “claims submission,” and “payment for services” are vague and
           24    ambiguous. UBH and UHC also object to the extent this Request seeks documents outside the time
           25    period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
           26           Subject to and without waiving the General Objections, the Objections to Definitions and
           27    Instructions, or the foregoing specific objections, UBH and UHC refers Plaintiffs to the documents
           28    they are already producing in response to Plaintiffs’ previous requests, pursuant to the parameters

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            1    disclosed to Plaintiffs on December 20, 2021, which are anticipated to include relevant documents
            2    responsive to this new Request as well. UBH and UHC will also meet and confer with Plaintiffs to
            3    discuss specific issues or proposed modifications sought through this Request, to extent they are
            4    reasonably tailored to the issues in the case and do not require re-review of documents already
            5    reviewed in connection with Plaintiffs’ previous requests.
            6    REQUEST NO. 7:
            7           All documents regarding any communications with any media outlet, advocacy organization,
            8    educational institution, or government entity regarding balance bills, surprise bills, out of network
            9    reimbursement rates, and/or alleged insurer underpayments for intensive outpatient mental health or
           10    substance abuse treatments.
           11    RESPONSE TO REQUEST NO. 7:
           12           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           13    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           14    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           15    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           16    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           17    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           18    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           19    unduly burdensome to the extent it purports to require UBH and UHC to produce “all documents”
           20    within a broadly-defined category that includes programs and/or claims not at issue in this action.
           21    UBH and UHC further object to the extent this Request is duplicative of Plaintiffs’ previously-served
           22    discovery requests and/or purports to require UBH or UHC to re-review documents already subject to
           23    review in accordance with the parameters disclosed on December 20, 2021. UBH and UHC object to
           24    this Request to the extent that it requests documents that are publicly available and equally accessible
           25    to Plaintiffs. UBH and UHC object to this Request on the grounds that it seeks information which is
           26    subject to a claim of privilege or which is otherwise protected from disclosure by, including without
           27    limitation, the attorney-client privilege or the attorney work product doctrine. UBH and UHC further
           28    object that the terms “surprise bills,” “advocacy organization,” “balance bills,” and “insurer

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            1    underpayments” are vague and ambiguous. UBH and UHC also object to the extent this Request
            2    seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
            3    allegations in this case.
            4            Subject to and without waiving the General Objections, the Objections to Definitions and
            5    Instructions, or the foregoing specific objections, UBH and UHC refers Plaintiffs to the documents
            6    they are already producing in response to Plaintiffs’ previous requests, pursuant to the parameters
            7    disclosed to Plaintiffs on December 20, 2021, which are anticipated to include relevant documents
            8    responsive to this new Request as well. UBH and UHC will also meet and confer with Plaintiffs to
            9    discuss specific issues or proposed modifications sought through this Request, to extent they are
           10    reasonably tailored to the issues in the case and do not require re-review of documents already
           11    reviewed in connection with Plaintiffs’ previous requests.
           12    REQUEST NO. 8:
           13            Any and all documents and correspondence, from January 1, 2015 to present, relating to the
           14    creation, development and existence of policies and procedures for responding to appeals, balance
           15    bills and member claims for intensive outpatient or substance abuse treatments. This request
           16    includes, but is not limited to, ‘hold member harmless’ or similarly termed policies and procedures.
           17    RESPONSE TO REQUEST NO. 8:
           18            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           19    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           20    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           21    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           22    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           23    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           24    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           25    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           26    documents” within a broadly-defined category that does include the programs and/or claims at issue
           27    in this action. UBH and UHC further object to the extent this Request is duplicative of Plaintiffs’
           28    previously-served discovery requests and/or purports to require UBH or UHC to re-review

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            1    documents already subject to review in accordance with the parameters disclosed on December 20,
            2    2021. UBH and UHC further object that the terms “policies and procedures for responding to
            3    appeals, balance bills and member claims” and “hold member harmless” are vague and ambiguous.
            4    UBH and UHC further object to this Request on the grounds that it seeks information which is
            5    subject to a claim of privilege or which is otherwise protected from disclosure by, including without
            6    limitation, the attorney-client privilege or the attorney work product doctrine. UBH and UHC also
            7    object to the extent this Request seeks documents outside the time period properly subject to
            8    discovery for Plaintiffs’ claims and allegations in this case.
            9           Subject to and without waiving the General Objections, the Objections to Definitions and
           10    Instructions, or the foregoing specific objections, UBH and UHC refers Plaintiffs to the documents
           11    they are already producing in response to Plaintiffs’ previous requests, pursuant to the parameters
           12    disclosed to Plaintiffs on December 20, 2021, which are anticipated to include relevant documents
           13    responsive to this new Request as well. UBH and UHC will also meet and confer with Plaintiffs to
           14    discuss specific issues or proposed modifications sought through this Request, to extent they are
           15    reasonably tailored to the issues in the case and do not require re-review of documents already
           16    reviewed in connection with Plaintiffs’ previous requests.
           17    REQUEST NO. 9:
           18           Any and all documents from the following categories, from January 1, 2015 to present,
           19    relating the group healthcare plan(s) administered by United for its customer, American Airlines:
           20           a)      The administrative services agreement, including all amendments thereto, between
           21    United and this customer;
           22           b)      Correspondence and documents relating to or discussing the adoption, selection,
           23    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           24    Customary”) savings program for this customer, this request includes both internal and external
           25    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           26    program;
           27

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            1           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            2    estimates, or other materials provided between United and this customer regarding United’s Facility
            3    R&C or similar savings program(s);
            4           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            5    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            6    similar savings program(s).
            7    RESPONSE TO REQUEST NO. 9:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           10    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           11    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           12    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           13    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           14    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           15    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           16    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           17    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           18    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           19    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           20    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           21    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           22    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           23    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           24    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           25    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           26    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           27    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           28    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.

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            1    UBH and UHC also object to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            3    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
            4    the subpoenas previously served on this third party plan sponsor.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    regarding a reasonably tailored sample of customers for which UHC could produce documents
            8    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            9    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           10    showing fees paid by the customer for Facility R&C.
           11    REQUEST NO. 10:
           12           Any and all documents from the following categories, from January 1, 2015 to present,
           13    relating the group healthcare plan(s) administered by United for its customer, American Express
           14    Company:
           15           a)      The administrative services agreement, including all amendments thereto, between
           16    United and this customer;
           17           b)      Correspondence and documents relating to or discussing the adoption, selection,
           18    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           19    Customary”) savings program for this customer, this request includes both internal and external
           20    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           21    program;
           22           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           23    estimates, or other materials provided between United and this customer regarding United’s Facility
           24    R&C or similar savings program(s);
           25           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           26    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           27    similar savings program(s).
           28

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            1    RESPONSE TO REQUEST NO. 10:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            8    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            9    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           10    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           11    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           12    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           13    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           14    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           15    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           16    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           17    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           18    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           19    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           20    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           21    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           22    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           23    UBH and UHC also object to the extent this Request seeks documents outside the time period
           24    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           25    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           26    the subpoenas previously served on this third party plan sponsor.
           27           Subject to and without waiving the General Objections, the Objections to Definitions and
           28    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs

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            1    regarding a reasonably tailored sample of customers for which UHC could produce documents
            2    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            3    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            4    showing fees paid by the customer for Facility R&C.
            5    REQUEST NO. 11:
            6           Any and all documents from the following categories, from January 1, 2015 to present,
            7    relating the group healthcare plan(s) administered by United for its customer, Apple:
            8           a)      The administrative services agreement, including all amendments thereto, between
            9    United and this customer;
           10           b)      Correspondence and documents relating to or discussing the adoption, selection,
           11    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           12    Customary”) savings program for this customer, this request includes both internal and external
           13    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           14    program;
           15           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           16    estimates, or other materials provided between United and this customer regarding United’s Facility
           17    R&C or similar savings program(s);
           18           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           19    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           20    similar savings program(s).
           21    RESPONSE TO REQUEST NO. 11:
           22           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           23    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           24    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           25    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           26    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           27    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           28    overly broad and unduly burdensome. By way of example only, this Request is overly broad and

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            1    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            2    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            3    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            4    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
            5    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            6    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            7    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            8    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            9    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           10    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           11    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           12    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           13    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           14    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           15    UBH and UHC also object to the extent this Request seeks documents outside the time period
           16    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           17    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           18    the subpoenas previously served on this third party plan sponsor.
           19           Subject to and without waiving the General Objections, the Objections to Definitions and
           20    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           21    regarding a reasonably tailored sample of customers for which UHC could produce documents
           22    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           23    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           24    showing fees paid by the customer for Facility R&C.
           25    REQUEST NO. 12:
           26           Any and all documents from the following categories, from January 1, 2015 to present,
           27    relating the group healthcare plan(s) administered by United for its customer, Cisco Systems, Inc.:
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            1           a)      The administrative services agreement, including all amendments thereto, between
            2    United and this customer;
            3           b)      Correspondence and documents relating to or discussing the adoption, selection,
            4    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            5    Customary”) savings program for this customer, this request includes both internal and external
            6    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            7    program;
            8           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            9    estimates, or other materials provided between United and this customer regarding United’s Facility
           10    R&C or similar savings program(s);
           11           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           12    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           13    similar savings program(s).
           14    RESPONSE TO REQUEST NO. 12:
           15           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           16    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           17    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           18    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           19    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           20    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           21    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           22    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           23    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           24    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           25    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           26    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           27    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           28    shifting list of customers, all of whom require individualized searches within UHC and intrusive

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            1    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            2    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            3    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            4    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            5    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            6    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            7    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            8    UBH and UHC also object to the extent this Request seeks documents outside the time period
            9    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           10    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           11    the subpoenas previously served on this third party plan sponsor.
           12           Subject to and without waiving the General Objections, the Objections to Definitions and
           13    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           14    regarding a reasonably tailored sample of customers for which UHC could produce documents
           15    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           16    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           17    showing fees paid by the customer for Facility R&C.
           18    REQUEST NO. 13:
           19           Any and all documents from the following categories, from January 1, 2015 to present,
           20    relating the group healthcare plan(s) administered by United for its customer, Coca-Cola:
           21           a)      The administrative services agreement, including all amendments thereto, between
           22    United and this customer;
           23           b)      Correspondence and documents relating to or discussing the adoption, selection,
           24    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           25    Customary”) savings program for this customer, this request includes both internal and external
           26    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           27    program;
           28

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            1           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            2    estimates, or other materials provided between United and this customer regarding United’s Facility
            3    R&C or similar savings program(s);
            4           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            5    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            6    similar savings program(s).
            7    RESPONSE TO REQUEST NO. 13:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           10    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           11    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           12    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           13    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           14    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           15    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           16    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           17    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           18    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           19    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           20    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           21    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           22    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           23    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           24    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           25    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           26    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           27    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           28    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.

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            1    UBH and UHC also object to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            3    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
            4    the subpoenas previously served on this third party plan sponsor.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    regarding a reasonably tailored sample of customers for which UHC could produce documents
            8    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            9    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           10    showing fees paid by the customer for Facility R&C.
           11    REQUEST NO. 14:
           12           Any and all documents from the following categories, from January 1, 2015 to present,
           13    relating the group healthcare plan(s) administered by United for its customer, Deloitte, LLP:
           14           a)      The administrative services agreement, including all amendments thereto, between
           15    United and this customer;
           16           b)      Correspondence and documents relating to or discussing the adoption, selection,
           17    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           18    Customary”) savings program for this customer, this request includes both internal and external
           19    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           20    program;
           21           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           22    estimates, or other materials provided between United and this customer regarding United’s Facility
           23    R&C or similar savings program(s);
           24           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           25    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           26    similar savings program(s).
           27

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            1    RESPONSE TO REQUEST NO. 14:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            8    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            9    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           10    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           11    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           12    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           13    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           14    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           15    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           16    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           17    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           18    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           19    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           20    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           21    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           22    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           23    UBH and UHC also object to the extent this Request seeks documents outside the time period
           24    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           25    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           26    the subpoenas previously served on this third party plan sponsor.
           27           Subject to and without waiving the General Objections, the Objections to Definitions and
           28    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs

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            1    regarding a reasonably tailored sample of customers for which UHC could produce documents
            2    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            3    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            4    showing fees paid by the customer for Facility R&C.
            5    REQUEST NO. 15:
            6           Any and all documents from the following categories, from January 1, 2015 to present,
            7    relating the group healthcare plan(s) administered by United for its customer, Delta Airlines, Inc.:
            8           a)      The administrative services agreement, including all amendments thereto, between
            9    United and this customer;
           10           b)      Correspondence and documents relating to or discussing the adoption, selection,
           11    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           12    Customary”) savings program for this customer, this request includes both internal and external
           13    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           14    program;
           15           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           16    estimates, or other materials provided between United and this customer regarding United’s Facility
           17    R&C or similar savings program(s);
           18           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           19    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           20    similar savings program(s).
           21    RESPONSE TO REQUEST NO. 15:
           22           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           23    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           24    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           25    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           26    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           27    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           28    overly broad and unduly burdensome. By way of example only, this Request is overly broad and

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            1    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            2    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            3    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            4    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
            5    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            6    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            7    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            8    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            9    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           10    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           11    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           12    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           13    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           14    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           15    UBH and UHC also object to the extent this Request seeks documents outside the time period
           16    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           17    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           18    the subpoenas previously served on this third party plan sponsor.
           19           Subject to and without waiving the General Objections, the Objections to Definitions and
           20    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           21    regarding a reasonably tailored sample of customers for which UHC could produce documents
           22    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           23    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           24    showing fees paid by the customer for Facility R&C.
           25    REQUEST NO. 16:
           26           Any and all documents from the following categories, from January 1, 2015 to present,
           27    relating the group healthcare plan(s) administered by United for its customer, Discovery, Inc.:
           28

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            1           a)      The administrative services agreement, including all amendments thereto, between
            2    United and this customer;
            3           b)      Correspondence and documents relating to or discussing the adoption, selection,
            4    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            5    Customary”) savings program for this customer, this request includes both internal and external
            6    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            7    program;
            8           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            9    estimates, or other materials provided between United and this customer regarding United’s Facility
           10    R&C or similar savings program(s);
           11           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           12    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           13    similar savings program(s).
           14    RESPONSE TO REQUEST NO. 16:
           15           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           16    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           17    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           18    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           19    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           20    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           21    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           22    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           23    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           24    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           25    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           26    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           27    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           28    shifting list of customers, all of whom require individualized searches within UHC and intrusive

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            1    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            2    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            3    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            4    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            5    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            6    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            7    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            8    UBH and UHC also object to the extent this Request seeks documents outside the time period
            9    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           10    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           11    the subpoenas previously served on this third party plan sponsor.
           12           Subject to and without waiving the General Objections, the Objections to Definitions and
           13    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           14    regarding a reasonably tailored sample of customers for which UHC could produce documents
           15    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           16    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           17    showing fees paid by the customer for Facility R&C.
           18    REQUEST NO. 17:
           19           Any and all documents from the following categories, from January 1, 2015 to present,
           20    relating the group healthcare plan(s) administered by United for its customer, Fidelity Investments:
           21           a)      The administrative services agreement, including all amendments thereto, between
           22    United and this customer;
           23           b)      Correspondence and documents relating to or discussing the adoption, selection,
           24    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           25    Customary”) savings program for this customer, this request includes both internal and external
           26    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           27    program;
           28

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            1           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            2    estimates, or other materials provided between United and this customer regarding United’s Facility
            3    R&C or similar savings program(s);
            4           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            5    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            6    similar savings program(s).
            7    RESPONSE TO REQUEST NO. 17:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           10    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           11    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           12    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           13    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           14    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           15    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           16    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           17    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           18    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           19    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           20    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           21    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           22    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           23    UBH and UHC further object that the terms “marketing materials,” “pitch materials,”
           24    “reconciliations,” “other saving program evaluations,” and “similar savings program(s)” are vague
           25    and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           26    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           27    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           28    UBH and UHC also object to the extent this Request seeks documents outside the time period

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            1    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            2    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
            3    parties’ discussions about third party discovery.
            4           Subject to and without waiving the General Objections, the Objections to Definitions and
            5    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            6    regarding a reasonably tailored sample of customers for which UHC could produce documents
            7    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            8    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            9    showing fees paid by the customer for Facility R&C.
           10    REQUEST NO. 18:
           11           Any and all documents from the following categories, from January 1, 2015 to present,
           12    relating the group healthcare plan(s) administered by United for its customer, Geico Corporation:
           13           a)      The administrative services agreement, including all amendments thereto, between
           14    United and this customer;
           15           b)      Correspondence and documents relating to or discussing the adoption, selection,
           16    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           17    Customary”) savings program for this customer, this request includes both internal and external
           18    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           19    program;
           20           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           21    estimates, or other materials provided between United and this customer regarding United’s Facility
           22    R&C or similar savings program(s);
           23           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           24    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           25    similar savings program(s).
           26    RESPONSE TO REQUEST NO. 18:
           27           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           28    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground

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            1    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            2    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            3    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            4    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            5    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            6    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            7    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            8    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            9    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           10    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           11    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           12    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           13    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           14    UBH and UHC further object that the terms “marketing materials,” “pitch materials,”
           15    “reconciliations,” “other saving program evaluations,” and “similar savings program(s)” are vague
           16    and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           17    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           18    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           19    UBH and UHC also object to the extent this Request seeks documents outside the time period
           20    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           21    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
           22    parties’ discussions about third party discovery.
           23           Subject to and without waiving the General Objections, the Objections to Definitions and
           24    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           25    regarding a reasonably tailored sample of customers for which UHC could produce documents
           26    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           27    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           28    showing fees paid by the customer for Facility R&C.

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            1    REQUEST NO. 19:
            2           Any and all documents from the following categories, from January 1, 2015 to present,
            3    relating the group healthcare plan(s) administered by United for its customer, General Dynamics:
            4           a)      The administrative services agreement, including all amendments thereto, between
            5    United and this customer;
            6           b)      Correspondence and documents relating to or discussing the adoption, selection,
            7    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            8    Customary”) savings program for this customer, this request includes both internal and external
            9    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           10    program;
           11           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           12    estimates, or other materials provided between United and this customer regarding United’s Facility
           13    R&C or similar savings program(s);
           14           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           15    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           16    similar savings program(s).
           17    RESPONSE TO REQUEST NO. 19:
           18           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           19    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           20    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           21    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           22    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           23    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           24    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           25    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           26    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           27    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           28    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To

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            1    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            2    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            3    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            4    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            5    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            6    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            7    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            8    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            9    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           10    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           11    UBH and UHC also object to the extent this Request seeks documents outside the time period
           12    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           13    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           14    the subpoenas previously served on this third party plan sponsor.
           15           Subject to and without waiving the General Objections, the Objections to Definitions and
           16    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           17    regarding a reasonably tailored sample of customers for which UHC could produce documents
           18    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           19    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           20    showing fees paid by the customer for Facility R&C.
           21    REQUEST NO. 20:
           22           Any and all documents from the following categories, from January 1, 2015 to present,
           23    relating the group healthcare plan(s) administered by United for its customer, Georgia Pacific, LLC:
           24           a)      The administrative services agreement, including all amendments thereto, between
           25    United and this customer;
           26           b)      Correspondence and documents relating to or discussing the adoption, selection,
           27    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           28    Customary”) savings program for this customer, this request includes both internal and external

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            1    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            2    program;
            3           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            4    estimates, or other materials provided between United and this customer regarding United’s Facility
            5    R&C or similar savings program(s);
            6           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            7    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            8    similar savings program(s).
            9    RESPONSE TO REQUEST NO. 20:
           10           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           11    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           12    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           13    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           14    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           15    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           16    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           17    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           18    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           19    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           20    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           21    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           22    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           23    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           24    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           25    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           26    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           27    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           28    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks

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            1    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            2    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            3    UBH and UHC also object to the extent this Request seeks documents outside the time period
            4    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            5    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
            6    the subpoenas previously served on this third party plan sponsor.
            7           Subject to and without waiving the General Objections, the Objections to Definitions and
            8    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            9    regarding a reasonably tailored sample of customers for which UHC could produce documents
           10    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           11    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           12    showing fees paid by the customer for Facility R&C.
           13    REQUEST NO. 21:
           14           Any and all documents from the following categories, from January 1, 2015 to present,
           15    relating the group healthcare plan(s) administered by United for its customer, Goldman Sachs &
           16    Company, LLC:
           17           a)      The administrative services agreement, including all amendments thereto, between
           18    United and this customer;
           19           b)      Correspondence and documents relating to or discussing the adoption, selection,
           20    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           21    Customary”) savings program for this customer, this request includes both internal and external
           22    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           23    program;
           24           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           25    estimates, or other materials provided between United and this customer regarding United’s Facility
           26    R&C or similar savings program(s);
           27

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            1           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            2    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            3    similar savings program(s).
            4    RESPONSE TO REQUEST NO. 21:
            5           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            7    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            8    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            9    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           10    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           11    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           12    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           13    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           14    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           15    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           16    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           17    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           18    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           19    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           20    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           21    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           22    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           23    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           24    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           25    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           26    UBH and UHC also object to the extent this Request seeks documents outside the time period
           27    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           28

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            1    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
            2    the subpoenas previously served on this third party plan sponsor.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            5    regarding a reasonably tailored sample of customers for which UHC could produce documents
            6    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            7    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            8    showing fees paid by the customer for Facility R&C.
            9    REQUEST NO. 22:
           10           Any and all documents from the following categories, from January 1, 2015 to present,
           11    relating the group healthcare plan(s) administered by United for its customer, JPMorgan Chase &
           12    Company:
           13           a)      The administrative services agreement, including all amendments thereto, between
           14    United and this customer;
           15           b)      Correspondence and documents relating to or discussing the adoption, selection,
           16    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           17    Customary”) savings program for this customer, this request includes both internal and external
           18    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           19    program;
           20           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           21    estimates, or other materials provided between United and this customer regarding United’s Facility
           22    R&C or similar savings program(s);
           23           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           24    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           25    similar savings program(s).
           26    RESPONSE TO REQUEST NO. 22:
           27           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           28    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground

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            1    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            2    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            3    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            4    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            5    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            6    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            7    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            8    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            9    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           10    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           11    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           12    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           13    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           14    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           15    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           16    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           17    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           18    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           19    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           20    UBH and UHC also object to the extent this Request seeks documents outside the time period
           21    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           22    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           23    the subpoenas previously served on this third party plan sponsor.
           24           Subject to and without waiving the General Objections, the Objections to Definitions and
           25    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           26    regarding a reasonably tailored sample of customers for which UHC could produce documents
           27    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           28

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            1    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            2    showing fees paid by the customer for Facility R&C.
            3    REQUEST NO. 23:
            4           Any and all documents from the following categories, from January 1, 2015 to present,
            5    relating the group healthcare plan(s) administered by United for its customer, L’Oreal, USA:
            6           a)      The administrative services agreement, including all amendments thereto, between
            7    United and this customer;
            8           b)      Correspondence and documents relating to or discussing the adoption, selection,
            9    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           10    Customary”) savings program for this customer, this request includes both internal and external
           11    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           12    program;
           13           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           14    estimates, or other materials provided between United and this customer regarding United’s Facility
           15    R&C or similar savings program(s);
           16           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           17    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           18    similar savings program(s).
           19    RESPONSE TO REQUEST NO. 23:
           20           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           21    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           22    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           23    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           24    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           25    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           26    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           27    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           28    documents” within broadly-defined categories that do not concern the claims and/or program at issue

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            1    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            2    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
            3    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            4    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            5    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            6    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            7    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            8    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            9    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           10    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           11    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           12    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           13    UBH and UHC also object to the extent this Request seeks documents outside the time period
           14    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           15    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           16    the subpoenas previously served on this third party plan sponsor.
           17           Subject to and without waiving the General Objections, the Objections to Definitions and
           18    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           19    regarding a reasonably tailored sample of customers for which UHC could produce documents
           20    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           21    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           22    showing fees paid by the customer for Facility R&C.
           23    REQUEST NO. 24:
           24           Any and all documents from the following categories, from January 1, 2015 to present,
           25    relating the group healthcare plan(s) administered by United for its customer, MasterCard:
           26           a)      The administrative services agreement, including all amendments thereto, between
           27    United and this customer;
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            1           b)      Correspondence and documents relating to or discussing the adoption, selection,
            2    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            3    Customary”) savings program for this customer, this request includes both internal and external
            4    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            5    program;
            6           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            7    estimates, or other materials provided between United and this customer regarding United’s Facility
            8    R&C or similar savings program(s);
            9           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           10    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           11    similar savings program(s).
           12    RESPONSE TO REQUEST NO. 24:
           13           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           14    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           15    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           16    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           17    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           18    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           19    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           20    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           21    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           22    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           23    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           24    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           25    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           26    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           27    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           28    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on

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            1    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            2    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            3    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            4    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            5    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            6    UBH and UHC also object to the extent this Request seeks documents outside the time period
            7    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            8    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
            9    the subpoenas previously served on this third party plan sponsor.
           10           Subject to and without waiving the General Objections, the Objections to Definitions and
           11    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           12    regarding a reasonably tailored sample of customers for which UHC could produce documents
           13    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           14    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           15    showing fees paid by the customer for Facility R&C.
           16    REQUEST NO. 25:
           17           Any and all documents from the following categories, from January 1, 2015 to present,
           18    relating the group healthcare plan(s) administered by United for its customer, McMaster-Carr Supply
           19    Company:
           20           a)      The administrative services agreement, including all amendments thereto, between
           21    United and this customer;
           22           b)      Correspondence and documents relating to or discussing the adoption, selection,
           23    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           24    Customary”) savings program for this customer, this request includes both internal and external
           25    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           26    program;
           27

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            1           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            2    estimates, or other materials provided between United and this customer regarding United’s Facility
            3    R&C or similar savings program(s);
            4           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            5    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            6    similar savings program(s).
            7    RESPONSE TO REQUEST NO. 25:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           10    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           11    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           12    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           13    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           14    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           15    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           16    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           17    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           18    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           19    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           20    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           21    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           22    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           23    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           24    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           25    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           26    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           27    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           28    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.

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            1    UBH and UHC also object to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            3    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
            4    parties’ discussions about third party discovery.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    regarding a reasonably tailored sample of customers for which UHC could produce documents
            8    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            9    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           10    showing fees paid by the customer for Facility R&C.
           11    REQUEST NO. 26:
           12           Any and all documents from the following categories, from January 1, 2015 to present,
           13    relating the group healthcare plan(s) administered by United for its customer, Morgan Stanley:
           14           a)      The administrative services agreement, including all amendments thereto, between
           15    United and this customer;
           16           b)      Correspondence and documents relating to or discussing the adoption, selection,
           17    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           18    Customary”) savings program for this customer, this request includes both internal and external
           19    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           20    program;
           21           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           22    estimates, or other materials provided between United and this customer regarding United’s Facility
           23    R&C or similar savings program(s);
           24           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           25    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           26    similar savings program(s).
           27

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            1    RESPONSE TO REQUEST NO. 26:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            8    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            9    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           10    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           11    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           12    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           13    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           14    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           15    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           16    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           17    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           18    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           19    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           20    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           21    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           22    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           23    UBH and UHC also object to the extent this Request seeks documents outside the time period
           24    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           25    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           26    the subpoenas previously served on this third party plan sponsor.
           27           Subject to and without waiving the General Objections, the Objections to Definitions and
           28    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs

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            1    regarding a reasonably tailored sample of customers for which UHC could produce documents
            2    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            3    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            4    showing fees paid by the customer for Facility R&C.
            5    REQUEST NO. 27:
            6           Any and all documents from the following categories, from January 1, 2015 to present,
            7    relating the group healthcare plan(s) administered by United for its customer, National Educational
            8    Association:
            9           a)      The administrative services agreement, including all amendments thereto, between
           10    United and this customer;
           11           b)      Correspondence and documents relating to or discussing the adoption, selection,
           12    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           13    Customary”) savings program for this customer, this request includes both internal and external
           14    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           15    program;
           16           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           17    estimates, or other materials provided between United and this customer regarding United’s Facility
           18    R&C or similar savings program(s);
           19           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           20    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           21    similar savings program(s).
           22    RESPONSE TO REQUEST NO. 27:
           23           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           24    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           25    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           26    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           27    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           28    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as

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            1    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            2    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            3    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            4    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            5    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
            6    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            7    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            8    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            9    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           10    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           11    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           12    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           13    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           14    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           15    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           16    UBH and UHC also object to the extent this Request seeks documents outside the time period
           17    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           18    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
           19    parties’ discussions about third party discovery.
           20           Subject to and without waiving the General Objections, the Objections to Definitions and
           21    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           22    regarding a reasonably tailored sample of customers for which UHC could produce documents
           23    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           24    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           25    showing fees paid by the customer for Facility R&C.
           26    REQUEST NO. 28:
           27           Any and all documents from the following categories, from January 1, 2015 to present,
           28    relating the group healthcare plan(s) administered by United for its customer, Nestle USA, Inc.:

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            1           a)      The administrative services agreement, including all amendments thereto, between
            2    United and this customer;
            3           b)      Correspondence and documents relating to or discussing the adoption, selection,
            4    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            5    Customary”) savings program for this customer, this request includes both internal and external
            6    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            7    program;
            8           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            9    estimates, or other materials provided between United and this customer regarding United’s Facility
           10    R&C or similar savings program(s);
           11           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           12    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           13    similar savings program(s).
           14    RESPONSE TO REQUEST NO. 28:
           15           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           16    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           17    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           18    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           19    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           20    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           21    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           22    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           23    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           24    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           25    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           26    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           27    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           28    shifting list of customers, all of whom require individualized searches within UHC and intrusive

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            1    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            2    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            3    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            4    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            5    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            6    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            7    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            8    UBH and UHC also object to the extent this Request seeks documents outside the time period
            9    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           10    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           11    the subpoenas previously served on this third party plan sponsor.
           12           Subject to and without waiving the General Objections, the Objections to Definitions and
           13    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           14    regarding a reasonably tailored sample of customers for which UHC could produce documents
           15    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           16    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           17    showing fees paid by the customer for Facility R&C.
           18    REQUEST NO. 29:
           19           Any and all documents from the following categories, from January 1, 2015 to present,
           20    relating the group healthcare plan(s) administered by United for its customer, Nokia:
           21           a)      The administrative services agreement, including all amendments thereto, between
           22    United and this customer;
           23           b)      Correspondence and documents relating to or discussing the adoption, selection,
           24    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           25    Customary”) savings program for this customer, this request includes both internal and external
           26    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           27    program;
           28

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            1           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            2    estimates, or other materials provided between United and this customer regarding United’s Facility
            3    R&C or similar savings program(s);
            4           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            5    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            6    similar savings program(s).
            7    RESPONSE TO REQUEST NO. 29:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           10    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           11    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           12    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           13    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           14    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           15    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           16    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           17    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           18    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           19    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           20    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           21    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           22    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           23    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           24    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           25    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           26    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           27    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           28    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.

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            1    UBH and UHC also object to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            3    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
            4    parties’ discussions about third party discovery.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    regarding a reasonably tailored sample of customers for which UHC could produce documents
            8    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            9    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           10    showing fees paid by the customer for Facility R&C.
           11    REQUEST NO. 30:
           12           Any and all documents from the following categories, from January 1, 2015 to present,
           13    relating the group healthcare plan(s) administered by United for its customer, Oracle, Inc.:
           14           a)      The administrative services agreement, including all amendments thereto, between
           15    United and this customer;
           16           b)      Correspondence and documents relating to or discussing the adoption, selection,
           17    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           18    Customary”) savings program for this customer, this request includes both internal and external
           19    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           20    program;
           21           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           22    estimates, or other materials provided between United and this customer regarding United’s Facility
           23    R&C or similar savings program(s);
           24           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           25    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           26    similar savings program(s).
           27

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            1    RESPONSE TO REQUEST NO. 30:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            8    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            9    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           10    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           11    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           12    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           13    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           14    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           15    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           16    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           17    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           18    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           19    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           20    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           21    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           22    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           23    UBH and UHC also object to the extent this Request seeks documents outside the time period
           24    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           25    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           26    the subpoenas previously served on this third party plan sponsor.
           27           Subject to and without waiving the General Objections, the Objections to Definitions and
           28    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs

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            1    regarding a reasonably tailored sample of customers for which UHC could produce documents
            2    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            3    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            4    showing fees paid by the customer for Facility R&C.
            5    REQUEST NO. 31:
            6           Any and all documents from the following categories, from January 1, 2015 to present,
            7    relating the group healthcare plan(s) administered by United for its customer, PayPal, Inc.:
            8           a)      The administrative services agreement, including all amendments thereto, between
            9    United and this customer;
           10           b)      Correspondence and documents relating to or discussing the adoption, selection,
           11    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           12    Customary”) savings program for this customer, this request includes both internal and external
           13    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           14    program;
           15           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           16    estimates, or other materials provided between United and this customer regarding United’s Facility
           17    R&C or similar savings program(s);
           18           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           19    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           20    similar savings program(s).
           21    RESPONSE TO REQUEST NO. 31:
           22           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           23    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           24    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           25    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           26    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           27    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           28    overly broad and unduly burdensome. By way of example only, this Request is overly broad and

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            1    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            2    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            3    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            4    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
            5    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            6    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            7    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            8    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            9    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           10    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           11    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           12    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           13    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           14    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           15    UBH and UHC also object to the extent this Request seeks documents outside the time period
           16    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           17    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           18    the subpoenas previously served on this third party plan sponsor.
           19           Subject to and without waiving the General Objections, the Objections to Definitions and
           20    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           21    regarding a reasonably tailored sample of customers for which UHC could produce documents
           22    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           23    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           24    showing fees paid by the customer for Facility R&C.
           25    REQUEST NO. 32:
           26           Any and all documents from the following categories, from January 1, 2015 to present,
           27    relating the group healthcare plan(s) administered by United for its customer, Raytheon Company:
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            1           a)      The administrative services agreement, including all amendments thereto, between
            2    United and this customer;
            3           b)      Correspondence and documents relating to or discussing the adoption, selection,
            4    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            5    Customary”) savings program for this customer, this request includes both internal and external
            6    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            7    program;
            8           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            9    estimates, or other materials provided between United and this customer regarding United’s Facility
           10    R&C or similar savings program(s);
           11           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           12    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           13    similar savings program(s).
           14    RESPONSE TO REQUEST NO. 32:
           15           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           16    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           17    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           18    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           19    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           20    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           21    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           22    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           23    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           24    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           25    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           26    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           27    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           28    shifting list of customers, all of whom require individualized searches within UHC and intrusive

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            1    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            2    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            3    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            4    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            5    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            6    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            7    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            8    UBH and UHC also object to the extent this Request seeks documents outside the time period
            9    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           10    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           11    the subpoenas previously served on this third party plan sponsor.
           12           Subject to and without waiving the General Objections, the Objections to Definitions and
           13    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           14    regarding a reasonably tailored sample of customers for which UHC could produce documents
           15    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           16    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           17    showing fees paid by the customer for Facility R&C.
           18    REQUEST NO. 33:
           19           Any and all documents from the following categories, from January 1, 2015 to present,
           20    relating the group healthcare plan(s) administered by United for its customer, Rite Aid Corporation:
           21           a)      The administrative services agreement, including all amendments thereto, between
           22    United and this customer;
           23           b)      Correspondence and documents relating to or discussing the adoption, selection,
           24    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           25    Customary”) savings program for this customer, this request includes both internal and external
           26    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           27    program;
           28

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            1           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            2    estimates, or other materials provided between United and this customer regarding United’s Facility
            3    R&C or similar savings program(s);
            4           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            5    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            6    similar savings program(s).
            7    RESPONSE TO REQUEST NO. 33:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           10    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           11    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           12    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           13    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           14    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           15    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           16    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           17    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           18    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           19    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           20    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           21    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           22    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           23    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           24    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           25    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           26    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           27    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           28    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.

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            1    UBH and UHC also object to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            3    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
            4    parties’ discussions about third party discovery.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    regarding a reasonably tailored sample of customers for which UHC could produce documents
            8    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            9    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           10    showing fees paid by the customer for Facility R&C.
           11    REQUEST NO. 34:
           12           Any and all documents from the following categories, from January 1, 2015 to present,
           13    relating the group healthcare plan(s) administered by United for its customer, Saab:
           14           a)      The administrative services agreement, including all amendments thereto, between
           15    United and this customer;
           16           b)      Correspondence and documents relating to or discussing the adoption, selection,
           17    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           18    Customary”) savings program for this customer, this request includes both internal and external
           19    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           20    program;
           21           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           22    estimates, or other materials provided between United and this customer regarding United’s Facility
           23    R&C or similar savings program(s);
           24           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           25    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           26    similar savings program(s).
           27

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            1    RESPONSE TO REQUEST NO. 34:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            8    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            9    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           10    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           11    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           12    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           13    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           14    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           15    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           16    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           17    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           18    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           19    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           20    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           21    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           22    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           23    UBH and UHC also object to the extent this Request seeks documents outside the time period
           24    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           25    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
           26    parties’ discussions about third party discovery.
           27           Subject to and without waiving the General Objections, the Objections to Definitions and
           28    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs

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            1    regarding a reasonably tailored sample of customers for which UHC could produce documents
            2    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            3    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            4    showing fees paid by the customer for Facility R&C.
            5    REQUEST NO. 35:
            6           Any and all documents from the following categories, from January 1, 2015 to present,
            7    relating the group healthcare plan(s) administered by United for its customer, Textron:
            8           a)      The administrative services agreement, including all amendments thereto, between
            9    United and this customer;
           10           b)      Correspondence and documents relating to or discussing the adoption, selection,
           11    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           12    Customary”) savings program for this customer, this request includes both internal and external
           13    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           14    program;
           15           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           16    estimates, or other materials provided between United and this customer regarding United’s Facility
           17    R&C or similar savings program(s);
           18           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           19    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           20    similar savings program(s).
           21    RESPONSE TO REQUEST NO. 35:
           22           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           23    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           24    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           25    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           26    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           27    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           28    overly broad and unduly burdensome. By way of example only, this Request is overly broad and

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            1    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            2    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            3    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            4    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
            5    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            6    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            7    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            8    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            9    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           10    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           11    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           12    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           13    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           14    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           15    UBH and UHC also object to the extent this Request seeks documents outside the time period
           16    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           17    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
           18    parties’ discussions about third party discovery.
           19           Subject to and without waiving the General Objections, the Objections to Definitions and
           20    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           21    regarding a reasonably tailored sample of customers for which UHC could produce documents
           22    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           23    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           24    showing fees paid by the customer for Facility R&C.
           25    REQUEST NO. 36:
           26           Any and all documents from the following categories, from January 1, 2015 to present,
           27    relating the group healthcare plan(s) administered by United for its customer, SalesForce.com, Inc.:
           28

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            1           a)      The administrative services agreement, including all amendments thereto, between
            2    United and this customer;
            3           b)      Correspondence and documents relating to or discussing the adoption, selection,
            4    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            5    Customary”) savings program for this customer, this request includes both internal and external
            6    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            7    program;
            8           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            9    estimates, or other materials provided between United and this customer regarding United’s Facility
           10    R&C or similar savings program(s);
           11           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           12    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           13    similar savings program(s).
           14    RESPONSE TO REQUEST NO. 36:
           15           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           16    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           17    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           18    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           19    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           20    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           21    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           22    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           23    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           24    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           25    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           26    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           27    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           28    shifting list of customers, all of whom require individualized searches within UHC and intrusive

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            1    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            2    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            3    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            4    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            5    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            6    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            7    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            8    UBH and UHC also object to the extent this Request seeks documents outside the time period
            9    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           10    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           11    the subpoenas previously served on this third party plan sponsor.
           12           Subject to and without waiving the General Objections, the Objections to Definitions and
           13    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           14    regarding a reasonably tailored sample of customers for which UHC could produce documents
           15    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           16    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           17    showing fees paid by the customer for Facility R&C.
           18    REQUEST NO. 37:
           19           Any and all documents from the following categories, from January 1, 2015 to present,
           20    relating the group healthcare plan(s) administered by United for its customer, Target Corporation:
           21           a)      The administrative services agreement, including all amendments thereto, between
           22    United and this customer;
           23           b)      Correspondence and documents relating to or discussing the adoption, selection,
           24    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           25    Customary”) savings program for this customer, this request includes both internal and external
           26    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           27    program;
           28

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            1           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            2    estimates, or other materials provided between United and this customer regarding United’s Facility
            3    R&C or similar savings program(s);
            4           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            5    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            6    similar savings program(s).
            7    RESPONSE TO REQUEST NO. 37:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           10    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           11    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           12    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           13    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           14    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           15    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           16    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           17    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           18    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           19    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           20    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           21    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           22    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           23    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           24    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           25    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           26    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           27    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           28    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.

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            1    UBH and UHC also object to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            3    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
            4    the subpoenas previously served on this third party plan sponsor.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    regarding a reasonably tailored sample of customers for which UHC could produce documents
            8    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            9    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           10    showing fees paid by the customer for Facility R&C.
           11    REQUEST NO. 38:
           12           Any and all documents from the following categories, from January 1, 2015 to present,
           13    relating the group healthcare plan(s) administered by United for its customer, Tesla:
           14           a)      The administrative services agreement, including all amendments thereto, between
           15    United and this customer;
           16           b)      Correspondence and documents relating to or discussing the adoption, selection,
           17    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           18    Customary”) savings program for this customer, this request includes both internal and external
           19    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           20    program;
           21           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           22    estimates, or other materials provided between United and this customer regarding United’s Facility
           23    R&C or similar savings program(s);
           24           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           25    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           26    similar savings program(s).
           27

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            1    RESPONSE TO REQUEST NO. 38:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            8    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            9    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           10    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           11    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           12    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           13    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           14    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           15    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           16    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           17    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           18    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           19    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           20    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           21    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           22    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           23    UBH and UHC also object to the extent this Request seeks documents outside the time period
           24    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           25    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           26    the subpoenas previously served on this third party plan sponsor.
           27           Subject to and without waiving the General Objections, the Objections to Definitions and
           28    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs

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            1    regarding a reasonably tailored sample of customers for which UHC could produce documents
            2    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            3    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            4    showing fees paid by the customer for Facility R&C.
            5    REQUEST NO. 39:
            6           Any and all documents from the following categories, from January 1, 2015 to present,
            7    relating the group healthcare plan(s) administered by United for its customer, Union Pacific
            8    Corporation:
            9           a)      The administrative services agreement, including all amendments thereto, between
           10    United and this customer;
           11           b)      Correspondence and documents relating to or discussing the adoption, selection,
           12    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           13    Customary”) savings program for this customer, this request includes both internal and external
           14    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           15    program;
           16           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           17    estimates, or other materials provided between United and this customer regarding United’s Facility
           18    R&C or similar savings program(s);
           19           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           20    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           21    similar savings program(s).
           22    RESPONSE TO REQUEST NO. 39:
           23           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           24    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           25    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           26    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           27    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           28    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as

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            1    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            2    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            3    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            4    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            5    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
            6    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            7    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            8    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            9    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           10    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           11    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           12    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           13    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           14    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           15    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           16    UBH and UHC also object to the extent this Request seeks documents outside the time period
           17    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           18    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           19    the subpoenas previously served on this third party plan sponsor.
           20           Subject to and without waiving the General Objections, the Objections to Definitions and
           21    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           22    regarding a reasonably tailored sample of customers for which UHC could produce documents
           23    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           24    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           25    showing fees paid by the customer for Facility R&C.
           26    REQUEST NO. 40:
           27           Any and all documents from the following categories, from January 1, 2015 to present,
           28    relating the group healthcare plan(s) administered by United for its customer, US Bank:

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            1           a)      The administrative services agreement, including all amendments thereto, between
            2    United and this customer;
            3           b)      Correspondence and documents relating to or discussing the adoption, selection,
            4    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            5    Customary”) savings program for this customer, this request includes both internal and external
            6    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            7    program;
            8           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            9    estimates, or other materials provided between United and this customer regarding United’s Facility
           10    R&C or similar savings program(s);
           11           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           12    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           13    similar savings program(s).
           14    RESPONSE TO REQUEST NO. 40:
           15           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           16    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           17    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           18    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           19    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           20    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           21    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           22    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           23    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           24    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           25    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           26    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           27    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           28    shifting list of customers, all of whom require individualized searches within UHC and intrusive

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            1    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            2    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            3    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            4    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            5    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            6    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            7    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            8    UBH and UHC also object to the extent this Request seeks documents outside the time period
            9    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           10    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
           11    parties’ discussions about third party discovery.
           12           Subject to and without waiving the General Objections, the Objections to Definitions and
           13    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           14    regarding a reasonably tailored sample of customers for which UHC could produce documents
           15    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           16    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           17    showing fees paid by the customer for Facility R&C.
           18    REQUEST NO. 41:
           19           Any and all documents from the following categories, from January 1, 2015 to present,
           20    relating the group healthcare plan(s) administered by United for its customer, Viacom, Inc.:
           21           a)      The administrative services agreement, including all amendments thereto, between
           22    United and this customer;
           23           b)      Correspondence and documents relating to or discussing the adoption, selection,
           24    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           25    Customary”) savings program for this customer, this request includes both internal and external
           26    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           27    program;
           28

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            1           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            2    estimates, or other materials provided between United and this customer regarding United’s Facility
            3    R&C or similar savings program(s);
            4           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
            5    savings program evaluations, between United and this customer referencing United’s Facility R&C or
            6    similar savings program(s).
            7    RESPONSE TO REQUEST NO. 41:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           10    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           11    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           12    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           13    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           14    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           15    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           16    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           17    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           18    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           19    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           20    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           21    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           22    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           23    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           24    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           25    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           26    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           27    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           28    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.

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            1    UBH and UHC also object to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
            3    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
            4    the subpoenas previously served on this third party plan sponsor.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    regarding a reasonably tailored sample of customers for which UHC could produce documents
            8    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            9    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           10    showing fees paid by the customer for Facility R&C.
           11    REQUEST NO. 42:
           12           Any and all documents from the following categories, from January 1, 2015 to present,
           13    relating the group healthcare plan(s) administered by United for its customer, ViacomCBS, Inc.:
           14           a)      The administrative services agreement, including all amendments thereto, between
           15    United and this customer;
           16           b)      Correspondence and documents relating to or discussing the adoption, selection,
           17    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           18    Customary”) savings program for this customer, this request includes both internal and external
           19    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           20    program;
           21           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           22    estimates, or other materials provided between United and this customer regarding United’s Facility
           23    R&C or similar savings program(s);
           24           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           25    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           26    similar savings program(s).
           27

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            1    RESPONSE TO REQUEST NO. 42:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            8    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            9    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           10    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           11    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           12    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           13    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           14    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           15    shifting list of customers, all of whom require individualized searches within UHC and intrusive
           16    interactions with third parties for which the burden far exceeds their limited relevance to the case.
           17    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           18    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           19    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           20    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           21    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           22    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           23    UBH and UHC also object to the extent this Request seeks documents outside the time period
           24    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           25    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           26    the subpoenas previously served on this third party plan sponsor.
           27           Subject to and without waiving the General Objections, the Objections to Definitions and
           28    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs

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            1    regarding a reasonably tailored sample of customers for which UHC could produce documents
            2    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
            3    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
            4    showing fees paid by the customer for Facility R&C.
            5    REQUEST NO. 43:
            6           Any and all documents from the following categories, from January 1, 2015 to present,
            7    relating the group healthcare plan(s) administered by United for its customer, VMware, Inc.:
            8           a)      The administrative services agreement, including all amendments thereto, between
            9    United and this customer;
           10           b)      Correspondence and documents relating to or discussing the adoption, selection,
           11    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
           12    Customary”) savings program for this customer, this request includes both internal and external
           13    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
           14    program;
           15           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
           16    estimates, or other materials provided between United and this customer regarding United’s Facility
           17    R&C or similar savings program(s);
           18           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           19    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           20    similar savings program(s).
           21    RESPONSE TO REQUEST NO. 43:
           22           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           23    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           24    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           25    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           26    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           27    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           28    overly broad and unduly burdensome. By way of example only, this Request is overly broad and

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            1    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            2    documents” within broadly-defined categories that do not concern the claims and/or program at issue
            3    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
            4    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
            5    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
            6    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
            7    shifting list of customers, all of whom require individualized searches within UHC and intrusive
            8    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            9    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
           10    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
           11    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
           12    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
           13    information which is subject to a claim of privilege or which is otherwise protected from disclosure
           14    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
           15    UBH and UHC also object to the extent this Request seeks documents outside the time period
           16    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           17    restate and incorporate the objections outlined in their February 1, 2022 letter to Plaintiffs regarding
           18    the subpoenas previously served on this third party plan sponsor.
           19           Subject to and without waiving the General Objections, the Objections to Definitions and
           20    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           21    regarding a reasonably tailored sample of customers for which UHC could produce documents
           22    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           23    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           24    showing fees paid by the customer for Facility R&C.
           25    REQUEST NO. 44:
           26           Any and all documents from the following categories, from January 1, 2015 to present,
           27    relating the group healthcare plan(s) administered by United for its customer, Wells Fargo:
           28

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            1           a)      The administrative services agreement, including all amendments thereto, between
            2    United and this customer;
            3           b)      Correspondence and documents relating to or discussing the adoption, selection,
            4    application and administration of United’s Facility R&C (also known as the “Facility Reasonable &
            5    Customary”) savings program for this customer, this request includes both internal and external
            6    correspondence related to inquiries from this customer regarding claims paid under the Facility R&C
            7    program;
            8           c)      Marketing materials, “pitch” materials, correspondence, presentations, ‘savings’
            9    estimates, or other materials provided between United and this customer regarding United’s Facility
           10    R&C or similar savings program(s);
           11           d)      Monthly invoices, bills, quarterly or other savings reconciliations, quarterly or other
           12    savings program evaluations, between United and this customer referencing United’s Facility R&C or
           13    similar savings program(s).
           14    RESPONSE TO REQUEST NO. 44:
           15           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
           16    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
           17    that it seeks information not relevant to the claims or defenses of any party and not reasonably
           18    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
           19    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
           20    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
           21    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
           22    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
           23    documents” within broadly-defined categories that do not concern the claims and/or program at issue
           24    in this action. Additionally, communications with customers are irrelevant to Plaintiffs’ claims and
           25    allegations in this case, as Plaintiffs assert claims on behalf of members and not plan sponsors. To
           26    the extent the customers are relevant at all, they are only marginally relevant, and UBH and UHC
           27    object to the extent Plaintiffs seek these categories from multiple sources regarding a long and
           28    shifting list of customers, all of whom require individualized searches within UHC and intrusive

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            1    interactions with third parties for which the burden far exceeds their limited relevance to the case.
            2    UBH and UHC further object to the extent this Request is duplicative of requests Plaintiffs served on
            3    third parties to this action. UBH and UHC further object that the terms “marketing materials,” “pitch
            4    materials,” “reconciliations,” “other saving program evaluations,” and “similar savings program(s)”
            5    are vague and ambiguous. UBH and UHC further object to this Request on the grounds that it seeks
            6    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            7    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            8    UBH and UHC also object to the extent this Request seeks documents outside the time period
            9    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH and UHC also
           10    object that this plan sponsor is not one of the 25 plan sponsors Plaintiffs subpoenaed pursuant to the
           11    parties’ discussions about third party discovery.
           12           Subject to and without waiving the General Objections, the Objections to Definitions and
           13    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
           14    regarding a reasonably tailored sample of customers for which UHC could produce documents
           15    sufficient to show the Administrative Services Agreement, any relevant amendments discussing
           16    Facility R&C, any readily available marketing materials regarding Facility R&C, and a summary
           17    showing fees paid by the customer for Facility R&C.
           18

           19    Dated: April 21, 2022
           20                                                  GIBSON, DUNN & CRUTCHER LLP
           21

           22                                                  By: /s/ Geoffrey Sigler
                                                                       Geoffrey Sigler (admitted pro hac vice)
           23

           24                                                  Attorneys for Defendant
                                                               UNITED BEHAVIORAL HEALTH and UNITED
           25                                                  HEALTHCARE INSURANCE COMPANY
           26

           27

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            1                                        CERTIFICATE OF SERVICE
            2            I, hereby certify that on this 21st day of April 2022, pursuant to an agreement of the parties dated
                 April 23, 2021, a copy of the foregoing was served via email to the following:
            3
                         Matthew M. Lavin, Esq. (pro hac vice)
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            6
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                         345 Franklin St.
           10            San Francisco, CA 94102
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           11            katie@dllawgroup.com
           12

           13
                                                                 /s/ Geoffrey Sigler
           14                                                                          Geoffrey M. Sigler
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                 UNITED BEHAVIORAL HEALTH and
          12     UNITED HEALTHCARE INSURANCE COMPANY
          13                                     UNITED STATES DISTRICT COURT

          14                                  NORTHERN DISTRICT OF CALIFORNIA

          15                                             OAKLAND DIVISION

          16     LD, DB, BW, RH and CJ, on behalf of              CASE NO. 4:20-cv-02254
                 themselves and all others similarly situated,
          17                                                      DEFENDANT UNITED BEHAVIORAL
                                        Plaintiffs,               HEALTH’S AND UNITED HEALTHCARE
          18                                                      INSURANCE COMPANY’S RESPONSES
                        v.                                        AND OBJECTIONS TO PLAINTIFF’S
          19                                                      SIXTH SET OF REQUESTS FOR
                 UNITED HEALTHCARE INSURANCE                      PRODUCTION OF DOCUMENTS
          20     COMPANY, a Connecticut Corporation,
                 UNITED BEHAVIORAL HEALTH, a
          21     California Corporation, and MULTIPLAN
                 INC., a New York corporation,
          22
                                        Defendants.
          23

          24     PROPOUNDING PARTY:                    LD, DB, BW, RH and CJ

          25     RESPONDING PARTY:                     UNITED BEHAVIORAL HEALTH and UNITED

          26                                           HEALTHCARE INSURANCE COMPANY

          27     SET NUMBER:                           Six (6)

          28

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            1                                       PRELIMINARY STATEMENT
            2           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Civil Rules
            3    for the United States District Court for the Northern District of California, Defendant United
            4    Behavioral Health (“UBH”) and United Healthcare Insurance Co. (“UHC”) respond to Plaintiffs’
            5    Sixth Set of Requests for Production of Documents (the “Requests” and each individual “Request”).
            6    Plaintiffs’ Requests are objectionable for all of the reasons stated herein but in particular, because
            7    they seek information and documents already sought through discovery requests previously
            8    propounded by Plaintiffs on UBH and UHC and because they seek information and documents
            9    irrelevant to this case which concerns reimbursement of IOP claims using Viant’s OPR product. To
          10     the extent Plaintiffs’ Requests seek documents already requested from Defendants, UBH and UHC
          11     will continue the rolling production of documents UBH and UHC have already agreed to produce, as
          12     described in the responses below. UBH and UHC remain willing to promptly and reasonably resolve
          13     the objections and other issues set out below through a meet-and-confer that should be scheduled
          14     shortly after Plaintiffs’ counsel have had an opportunity to review these responses. UBH and UHC
          15     reserve the right to amend, supplement, and correct their objections or responses as necessary.
          16                                           GENERAL OBJECTIONS
          17            1.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          18     extent it purports to impose obligations on UBH and UHC greater than or beyond those required
          19     under the Federal Rules of Civil Procedure (“Federal Rules”), and the Local Civil Rules of the United
          20     States District Court for the Northern District of California (“Local Rules”), or the Parties’
          21     anticipated ESI Protocol.
          22            2.      UBH and UHC objects to each and every Request, Definition, and Instruction as
          23     overly broad to the extent it seeks discovery on merits issues outside the scope of the administrative
          24     record for the claims at issue in this case. Plaintiffs’ case involves claims for benefits under ERISA,
          25     and therefore discovery should generally be limited to the administrative record for the claims at
          26     issue. See Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).
          27            3.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          28     extent that it seeks information that is exempt from discovery and protected from disclosure by the

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            1    attorney-client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
            2    applicable privilege, doctrine, or protection.
            3           4.      UBH and UHC object to each and every Request, Definition, and Instruction as overly
            4    broad to the extent it seeks information not relevant to the claims or defenses of any party, or
            5    information disproportionate to the needs of the case and of such marginal relevance that its probative
            6    value is substantially outweighed by the burden imposed on UBH and UHC in having to search for
            7    and provide such information.
            8           5.      UBH and UHC object to each and every Request, Definition, and Instruction to the
            9    extent that it seeks proprietary or other confidential information. To the extent any confidential
          10     health information or other sensitive or protected business information is non-privileged and
          11     responsive to the Requests for Production of Documents and not otherwise objectionable, UBH and
          12     UHC will provide such information pursuant to the protections stipulated in the Parties’ protective
          13     order and in accordance with such other procedures as the Parties or Court may establish to protect
          14     sensitive or confidential information. UBH and UHC also reserve the right to redact discrete
          15     categories of especially sensitive information that are not directly relevant to the issues in this case.
          16            6.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          17     extent that the documents requested are already in Plaintiffs’ possession or are available to Plaintiffs
          18     from another source that is more convenient, less burdensome, or less expensive.
          19            7.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          20     extent it calls for production of documents or electronic information that would be unduly
          21     burdensome.
          22            8.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          23     extent it calls for production of electronic information that is not reasonably accessible, including any
          24     archived data or backup tapes that would be unduly burdensome to search or restore.
          25            9.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          26     extent that it implicates the privacy interests of third parties established by law, contract, or custom.
          27     This includes, but is not limited to, information covered by the Health Insurance Portability and
          28     Accountability Act, and in particular sensitive health information regarding the mental health and

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            1    substance abuse conditions and treatments of participants and beneficiaries who are not named
            2    Plaintiffs in this case. To the extent any confidential health information is non-privileged and
            3    responsive to the Requests and not otherwise objectionable, UBH and UHC will provide such
            4    documents and information pursuant to the Protective Order, and reserves the right to redact
            5    identifiers and other patient-specific information as well.
            6           10.     UBH and UHC object to each and every Request, Definition, and Instruction to the
            7    extent that it seeks documents outside of UBH’s and UHC’s possession, custody, and control,
            8    including to the extent any Requests seek information from a “United” entity other than UBH and
            9    UHC.
          10            11.     Nothing contained herein or provided in response to the Requests consists of, or
          11     should be construed as, an admission relating to the accuracy, relevance, existence, or nonexistence
          12     of any alleged facts or information referenced in any Requests. By indicating that it will produce
          13     non-objectionable, non-privileged responsive documents, UBH and UHC does not make a
          14     representation that such documents exist or are in UBH’s and UHC’s possession, but only that UBH
          15     and UHC will conduct the reasonable searches indicated for the documents sought.
          16            12.     UBH and UHC objects to each and every Request, Definition, and Instruction to the
          17     extent that it seeks documents outside of the relevant scope of discovery and statute of limitations for
          18     this case which is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims.
          19     See Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238
          20     F.3d 1006, 1108 (9th Cir. 2001). In the event that UBH and UHC agree to produce documents
          21     outside of the April 2, 2016 to present timeframe—the governing statute of limitations in this case—
          22     such agreement should be deemed limited to that specific Request and is not to be construed as a
          23     waiver or admission of any kind.
          24            13.     UBH and UHC object to each and every Request, Definition, and Instruction to the
          25     extent that it is overly broad, unduly burdensome, and imposes substantial, unjustifiable, and
          26     significant discovery costs and search burdens on UBH and UHC.
          27            14.     Inadvertent production or identification of documents or communications that are
          28     privileged or otherwise immune from discovery shall not constitute a waiver of any such claim with

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            1    respect to the disclosed documents or communications or any other documents or communications or
            2    of the right of UBH and UHC to object to the use of any such documents or the subject matter thereof
            3    during subsequent proceedings. In the event of inadvertent disclosure of such documents, Plaintiff
            4    will return the documents to UBH and UHC and will be precluded from disclosing or relying upon
            5    such documents in any way.
            6           15.     All the General Objections contained herein and Objections to Definitions and
            7    Instructions are expressly incorporated into each of the responses set forth below.
            8                                     OBJECTIONS TO DEFINITIONS
            9           1.      UBH and UHC object to Plaintiffs’ definition of “Defendants” on the ground that it is
          10     vague and ambiguous.
          11            2.      UBH and UHC object to Plaintiffs’ definition of “United” (as well as “You” and
          12     “Your”) on the ground that it is vague, ambiguous, overly broad and unduly burdensome. In
          13     particular, Plaintiffs purport to sweep in various distinct persons and entities through this definition
          14     who are not proper parties to this case and not properly subject to discovery. UBH and UHC will
          15     respond to these Requests for Production of Documents on behalf of United Behavioral Health and
          16     UnitedHealthcare Insurance Company, which are the named defendants in this case.
          17            3.      UBH and UHC object to Plaintiffs’ definition of “person” on the ground that it is
          18     overly broad and unduly burdensome. In particular, Plaintiffs purport to sweep in various distinct
          19     persons and entities through this definition who are not proper parties to this case and not properly
          20     subject to discovery. UBH and UHC will respond to these Requests for Production of Documents on
          21     behalf of United Behavioral Health and UnitedHealthcare Insurance Company, which are the named
          22     defendants in this case.
          23            4.      UBH and UHC object to Plaintiffs’ definition of “document(s)” to the extent that it
          24     seeks to impose obligations on UBH and UHC beyond those required by the Federal rules. UBH and
          25     UHC further object to this definition to the extent it calls for production of electronic information that
          26     is not reasonably accessible, including any archived data or backup tapes that would be unduly
          27     burdensome to search or restore. UBH and UHC will use the definition of “documents” set out in
          28     Federal Rule 34.

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            1           5.      UHB and UHC object to Plaintiffs’ definition of “Verification of Benefits” and
            2    “VOB” on the grounds that this definition is vague and ambiguous.
            3           6.      UHB and UHC object to Plaintiffs’ definition of “utilization review” on the grounds
            4    that this definition is vague, ambiguous, and to the extent it assumes prior approval was obtained or
            5    authorized.
            6           7.      UHB and UHC object to Plaintiffs’ definition of “utilization review” on the grounds
            7    that this definition is vague and ambiguous.
            8           8.      UBH and UHC object to Plaintiffs’ definition of “Administrative Service Agreement”
            9    on the grounds that this definition is vague, ambiguous, and overly broad. For example, the
          10     definition uses the phrase “including affiliated and associated entities,” and could be interpreted as
          11     seeking amendments irrelevant to the issues in the case. Any productions of Administrative Services
          12     Agreements by UBH or UHC will be focused on the agreements and amendments in its own
          13     possession, for its own customers, referring to Facility R&C.
          14            9.      UHB and UHC object to Plaintiffs’ definition of “administrative record” on the
          15     grounds that this definition is vague and ambiguous.
          16                                     OBJECTIONS TO INSTRUCTIONS
          17            1.      UBH and UHC object to Plaintiffs’ failure to number the Instructions. For purposes of
          18     clarity in responding and objecting to Plaintiffs’ Instructions, UBH and UHC have assigned a number
          19     to each Instruction based on the Instruction’s paragraph break.
          20            2.      UBH and UHC object to Plaintiffs’ Instruction 1 to the extent it seeks documents that
          21     are exempt from discovery and protected from disclosure by the attorney-client privilege, the attorney
          22     work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine or
          23     protection.
          24            3.      UBH and UHC object to Plaintiffs’ Instruction 2 that Defendants “must make a
          25     diligent search of your records and of other papers and materials in your possession or available to
          26     you or your representatives” to the extent that this Instruction seeks to impose obligations on UBH
          27     and UHC beyond those required by the Federal Rules. UBH and UHC further object to Instruction 2
          28     to the extent it calls for the production of information outside of UBH’s and UHC’s possession,

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            1    custody, and control and includes documents that may already be in Plaintiffs’ possession or are
            2    available to Plaintiffs from another source that is more convenient, less burdensome, or less
            3    expensive.
            4           4.      UBH and UHC object to Plaintiffs’ Instruction 4 to the extent it requires Defendants to
            5    “[i]dentify the portion to which you cannot respond; state the reason for your inability to respond to
            6    it; and provide whatever materials you possess regarding that portion.” Where UBH and UHC are
            7    unable to fully respond to a request, UBH and UHC will state the reason for its inability to respond,
            8    and otherwise reserves the right to meet and confer.
            9           5.      UBH and UHC object to Plaintiffs’ Instruction 5 to the extent it purports to confer
          10     obligations on UBH and UHC beyond what the Parties have agreed to in their ESI protocol.
          11            6.      UBH and UHC object to Plaintiffs’ Instruction 6 to the extent that this Instruction
          12     seeks to impose obligations on UBH and UHC beyond those required by the Federal Rules.
          13            7.      UBH and UHC object to Plaintiffs’ Instruction 7 that “you should identify the relevant
          14     Bates or reference number (or range of numbers) that corresponds” on the ground that such obligation
          15     would be unduly burdensome given the broad scope and number of the requests.
          16            8.      UBH and UHC object to Plaintiffs’ Instruction 8 that the “time period encompassed by
          17     each Request for Production is the same as the time period relevant to the allegations in the
          18     Complaint” to the extent that this Instruction includes periods outside the relevant scope of discovery
          19     and statute of limitations for this case which, unless otherwise noted in the specific responses below,
          20     is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims. See Withrow v.
          21     Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238 F.3d 1006, 1108
          22     (9th Cir. 2001).
          23            9.      UBH and UHC object to Plaintiffs’ Instruction 9 that each request be deemed
          24     “continuing in nature” on the ground that such obligation would be unduly burdensome given the
          25     broad scope and number of the requests.
          26          SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
          27      REQUEST NO. 1:
          28

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            1           The complete Administrative Record for the member claim with CLAIM_ID 795249968901,
            2    consisting of all documents, records, and other information relevant to the claim for treatment of the
            3    United’s member with MEMBER_ALT_ID 00831138754 for treatment at SUMMIT ESTATE
            4    RECOVERY CENTER. This request specifically includes, but is not limited to:
            5           1. A copy of the entire claim file, which includes, but is not limited to:
            6           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            7    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            8    providers (including provider remittance advices), correspondence with plan member (including
            9    explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          10     communications with any third party including Multiplan regarding the pricing of the claims;
          11            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          12     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          13     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          14     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          15     in determining claim eligibility, and any other claimant documents.
          16            2. The applicable health plan and related documents, including the official plan document, the
          17     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          18     from 07/29/19 to 07/29/19.
          19            3. Any statements of policy of guidance or Claims manuals of APPLE INC.; the Defendants
          20     (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
          21     or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
          22     C.F.R. § 2560.503-1(m)(8);
          23            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          24     and/or the Summary Plan Description were made available to plan participants;
          25            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          26     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          27     Administrator;
          28

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            1           6. Documents sufficient to show the name and address of the registered agent for service of
            2    process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
            3           7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
            4     RESPONSE TO REQUEST NO. 1:
            5           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            7    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            8    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            9    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          10     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          11     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          12     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          13     information about irrelevant treatments to putative class members who are not named plaintiffs or
          14     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          15     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          16     documents and information not limited to the claims and services at issue in this case, and to the
          17     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          18     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          19     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          20     though they are not parties to this case and provider claims previously were dismissed by the Court.
          21     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          22     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          23     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          24     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          25     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          26     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          27     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          28     UHC further object to this Request to the extent it seeks documents and information outside of

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            1    UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
            2    party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
            3    to identify a sample of claims and now there is limited time left in which this information can be
            4    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            5    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            6    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            7           Subject to and without waiving the foregoing objections, the United Defendants will search
            8    for and produce any non-privileged administrative record materials and plan documents that can be
            9    located following a reasonable, good faith search in remaining time left in fact discovery that shows
          10     the amounts reimbursed and information considered by the United Defendants in determining these
          11     amounts for the IOP services in the identified claim.
          12      REQUEST NO. 2:
          13            The complete Administrative Record for the member claim with CLAIM_ID 793057983401,
          14     consisting of all documents, records, and other information relevant to the claim for treatment of the
          15     United’s member with MEMBER_ALT_ID 00919776590 for treatment at SUMMIT ESTATE
          16     RECOVERY CENTER. This request specifically includes, but is not limited to:
          17            1. A copy of the entire claim file, which includes, but is not limited to:
          18            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          19     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          20     providers (including provider remittance advices), correspondence with plan member (including
          21     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          22     communications with any third party including Multiplan regarding the pricing of the claims;
          23            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          24     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          25     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          26     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          27     in determining claim eligibility, and any other claimant documents.
          28

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            1           2. The applicable health plan and related documents, including the official plan document, the
            2    certificate of insurance, and the Summary Plan Description, which were in effect during the period
            3    from 07/01/19 to 07/01/19.
            4           3. Any statements of policy of guidance or Claims manuals of APPLE INC.; the Defendants
            5    (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
            6    or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
            7    C.F.R. § 2560.503-1(m)(8);
            8           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            9    and/or the Summary Plan Description were made available to plan participants;
          10            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          11     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          12     Administrator;
          13            6. Documents sufficient to show the name and address of the registered agent for service of
          14     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          15            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          16     RESPONSE TO REQUEST NO. 2:
          17            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          19     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          20     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          21     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          22     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          23     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          24     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          25     information about irrelevant treatments to putative class members who are not named plaintiffs or
          26     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          27     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          28     documents and information not limited to the claims and services at issue in this case, and to the

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            1    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            2    programs. UBH and UHC further object to this Request on the ground that it seeks information not
            3    involving Plaintiffs or any putative class members, and instead seeks information by providers even
            4    though they are not parties to this case and provider claims previously were dismissed by the Court.
            5    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            6    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
            7    specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          10     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          11     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          12     UHC further object to this Request to the extent it seeks documents and information outside of
          13     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          14     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          15     to identify a sample of claims and now there is limited time left in which this information can be
          16     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          17     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          18     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          19            Subject to and without waiving the foregoing objections, the United Defendants will search
          20     for and produce any non-privileged administrative record materials and plan documents that can be
          21     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          22     the amounts reimbursed and information considered by the United Defendants in determining these
          23     amounts for the IOP services in the identified claim.
          24     REQUEST NO. 3:
          25            The complete Administrative Record for the member claim with CLAIM_ID 793057985301,
          26     consisting of all documents, records, and other information relevant to the claim for treatment of the
          27     United’s member with MEMBER_ALT_ID 00903573655 for treatment at SUMMIT ESTATE
          28     RECOVERY CENTER. This request specifically includes, but is not limited to:

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            1           1. A copy of the entire claim file, which includes, but is not limited to:
            2           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            3    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            4    providers (including provider remittance advices), correspondence with plan member (including
            5    explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
            6    communications with any third party including Multiplan regarding the pricing of the claims;
            7           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
            8    tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
            9    lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          10     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          11     in determining claim eligibility, and any other claimant documents.
          12            2. The applicable health plan and related documents, including the official plan document, the
          13     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          14     from 07/08/19 to 07/08/19.
          15            3. Any statements of policy of guidance or Claims manuals of APPLE INC.; the Defendants
          16     (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
          17     or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
          18     C.F.R. § 2560.503-1(m)(8);
          19            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          20     and/or the Summary Plan Description were made available to plan participants;
          21            5. Documents sufficient to show the official name of the Employee Benefits Plan and name
          22     and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          23     Administrator;
          24            6. Documents sufficient to show the name and address of the registered agent for service of
          25     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          26            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          27

          28

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            1    RESPONSE TO REQUEST NO. 3:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            4    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
            7    programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
            8    product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
            9    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          10     information about irrelevant treatments to putative class members who are not named plaintiffs or
          11     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          12     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          13     documents and information not limited to the claims and services at issue in this case, and to the
          14     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          15     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          16     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          17     though they are not parties to this case and provider claims previously were dismissed by the Court.
          18     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          19     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          20     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          21     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          22     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          23     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          24     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          25     UHC further object to this Request to the extent it seeks documents and information outside of
          26     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          27     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          28     to identify a sample of claims and now there is limited time left in which this information can be

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            1    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            2    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            3    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            4           Subject to and without waiving the foregoing objections, the United Defendants will search
            5    for and produce any non-privileged administrative record materials and plan documents that can be
            6    located following a reasonable, good faith search in remaining time left in fact discovery that shows
            7    the amounts reimbursed and information considered by the United Defendants in determining these
            8    amounts for the IOP services in the identified claim.
            9    REQUEST NO. 4:
          10            The complete Administrative Record for the member claim with CLAIM_ID 749902899601,
          11     consisting of all documents, records, and other information relevant to the claim for treatment of the
          12     United’s member with MEMBER_ALT_ID 00952777284 for treatment at SUMMIT ESTATE
          13     RECOVERY CENTER. This request specifically includes, but is not limited to:
          14            1. A copy of the entire claim file, which includes, but is not limited to:
          15            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          16     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          17     providers (including provider remittance advices), correspondence with plan member (including
          18     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          19     communications with any third party including Multiplan regarding the pricing of the claims;
          20            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          21     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          22     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          23     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          24     in determining claim eligibility, and any other claimant documents.
          25            2. The applicable health plan and related documents, including the official plan document, the
          26     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          27     from 11/26/18 to 11/26/18.
          28

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            1           3. Any statements of policy of guidance or Claims manuals of APPLE INC.; the Defendants
            2    (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
            3    or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
            4    C.F.R. § 2560.503-1(m)(8);
            5           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            6    and/or the Summary Plan Description were made available to plan participants;
            7           5. Documents sufficient to show the official name of the Employee Benefits Plan and name
            8    and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
            9    Administrator;
          10            6. Documents sufficient to show the name and address of the registered agent for service of
          11     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          12            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          13     RESPONSE TO REQUEST NO. 4:
          14            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          16     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          17     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          18     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          19     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          20     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          21     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          22     information about irrelevant treatments to putative class members who are not named plaintiffs or
          23     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          24     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          25     documents and information not limited to the claims and services at issue in this case, and to the
          26     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          27     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          28     involving Plaintiffs or any putative class members, and instead seeks information by providers even

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            1    though they are not parties to this case and provider claims previously were dismissed by the Court.
            2    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            3    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
            4    specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
            5    that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
            6    available, searchable, or producible in the manner requested by Plaintiffs in this Request.
            7    Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
            8    counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
            9    UHC further object to this Request to the extent it seeks documents and information outside of
          10     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          11     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          12     to identify a sample of claims and now there is limited time left in which this information can be
          13     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          14     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          15     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          16            Subject to and without waiving the foregoing objections, the United Defendants will search
          17     for and produce any non-privileged administrative record materials and plan documents that can be
          18     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          19     the amounts reimbursed and information considered by the United Defendants in determining these
          20     amounts for the IOP services in the identified claim.
          21     REQUEST NO. 5:
          22            The complete Administrative Record for the member claim with CLAIM_ID 774722115901,
          23     consisting of all documents, records, and other information relevant to the claim for treatment of the
          24     United’s member with MEMBER_ALT_ID 00907326522 for treatment at SUMMIT ESTATE
          25     RECOVERY CENTER. This request specifically includes, but is not limited to:
          26            1. A copy of the entire claim file, which includes, but is not limited to:
          27            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          28     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare

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            1    providers (including provider remittance advices), correspondence with plan member (including
            2    explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
            3    communications with any third party including Multiplan regarding the pricing of the claims;
            4           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
            5    tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
            6    lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
            7    policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
            8    in determining claim eligibility, and any other claimant documents.
            9           2. The applicable health plan and related documents, including the official plan document, the
          10     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          11     from 04/08/19 to 04/08/19.
          12            3. Any statements of policy of guidance or Claims manuals of TESLA; the Defendants
          13     (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
          14     or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
          15     C.F.R. § 2560.503-1(m)(8);
          16            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          17     and/or the Summary Plan Description were made available to plan participants;
          18            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          19     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          20     Administrator;
          21            6. Documents sufficient to show the name and address of the registered agent for service of
          22     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          23            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          24     RESPONSE TO REQUEST NO. 5:
          25            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          27     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          28     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about

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            1    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
            2    programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
            3    product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
            4    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
            5    information about irrelevant treatments to putative class members who are not named plaintiffs or
            6    otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
            7    overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
            8    documents and information not limited to the claims and services at issue in this case, and to the
            9    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          10     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          11     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          12     though they are not parties to this case and provider claims previously were dismissed by the Court.
          13     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          14     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          15     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          16     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          17     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          18     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          19     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          20     UHC further object to this Request to the extent it seeks documents and information outside of
          21     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          22     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          23     to identify a sample of claims and now there is limited time left in which this information can be
          24     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          25     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          26     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          27            Subject to and without waiving the foregoing objections, the United Defendants will search
          28     for and produce any non-privileged administrative record materials and plan documents that can be

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            1    located following a reasonable, good faith search in remaining time left in fact discovery that shows
            2    the amounts reimbursed and information considered by the United Defendants in determining these
            3    amounts for the IOP services in the identified claim.
            4    REQUEST NO. 6:
            5           The complete Administrative Record for the member claim with CLAIM_ID CA6270678601,
            6    consisting of all documents, records, and other information relevant to the claim for treatment of the
            7    United’s member with MEMBER_ALT_ID 00843696068 for treatment at HIGH WATCH
            8    RECOVERY CENTER INC. This request specifically includes, but is not limited to:
            9           1. A copy of the entire claim file, which includes, but is not limited to:
          10            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          11     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          12     providers (including provider remittance advices), correspondence with plan member (including
          13     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          14     communications with any third party including Multiplan regarding the pricing of the claims;
          15            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          16     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          17     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          18     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          19     in determining claim eligibility, and any other claimant documents.
          20            2. The applicable health plan and related documents, including the official plan document, the
          21     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          22     from 04/02/20 to 04/07/20.
          23            3. Any statements of policy of guidance or Claims manuals of GENERAL DYNAMICS; the
          24     Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
          25     Administrator; or any of their affiliates with respect to the member’s. These documents are requested
          26     pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          27            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          28     and/or the Summary Plan Description were made available to plan participants;

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            1           5. Documents sufficient to show the official name of the Employee Benefits Plan and name
            2    and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
            3    Administrator;
            4           6. Documents sufficient to show the name and address of the registered agent for service of
            5    process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
            6           7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
            7    RESPONSE TO REQUEST NO. 6:
            8           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          10     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          11     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          12     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          13     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          14     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          15     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          16     information about irrelevant treatments to putative class members who are not named plaintiffs or
          17     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          18     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          19     documents and information not limited to the claims and services at issue in this case, and to the
          20     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          21     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          22     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          23     though they are not parties to this case and provider claims previously were dismissed by the Court.
          24     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          25     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          26     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          27     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          28     available, searchable, or producible in the manner requested by Plaintiffs in this Request.

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            1    Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
            2    counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
            3    UHC further object to this Request to the extent it seeks documents and information outside of
            4    UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
            5    party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
            6    to identify a sample of claims and now there is limited time left in which this information can be
            7    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            8    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            9    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          10            Subject to and without waiving the foregoing objections, the United Defendants will search
          11     for and produce any non-privileged administrative record materials and plan documents that can be
          12     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          13     the amounts reimbursed and information considered by the United Defendants in determining these
          14     amounts for the IOP services in the identified claim.
          15     REQUEST NO. 7:
          16            The complete Administrative Record for the member claim with CLAIM_ID CY2407231801,
          17     consisting of all documents, records, and other information relevant to the claim for treatment of the
          18     United’s member with MEMBER_ALT_ID 00955375640 for treatment at HIGH WATCH
          19     RECOVERY CENTER INC. This request specifically includes, but is not limited to:
          20            1. A copy of the entire claim file, which includes, but is not limited to:
          21            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          22     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          23     providers (including provider remittance advices), correspondence with plan member (including
          24     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          25     communications with any third party including Multiplan regarding the pricing of the claims;
          26            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          27     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          28     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim

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            1    policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
            2    in determining claim eligibility, and any other claimant documents.
            3           2. The applicable health plan and related documents, including the official plan document, the
            4    certificate of insurance, and the Summary Plan Description, which were in effect during the period
            5    from 09/23/21 to 09/27/21.
            6           3. Any statements of policy of guidance or Claims manuals of GENERAL DYNAMICS; the
            7    Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
            8    Administrator; or any of their affiliates with respect to the member’s. These documents are requested
            9    pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          10            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          11     and/or the Summary Plan Description were made available to plan participants;
          12            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          13     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          14     Administrator;
          15            6. Documents sufficient to show the name and address of the registered agent for service of
          16     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          17            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          18     RESPONSE TO REQUEST NO. 7:
          19            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          20     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          21     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          22     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          23     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          24     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          25     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          26     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          27     information about irrelevant treatments to putative class members who are not named plaintiffs or
          28     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is

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            1    overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
            2    documents and information not limited to the claims and services at issue in this case, and to the
            3    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            4    programs. UBH and UHC further object to this Request on the ground that it seeks information not
            5    involving Plaintiffs or any putative class members, and instead seeks information by providers even
            6    though they are not parties to this case and provider claims previously were dismissed by the Court.
            7    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            8    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
            9    specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          10     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          11     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          12     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          13     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          14     UHC further object to this Request to the extent it seeks documents and information outside of
          15     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          16     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          17     to identify a sample of claims and now there is limited time left in which this information can be
          18     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          19     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          20     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          21            Subject to and without waiving the foregoing objections, the United Defendants will search
          22     for and produce any non-privileged administrative record materials and plan documents that can be
          23     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          24     the amounts reimbursed and information considered by the United Defendants in determining these
          25     amounts for the IOP services in the identified claim.
          26     REQUEST NO. 8:
          27            The complete Administrative Record for the member claim with CLAIM_ID 747910143001,
          28     consisting of all documents, records, and other information relevant to the claim for treatment of the

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            1    United’s member with MEMBER_ALT_ID 00960679481 for treatment at BRIDGING THE GAPS.
            2    This request specifically includes, but is not limited to:
            3           1. A copy of the entire claim file, which includes, but is not limited to:
            4           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            5    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            6    providers (including provider remittance advices), correspondence with plan member (including
            7    explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
            8    communications with any third party including Multiplan regarding the pricing of the claims;
            9           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          10     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          11     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          12     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          13     in determining claim eligibility, and any other claimant documents.
          14            2. The applicable health plan and related documents, including the official plan document, the
          15     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          16     from 11/08/18 to 11/09/18.
          17            3. Any statements of policy of guidance or Claims manuals of APPLE INC.; the Defendants
          18     (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
          19     or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
          20     C.F.R. § 2560.503-1(m)(8);
          21            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          22     and/or the Summary Plan Description were made available to plan participants;
          23            5. Documents sufficient to show the official name of the Employee Benefits Plan and name
          24     and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          25     Administrator;
          26            6. Documents sufficient to show the name and address of the registered agent for service of
          27     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          28            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.

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            1    RESPONSE TO REQUEST NO. 8:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            4    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
            7    programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
            8    product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
            9    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          10     information about irrelevant treatments to putative class members who are not named plaintiffs or
          11     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          12     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          13     documents and information not limited to the claims and services at issue in this case, and to the
          14     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          15     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          16     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          17     though they are not parties to this case and provider claims previously were dismissed by the Court.
          18     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          19     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          20     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          21     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          22     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          23     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          24     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          25     UHC further object to this Request to the extent it seeks documents and information outside of
          26     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          27     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          28     to identify a sample of claims and now there is limited time left in which this information can be

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            1    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            2    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            3    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            4           Subject to and without waiving the foregoing objections, the United Defendants will search
            5    for and produce any non-privileged administrative record materials and plan documents that can be
            6    located following a reasonable, good faith search in remaining time left in fact discovery that shows
            7    the amounts reimbursed and information considered by the United Defendants in determining these
            8    amounts for the IOP services in the identified claim.
            9    REQUEST NO. 9:
          10            The complete Administrative Record for the member claim with CLAIM_ID 666642653101,
          11     consisting of all documents, records, and other information relevant to the claim for treatment of the
          12     United’s member with MEMBER_ALT_ID 00939384471 for treatment at BRIDGING THE GAPS.
          13     This request specifically includes, but is not limited to:
          14            1. A copy of the entire claim file, which includes, but is not limited to:
          15            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          16     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          17     providers (including provider remittance advices), correspondence with plan member (including
          18     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          19     communications with any third party including Multiplan regarding the pricing of the claims;
          20            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          21     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          22     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          23     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          24     in determining claim eligibility, and any other claimant documents.
          25            2. The applicable health plan and related documents, including the official plan document, the
          26     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          27     from 07/31/17 to 08/04/17.
          28

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            1           3. Any statements of policy of guidance or Claims manuals of SAAB, INC.; the Defendants
            2    (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
            3    or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
            4    C.F.R. § 2560.503-1(m)(8);
            5           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            6    and/or the Summary Plan Description were made available to plan participants;
            7           5. Documents sufficient to show the official name of the Employee Benefits Plan and the
            8    name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
            9    Administrator;
          10            6. Documents sufficient to show the name and address of the registered agent for service of
          11     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          12            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          13            8. Any and all recordings of phone calls between You and the healthcare provider identified
          14     in this request, or its representatives, related to the member identified in this request. This request
          15     includes the verification/eligibility of benefits call and all subsequent utilization review, pre-
          16     certification or prior authorization calls, as well any other calls (such as claim dispute, appeal or
          17     inquiry calls), related to this member and the services they received from the healthcare provider in
          18     your possession.
          19     RESPONSE TO REQUEST NO. 9:
          20            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          21     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          22     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          23     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          24     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          25     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          26     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          27     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          28     information about irrelevant treatments to putative class members who are not named plaintiffs or

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            1    otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
            2    overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
            3    documents and information not limited to the claims and services at issue in this case, and to the
            4    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            5    programs. UBH and UHC further object to this Request on the ground that it seeks information not
            6    involving Plaintiffs or any putative class members, and instead seeks information by providers even
            7    though they are not parties to this case and provider claims previously were dismissed by the Court.
            8    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            9    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          10     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          11     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          12     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          13     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          14     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          15     UHC further object to this Request to the extent it seeks documents and information outside of
          16     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          17     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          18     to identify a sample of claims and now there is limited time left in which this information can be
          19     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          20     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          21     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          22            Subject to and without waiving the foregoing objections, the United Defendants will search
          23     for and produce any non-privileged administrative record materials and plan documents that can be
          24     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          25     the amounts reimbursed and information considered by the United Defendants in determining these
          26     amounts for the IOP services in the identified claim.
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            1    REQUEST NO. 10:
            2           The complete Administrative Record for the member claim with CLAIM_ID 744201493701,
            3    consisting of all documents, records, and other information relevant to the claim for treatment of the
            4    United’s member with MEMBER_ALT_ID 00921842279 for treatment at PCI WEST LAKE
            5    CENTER. This request specifically includes, but is not limited to:
            6           1. A copy of the entire claim file, which includes, but is not limited to:
            7           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            8    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            9    providers (including provider remittance advices), correspondence with plan member (including
          10     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          11     communications with any third party including Multiplan regarding the pricing of the claims;
          12            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          13     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          14     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          15     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          16     in determining claim eligibility, and any other claimant documents.
          17            2. The applicable health plan and related documents, including the official plan document, the
          18     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          19     from 10/22/18 to 10/29/18.
          20            3. Any statements of policy of guidance or Claims manuals of GEICO CORPORATION; the
          21     Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
          22     Administrator; or any of their affiliates with respect to the member’s. These documents are requested
          23     pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          24            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          25     and/or the Summary Plan Description were made available to plan participants;
          26            5. Documents sufficient to show the official name of the Employee Benefits Plan and name
          27     and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          28     Administrator;

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            1           6. Documents sufficient to show the name and address of the registered agent for service of
            2    process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
            3           7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
            4    RESPONSE TO REQUEST NO. 10:
            5           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            7    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            8    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            9    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          10     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          11     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          12     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          13     information about irrelevant treatments to putative class members who are not named plaintiffs or
          14     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          15     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          16     documents and information not limited to the claims and services at issue in this case, and to the
          17     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          18     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          19     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          20     though they are not parties to this case and provider claims previously were dismissed by the Court.
          21     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          22     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          23     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          24     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          25     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          26     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          27     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          28     UHC further object to this Request to the extent it seeks documents and information outside of

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            1    UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
            2    party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
            3    to identify a sample of claims and now there is limited time left in which this information can be
            4    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            5    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            6    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            7           Subject to and without waiving the foregoing objections, the United Defendants will search
            8    for and produce any non-privileged administrative record materials and plan documents that can be
            9    located following a reasonable, good faith search in remaining time left in fact discovery that shows
          10     the amounts reimbursed and information considered by the United Defendants in determining these
          11     amounts for the IOP services in the identified claim.
          12     REQUEST NO. 11:
          13            The complete Administrative Record for the member claim with CLAIM_ID 690601996701,
          14     consisting of all documents, records, and other information relevant to the claim for treatment of the
          15     United’s member with MEMBER_ALT_ID 00913267265 for treatment at PCI WEST LAKE
          16     CENTER. This request specifically includes, but is not limited to:
          17            1. A copy of the entire claim file, which includes, but is not limited to:
          18            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          19     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          20     providers (including provider remittance advices), correspondence with plan member (including
          21     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          22     communications with any third party including Multiplan regarding the pricing of the claims;
          23            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          24     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          25     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          26     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          27     in determining claim eligibility, and any other claimant documents.
          28

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            1           2. The applicable health plan and related documents, including the official plan document, the
            2    certificate of insurance, and the Summary Plan Description, which were in effect during the period
            3    from 12/08/17 to 12/11/17.
            4           3. Any statements of policy of guidance or Claims manuals of ORACLE, INC.; the
            5    Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
            6    Administrator; or any of their affiliates with respect to the member’s. These documents are requested
            7    pursuant to 29 C.F.R. § 2560.503-1(m)(8);
            8           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            9    and/or the Summary Plan Description were made available to plan participants;
          10            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          11     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          12     Administrator;
          13            6. Documents sufficient to show the name and address of the registered agent for service of
          14     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          15            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          16     RESPONSE TO REQUEST NO. 11:
          17            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          19     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          20     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          21     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          22     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          23     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          24     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          25     information about irrelevant treatments to putative class members who are not named plaintiffs or
          26     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          27     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          28     documents and information not limited to the claims and services at issue in this case, and to the

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            1    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            2    programs. UBH and UHC further object to this Request on the ground that it seeks information not
            3    involving Plaintiffs or any putative class members, and instead seeks information by providers even
            4    though they are not parties to this case and provider claims previously were dismissed by the Court.
            5    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            6    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
            7    specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          10     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          11     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          12     UHC further object to this Request to the extent it seeks documents and information outside of
          13     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          14     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          15     to identify a sample of claims and now there is limited time left in which this information can be
          16     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          17     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          18     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          19            Subject to and without waiving the foregoing objections, the United Defendants will search
          20     for and produce any non-privileged administrative record materials and plan documents that can be
          21     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          22     the amounts reimbursed and information considered by the United Defendants in determining these
          23     amounts for the IOP services in the identified claim.
          24     REQUEST NO. 12:
          25            The complete Administrative Record for the member claim with CLAIM_ID 624099128001,
          26     consisting of all documents, records, and other information relevant to the claim for treatment of the
          27     United’s member with MEMBER_ALT_ID 00818711860 for treatment at DESERT COVE
          28     RECOVERY CENTER LLC. This request specifically includes, but is not limited to:

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            1           1. A copy of the entire claim file, which includes, but is not limited to:
            2           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            3    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            4    providers (including provider remittance advices), correspondence with plan member (including
            5    explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
            6    communications with any third party including Multiplan regarding the pricing of the claims;
            7           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
            8    tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
            9    lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          10     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          11     in determining claim eligibility, and any other claimant documents.
          12            2. The applicable health plan and related documents, including the official plan document, the
          13     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          14     from 11/07/16 to 11/11/16.
          15            3. Any statements of policy of guidance or Claims manuals of NOKIA; the Defendants
          16     including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
          17     or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
          18     C.F.R. § 2560.503-1(m)(8);
          19            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          20     and/or the Summary Plan Description were made available to plan participants;
          21            5. Documents sufficient to show the official name of the Employee Benefits Plan and name
          22     and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          23     Administrator;
          24            6. Documents sufficient to show the name and address of the registered agent for service of
          25     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          26            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          27            8. Any and all recordings of phone calls between You and the healthcare provider identified
          28     in this request, or its representatives, related to the member identified in this request. This request

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            1    includes the verification/eligibility of benefits call and all subsequent utilization review, pre-
            2    certification or prior authorization calls, as well any other calls (such as claim dispute, appeal or
            3    inquiry calls), related to this member and the services they received from the healthcare provider in
            4    your possession.
            5    RESPONSE TO REQUEST NO. 12:
            6           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            8    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          10     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          11     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          12     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          13     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          14     information about irrelevant treatments to putative class members who are not named plaintiffs or
          15     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          16     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          17     documents and information not limited to the claims and services at issue in this case, and to the
          18     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          19     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          20     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          21     though they are not parties to this case and provider claims previously were dismissed by the Court.
          22     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          23     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          24     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          25     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          26     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          27     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          28     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and

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            1    UHC further object to this Request to the extent it seeks documents and information outside of
            2    UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
            3    party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
            4    to identify a sample of claims and now there is limited time left in which this information can be
            5    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            6    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            7    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            8           Subject to and without waiving the foregoing objections, the United Defendants will search
            9    for and produce any non-privileged administrative record materials and plan documents that can be
          10     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          11     the amounts reimbursed and information considered by the United Defendants in determining these
          12     amounts for the IOP services in the identified claim.
          13     REQUEST NO. 13:
          14            The complete Administrative Record for the member claim with CLAIM_ID 625043583601,
          15     consisting of all documents, records, and other information relevant to the claim for treatment of the
          16     United’s member with MEMBER_ALT_ID 00934387561 for treatment at DESERT COVE
          17     RECOVERY CENTER LLC. This request specifically includes, but is not limited to:
          18            1. A copy of the entire claim file, which includes, but is not limited to:
          19            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          20     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          21     providers (including provider remittance advices), correspondence with plan member (including
          22     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          23     communications with any third party including Multiplan regarding the pricing of the claims;
          24            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          25     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          26     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          27     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          28     in determining claim eligibility, and any other claimant documents.

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            1           2. The applicable health plan and related documents, including the official plan document, the
            2    certificate of insurance, and the Summary Plan Description, which were in effect during the period
            3    from 10/10/16 to 10/14/16.
            4           3. Any statements of policy of guidance or Claims manuals of TEXTRON; the Defendants
            5    (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
            6    or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
            7    C.F.R. § 2560.503-1(m)(8);
            8           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            9    and/or the Summary Plan Description were made available to plan participants;
          10            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          11     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          12     Administrator;
          13            6. Documents sufficient to show the name and address of the registered agent for service
          14     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          15            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          16            8. Any and all recordings of phone calls between You and the healthcare provider identified
          17     in this request, or its representatives, related to the member identified in this request. This request
          18     includes the verification/eligibility of benefits call and all subsequent utilization review, pre-
          19     certification or prior authorization calls, as well any other calls (such as claim dispute, appeal or
          20     inquiry calls), related to this member and the services they received from the healthcare provider in
          21     your possession.
          22     RESPONSE TO REQUEST NO. 13:
          23            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          25     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          26     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          27     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          28     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR

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            1    product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
            2    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
            3    information about irrelevant treatments to putative class members who are not named plaintiffs or
            4    otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
            5    overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
            6    documents and information not limited to the claims and services at issue in this case, and to the
            7    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            8    programs. UBH and UHC further object to this Request on the ground that it seeks information not
            9    involving Plaintiffs or any putative class members, and instead seeks information by providers even
          10     though they are not parties to this case and provider claims previously were dismissed by the Court.
          11     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          12     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          13     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          14     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          15     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          16     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          17     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          18     UHC further object to this Request to the extent it seeks documents and information outside of
          19     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          20     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          21     to identify a sample of claims and now there is limited time left in which this information can be
          22     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          23     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          24     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          25            Subject to and without waiving the foregoing objections, the United Defendants will search
          26     for and produce any non-privileged administrative record materials and plan documents that can be
          27     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          28

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            1    the amounts reimbursed and information considered by the United Defendants in determining these
            2    amounts for the IOP services in the identified claim.
            3    REQUEST NO. 14:
            4           The complete Administrative Record for the member claim with CLAIM_ID CA5576055101,
            5    consisting of all documents, records, and other information relevant to the claim for treatment of the
            6    United’s member with MEMBER_ALT_ID 00935433322 for treatment at PATHWAY TO HOPE.
            7    This request specifically includes, but is not limited to:
            8           1. A copy of the entire claim file, which includes, but is not limited to:
            9           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          10     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          11     providers (including provider remittance advices), correspondence with plan member (including
          12     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          13     communications with any third party including Multiplan regarding the pricing of the claims;
          14            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          15     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          16     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          17     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          18     in determining claim eligibility, and any other claimant documents.
          19            2. The applicable health plan and related documents, including the official plan document, the
          20     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          21     from 04/08/20 to 04/10/20.
          22            3. Any statements of policy of guidance or Claims manuals of CISCO SYSTEMS, INC.; the
          23     Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
          24     Administrator; or any of their affiliates with respect to the member’s. These documents the requested
          25     pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          26            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          27     and/or the Summary Plan Description were made available to plan participants;
          28

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            1           5. Documents sufficient to show the official name of the Employee Benefits Plan and the
            2    name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
            3    Administrator;
            4           6. Documents sufficient to show the name and address of the registered agent for service of
            5    process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
            6           7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
            7           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            9    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          10     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          11     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          12     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          13     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          14     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          15     information about irrelevant treatments to putative class members who are not named plaintiffs or
          16     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          17     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          18     documents and information not limited to the claims and services at issue in this case, and to the
          19     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          20     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          21     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          22     though they are not parties to this case and provider claims previously were dismissed by the Court.
          23     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          24     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          25     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          26     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          27     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          28     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on

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            1    counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
            2    UHC further object to this Request to the extent it seeks documents and information outside of
            3    UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
            4    party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
            5    to identify a sample of claims and now there is limited time left in which this information can be
            6    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            7    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            8    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            9           Subject to and without waiving the foregoing objections, the United Defendants will search
          10     for and produce any non-privileged administrative record materials and plan documents that can be
          11     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          12     the amounts reimbursed and information considered by the United Defendants in determining these
          13     amounts for the IOP services in the identified claim.
          14     RESPONSE TO REQUEST NO. 14:
          15            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          16     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          17     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          18     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          19     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          20     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          21     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          22     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          23     information about irrelevant treatments to putative class members who are not named plaintiffs or
          24     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          25     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          26     documents and information not limited to the claims and services at issue in this case, and to the
          27     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          28     programs. UBH and UHC further object to this Request on the ground that it seeks information not

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            1    involving Plaintiffs or any putative class members, and instead seeks information by providers even
            2    though they are not parties to this case and provider claims previously were dismissed by the Court.
            3    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            4    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
            5    specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
            6    that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
            7    available, searchable, or producible in the manner requested by Plaintiffs in this Request.
            8    Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
            9    counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          10     UHC further object to this Request to the extent it seeks documents and information outside of
          11     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          12     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          13     to identify a sample of claims and now there is limited time left in which this information can be
          14     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          15     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          16     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          17            Subject to and without waiving the foregoing objections, the United Defendants will search
          18     for and produce any non-privileged administrative record materials and plan documents that can be
          19     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          20     the amounts reimbursed and information considered by the United Defendants in determining these
          21     amounts for the IOP services in the identified claim.
          22     REQUEST NO. 15:
          23            The complete Administrative Record for the member claim with CLAIM_ID AY9855962001,
          24     consisting of all documents, records, and other information relevant to the claim for treatment of the
          25     United’s member with MEMBER_ALT_ID 00920940449 for treatment at PATHWAY TO HOPE.
          26     This request specifically includes, but not limited to:
          27            1. A copy of the entire claim file, which includes, but is not limited to:
          28

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            1           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            2    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            3    providers (including provider remittance advices), correspondence with plan member (including
            4    explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
            5    communications with any third party including Multiplan regarding the pricing of the claims;
            6           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
            7    tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
            8    lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
            9    policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          10     in determining claim eligibility, and any other claimant documents.
          11            2. The applicable health plan and related documents, including the official plan document, the
          12     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          13     from 03/06/20 to 03/06/20.
          14            3. Any statements of policy of guidance or Claims manuals of RITE AID CORPORATION;
          15     the Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
          16     Administrator; or any of their affiliates with respect to the member’s. These documents are requested
          17     pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          18            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          19     and/or the Summary Plan Description were made available to plan participants;
          20            5. Documents sufficient to show the official name of the Employee Benefits Plan and name
          21     and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          22     Administrator;
          23            6. Documents sufficient to show the name and address of the registered agent for service of
          24     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          25            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          26     RESPONSE TO REQUEST NO. 15:
          27            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          28     Instructions in their entirety into this response. UBH and UHC further object to this Request on the

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            1    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            2    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            3    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
            4    programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
            5    product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
            6    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
            7    information about irrelevant treatments to putative class members who are not named plaintiffs or
            8    otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
            9    overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          10     documents and information not limited to the claims and services at issue in this case, and to the
          11     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          12     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          13     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          14     though they are not parties to this case and provider claims previously were dismissed by the Court.
          15     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          16     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          17     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          18     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          19     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          20     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          21     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          22     UHC further object to this Request to the extent it seeks documents and information outside of
          23     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          24     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          25     to identify a sample of claims and now there is limited time left in which this information can be
          26     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          27     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          28     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.

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            1           Subject to and without waiving the foregoing objections, the United Defendants will search
            2    for and produce any non-privileged administrative record materials and plan documents that can be
            3    located following a reasonable, good faith search in remaining time left in fact discovery that shows
            4    the amounts reimbursed and information considered by the United Defendants in determining these
            5    amounts for the IOP services in the identified claim.
            6    REQUEST NO. 16:
            7           The complete Administrative Record for the member claim with CLAIM_ID 761206939101,
            8    consisting of all documents, records, and other information relevant to the claim for treatment of the
            9    United’s member with MEMBER_ALT_ID 00975029724 for treatment at OCEAN BREEZE
          10     RECOVERY LLC. This request specifically includes, but is not limited to:
          11            1. A copy of the entire claim file, which includes, but is not limited to:
          12            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          13     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          14     providers (including provider remittance advices), correspondence with plan member (including
          15     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          16     communications with any third party including Multiplan regarding the pricing of the claims;
          17            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          18     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          19     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          20     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          21     in determining claim eligibility, and any other claimant documents.
          22            2. The applicable health plan and related documents, including the official plan document, the
          23     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          24     from 01/30/19 to 01/30/19.
          25            3. Any statements of policy of guidance or Claims manuals of RAYTHEON COMPANY; the
          26     Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
          27     Administrator; or any of their affiliates with respect to the member’s. These documents are requested
          28     pursuant to 29 C.F.R. § 2560.503-1(m)(8);

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            1           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            2    and/or the Summary Plan Description were made available to plan participants;
            3           5. Documents sufficient to show the official name of the Employee Benefits Plan and the
            4    name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
            5    Administrator;
            6           6. Documents sufficient to show the name and address of the registered agent for service of
            7    process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
            8           7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
            9    RESPONSE TO REQUEST NO. 16:
          10            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          11     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          12     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          13     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          14     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          15     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          16     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          17     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          18     information about irrelevant treatments to putative class members who are not named plaintiffs or
          19     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          20     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          21     documents and information not limited to the claims and services at issue in this case, and to the
          22     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          23     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          24     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          25     though they are not parties to this case and provider claims previously were dismissed by the Court.
          26     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          27     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          28     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds

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            1    that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
            2    available, searchable, or producible in the manner requested by Plaintiffs in this Request.
            3    Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
            4    counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
            5    UHC further object to this Request to the extent it seeks documents and information outside of
            6    UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
            7    party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
            8    to identify a sample of claims and now there is limited time left in which this information can be
            9    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          10     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          11     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          12            Subject to and without waiving the foregoing objections, the United Defendants will search
          13     for and produce any non-privileged administrative record materials and plan documents that can be
          14     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          15     the amounts reimbursed and information considered by the United Defendants in determining these
          16     amounts for the IOP services in the identified claim.
          17     REQUEST NO. 17:
          18            The complete Administrative Record for the member claim with CLAIM_ID 661228944101,
          19     consisting of all documents, records, and other information relevant to the claim for treatment of the
          20     United’s member with MEMBER_ALT_ID 00932720081 for treatment at OCEAN BREEZE
          21     RECOVERY LLC. This request specifically includes, but is not limited to:
          22            1. A copy of the entire claim file, which includes, but is not limited to:
          23            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          24     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          25     providers (including provider remittance advices), correspondence with plan member (including
          26     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          27     communications with any third party including Multiplan regarding the pricing of the claims;
          28

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            1           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
            2    tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
            3    lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
            4    policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
            5    in determining claim eligibility, and any other claimant documents.
            6           2. The applicable health plan and related documents, including the official plan document, the
            7    certificate of insurance, and the Summary Plan Description, which were in effect during the period
            8    from 07/05/17 to 07/06/17.
            9           3. Any statements of policy of guidance or Claims manuals of NESTLE USA, INC.; the
          10     Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
          11     Administrator; or any of their affiliates with respect to the member’s. These documents are requested
          12     pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          13            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          14     and/or the Summary Plan Description were made available to plan participants;
          15            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          16     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          17     Administrator;
          18            6. Documents sufficient to show the name and address of the registered agent for service of
          19     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          20            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          21     RESPONSE TO REQUEST NO. 17:
          22            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          23     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          24     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          25     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          26     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          27     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          28     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are

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            1    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
            2    information about irrelevant treatments to putative class members who are not named plaintiffs or
            3    otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
            4    overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
            5    documents and information not limited to the claims and services at issue in this case, and to the
            6    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            7    programs. UBH and UHC further object to this Request on the ground that it seeks information not
            8    involving Plaintiffs or any putative class members, and instead seeks information by providers even
            9    though they are not parties to this case and provider claims previously were dismissed by the Court.
          10     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          11     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          12     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          13     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          14     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          15     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          16     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          17     UHC further object to this Request to the extent it seeks documents and information outside of
          18     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          19     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          20     to identify a sample of claims and now there is limited time left in which this information can be
          21     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          22     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          23     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          24            Subject to and without waiving the foregoing objections, the United Defendants will search
          25     for and produce any non-privileged administrative record materials and plan documents that can be
          26     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          27     the amounts reimbursed and information considered by the United Defendants in determining these
          28     amounts for the IOP services in the identified claim.

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            1    REQUEST NO. 18:
            2           The complete Administrative Record for the member claim with CLAIM_ID CR4734681501,
            3    consisting of all documents, records, and other information relevant to the claim for treatment of the
            4    United’s member with MEMBER_ALT_ID 00809490519 for treatment at PALM BEACH
            5    RECOVERY. This request specifically includes, but is not limited to:
            6           1. A copy of the entire claim file, which includes, but is not limited to:
            7           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            8    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            9    providers (including provider remittance advices), correspondence with plan member (including
          10     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          11     communications with any third party including Multiplan regarding the pricing of the claims;
          12            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          13     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          14     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          15     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          16     in determining claim eligibility, and any other claimant documents.
          17            2. The applicable health plan and related documents, including the official plan document, the
          18     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          19     from 05/31/21 to 05/31/21.
          20            3. Any statements of policy of guidance or Claims manuals of NATIONAL EDUCATION
          21     ASSOCIATION {NEA}; the Defendants (including any parent, subsidiary, and/or agent); any peer
          22     review companies; the Plan Administrator; or any of their affiliates with respect to the member’s.
          23     These documents are requested pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          24            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          25     and/or the Summary Plan Description were made available to plan participants;
          26            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          27     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          28     Administrator;

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            1           6. Documents sufficient to show the name and address of the registered agent for service of
            2    process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
            3           7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
            4           8. Any and all recordings of phone calls between You and the healthcare provider identified
            5    in this request, or its representatives, related to the member identified in this request. This request
            6    includes the verification/eligibility of benefits call and all subsequent utilization review, pre-
            7    certification or prior authorization calls, as well any other calls (such as claim dispute, appeal or
            8    inquiry calls), related to this member and the services they received from the healthcare provider in
            9    your possession.
          10     RESPONSE TO REQUEST NO. 18:
          11            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          13     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          14     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          15     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          16     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          17     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          18     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          19     information about irrelevant treatments to putative class members who are not named plaintiffs or
          20     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          21     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          22     documents and information not limited to the claims and services at issue in this case, and to the
          23     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          24     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          25     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          26     though they are not parties to this case and provider claims previously were dismissed by the Court.
          27     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          28     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any

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            1    specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
            2    that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
            3    available, searchable, or producible in the manner requested by Plaintiffs in this Request.
            4    Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
            5    counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
            6    UHC further object to this Request to the extent it seeks documents and information outside of
            7    UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
            8    party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
            9    to identify a sample of claims and now there is limited time left in which this information can be
          10     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          11     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          12     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          13            Subject to and without waiving the foregoing objections, the United Defendants will search
          14     for and produce any non-privileged administrative record materials and plan documents that can be
          15     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          16     the amounts reimbursed and information considered by the United Defendants in determining these
          17     amounts for the IOP services in the identified claim.
          18     REQUEST NO. 19:
          19            The complete Administrative Record for the member claim with CLAIM_ID CA9733607301,
          20     consisting of all documents, records, and other information relevant to the claim for treatment of the
          21     United’s member with MEMBER_ALT_ID 00000526414 for treatment at PACIFIC RECOVERY
          22     SOLUTIONS. This request specifically includes, but is not limited to:
          23            1. A copy of the entire claim file, which includes, but is not limited to:
          24            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          25     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          26     providers (including provider remittance advices), correspondence with plan member (including
          27     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          28     communications with any third party including Multiplan regarding the pricing of the

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            1           claims;
            2           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
            3    tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
            4    lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
            5    policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
            6    in determining claim eligibility, and any other claimant documents.
            7           2. The applicable health plan and related documents, including the official plan document, the
            8    certificate of insurance, and the Summary Plan Description, which were in effect during the period
            9    from 04/30/20 to 04/30/20.
          10            3. Any statements of policy of guidance or Claims manuals of US BANK; the Defendants
          11     including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
          12     or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
          13     C.F.R. § 2560.503-1(m)(8);
          14            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          15     and/or the Summary Plan Description were made available to plan participants;
          16            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          17     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          18     Administrator;
          19            6. Documents sufficient to show the name and address of the registered agent for service of
          20     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          21            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          22            8. Any and all recordings of phone calls between You and the healthcare provider identified
          23     in this request, or its representatives, related to the member identified in this request. This request
          24     includes the verification/eligibility of benefits call and all subsequent utilization review, pre-
          25     certification or prior authorization calls, as well any other calls (such as claim dispute, appeal or
          26     inquiry calls), related to this member and the services they received from the healthcare provider in
          27     your possession.
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            1    RESPONSE TO REQUEST NO. 19:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            4    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
            7    programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
            8    product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
            9    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          10     information about irrelevant treatments to putative class members who are not named plaintiffs or
          11     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          12     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          13     documents and information not limited to the claims and services at issue in this case, and to the
          14     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          15     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          16     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          17     though they are not parties to this case and provider claims previously were dismissed by the Court.
          18     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          19     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          20     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          21     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          22     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          23     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          24     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          25     UHC further object to this Request to the extent it seeks documents and information outside of
          26     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          27     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          28     to identify a sample of claims and now there is limited time left in which this information can be

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            1    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            2    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            3    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            4           Subject to and without waiving the foregoing objections, the United Defendants will search
            5    for and produce any non-privileged administrative record materials and plan documents that can be
            6    located following a reasonable, good faith search in remaining time left in fact discovery that shows
            7    the amounts reimbursed and information considered by the United Defendants in determining these
            8    amounts for the IOP services in the identified claim.
            9    REQUEST NO. 20:
          10            The complete Administrative Record for the member claim with CLAIM_ID 769556074501,
          11     consisting of all documents, records, and other information relevant to the claim for treatment of the
          12     United’s member with MEMBER_ALT_ID 00966703288 for treatment at PACIFIC RECOVERY
          13     SOLUTIONS. This request specifically includes, but is not limited to:
          14            1. A copy of the entire claim file, which includes, but is not limited to:
          15            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          16     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          17     providers (including provider remittance advices), correspondence with plan member (including
          18     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          19     communications with any third party including Multiplan regarding the pricing of the claims;
          20            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          21     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          22     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          23     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          24     in determining claim eligibility, and any other claimant documents.
          25            2. The applicable health plan and related documents, including the official plan document, the
          26     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          27     from 02/18/19 to 02/20/19.
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            1           3. Any statements of policy of guidance or Claims manuals of MCMASTER-CARR SUPPLY
            2    COMPANY; the Defendants (including any parent, subsidiary, and/or agent); any peer review
            3    companies; the Plan Administrator; or any of their affiliates with respect to the member’s. These
            4    documents are requested pursuant to 29 C.F.R. § 2560.503-1(m)(8);
            5           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            6    and/or the Summary Plan Description were made available to plan participants;
            7           5. Documents sufficient to show the official name of the Employee Benefits Plan and the
            8    name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
            9    Administrator;
          10            6. Documents sufficient to show the name and address of the registered agent for service of
          11     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          12            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          13            8. Any and all recordings of phone calls between You and the healthcare provider identified
          14     in this request, or its representatives, related to the member identified in this request. This request
          15     includes the verification/eligibility of benefits call and all subsequent utilization review, pre-
          16     certification or prior authorization calls, as well any other calls (such as claim dispute, appeal or
          17     inquiry calls), related to this member and the services they received from the healthcare provider in
          18     your possession.
          19     RESPONSE TO REQUEST NO. 20:
          20            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          21     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          22     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          23     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          24     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          25     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          26     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          27     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          28     information about irrelevant treatments to putative class members who are not named plaintiffs or

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            1    otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
            2    overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
            3    documents and information not limited to the claims and services at issue in this case, and to the
            4    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            5    programs. UBH and UHC further object to this Request on the ground that it seeks information not
            6    involving Plaintiffs or any putative class members, and instead seeks information by providers even
            7    though they are not parties to this case and provider claims previously were dismissed by the Court.
            8    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            9    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          10     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          11     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          12     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          13     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          14     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          15     UHC further object to this Request to the extent it seeks documents and information outside of
          16     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          17     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          18     to identify a sample of claims and now there is limited time left in which this information can be
          19     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          20     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          21     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          22            Subject to and without waiving the foregoing objections, the United Defendants will search
          23     for and produce any non-privileged administrative record materials and plan documents that can be
          24     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          25     the amounts reimbursed and information considered by the United Defendants in determining these
          26     amounts for the IOP services in the identified claim.
          27

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            1    REQUEST NO. 21:
            2           The complete Administrative Record for the member claim with CLAIM_ID 794566171401,
            3    consisting of all documents, records, and other information relevant to the claim for treatment of the
            4    United’s member with MEMBER_ALT_ID 00920520108 for treatment at NEW LIFE
            5    TREATMENT CENTER. This request specifically includes, but is not limited to:
            6           1. A copy of the entire claim file, which includes, but is not limited to:
            7           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            8    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            9    providers (including provider remittance advices), correspondence with plan member (including
          10     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          11     communications with any third party including Multiplan regarding the pricing of the claims;
          12            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          13     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          14     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          15     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          16     in determining claim eligibility, and any other claimant documents.
          17            2. The applicable health plan and related documents, including the official plan document, the
          18     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          19     from 07/31/19 to 08/01/19.
          20            3. Any statements of policy of guidance or Claims manuals of TESLA; the Defendants
          21     (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
          22     or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
          23     C.F.R. § 2560.503-1(m)(8);
          24            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          25     and/or the Summary Plan Description were made available to plan participants;
          26            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          27     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          28     Administrator;

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            1           6. Documents sufficient to show the name and address of the registered agent for service of
            2    process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
            3           7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
            4    RESPONSE TO REQUEST NO. 21:
            5           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            7    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            8    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            9    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          10     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          11     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          12     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          13     information about irrelevant treatments to putative class members who are not named plaintiffs or
          14     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          15     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          16     documents and information not limited to the claims and services at issue in this case, and to the
          17     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          18     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          19     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          20     though they are not parties to this case and provider claims previously were dismissed by the Court.
          21     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          22     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          23     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          24     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          25     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          26     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          27     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          28     UHC further object to this Request to the extent it seeks documents and information outside of

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            1    UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
            2    party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
            3    to identify a sample of claims and now there is limited time left in which this information can be
            4    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            5    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            6    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            7           Subject to and without waiving the foregoing objections, the United Defendants will search
            8    for and produce any non-privileged administrative record materials and plan documents that can be
            9    located following a reasonable, good faith search in remaining time left in fact discovery that shows
          10     the amounts reimbursed and information considered by the United Defendants in determining these
          11     amounts for the IOP services in the identified claim.
          12     REQUEST NO. 22:
          13            The complete Administrative Record for the member claim with CLAIM_ID 737594321501,
          14     consisting of all documents, records, and other information relevant to the claim for treatment of the
          15     United’s member with MEMBER_ALT_ID 00963715513 for treatment at NEW LIFE
          16     TREATMENT CENTER. This request specifically includes, but is not limited to:
          17            1. A copy of the entire claim file, which includes, but is not limited to:
          18            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          19     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          20     providers (including provider remittance advices), correspondence with plan member (including
          21     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          22     communications with any third party including Multiplan regarding the pricing of the claims;
          23            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          24     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          25     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          26     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          27     in determining claim eligibility, and any other claimant documents.
          28

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            1           2. The applicable health plan and related documents, including the official plan document, the
            2    certificate of insurance, and the Summary Plan Description, which were in effect during the period
            3    from 09/17/18 to 09/18/18.
            4           3. Any statements of policy of guidance or Claims manuals of WELLS FARGO; the
            5    Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
            6    Administrator; or any of their affiliates with respect to the member’s. These documents are requested
            7    pursuant to 29 C.F.R. § 2560.503-1(m)(8);
            8           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            9    and/or the Summary Plan Description were made available to plan participants;
          10            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          11     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          12     Administrator;
          13            6. Documents sufficient to show the name and address of the registered agent for service of
          14     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          15            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          16     RESPONSE TO REQUEST NO. 22:
          17            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          19     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          20     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          21     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          22     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          23     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          24     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          25     information about irrelevant treatments to putative class members who are not named plaintiffs or
          26     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          27     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          28     documents and information not limited to the claims and services at issue in this case, and to the

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            1    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            2    programs. UBH and UHC further object to this Request on the ground that it seeks information not
            3    involving Plaintiffs or any putative class members, and instead seeks information by providers even
            4    though they are not parties to this case and provider claims previously were dismissed by the Court.
            5    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            6    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
            7    specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
            8    that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
            9    available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          10     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          11     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          12     UHC further object to this Request to the extent it seeks documents and information outside of
          13     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          14     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          15     to identify a sample of claims and now there is limited time left in which this information can be
          16     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          17     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          18     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          19            Subject to and without waiving the foregoing objections, the United Defendants will search
          20     for and produce any non-privileged administrative record materials and plan documents that can be
          21     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          22     the amounts reimbursed and information considered by the United Defendants in determining these
          23     amounts for the IOP services in the identified claim.
          24     REQUEST NO. 23:
          25            The complete Administrative Record for the member claim with CLAIM_ID 604360045001,
          26     consisting of all documents, records, and other information relevant to the claim for treatment of the
          27     United’s member with MEMBER_ALT_ID 00926598613 for treatment at STEPPING STONE OF
          28     SAN DIEGO, INC. This request specifically includes, but is not limited to:

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            1           1. A copy of the entire claim file, which includes, but is not limited to:
            2           a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
            3    messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
            4    providers (including provider remittance advices), correspondence with plan member (including
            5    explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
            6    communications with any third party including Multiplan regarding the pricing of the claims;
            7           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
            8    tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
            9    lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          10     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          11     in determining claim eligibility, and any other claimant documents.
          12            2. The applicable health plan and related documents, including the official plan document, the
          13     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          14     from 06/20/16 to 06/24/16.
          15            3. Any statements of policy of guidance or Claims manuals of APPLE INC.; the Defendants
          16     (including any parent, subsidiary, and/or agent); any peer review companies; the Plan Administrator;
          17     or any of their affiliates with respect to the member’s. These documents are requested pursuant to 29
          18     C.F.R. § 2560.503-1(m)(8);
          19            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          20     and/or the Summary Plan Description were made available to plan participants;
          21            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          22     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          23     Administrator;
          24            6. Documents sufficient to show the name and address of the registered agent for service of
          25     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          26            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          27

          28

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            1    RESPONSE TO REQUEST NO. 23:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC further object to this Request on the
            4    ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
            7    programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
            8    product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
            9    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          10     information about irrelevant treatments to putative class members who are not named plaintiffs or
          11     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          12     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          13     documents and information not limited to the claims and services at issue in this case, and to the
          14     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          15     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          16     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          17     though they are not parties to this case and provider claims previously were dismissed by the Court.
          18     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          19     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          20     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          21     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          22     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          23     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          24     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          25     UHC further object to this Request to the extent it seeks documents and information outside of
          26     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          27     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          28     to identify a sample of claims and now there is limited time left in which this information can be

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            1    identified and produced. UBH and UHC also object to this Request to the extent that it seeks
            2    information which is subject to a claim of privilege or which is otherwise protected from disclosure
            3    by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
            4           Subject to and without waiving the foregoing objections, the United Defendants will search
            5    for and produce any non-privileged administrative record materials and plan documents that can be
            6    located following a reasonable, good faith search in remaining time left in fact discovery that shows
            7    the amounts reimbursed and information considered by the United Defendants in determining these
            8    amounts for the IOP services in the identified claim.
            9    REQUEST NO. 24:
          10            The complete Administrative Record for the member claim with CLAIM_ID CL3731426201,
          11     consisting of all documents, records, and other information relevant to the claim for treatment of the
          12     United’s member with MEMBER_ALT_ID 00928097365 for treatment at ARISE RECOVERY
          13     CENTERS OF AMERICA LLC. This request specifically includes, but is not limited to:
          14            1. A copy of the entire claim file, which includes, but is not limited to:
          15            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          16     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare
          17     providers (including provider remittance advices), correspondence with plan member (including
          18     explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
          19     communications with any third party including Multiplan regarding the pricing of the claims;
          20            b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
          21     tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
          22     lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
          23     policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
          24     in determining claim eligibility, and any other claimant documents.
          25            2. The applicable health plan and related documents, including the official plan document, the
          26     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          27     from 02/18/21 to 02/18/21.
          28

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            1           3. Any statements of policy of guidance or Claims manuals of GEICO CORPORATION; the
            2    Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
            3    Administrator; or any of their affiliates with respect to the member’s. These documents are requested
            4    pursuant to 29 C.F.R. § 2560.503-1(m)(8);
            5           4. Documents sufficient to show the date on which the actual contents of the policy coverage
            6    and/or the Summary Plan Description were made available to plan participants;
            7           5. Documents sufficient to show the official name of the Employee Benefits Plan and the
            8    name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
            9    Administrator;
          10            6. Documents sufficient to show the name and address of the registered agent for service of
          11     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          12            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          13     RESPONSE TO REQUEST NO. 24:
          14            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          16     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          17     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          18     topics other than the reimbursement amount for out-of-network claims for intensive outpatient
          19     programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
          20     product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
          21     objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
          22     information about irrelevant treatments to putative class members who are not named plaintiffs or
          23     otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
          24     overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
          25     documents and information not limited to the claims and services at issue in this case, and to the
          26     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          27     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          28     involving Plaintiffs or any putative class members, and instead seeks information by providers even

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            1    though they are not parties to this case and provider claims previously were dismissed by the Court.
            2    UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
            3    terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
            4    specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
            5    that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
            6    available, searchable, or producible in the manner requested by Plaintiffs in this Request.
            7    Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
            8    counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
            9    UHC further object to this Request to the extent it seeks documents and information outside of
          10     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          11     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          12     to identify a sample of claims and now there is limited time left in which this information can be
          13     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          14     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          15     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          16            Subject to and without waiving the foregoing objections, the United Defendants will search
          17     for and produce any non-privileged administrative record materials and plan documents that can be
          18     located following a reasonable, good faith search in remaining time left in fact discovery that shows
          19     the amounts reimbursed and information considered by the United Defendants in determining these
          20     amounts for the IOP services in the identified claim.
          21     REQUEST NO. 25:
          22            The complete Administrative Record for the member claim with CLAIM_ID 702867372201,
          23     consisting of all documents, records, and other information relevant to the claim for treatment of the
          24     United’s member with MEMBER_ALT_ID 00903502669 for treatment at ARISE RECOVERY
          25     CENTERS OF AMERICA LLC. This request specifically includes, but is not limited to:
          26            1. A copy of the entire claim file, which includes, but is not limited to:
          27            a. all reports and notes regarding the claims, electronic mail messages (e-mails), instant
          28     messages, activity logs, correspondence with medical reviewers, correspondence with healthcare

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            1    providers (including provider remittance advices), correspondence with plan member (including
            2    explanations of benefits, patient advocacy letters and similar correspondence), medical reports, and
            3    communications with any third party including Multiplan regarding the pricing of the claims;
            4           b. all medical records, paper and electronic, including, but not limited to, records of diagnostic
            5    tests and lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications
            6    lists, prognosis, third party records, any correspondence with the claimant, third parties, claim
            7    policies, claim handling manual and/or guidelines, CVs of doctors or medical professionals involved
            8    in determining claim eligibility, and any other claimant documents.
            9           2. The applicable health plan and related documents, including the official plan document, the
          10     certificate of insurance, and the Summary Plan Description, which were in effect during the period
          11     from 03/01/18 to 03/01/18.
          12            3. Any statements of policy of guidance or Claims manuals of FIDELITY INVESTMENTS;
          13     the Defendants (including any parent, subsidiary, and/or agent); any peer review companies; the Plan
          14     Administrator; or any of their affiliates with respect to the member’s. These documents are requested
          15     pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          16            4. Documents sufficient to show the date on which the actual contents of the policy coverage
          17     and/or the Summary Plan Description were made available to plan participants;
          18            5. Documents sufficient to show the official name of the Employee Benefits Plan and the
          19     name and address of the Plan Administrator and the Claim Administrator if not the same as the Plan
          20     Administrator;
          21            6. Documents sufficient to show the name and address of the registered agent for service of
          22     process for the Employee Benefits Plan, the Plan Administrator, and the Claim Administrator;
          23            7. A copy of any specific rule, guideline, or protocol relied upon in determining the claims.
          24     RESPONSE TO REQUEST NO. 25:
          25            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH and UHC further object to this Request on the
          27     ground that it seeks information not relevant to the claims or defenses of any party and not reasonably
          28     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about

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            1    topics other than the reimbursement amount for out-of-network claims for intensive outpatient
            2    programs to treat substance abuse for which reimbursement rates were calculated using Viant’s OPR
            3    product. By requesting information about irrelevant treatments, Plaintiffs’ requests not only are
            4    objectionable under the Federal Rules, but they are also objectionable under HIPAA for seeking
            5    information about irrelevant treatments to putative class members who are not named plaintiffs or
            6    otherwise parties in the case. UBH and UHC object to this Request on the grounds that it is
            7    overbroad and unduly burdensome including to the extent that it seeks “all” or “any” of the requested
            8    documents and information not limited to the claims and services at issue in this case, and to the
            9    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          10     programs. UBH and UHC further object to this Request on the ground that it seeks information not
          11     involving Plaintiffs or any putative class members, and instead seeks information by providers even
          12     though they are not parties to this case and provider claims previously were dismissed by the Court.
          13     UBH and UHC further object to this Request on the grounds that it is vague and ambiguous as to the
          14     terms “claim file,” “Claims manual,” “official plan document,” “peer review companies,” and “any
          15     specific rule, guideline, or protocol.” UBH and UHC further object to this Request on the grounds
          16     that it is overbroad and unduly burdensome in that “Administrative Record[s]” are not readily
          17     available, searchable, or producible in the manner requested by Plaintiffs in this Request.
          18     Furthermore, the member/provider combinations appear to have been “cherrypicked” based on
          19     counsel’s relationships with particular treatment centers and/or provider organizations. UBH and
          20     UHC further object to this Request to the extent it seeks documents and information outside of
          21     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          22     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          23     to identify a sample of claims and now there is limited time left in which this information can be
          24     identified and produced. UBH and UHC also object to this Request to the extent that it seeks
          25     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          26     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          27            Subject to and without waiving the foregoing objections, the United Defendants will search
          28     for and produce any non-privileged administrative record materials and plan documents that can be

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            1    located following a reasonable, good faith search in remaining time left in fact discovery that shows
            2    the amounts reimbursed and information considered by the United Defendants in determining these
            3    amounts for the IOP services in the identified claim.
            4

            5    Dated: June 3, 2022
            6                                                 GIBSON, DUNN & CRUTCHER LLP
            7

            8                                                 By: /s/ Geoffrey Sigler
                                                                      Geoffrey Sigler (admitted pro hac vice)
            9

          10                                                  Attorneys for Defendant
                                                              UNITED BEHAVIORAL HEALTH and UNITED
          11                                                  HEALTHCARE INSURANCE COMPANY
          12

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            1                                        CERTIFICATE OF SERVICE
            2            I, hereby certify that on this 3rd day of June 2022, pursuant to an agreement of the parties dated
                 April 23, 2021, a copy of the foregoing was served via email to the following:
            3
                         Matthew M. Lavin, Esq. (pro hac vice)
            4            Aaron Richard Modiano (pro hac vice)
                         ARNALL GOLDEN GREGORY LLP
            5            1775 Pennsylvania Ave. NW, Suite 1000
                         Washington, DC 2006
            6
                         matt.lavin@agg.com
            7            aaron.modiano@agg.com

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                         Katie J. Spielman
            9            DL Law Group
                         345 Franklin St.
          10             San Francisco, CA 94102
                         david@dllawgroup.com
          11             katie@dllawgroup.com
          12

          13
                                                                 /s/ Geoffrey Sigler
          14                                                                           Geoffrey M. Sigler
          15

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                 1050 Connecticut Avenue, N.W.
            9    Washington, DC 20036-5306
                 Telephone: 202.955.8500
          10     Facsimile: 202.467.0539
          11     Attorneys for Defendants
                 UNITED BEHAVIORAL HEALTH and
          12     UNITED HEALTHCARE INSURANCE COMPANY
          13                                     UNITED STATES DISTRICT COURT

          14                                  NORTHERN DISTRICT OF CALIFORNIA

          15                                             OAKLAND DIVISION

          16     LD, DB, BW, RH and CJ, on behalf of               CASE NO. 4:20-cv-02254
                 themselves and all others similarly situated,
          17                                                       DEFENDANTS UNITED BEHAVIORAL
                                        Plaintiffs,                HEALTH’S AND UNITED HEALTHCARE
          18                                                       INSURANCE COMPANY’S RESPONSES
                        v.                                         AND OBJECTIONS TO PLAINTIFFS’
          19                                                       SEVENTH SET OF REQUESTS FOR
                 UNITED HEALTHCARE INSURANCE                       PRODUCTION OF DOCUMENTS
          20     COMPANY, a Connecticut Corporation,
                 UNITED BEHAVIORAL HEALTH, a
          21     California Corporation, and MULTIPLAN
                 INC., a New York corporation,
          22
                                        Defendants.
          23

          24     PROPOUNDING PARTY:                    LD, DB, BW, RH and CJ

          25     RESPONDING PARTY:                     UNITED BEHAVIORAL HEALTH and UNITED

          26                                           HEALTHCARE INSURANCE COMPANY

          27     SET NUMBER:                           Seven (7)

          28

Gibson, Dunn &       DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1                                          PRELIMINARY STATEMENT
            2           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Civil Rules
            3    for the United States District Court for the Northern District of California, Defendants United
            4    Behavioral Health (“UBH”) and United Healthcare Insurance Co. (“UHC”) respond to Plaintiffs’
            5    Seventh Set of Requests for Production of Documents (the “Requests” and each individual
            6    “Request”). Plaintiffs’ Requests are objectionable for all of the reasons stated herein but in
            7    particular, because they seek information and documents already sought through discovery requests
            8    previously propounded by Plaintiffs on UBH and UHC and because they seek information and
            9    documents irrelevant to this case which concerns reimbursement of IOP claims using Viant’s OPR
          10     product. To the extent Plaintiffs’ Requests seek documents already requested from Defendants, UBH
          11     and UHC will continue the rolling production of documents UBH and UHC have already agreed to
          12     produce, as described in the responses below. UBH and UHC remain willing to promptly and
          13     reasonably resolve the objections and other issues set out below through a meet-and-confer that
          14     should be scheduled shortly after Plaintiffs’ counsel have had an opportunity to review these
          15     responses. UBH and UHC reserve the right to amend, supplement, and correct their objections or
          16     responses as necessary.
          17                                          GENERAL OBJECTIONS
          18            1.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          19     extent it purports to impose obligations on UBH and UHC greater than or beyond those required
          20     under the Federal Rules of Civil Procedure (“Federal Rules”), and the Local Civil Rules of the United
          21     States District Court for the Northern District of California (“Local Rules”), or the Parties’
          22     anticipated ESI Protocol.
          23            2.      UBH and UHC object to each and every Request, Definition, and Instruction as overly
          24     broad to the extent it seeks discovery on merits issues outside the scope of the administrative record
          25     for the claims at issue in this case. Plaintiffs’ case involves claims for benefits under ERISA, and
          26     therefore discovery should generally be limited to the administrative record for the claims at issue.
          27     See Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).
          28
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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1           3.      UBH and UHC object to each and every Request, Definition, and Instruction to the
            2    extent that it seeks information that is exempt from discovery and protected from disclosure by the
            3    attorney-client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
            4    applicable privilege, doctrine, or protection.
            5           4.      UBH and UHC object to each and every Request, Definition, and Instruction as overly
            6    broad to the extent it seeks information not relevant to the claims or defenses of any party, or
            7    information disproportionate to the needs of the case and of such marginal relevance that its probative
            8    value is substantially outweighed by the burden imposed on UBH and UHC in having to search for
            9    and provide such information.
          10            5.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          11     extent that it seeks proprietary or other confidential information. To the extent any confidential
          12     health information or other sensitive or protected business information is non-privileged and
          13     responsive to the Requests for Production of Documents and not otherwise objectionable, UBH and
          14     UHC will provide such information pursuant to the protections stipulated in the Parties’ protective
          15     order and in accordance with such other procedures as the Parties or Court may establish to protect
          16     sensitive or confidential information. UBH and UHC also reserve the right to redact discrete
          17     categories of especially sensitive information that are not directly relevant to the issues in this case.
          18            6.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          19     extent that the documents requested are already in Plaintiffs’ possession or are available to Plaintiffs
          20     from another source that is more convenient, less burdensome, or less expensive.
          21            7.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          22     extent it calls for production of documents or electronic information that would be unduly
          23     burdensome.
          24            8.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          25     extent it calls for production of electronic information that is not reasonably accessible, including any
          26     archived data or backup tapes that would be unduly burdensome to search or restore.
          27            9.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          28     extent that it implicates the privacy interests of third parties established by law, contract, or custom.
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            1    This includes, but is not limited to, information covered by the Health Insurance Portability and
            2    Accountability Act, and in particular sensitive health information regarding the mental health and
            3    substance abuse conditions and treatments of participants and beneficiaries who are not named
            4    Plaintiffs in this case. To the extent any confidential health information is non-privileged and
            5    responsive to the Request and not otherwise objectionable, UBH and UHC will provide such
            6    documents and information pursuant to the Protective Order, and reserves the right to redact
            7    identifiers and other patient-specific information as well.
            8           10.     UBH and UHC object to each and every Request, Definition, and Instruction to the
            9    extent that it seeks documents outside of UBH’s and UHC’s possession, custody, and control,
          10     including to the extent any Requests seek information from a “United” entity other than UBH and
          11     UHC.
          12            11.     Nothing contained herein or provided in response to the Request consists of, or should
          13     be construed as, an admission relating to the accuracy, relevance, existence, or nonexistence of any
          14     alleged facts or information referenced in any Request. By indicating that it will produce non-
          15     objectionable, non-privileged responsive documents, UBH and UHC does not make a representation
          16     that such documents exist or are in UBH’s and UHC’s possession, but only that UBH and UHC will
          17     conduct the reasonable searches indicated for the documents sought.
          18            12.     UBH and UHC object to each and every Request, Definition, and Instruction to the
          19     extent that it seeks documents outside of the relevant scope of discovery and statute of limitations for
          20     this case which is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims.
          21     See Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews,
          22     238 F.3d 1006, 1108 (9th Cir. 2001). In the event that UBH and UHC agree to produce responsive
          23     documents outside of the April 2, 2016 to present timeframe—the governing statute of limitations in
          24     this case—such agreement should be deemed limited to that specific Request and is not to be
          25     construed as a waiver or admission of any kind.
          26            13.     UBH and UHC object to each and every Request, Definition, and Instruction to the
          27     extent that it is overly broad, unduly burdensome, and imposes substantial, unjustifiable, and
          28     significant discovery costs and search burdens on UBH and UHC.
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            1           14.     Inadvertent production or identification of documents or communications that are
            2    privileged or otherwise immune from discovery shall not constitute a waiver of any such claim with
            3    respect to the disclosed documents or communications or any other documents or communications or
            4    of the right of UBH and UHC to object to the use of any such documents or the subject matter thereof
            5    during subsequent proceedings. In the event of inadvertent disclosure of such documents, Plaintiffs
            6    will return the documents to UBH and UHC and will be precluded from disclosing or relying upon
            7    such documents in any way.
            8           15.     All the General Objections contained herein and Objections to Definitions and
            9    Instructions are expressly incorporated into each of the responses set forth below.
          10                                      OBJECTIONS TO DEFINITIONS
          11            1.      UBH and UHC object to Plaintiffs’ definition of “Defendants” on the ground that it is
          12     vague and ambiguous.
          13            2.      UBH and UHC object to Plaintiffs’ definition of “person” on the ground that it is
          14     overly broad and unduly burdensome. In particular, Plaintiffs purport to sweep in various distinct
          15     persons and entities through this definition who are not proper parties to this case and not properly
          16     subject to discovery. UBH and UHC will respond to these Requests for Production of Documents on
          17     behalf of United Behavioral Health and UnitedHealthcare Insurance Company, which are the named
          18     defendants in this case.
          19            3.      UBH and UHC object to Plaintiffs’ definition of “document(s)” to the extent that it
          20     seeks to impose obligations on UBH and UHC beyond those required by the Federal Rules. UBH
          21     and UHC further object to this definition to the extent it calls for production of electronic information
          22     that is not reasonably accessible, including any archived data or backup tapes that would be unduly
          23     burdensome to search or restore. UBH and UHC will use the definition of “documents” set out in
          24     Federal Rule 34.
          25                                    OBJECTIONS TO INSTRUCTIONS
          26            1.      UBH and UHC object to Plaintiffs’ Instruction 1 to the extent it seeks documents that
          27     are exempt from discovery and protected from disclosure by the attorney-client privilege, the attorney
          28
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            1    work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine, or
            2    protection.
            3           2.      UBH and UHC object to Plaintiffs’ Instruction 2 that Defendants “must make a
            4    diligent search of your records and of other papers and materials in your possession or available to
            5    you or your representatives” to the extent that this Instruction seeks to impose obligations on UBH
            6    and UHC beyond those required by the Federal Rules. UBH and UHC further object to Instruction 2
            7    to the extent it calls for the production of information outside of UBH’s and UHC’s possession,
            8    custody, and control and includes documents that may already be in Plaintiffs’ possession or are
            9    available to Plaintiffs from another source that is more convenient, less burdensome, or less
          10     expensive.
          11            3.      UBH and UHC object to Plaintiffs’ Instruction 4 to the extent it requires Defendants to
          12     “[i]dentify the portion to which you cannot respond; state the reason for your inability to respond to
          13     it; and provide whatever materials you possess regarding that portion.” Where UBH and UHC are
          14     unable to fully respond to a request, UBH and UHC will state the reason for its inability to respond,
          15     and otherwise reserve the right to meet and confer.
          16            4.      UBH and UHC object to Plaintiffs’ Instruction 5 to the extent it purports to confer
          17     obligations on UBH and UHC beyond what the Parties have agreed to in their ESI protocol.
          18            5.      UBH and UHC object to Plaintiffs’ Instruction 6 to the extent that this Instruction
          19     seeks to impose obligations on UBH and UHC beyond those required by the Federal Rules.
          20            6.      UBH and UHC object to Plaintiffs’ Instruction 7 that “you should identify the relevant
          21     Bates or reference number (or range of numbers) that corresponds” on the ground that such obligation
          22     would be unduly burdensome given the broad scope and number of the requests.
          23            7.      UBH and UHC object to Instruction 8 that the “time period relevant to the allegations
          24     in the Complaint” to the extent that this Instruction includes periods outside the relevant scope of
          25     discovery and statute of limitations for this case which, unless otherwise noted in the specific
          26     responses below, is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO
          27     claims. See Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews,
          28     238 F.3d 1006, 1108 (9th Cir. 2001).
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            1           8.      UBH and UHC object to Plaintiffs’ Instruction 9 that each request be deemed
            2    “continuing in nature” on the ground that such obligation would be unduly burdensome given the
            3    broad scope and number of the requests.
            4         SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
            5     REQUEST NO. 1:
            6           Any and all documents relied upon by You in responding to Interrogatory 1 in Plaintiffs’ first
            7    set of interrogatories served on You.
            8     RESPONSE TO REQUEST NO. 1:
            9           UBH and UHC hereby incorporate their General Objections in their entirety into this
          10     response. UBH and UHC further object to this Request on the ground that the referenced
          11     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          12     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          13     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          14     offerings, as well as plans whose members did not have any of the claims at issue. UBH and UHC
          15     further object to this Request on the ground that the referenced interrogatory is overly broad and
          16     unduly burdensome, including to the extent that it seeks to force UHC and UBH to identify “all”
          17     plans of a certain category. In particular, Plaintiffs’ request that UBH and UHC identify “all
          18     employee welfare health benefit plans insured and/or administered by” UBH and UHC which would
          19     require UBH and UHC to review thousands of client relationships and health plans, most of which
          20     are completely irrelevant to the allegations in this action. UBH and UHC further object to this
          21     Request on the grounds that the referenced interrogatory seeks information not involving Plaintiffs or
          22     any putative class members to the extent it seeks information about plans that did not include Viant’s
          23     OPR product. UBH and UHC further object to this Request on the grounds that the referenced
          24     interrogatory is vague and ambiguous as to the terms “employee welfare health benefit plans insured
          25     and/or administered by you” and “identify.” UBH and UHC further object to this Request to the
          26     extent it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more
          27     reasonably obtained from a party or third party other than UBH or UHC. UBH and UHC also object
          28     on the basis that Plaintiffs waited months to serve their first set of interrogatories and now there is
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            1    limited time left in which this information can be identified and produced before the close of
            2    discovery. UBH and UHC further object to this Request on the grounds that the referenced
            3    interrogatory exceeds the scope of the parties’ agreed-upon claims and plan sample, which was
            4    negotiated many months ago. UBH and UHC also object to this Request to the extent that the
            5    referenced interrogatory seeks information which is subject to a claim of privilege or which is
            6    otherwise protected from disclosure. UBH and UHC further object to this Request on the grounds
            7    that the referenced interrogatory seeks information outside the statute of limitations.
            8           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            9    follows: No documents were relied upon in responding to Interrogatory No. 1.
          10      REQUEST NO. 2:
          11            Any and all documents relied upon by You in responding to Interrogatory 2 in Plaintiffs’ first
          12     set of interrogatories served on You.
          13     RESPONSE TO REQUEST NO. 2:
          14            UBH and UHC hereby incorporate their General Objections in their entirety into this
          15     response. UBH and UHC further object to this Request on the ground that the referenced
          16     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          17     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          18     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          19     offerings, as well as plans whose members did not have any of the claims at issue. UBH and UHC
          20     further object to this Request on the grounds that the referenced interrogatory is overly broad and
          21     unduly burdensome, including to the extent that it seeks to force UHC and UBH to identify “all”
          22     plans of a certain category. In particular, Plaintiffs’ request that UBH and UHC identify “all
          23     employee welfare health benefit plans insured and/or administered by” UBH and UHC involving
          24     particular plan language, which would require UBH and UHC to review thousands of client
          25     relationships and health plans individually, most of which are completely irrelevant to the allegations
          26     in this action. UBH and UHC further object to the extent the referenced interrogatory is suggesting
          27     that all of the listed phrases mean the same thing, or that they all require reimbursement based on
          28     provider charges, as opposed to competitive fees, amounts accepted, or other reimbursement
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            1    methodologies. UBH and UHC further object to this Request on the ground that the referenced
            2    interrogatory seeks information not involving Plaintiffs or any putative class members to the extent it
            3    seeks information about plans that did not include Viant’s OPR product. UBH and UHC further
            4    object to this Request on the grounds that the referenced interrogatory is vague and ambiguous as to
            5    the terms “employee welfare health benefit plans insured and/or administered by you” and “identify.”
            6    UBH and UHC further object to this Request to the extent it seeks information outside of UBH’s or
            7    UHC’s possession, custody, or control, or more reasonably obtained from a party or third party other
            8    than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months to serve
            9    their first set of interrogatories and now there is limited time left in which this information can be
          10     identified and produced before the close of discovery. UBH and UHC further object to this Request
          11     on the grounds that the referenced interrogatory exceeds the scope of the parties’ agreed-upon claims
          12     sample, which was negotiated months ago. UBH and UHC further object to this Request as the
          13     referenced interrogatory seeks information contained in documents that have been produced in
          14     discovery, in searchable form, so therefore Plaintiffs can search for and identify any specific words
          15     and phrases they wish to identify. UBH and UHC also object to this Request to the extent that it
          16     seeks information which is subject to a claim of privilege or which is otherwise protected from
          17     disclosure. UBH and UHC further object to this Request on the grounds that the referenced
          18     interrogatory seeks information outside the statute of limitations.
          19            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          20     follows: UBH000029 (Apple 2018 SPD); UBH000634 (Apple 2019 SPD); UHC000208108
          21     (American Express 2015); UHC000208280 (American Express 2016); UHC000208650 (American
          22     Express 2017); UHC000208451 (American Express 2018); UHC000209937 (Cisco 2018);
          23     UHC000210186-10286 (Cisco 2019); UHC000210286-UHC000210594 (Cisco 2020);
          24     UHC000210594 to UHC000210857 (Cisco 2021); UHC000211462-UHC000212016 (Deloitte 2017);
          25     UHC000219215-UHC000220054, UHC000220220-UHC000221094 and UHC000221260-
          26     UHC000226409 (Discovery Inc 2016-2022); UHC000233907-UHC000237003 and UHC000237005-
          27     UHC000237621 (Goldman Sachs 2017-2021); UHC000239211-UHC000240136 and
          28     UHC000240149-UHC000246809 (Mastercard 2017-2021); UHC000250706-UHC000251255 and
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            1    UHC000252088-UHC000255728 (Nestle USA); UHC000255771-UHC000258818 (Paypal 2017-
            2    2022); UHC000261348-UHC000262193; UHC000262353-UHC000262522; UHC000262684-
            3    UHC000264034; UHC000264194-UHC000264363; UHC000264525-UHC000265875;
            4    UHC000266035-UHC000266208; UHC000266374-UHC000267238; UHC000267403-
            5    UHC000268089; UHC000268255-UHC000269632 (Salesforce 2021-2022); UHC000269797-
            6    UHC000269960; UHC000270674-UHC000271353; UHC000272100-UHC000272814;
            7    UHC000273510-UHC000274182; UHC000274527-UHC000274853; UHC000275196-
            8    UHC000275521; UHC000275900-UHC000276783 (Target 2018-2021); UHC000277823-
            9    UHC000278374; UHC000278547-UHC000279069; UHC000279242-UHC000279762;
          10     UHC000279933-UHC000280100; UHC000280271-UHC000282948 (Tesla 2018-2020); and
          11     UHC000288877-UHC000289793 (Viacom 2016).
          12     REQUEST NO. 3:
          13            Any and all documents relied upon by You in responding to Interrogatory 3 in Plaintiffs’ first
          14     set of interrogatories served on You.
          15     RESPONSE TO REQUEST NO. 3:
          16            UBH and UHC hereby incorporate their General Objections in their entirety into this
          17     response. UBH and UHC further object to this Request on the ground that the referenced
          18     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          19     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          20     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          21     offerings. UBH and UHC further object to this Request on the grounds that the referenced
          22     interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
          23     UHC and UBH to identify “all” plans of a certain category. In particular, Plaintiffs’ request that
          24     UBH and UHC identify “all employee welfare health benefit plans insured and/or administered by”
          25     UBH and UHC which would require UBH and UHC to review thousands of client relationships and
          26     health plans, most of which are completely irrelevant to the allegations in this action. UBH and UHC
          27     further object to this Request on the ground that the referenced interrogatory seeks information not
          28     involving Plaintiffs or any putative class members to the extent it seeks information about plans that
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            1    did not include Viant’s OPR product. UBH and UHC further object to this Request on the grounds
            2    that the referenced interrogatory is vague and ambiguous as to the terms “employee welfare health
            3    benefit plans insured and/or administered by you” and “identify.” UBH and UHC further object to
            4    this Request to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or
            5    control, or more reasonably obtained from a party or third party other than UBH or UHC. UBH and
            6    UHC also object on the basis that Plaintiffs waited months to serve their first set of interrogatories
            7    and now there is limited time left in which this information can be identified and produced before the
            8    close of discovery. UBH and UHC further object to this Request on the grounds that the referenced
            9    interrogatory exceeds the scope of the parties’ agreed-upon claims sample, which was negotiated
          10     months ago. UBH and UHC further object to this Request as the referenced interrogatory seeks
          11     information contained in documents that have been produced in discovery, in searchable form, so
          12     therefore Plaintiffs can search for and identify any specific words and phrases they wish to identify.
          13     UBH and UHC also object to this Request to the extent that it seeks information which is subject to a
          14     claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object to
          15     this Request on the grounds that the referenced interrogatory seeks information outside the statute of
          16     limitations.
          17            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          18     follows: UHC000083532 (Apple 2016), UHC000083873 (Apple 2017), UBH000029 (Apple 2018),
          19     UHC000247252 (Morgan Stanley 2016), UHC000251396 (Oracle 2016), and UHC000251357
          20     (American Express 2016). See also UHC000233632 (Georgia-Pacific 2019 SPD) (similar language
          21     section); UHC000215509 (Delta 2019 SPD) (similar language section).
          22     REQUEST NO. 4:
          23            Any and all documents relied upon by You in responding to Interrogatory 4 in Plaintiffs’ first
          24     set of interrogatories served on You.
          25     RESPONSE TO REQUEST NO. 4:
          26            UBH and UHC hereby incorporate their General Objections in their entirety into this
          27     response. UBH and UHC further object to this Request on the ground that the referenced
          28     interrogatory seeks information about UBH and UHC hereby incorporate their General Objections in
                                                                    11
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            1    their entirety into this response. UBH and UHC further object to this Request on the ground that the
            2    referenced interrogatory seeks information about topics other than the reimbursement amount for out-
            3    of-network claims for intensive outpatient programs to treat substance abuse for which rates were
            4    calculated using Viant’s OPR product, including plans that did not include Viant’s OPR product in its
            5    program offerings. UBH and UHC further object to this Request on the grounds that the referenced
            6    interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
            7    UHC and UBH to identify “all” plans of a certain category. In particular, Plaintiffs’ request that
            8    UBH and UHC identify “all employee welfare health benefit plans insured and/or administered by”
            9    UBH and UHC which would require UBH and UHC to review thousands of client relationships and
          10     health plans, most of which are completely irrelevant to the allegations in this action. UBH and UHC
          11     further object to this Request on the ground that the referenced interrogatory seeks information not
          12     involving Plaintiffs or any putative class members to the extent it seeks information about plans that
          13     did not include Viant’s OPR product. UBH and UHC further object to this Request on the grounds
          14     that the referenced interrogatory is vague and ambiguous as to the terms “employee welfare health
          15     benefit plans insured and/or administered by you” and “identify.” UBH and UHC further object to
          16     this Request to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or
          17     control, or more reasonably obtained from a party or third party other than UBH or UHC. UBH and
          18     UHC also object on the basis that Plaintiffs waited months to serve their first set of interrogatories
          19     and now there is limited time left in which this information can be identified and produced before the
          20     close of discovery. UBH and UHC further object to this Request on the grounds that the referenced
          21     interrogatory exceeds the scope of the parties’ agreed-upon claims sample, which was negotiated
          22     months ago. UBH and UHC further object to this Request as the referenced interrogatory seeks
          23     information contained in documents that have been produced in discovery, in searchable form, so
          24     therefore Plaintiffs can search for and identify any specific words and phrases they wish to identify.
          25     UBH and UHC also object to this Request to the extent that it seeks information which is subject to a
          26     claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object to
          27     this Request on the grounds that the referenced interrogatory seeks information outside the statute of
          28     limitations.
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            1           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            2    follows: UBH000634 (Apple 2019 SPD); UHC000013594; UHC000208108 (American Express
            3    2015); UHC000208280 (American Express 2016); UHC000208650 (American Express 2017);
            4    UHC000208451 (American Express 2018); Cisco 2018 UHC000209850-10095 (Cisco 2018);
            5    UHC000210186-10286 (Cisco 2019); UHC000210286-UHC000210594 (Cisco 2020);
            6    UHC000210594 to UHC000210857 (Cisco 2021); UHC000211462-UHC000212016 (Deloitte 2017);
            7    UHC000219215-UHC000220054, UHC000220220-UHC000221094 and UHC000221260-
            8    UHC000226409 (Discovery Inc 2016-2022); UHC000233907-UHC000237003 and UHC000237005-
            9    UHC000237621 (Goldman Sachs 2017-2021); UHC000239211-UHC000240136 and
          10     UHC000240149-UHC000246809 (Mastercard 2017-2021); UHC000250706-UHC000251255 and
          11     UHC000252088-UHC000255728 (Nestle USA); UHC000251537 (Oracle 2019 SPD);
          12     UHC000255771-UHC000258818 (Paypal 2017-2022); UHC000258978 (Raytheon 2016 SPD);
          13     UHC000261348-UHC000262193; UHC000262353-UHC000262522; UHC000262684-
          14     UHC000264034; UHC000264194-UHC000264363; UHC000264525-UHC000265875;
          15     UHC000266035-UHC000266208; UHC000266374-UHC000267238; UHC000267403-
          16     UHC000268089; UHC000268255-UHC000269632 (Salesforce 2021-2022); UHC000269797-
          17     UHC000269960; UHC000270674-UHC000271353; UHC000272100-UHC000272814;
          18     UHC000273510-UHC000274182; UHC000274527-UHC000274853; UHC000275196-
          19     UHC000275521; UHC000275900-UHC000276783 (Target 2018-2021); UHC000277823-
          20     UHC000278374; UHC000278547-UHC000279069; UHC000279242-UHC000279762;
          21     UHC000279933-UHC000280100; UHC000280271-UHC000282948 (Tesla 2018-2020); and
          22     UHC000288877-UHC000289793 (Viacom 2016).
          23     REQUEST NO. 5:
          24            Any and all documents relied upon by You in responding to Interrogatory 5 in Plaintiffs’ first
          25     set of interrogatories served on You.
          26     RESPONSE TO REQUEST NO. 5:
          27            UBH and UHC hereby incorporate their General Objections in their entirety into this
          28     response. UBH and UHC further object to this Request on the ground that the referenced
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            1    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
            2    claims for intensive outpatient programs to treat substance abuse for which rates were calculated
            3    using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
            4    offerings. UBH and UHC further object to this Request on the grounds that the referenced
            5    interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
            6    UHC and UBH to identify “all Persons” of a certain category to determine who may have been
            7    involved in drafting plan language for each one of potentially thousands of plans. In particular,
            8    Plaintiffs’ Request would require UBH and UHC to review thousands of client relationships and
            9    health plans, most of which are completely irrelevant to the allegations in this action. Moreover, each
          10     plan document is customized and varies from plan to plan, and most or all of the ASO plans (which
          11     account for most or all of the putative class) control their own plan design and language. UBH and
          12     UHC further object to this Request on the ground that the referenced interrogatory seeks information
          13     not involving Plaintiffs or any putative class members to the extent it seeks information about plans
          14     that did not include Viant’s OPR product. UBH and UHC further object to this Request on the
          15     grounds that the referenced interrogatory is vague and ambiguous as to the terms “Identify” and
          16     “Persons.” UBH and UHC further object to this Request to the extent it seeks information outside of
          17     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          18     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          19     to serve their first set of interrogatories and now there is limited time left in which this information
          20     can be identified and produced before the close of discovery. UBH and UHC also object to this
          21     Request to the extent that it seeks information which is subject to a claim of privilege or which is
          22     otherwise protected from disclosure. UBH and UHC further object to this Request on the grounds
          23     that the referenced interrogatory seeks information outside the statute of limitations.
          24            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          25     follows: No documents were relied upon in responding to Interrogatory No. 5.
          26     REQUEST NO. 6:
          27            Any and all documents relied upon by You in responding to Interrogatory 6 in Plaintiffs’ first
          28     set of interrogatories served on You.
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            1    RESPONSE TO REQUEST NO. 6:
            2           UBH and UHC hereby incorporate their General Objections in their entirety into this
            3    response. UBH and UHC further object to this Request on the ground that the referenced
            4    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
            5    claims for intensive outpatient programs to treat substance abuse for which rates were calculated
            6    using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
            7    offerings. UBH and UHC further object to this Request on the ground that the referenced
            8    interrogatory seeks information not involving Plaintiffs or any putative class members to the extent it
            9    seeks information about plans that did not include Viant’s OPR product. UBH and UHC further
          10     object to this Request on the grounds that the referenced interrogatory is vague and ambiguous as to
          11     the terms “underwriting analyses,” “considered,” “conducted,” “reviewed,” and “implications.” UBH
          12     and UHC further object to this Request to the extent it seeks information outside of UBH’s or UHC’s
          13     possession, custody, or control, or more reasonably obtained from a party or third party other than
          14     UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months to serve their
          15     first set of interrogatories and now there is limited time left in which this information can be
          16     identified and produced before the close of discovery. UBH and UHC also object to this Request to
          17     the extent that it seeks information which is subject to a claim of privilege or which is otherwise
          18     protected from disclosure, including but not limited to the attorney-client privilege, the attorney
          19     work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine, or
          20     protection. UBH and UHC further object to this Request on the grounds that the referenced
          21     interrogatory seeks information outside the statute of limitations.
          22            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          23     follows: UHC000089628, UHC000089886, UHC000199259, UHC000097146, UHC000097182,
          24     UHC000097224, UHC000097226, UHC000047103, UHC000047105, UHC000047109,
          25     UHC000017763, UHC000202919, UHC000185868, and UHC000096196.
          26     REQUEST NO. 7:
          27            Any and all documents relied upon by You in responding to Interrogatory 7 in Plaintiffs’ first
          28     set of interrogatories served on You.
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            1    RESPONSE TO REQUEST NO. 7:
            2           UBH and UHC hereby incorporate their General Objections in their entirety into this
            3    response. UBH and UHC further object to this Request on the ground that the referenced
            4    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
            5    claims for intensive outpatient programs to treat substance abuse for which rates were calculated
            6    using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
            7    offerings. UBH and UHC further object to this Request on the ground that the referenced
            8    interrogatory seeks information not involving Plaintiffs or any putative class members to the extent it
            9    seeks information about plans that did not include Viant’s OPR product. UBH and UHC further
          10     object to this Request on the grounds that the referenced interrogatory is vague and ambiguous as to
          11     the terms “actuarial analyses,” “considered,” “conducted,” “reviewed,” and “implications.” UBH and
          12     UHC further object to this Request to the extent it seeks information outside of UBH’s or UHC’s
          13     possession, custody, or control, or more reasonably obtained from a party or third party other than
          14     UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months to serve their
          15     first set of interrogatories and now there is limited time left in which this information can be
          16     identified and produced before the close of discovery. UBH and UHC also object to this Request to
          17     the extent that it seeks information which is subject to a claim of privilege or which is otherwise
          18     protected from disclosure, including but not limited to the attorney-client privilege, the attorney
          19     work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine, or
          20     protection. UBH and UHC further object to this Request on the grounds that the referenced
          21     interrogatory seeks information outside the statute of limitations.
          22            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          23     follows: UHC000089628, UHC000089886, UHC000199259, UHC000097146, UHC000097182,
          24     UHC000097224, UHC000097226, UHC000047103, UHC000047105, UHC000047109,
          25     UHC000017763, UHC000202919, UHC000185868, and UHC000096196.
          26     REQUEST NO. 8:
          27            Any and all documents relied upon by You in responding to Interrogatory 8 in Plaintiffs’ first
          28     set of interrogatories served on You.
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            1    RESPONSE TO REQUEST NO. 8:
            2            UBH and UHC hereby incorporate their General Objections in their entirety into this
            3    response. UBH and UHC further object to this Request on the ground that the referenced
            4    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
            5    claims for intensive outpatient programs to treat substance abuse for which rates were calculated
            6    using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
            7    offerings. UBH and UHC further object to this Request on the grounds that the referenced
            8    interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
            9    UHC and UBH to identify “all committees and committee members” of a certain category to
          10     determine who may have been involved in drafting plan language for each one of potentially
          11     thousands of plans. In particular, Plaintiffs’ Request would require UBH and UHC to review
          12     thousands of client relationships and health plans, most of which are completely irrelevant to the
          13     allegations in this action. Moreover, each plan document is customized and varies from plan to plan,
          14     and most or all of the ASO plans (which account for most or all of the putative class) control their
          15     own plan design and language. UBH and UHC further object to this Request on the ground that the
          16     referenced interrogatory seeks information not involving Plaintiffs or any putative class members to
          17     the extent it seeks information about plans that did not include Viant’s OPR product. UBH and UHC
          18     further object to this Request on the grounds that the referenced interrogatory is vague and
          19     ambiguous as to the terms “Identify” and “committees.” UBH and UHC further object to this
          20     Request to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or
          21     control, or more reasonably obtained from a party or third party other than UBH or UHC. UBH and
          22     UHC also object on the basis that Plaintiffs waited months to serve their first set of interrogatories
          23     and now there is limited time left in which this information can be identified and produced before the
          24     close of discovery. UBH and UHC also object to this Request to the extent that it seeks information
          25     which is subject to a claim of privilege or which is otherwise protected from disclosure. UBH and
          26     UHC further object to this Request on the grounds that the referenced interrogatory seeks information
          27     outside the statute of limitations.
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            1           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            2    follows: No documents were relied upon in responding to Interrogatory No. 8.
            3    REQUEST NO. 9:
            4           Any and all documents relied upon by You in responding to Interrogatory 9 in Plaintiffs’ first
            5    set of interrogatories served on You.
            6    RESPONSE TO REQUEST NO. 9:
            7           UBH and UHC hereby incorporate their General Objections in their entirety into this
            8    response. UBH and UHC further object to this Request on the ground that the referenced
            9    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          10     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          11     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          12     offerings. UBH and UHC further object to this Request on the grounds that the referenced
          13     interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
          14     UHC and UBH to identify “processes and procedures” of a certain category to determine involved in
          15     drafting plan language for each one of potentially thousands of plans. In particular, Plaintiffs’
          16     Request would require UBH and UHC to review thousands of client relationships and health plans,
          17     most of which are completely irrelevant to the allegations in this action. Moreover, each plan
          18     document is customized and varies from plan to plan, and most or all of the ASO plans (which
          19     account for most or all of the putative class) control their own plan design and language. UBH and
          20     UHC further object to this Request on the ground that the referenced interrogatory seeks information
          21     not involving Plaintiffs or any putative class members to the extent it seeks information about plans
          22     that did not include Viant’s OPR product. UBH and UHC further object to this Request on the
          23     grounds that the referenced interrogatory is vague and ambiguous as to the terms “Describe” and
          24     “processes.” UBH and UHC further object to this Request to the extent it seeks information outside
          25     of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or
          26     third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited
          27     months to serve their first set of interrogatories and now there is limited time left in which this
          28     information can be identified and produced before the close of discovery. UBH and UHC also object
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            1    to this Request to the extent that it seeks information which is subject to a claim of privilege or which
            2    is otherwise protected from disclosure. UBH and UHC further object to this Request on the grounds
            3    that the referenced interrogatory seeks information outside the statute of limitations.
            4           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            5    follows: No documents were relied upon in responding to Interrogatory No. 9.
            6    REQUEST NO. 10:
            7           Any and all documents relied upon by You in responding to Interrogatory 10 in Plaintiffs’
            8    first set of interrogatories served on You.
            9    RESPONSE TO REQUEST NO. 10:
          10            UBH and UHC hereby incorporate their General Objections in their entirety into this
          11     response. UBH and UHC further object to this Request on the ground that the referenced
          12     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          13     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          14     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          15     offerings. UBH and UHC further object to this Request on the grounds that the referenced
          16     interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
          17     UHC and UBH to identify “all Persons” who had certain responsibilities for each one of potentially
          18     thousands of plans. UBH and UHC further object to this Request on the grounds that the referenced
          19     interrogatory is vague and ambiguous as to the terms “out of network savings” and “vendor
          20     programs.” UBH and UHC further object to this Request to the extent it seeks information outside of
          21     UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a party or third
          22     party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months
          23     to serve their first set of interrogatories and now there is limited time left in which this information
          24     can be identified and produced before the close of discovery. UBH and UHC also object to this
          25     Request to the extent that it seeks information which is subject to a claim of privilege or which is
          26     otherwise protected from disclosure, including but not limited to the attorney-client privilege, the
          27     attorney work-product doctrine, confidentiality agreements, or any other applicable privilege,
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            1    doctrine, or protection. UBH and UHC further object to this Request on the grounds that the
            2    referenced interrogatory seeks information outside the statute of limitations.
            3           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            4    follows: No documents were relied upon in responding to Interrogatory No. 10.
            5    REQUEST NO. 11:
            6           Any and all documents relied upon by You in responding to Interrogatory 11 in Plaintiffs’
            7    first set of interrogatories served on You.
            8    RESPONSE TO REQUEST NO. 11:
            9           UBH and UHC hereby incorporate their General Objections in their entirety into this
          10     response. UBH and UHC further object to this Request on the ground that the referenced
          11     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          12     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          13     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          14     offerings. UBH and UHC further object to this Request on the grounds that the referenced
          15     interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
          16     UHC and UBH to identify “all” plans of a certain category. In particular, Plaintiffs’ request that
          17     UBH and UHC identify “all employee welfare health benefit plans insured and/or administered by”
          18     UBH and UHC which would require UBH and UHC to review thousands of client relationships and
          19     health plans, most of which are completely irrelevant to the allegations in this action. UBH and UHC
          20     further object to this Request on the ground that the referenced interrogatory seeks information not
          21     involving Plaintiffs or any putative class members to the extent it seeks information about plans that
          22     did not include Viant’s OPR product. UBH and UHC further object to this Request on the grounds
          23     that the referenced interrogatory is vague and ambiguous as to the terms “employee welfare health
          24     benefit plans insured and/or administered by you.” UBH and UHC further object to this Request to
          25     the extent it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more
          26     reasonably obtained from a party or third party other than UBH or UHC. UBH and UHC also object
          27     on the basis that Plaintiffs waited months to serve their first set of interrogatories and now there is
          28     limited time left in which this information can be identified and produced before the close of
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            1    discovery. UBH and UHC further object to this Request as the referenced interrogatory seeks
            2    information contained in documents that have been produced in discovery, in searchable form, so
            3    therefore Plaintiffs can search for and identify any specific words and phrases they wish to identify.
            4    UBH and UHC also object to this Request to the extent that it seeks information which is subject to a
            5    claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object to
            6    this Request on the grounds that the referenced interrogatory seeks information outside the statute of
            7    limitations.
            8           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            9    follows: UHC000013594; UHC000208051-UHC000208063 (American Express ASA);
          10     UHC00208946 and UHC000209050 (American Express SPD 2021); UHC000209101 (Cisco ASA);
          11     UHC000210104 (2018 Cisco SPD), UHC000210297-98UHC209861 (2019 Cisco SPD);
          12     UHC000210349 (Cisco 2020 SPD); UHC000210608 (Cisco SPD 2021); UHC000211002 (Coca-
          13     Cola ASA); UHC000211239 (Deloitte ASA); UHC000211485 and UHC000211434 (Deloitte 2017
          14     SPD); UHC000212127 (Delta ASA); UHC000214523-524 (Delta SPD); UHC000228001 (General
          15     Dynamics ASA); UHC000228268 (General Dynamics 2017 SPD) UHC000229433 (General
          16     Dynamics 2018 SPD); UHC000233919 (Goldman Sachs 2017 SPD); UHC000237752 (JP Morgan
          17     Chase ASA); UHC000246860 (Morgan Stanley ASA); UHC000248125 (Morgan Stanley 2018
          18     SPD); UHC000248572 (Nestle SPD); UHC000258828 (Raytheon ASA); UHC000252422 (PayPal
          19     2017 SPD); and UHC000263039 (Salesforce 2020 SPD); UHC000287082 (Union Pacific SPD
          20     2018); UHC000288853 (Viacom 2018 ASA); UHC000293645 (VMWare 2019 SPD).
          21     REQUEST NO. 12:
          22            Any and all documents relied upon by You in responding to Interrogatory 12 in Plaintiffs’
          23     first set of interrogatories served on You.
          24     RESPONSE TO REQUEST NO. 12:
          25            UBH and UHC hereby incorporate their General Objections in their entirety into this
          26     response. UBH and UHC further object to this Request on the ground that the referenced
          27     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          28     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
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            1    using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
            2    offerings. UBH and UHC further object to this Request on the grounds that the referenced
            3    interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
            4    UHC and UBH to identify “all” plans of a certain category. In particular, Plaintiffs’ request that
            5    UBH and UHC identify “all employee welfare health benefit plans insured and/or administered by”
            6    UBH and UHC which would require UBH and UHC to review thousands of client relationships and
            7    health plans, most of which are completely irrelevant to the allegations in this action. UBH and UHC
            8    further object to this Request on the ground that the referenced interrogatory seeks information not
            9    involving Plaintiffs or any putative class members to the extent it seeks information about plans that
          10     did not include Viant’s OPR product. UBH and UHC further object to this Request on the grounds
          11     that the referenced interrogatory is vague and ambiguous as to the terms “employee welfare health
          12     benefit plans insured and/or administered by you.” UBH and UHC further object to this Request to
          13     the extent it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more
          14     reasonably obtained from a party or third party other than UBH or UHC. UBH and UHC also object
          15     on the basis that Plaintiffs waited months to serve their first set of interrogatories and now there is
          16     limited time left in which this information can be identified and produced before the close of
          17     discovery. UBH and UHC further object to this Request as the referenced interrogatory seeks
          18     information contained in documents that have been produced in discovery, in searchable form, so
          19     therefore Plaintiffs can search for and identify any specific words and phrases they wish to identify.
          20     UBH and UHC also object to this Request to the extent that it seeks information which is subject to a
          21     claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object to
          22     this Request on the grounds that the referenced interrogatory seeks information outside the statute of
          23     limitations. UBH and UHC further object to the extent this Request is duplicative of other Requests.
          24            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          25     follows: No documents were relied upon in responding to Interrogatory No. 12.
          26     REQUEST NO. 13:
          27            Any and all documents relied upon by You in responding to Interrogatory 13 in Plaintiffs’
          28     first set of interrogatories served on You.
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            1    RESPONSE TO REQUEST NO. 13:
            2           UBH and UHC hereby incorporate their General Objections in their entirety into this
            3    response. UBH and UHC further object to this Request on the ground that the referenced
            4    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
            5    claims for intensive outpatient programs to treat substance abuse for which rates were calculated
            6    using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
            7    offerings. UBH and UHC further object to this Request on the grounds that the referenced
            8    interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
            9    UHC and UBH to identify “all” plans of a certain category. In particular, Plaintiffs’ request that
          10     UBH and UHC identify “all employee welfare health benefit plans insured and/or administered by”
          11     UBH and UHC which would require UBH and UHC to review thousands of client relationships and
          12     health plans, most of which are completely irrelevant to the allegations in this action. UBH and UHC
          13     further object to this Request on the ground that the referenced interrogatory seeks information not
          14     involving Plaintiffs or any putative class members to the extent it seeks information about plans that
          15     did not include Viant’s OPR product. UBH and UHC further object to this Request on the grounds
          16     that it is vague and ambiguous as to the terms “employee welfare health benefit plans insured and/or
          17     administered by you.” UBH and UHC further object to this Request to the extent it seeks information
          18     outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a
          19     party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs
          20     waited months to serve their first set of interrogatories and now there is limited time left in which this
          21     information can be identified and produced before the close of discovery. UBH and UHC further
          22     object to this Request as the referenced interrogatory seeks information contained in documents that
          23     have been produced in discovery, in searchable form, so therefore Plaintiffs can search for and
          24     identify any specific words and phrases they wish to identify. UBH and UHC also object to this
          25     Request to the extent that it seeks information which is subject to a claim of privilege or which is
          26     otherwise protected from disclosure. UBH and UHC further object to this Request on the grounds
          27     that the referenced interrogatory seeks information outside the statute of limitations.
          28
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            1           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            2    follows: UHC000260999.
            3    REQUEST NO. 14:
            4           Any and all documents relied upon by You in responding to Interrogatory 14 in Plaintiffs’
            5    first set of interrogatories served on You.
            6    RESPONSE TO REQUEST NO. 14:
            7           UBH and UHC hereby incorporate their General Objections in their entirety into this
            8    response. UBH and UHC further object to this Request on the ground that the referenced
            9    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          10     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          11     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          12     offerings. UBH and UHC further object to this Request on the ground that the referenced
          13     interrogatory seeks information not involving Plaintiffs or any putative class members to the extent it
          14     seeks information about plans that did not include Viant’s OPR product. UBH and UHC further
          15     object to this Request on the grounds that the referenced interrogatory is vague and ambiguous as to
          16     the terms “actuarial, underwriting, or other analyses,” “considered,” “conducted,” “reviewed,” and
          17     “implications.” UBH and UHC further object to this Request to the extent it seeks information
          18     outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a
          19     party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs
          20     waited months to serve their first set of interrogatories and now there is limited time left in which this
          21     information can be identified and produced before the close of discovery. UBH and UHC also object
          22     to this Request to the extent that it seeks information which is subject to a claim of privilege or which
          23     is otherwise protected from disclosure, including but not limited to the attorney-client privilege, the
          24     attorney work-product doctrine, confidentiality agreements, or any other applicable privilege,
          25     doctrine, or protection. UBH and UHC further object to this Request on the grounds that the
          26     referenced interrogatory seeks information outside the statute of limitations.
          27            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          28     follows: UHC000089628, UHC000089886, UHC000199259, UHC000097146, UHC000097182,
                                                                    24
Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
Crutcher LLP
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            1    UHC000097224, UHC000097226, UHC000047103, UHC000047105, UHC000047109,
            2    UHC000017763, UHC000202919, UHC000185868, and UHC000096196.
            3    REQUEST NO. 15:
            4           Any and all documents relied upon by You in responding to Interrogatory 15 in Plaintiffs’
            5    first set of interrogatories served on You.
            6    RESPONSE TO REQUEST NO. 15:
            7           UBH and UHC hereby incorporate their General Objections in their entirety into this
            8    response. UBH and UHC further object to this Request on the ground that the referenced
            9    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          10     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          11     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          12     offerings. UBH and UHC further object to this Request on the grounds that the referenced
          13     interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
          14     UHC and UBH to describe in detail “any and all actuarial, underwriting, or other analyses” for each
          15     one of potentially thousands of plans. In particular, Plaintiffs’ Request would require UBH and UHC
          16     to review thousands of client relationships and health plans, most of which are completely irrelevant
          17     to the allegations in this action. UBH and UHC further object to this Request on the ground that the
          18     referenced interrogatory seeks information not involving Plaintiffs or any putative class members to
          19     the extent it seeks information about plans that did not include Viant’s OPR product. UBH and UHC
          20     further object to this Request on the grounds that the referenced interrogatory is vague and
          21     ambiguous as to the terms “actuarial, underwriting, or other analyses,” “considered,” “conducted,”
          22     “reviewed,” and “implications,” and “rates recommended by Viant to pay out-of-network benefits.”
          23     UBH and UHC further object to this Request to the extent it seeks information outside of UBH’s or
          24     UHC’s possession, custody, or control, or more reasonably obtained from a party or third party other
          25     than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months to serve
          26     their first set of interrogatories and now there is limited time left in which this information can be
          27     identified and produced before the close of discovery. UBH and UHC also object to this Request to
          28     the extent that it seeks information which is subject to a claim of privilege or which is otherwise
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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1    protected from disclosure, including but not limited to the attorney-client privilege, the attorney
            2    work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine, or
            3    protection. UBH and UHC further object to this Request on the grounds that the referenced
            4    interrogatory seeks information outside the statute of limitations.
            5           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            6    follows: UHC000089628, UHC000089886, UHC000199259, UHC000097146, UHC000097182,
            7    UHC000097224, UHC000097226, UHC000047103, UHC000047105, UHC000047109,
            8    UHC000017763, UHC000202919, UHC000185868, and UHC000096196.
            9    REQUEST NO. 16:
          10            Any and all documents relied upon by You in responding to Interrogatory 16 in Plaintiffs’
          11     first set of interrogatories served on You.
          12     RESPONSE TO REQUEST NO. 16:
          13            UBH and UHC hereby incorporate their General Objections in their entirety into this
          14     response. UBH and UHC further object to this Request on the ground that the referenced
          15     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          16     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          17     using Viant’s OPR product, including any changes to percentiles that did not impact the claims at
          18     issue in this case (e.g., changes to the percentiles for reimbursement of ambulatory surgical centers,
          19     which are not at issue in this case). UBH and UHC further object to this Request on the ground that
          20     the referenced interrogatory seeks information not involving Plaintiffs or any putative class members
          21     to the extent it seeks information about plans that did not include Viant’s OPR product. UBH and
          22     UHC further object to this Request on the grounds that the referenced interrogatory is vague and
          23     ambiguous as to the terms “actuarial, underwriting, or other analyses,” “considered,” “conducted,”
          24     “reviewed,” and “implications.” UBH and UHC further object to this Request to the extent it seeks
          25     information outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained
          26     from a party or third party other than UBH or UHC. UBH and UHC also object on the basis that
          27     Plaintiffs waited months to serve their first set of interrogatories and now there is limited time left in
          28     which this information can be identified and produced before the close of discovery. UBH and UHC
                                                                     26
Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1    also object to this Request to the extent that it seeks information which is subject to a claim of
            2    privilege or which is otherwise protected from disclosure, including but not limited to the attorney-
            3    client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
            4    applicable privilege, doctrine, or protection. UBH and UHC further object to this Request on the
            5    grounds that the referenced interrogatory seeks information outside the statute of limitations.
            6           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            7    follows: UHC000205524-UHC000205528, and UHC000207874-UHC000207875.
            8    REQUEST NO. 17:
            9           Any and all documents relied upon by You in responding to Interrogatory 17 in Plaintiffs’
          10     first set of interrogatories served on You.
          11     RESPONSE TO REQUEST NO. 17:
          12            UBH and UHC hereby incorporate their General Objections in their entirety into this
          13     response. UBH and UHC further object to this Request on the ground that the referenced
          14     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          15     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          16     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          17     offerings. UBH and UHC further object to this Request on the ground that the referenced
          18     interrogatory seeks information not involving Plaintiffs or any putative class members to the extent it
          19     seeks information about plans that did not include Viant’s OPR product. UBH and UHC further
          20     object to this Request on the grounds that the referenced interrogatory is vague and ambiguous as to
          21     the terms “underwriting analyses,” “considered,” “conducted,” “reviewed,” and “implications.” UBH
          22     and UHC further object to this Request to the extent it seeks information outside of UBH’s or UHC’s
          23     possession, custody, or control, or more reasonably obtained from a party or third party other than
          24     UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months to serve their
          25     first set of interrogatories and now there is limited time left in which this information can be
          26     identified and produced before the close of discovery. UBH and UHC also object to this Request to
          27     the extent that it seeks information which is subject to a claim of privilege or which is otherwise
          28     protected from disclosure, including but not limited to the attorney-client privilege, the attorney
                                                                    27
Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1    work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine, or
            2    protection. UBH and UHC further object to this Request on the grounds that the referenced
            3    interrogatory seeks information outside the statute of limitations.
            4           Subject to and without waiving the foregoing objections, UBH and UHC hereby responds as
            5    follows: UHC000205524-UHC000205528, and UHC000207874-UHC000207875.
            6    REQUEST NO. 18:
            7           Any and all documents relied upon by You in responding to Interrogatory 18 in Plaintiffs’
            8    first set of interrogatories served on You.
            9    RESPONSE TO REQUEST NO. 18:
          10            UBH and UHC hereby incorporate their General Objections in their entirety into this
          11     response. UBH and UHC further object to this Request on the ground that the referenced
          12     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          13     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          14     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          15     offerings. UBH and UHC further object to this Request on the ground that the referenced
          16     interrogatory seeks information not involving Plaintiffs or any putative class members to the extent it
          17     seeks information about plans that did not include Viant’s OPR product. UBH and UHC further
          18     object to this Request on the grounds that the referenced interrogatory is vague and ambiguous as to
          19     the terms “actuarial analyses,” “considered,” “conducted,” “reviewed,” and “implications.” UBH and
          20     UHC further object to this Request to the extent it seeks information outside of UBH’s or UHC’s
          21     possession, custody, or control, or more reasonably obtained from a party or third party other than
          22     UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months to serve their
          23     first set of interrogatories and now there is limited time left in which this information can be
          24     identified and produced before the close of discovery. UBH and UHC also object to this Request to
          25     the extent that it seeks information which is subject to a claim of privilege or which is otherwise
          26     protected from disclosure, including but not limited to the attorney-client privilege, the attorney
          27     work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine, or
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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1    protection. UBH and UHC further object to this Request on the grounds that the referenced
            2    interrogatory seeks information outside the statute of limitations.
            3           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            4    follows: UHC000205524-UHC000205528, and UHC000207874-UHC000207875.
            5    REQUEST NO. 19:
            6           Any and all documents relied upon by You in responding to Interrogatory 19 in Plaintiffs’
            7    first set of interrogatories served on You.
            8    RESPONSE TO REQUEST NO. 19:
            9           UBH and UHC hereby incorporate their General Objections in their entirety into this
          10     response. UBH and UHC further object to this Request on the ground that the referenced
          11     interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          12     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          13     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          14     offerings. UBH and UHC further object to this Request on the grounds that the referenced
          15     interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
          16     UHC and UBH to “describe in detail.” UBH and UHC further object to this Request on the grounds
          17     that the referenced interrogatory is vague and ambiguous as to the terms “describe,” “detail,” “cost,”
          18     and “processing,” particularly to the extent this Request is asking for a generalized “cost” associated
          19     with “an out-of-network claim,” when these costs can vary widely from claim to claim and based on
          20     various factors. UBH and UHC further object to this Request to the extent it seeks information
          21     outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a
          22     party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs
          23     waited months to serve their first set of interrogatories and now there is limited time left in which this
          24     information can be identified and produced before the close of discovery. UBH and UHC also object
          25     to this Request to the extent that it seeks information which is subject to a claim of privilege or which
          26     is otherwise protected from disclosure, including but not limited to the attorney-client privilege, the
          27     attorney work-product doctrine, confidentiality agreements, or any other applicable privilege,
          28     doctrine, or protection.
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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
            2    follows: No documents were relied upon in responding to Interrogatory No. 19.
            3    REQUEST NO. 20:
            4           Any and all documents relied upon by You in responding to Interrogatory 20 in Plaintiffs’
            5    first set of interrogatories served on You.
            6    RESPONSE TO REQUEST NO. 20:
            7           UBH and UHC hereby incorporate their General Objections in their entirety into this
            8    response. UBH and UHC further object to this Request on the ground that the referenced
            9    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
          10     claims for intensive outpatient programs to treat substance abuse for which rates were calculated
          11     using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          12     offerings. UBH and UHC further object to this Request on the grounds that the referenced
          13     interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
          14     UHC and UBH to “describe in detail.” UBH and UHC further object to this Request on the grounds
          15     that the referenced interrogatory is vague and ambiguous as to the terms “describe,” “detail,”
          16     “reference numbers,” “verification of benefits,” “authorization of benefits,” “utilization review,” and
          17     “similar calls.” UBH and UHC further object to this Request to the extent it seeks information
          18     outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a
          19     party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs
          20     waited months to serve their first set of interrogatories and now there is limited time left in which this
          21     information can be identified and produced before the close of discovery. UBH and UHC also object
          22     to this Request to the extent that it seeks information which is subject to a claim of privilege or which
          23     is otherwise protected from disclosure, including but not limited to the attorney-client privilege, the
          24     attorney work-product doctrine, confidentiality agreements, or any other applicable privilege,
          25     doctrine, or protection.
          26            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          27     follows: No documents were relied upon in responding to Interrogatory No. 20.
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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1    REQUEST NO. 21:
            2           Any and all documents relied upon by You in responding to Interrogatory 21 in Plaintiffs’
            3    first set of interrogatories served on You.
            4    RESPONSE TO REQUEST NO. 21:
            5           UBH and UHC hereby incorporate their General Objections in their entirety into this
            6    response. UBH and UHC further object to this Request on the ground that the referenced
            7    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
            8    claims for intensive outpatient programs to treat substance abuse for which rates were calculated
            9    using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
          10     offerings. UBH and UHC further object to this Request on the grounds that the referenced
          11     interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
          12     UHC and UBH to “describe in detail.” UBH and UHC further object to this Request on the grounds
          13     that the referenced interrogatory is vague and ambiguous as to the terms “describe,” “detail,” “steps,”
          14     “actions,” “United,” and “agents” UBH and UHC further object to this Request to the extent it seeks
          15     information outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained
          16     from a party or third party other than UBH or UHC. UBH and UHC also object on the basis that
          17     Plaintiffs waited months to serve their first set of interrogatories and now there is limited time left in
          18     which this information can be identified and produced before the close of discovery. UBH and UHC
          19     also object to this Request to the extent that it seeks information which is subject to a claim of
          20     privilege or which is otherwise protected from disclosure, including but not limited to the attorney-
          21     client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
          22     applicable privilege, doctrine, or protection.
          23            Subject to and without waiving the foregoing objections, the United Defendants hereby
          24     respond as follows: PLTFIRSTPROD0000001, PLTFIRSTPROD0000447,
          25     PLTFIRSTPROD0000984, UHC000088195, and UHC000296557.
          26     REQUEST NO. 22:
          27            Any and all documents relied upon by You in responding to Interrogatory 22 in Plaintiffs’
          28     first set of interrogatories served on You.
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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1    RESPONSE TO REQUEST NO. 22:
            2            UBH and UHC hereby incorporate their General Objections in their entirety into this
            3    response. UBH and UHC further object to this Request on the ground that the referenced
            4    interrogatory seeks information about topics other than the reimbursement amount for out-of-network
            5    claims for intensive outpatient programs to treat substance abuse for which rates were calculated
            6    using Viant’s OPR product, including plans that did not include Viant’s OPR product in its program
            7    offerings. UBH and UHC further object to this Request on the grounds that the referenced
            8    interrogatory is overly broad and unduly burdensome, including to the extent that it seeks to force
            9    UHC and UBH to identify “any studies, analysis, or projects” regarding plan language for each one
          10     of potentially thousands of plans. In particular, Plaintiffs’ Request would require UBH and UHC to
          11     review thousands of client relationships and health plans, most of which are completely irrelevant to
          12     the allegations in this action. UBH and UHC further object to this Request on the ground that the
          13     referenced interrogatory seeks information not involving Plaintiffs or any putative class members to
          14     the extent it seeks information about plans that did not include Viant’s OPR product. UBH and UHC
          15     further object to this Request on the grounds that the referenced interrogatory is vague and
          16     ambiguous as to the terms “Describe” and “projects.” UBH and UHC further object to this Request
          17     to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more
          18     reasonably obtained from a party or third party other than UBH or UHC. UBH and UHC also object
          19     on the basis that Plaintiffs waited months to serve their first set of interrogatories and now there is
          20     limited time left in which this information can be identified and produced before the close of
          21     discovery. UBH and UHC also object to this Request to the extent that it seeks information which is
          22     subject to a claim of privilege or which is otherwise protected from disclosure. UBH and UHC
          23     further object to this Request on the grounds that the referenced interrogatory seeks information
          24     outside the statute of limitations.
          25             Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as
          26     follows: No documents were relied upon in responding to Interrogatory No. 22.
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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1    Dated: July 7, 2022
            2                                         GIBSON, DUNN & CRUTCHER LLP
            3

            4                                         By: /s/ Geoffrey Sigler
                                                              Geoffrey Sigler (admitted pro hac vice)
            5

            6                                         Attorneys for Defendant
                                                      UNITED BEHAVIORAL HEALTH and UNITED
            7                                         HEALTHCARE INSURANCE COMPANY
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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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            1
                                                     CERTIFICATE OF SERVICE
            2
                         I, hereby certify that on this 7th day of July 2022, pursuant to an agreement of the parties dated
            3    April 23, 2021, a copy of the foregoing was served via email to the following:
            4            Matthew M. Lavin, Esq. (pro hac vice)
                         Aaron Richard Modiano (pro hac vice)
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            7            matt.lavin@agg.com
                         aaron.modiano@agg.com
            8
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            9            Katie J. Spielman
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                         San Francisco, CA 94102
          11
                         david@dllawgroup.com
          12             katie@dllawgroup.com

          13

          14
                                                                 /s/ Geoffrey Sigler
          15                                                                           Geoffrey M. Sigler

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Gibson, Dunn &   UNITED DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SEVENTH SET OF REQUESTS FOR
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                 1050 Connecticut Avenue, N.W.
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                 Telephone: 202.955.8500
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           11    Attorneys for Defendants
                 UNITED BEHAVIORAL HEALTH and
           12    UNITED HEALTHCARE INSURANCE COMPANY

           13                                    UNITED STATES DISTRICT COURT

           14                                 NORTHERN DISTRICT OF CALIFORNIA

           15                                            OAKLAND DIVISION

           16    LD, DB, BW, RH and CJ, on behalf of              CASE NO. 4:20-cv-02254
                 themselves and all others similarly situated,
           17                                                     DEFENDANTS UNITED BEHAVIORAL
                                        Plaintiffs,               HEALTH’S AND UNITED HEALTHCARE
           18                                                     INSURANCE COMPANY’S RESPONSES
                        v.                                        AND OBJECTIONS TO PLAINTIFFS’
           19                                                     FIRST SET OF INTERROGATORIES
                 UNITED HEALTHCARE INSURANCE
           20    COMPANY, a Connecticut Corporation,
                 UNITED BEHAVIORAL HEALTH, a
           21    California Corporation, and MULTIPLAN
                 INC., a New York corporation,
           22
                                        Defendants.
           23

           24    PROPOUNDING PARTY:                    LD, DB, BW, RH and CJ

           25    RESPONDING PARTY:                     UNITED BEHAVIORAL HEALTH and UNITED

           26                                          HEALTHCARE INSURANCE COMPANY

           27    SET NUMBER:                           One (1)

           28

Gibson, Dunn &
Crutcher LLP
                     DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES
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             1          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the Local Civil Rules

             2   for the United States District Court for the Northern District of California, Defendants United

             3   Behavioral Health (“UBH”) and United Healthcare Insurance Co. (“UHC”) (“United Defendants”)

             4   respond to Plaintiffs’ First Set of Interrogatories (the “Interrogatories” and each individual

             5   “Interrogatory”).

             6                                     PRELIMINARY STATEMENT

             7          1.       UBH’s and UHC’s responses to the Interrogatories are made to the best of United

             8   Defendants’ current knowledge, information, and belief. United Defendants reserve the right to

             9   supplement or amend any of their responses should future investigation indicate that such

           10    supplementation or amendment is necessary.

           11           2.       UBH’s and UHC’s responses to the Interrogatories are made solely for the purpose of

           12    and in relation to this action. Each response is given subject to all appropriate objections (including,

           13    but not limited to, objections concerning privilege, competency, relevancy, materiality, propriety and

           14    admissibility). All objections are reserved and may be interposed at any time.

           15           3.       UBH’s and UHC’s responses are based on their understanding that Plaintiffs seek only

           16    information that is within United Defendants’ possession, custody, and control.

           17           4.       UBH’s and UHC incorporate by reference each and every general objection set forth

           18    into each and every specific response. From time to time, a specific response may repeat a general

           19    objection for emphasis or some other reason. The failure to include any general objection in any

           20    specific response shall not be interpreted as a waiver of any general objection to that response.

           21           5.       Nothing contained in these objections or provided in response to the Interrogatories

           22    consists of, or should be construed as, an admission relating to the accuracy, relevance, existence, or

           23    nonexistence of any alleged facts or information references in any Interrogatory.

           24                                         GENERAL OBJECTIONS

           25           1.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

           26    the extent it purports to impose obligations on UBH and UHC greater than or beyond those required

           27    under the Federal Rules of Civil Procedure (“Federal Rules”), and the Local Civil Rules of the United

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             1   States District Court for the Northern District of California (“Local Rules”), or the Parties’

             2   anticipated ESI Protocol.

             3          2.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction as

             4   overly broad to the extent it seeks discovery on merits issues outside the scope of the administrative

             5   record for the claims at issue in this case. Plaintiffs’ case involves claims for benefits under ERISA,

             6   and therefore discovery should generally be limited to the administrative record for the claims at

             7   issue. See Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).

             8          3.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

             9   the extent that it seeks information that is exempt from discovery and protected from disclosure by

           10    the attorney-client privilege, the attorney work-product doctrine, confidentiality agreements, or any

           11    other applicable privilege, doctrine, or protection.

           12           4.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction as

           13    overly broad to the extent it seeks information not relevant to the claims or defenses of any party, or

           14    information disproportionate to the needs of the case and of such marginal relevance that its probative

           15    value is substantially outweighed by the burden imposed on UBH and UHC in having to search for

           16    and provide such information.

           17           5.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

           18    the extent that it seeks proprietary or other confidential information. To the extent any confidential

           19    health information or other sensitive or protected business information is non-privileged and

           20    responsive to these Interrogatories and not otherwise objectionable, UBH and UHC will provide such

           21    information pursuant to the protections stipulated in the Parties’ protective order and in accordance

           22    with such other procedures as the Parties or Court may establish to protect sensitive or confidential

           23    information. UBH and UHC also reserve the right to redact discrete categories of especially sensitive

           24    information that are not directly relevant to the issues in this case.

           25           6.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

           26    the extent that the information requested is already in Plaintiffs’ possession or are available to

           27    Plaintiffs from another source that is more convenient, less burdensome, or less expensive.

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             1          7.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

             2   the extent it calls for information, the retrieval of which would be unduly burdensome.

             3          8.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

             4   the extent it calls for production of electronic information that is not reasonably accessible, including

             5   any archived data or backup tapes that would be unduly burdensome to search or restore.

             6          9.       UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

             7   the extent that it implicates the privacy interests of third parties established by law, contract, or

             8   custom. This includes, but is not limited to, information covered by the Health Insurance Portability

             9   and Accountability Act, and in particular sensitive health information regarding the mental health and

           10    substance abuse conditions and treatments of participants and beneficiaries who are not named

           11    Plaintiffs in this case. To the extent any confidential health information is non-privileged and

           12    responsive to the Interrogatory and not otherwise objectionable, UBH and UHC will provide such

           13    information pursuant to the Protective Order, and reserves the right to redact identifiers and other

           14    patient-specific information as well.

           15           10.      UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

           16    the extent that it seeks information outside of UBH’s and UHC’s possession, custody, and control,

           17    including to the extent any Requests seek information from a “United” entity other than UBH and

           18    UHC.

           19           11.      Nothing contained herein or provided in response to the Interrogatory consists of, or

           20    should be construed as, an admission relating to the accuracy, relevance, existence, or nonexistence

           21    of any alleged facts or information referenced in any Interrogatory. By indicating that it will produce

           22    non-objectionable, non-privileged responses, UBH and UHC do not make a representation that such

           23    information exists or are in UBH’s and UHC’s possession, but only that UBH and UHC will conduct

           24    the reasonable searches indicated for the information sought.

           25           12.      UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

           26    the extent that it seeks information outside of the relevant scope of discovery and statute of

           27    limitations for this case which is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’

           28    RICO claims. See Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v.
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             1   Andrews, 238 F.3d 1006, 1108 (9th Cir. 2001). In the event that UBH and UHC agree to produce

             2   responses outside of the April 2, 2016 to present timeframe—the governing statute of limitations in

             3   this case—such agreement should be deemed limited to that specific Interrogatory and is not to be

             4   construed as a waiver or admission of any kind.

             5          13.     UBH and UHC object to each and every Interrogatory, Definition, and Instruction to

             6   the extent that it is overly broad, unduly burdensome, and imposes substantial, unjustifiable, and

             7   significant discovery costs and search burdens on UBH and UHC.

             8          14.     Inadvertent production or identification of documents or communications that are

             9   privileged or otherwise immune from discovery shall not constitute a waiver of any such claim with

           10    respect to the disclosed documents or communications or any other documents or communications or

           11    of the right of UBH and UHC to object to the use of any such documents or the subject matter thereof

           12    during subsequent proceedings. In the event of inadvertent disclosure of such documents, Plaintiffs

           13    will return the documents to UBH and UHC and will be precluded from disclosing or relying upon

           14    such documents in any way.

           15           15.     All the General Objections contained herein and Objections to Definitions and

           16    Instructions are expressly incorporated into each of the responses set forth below.

           17                 SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES

           18     INTERROGATORY NO. 1:
           19           Identify all employee welfare health benefit plans insured and/or administered by You, by

           20    plan sponsor and plan year, indicating whether the plan is Administrative Services Only (“ASO”) or

           21    Fully Insured (“FI”) in force from January 1, 2015 to present.

           22     RESPONSE TO INTERROGATORY NO. 1:
           23           UBH and UHC hereby incorporate their General Objections in their entirety into this

           24    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           25    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           26    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           27    including plans that did not include Viant’s OPR product in its program offerings, as well as plans

           28    whose members did not have any of the claims at issue. UBH and UHC further object to this
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             1   Interrogatory on the grounds that it is overly broad and unduly burdensome, including to the extent

             2   that it seeks to force UHC and UBH to identify “all” plans of a certain category. In particular,

             3   Plaintiffs’ request that UBH and UHC identify “all employee welfare health benefit plans insured

             4   and/or administered by” UBH and UHC which would require UBH and UHC to review thousands of

             5   client relationships and health plans, most of which are completely irrelevant to the allegations in this

             6   action. UBH and UHC further object to this Interrogatory on the ground that it seeks information not

             7   involving Plaintiffs or any putative class members to the extent it seeks information about plans that

             8   did not include Viant’s OPR product. UBH and UHC further object to this Interrogatory on the

             9   grounds that it is vague and ambiguous as to the terms “employee welfare health benefit plans

           10    insured and/or administered by you” and “identify.” UBH and UHC further object to this Request to

           11    the extent it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more

           12    reasonably obtained from a party or third party other than UBH or UHC. UBH and UHC also object

           13    on the basis that Plaintiffs waited months to serve their first set of interrogatories and now there is

           14    limited time left in which this information can be identified and produced before the close of

           15    discovery. UBH and UHC further object to this Interrogatory on the grounds that it exceeds the

           16    scope of the parties’ agreed-upon claims and plan sample, which was negotiated many months ago.

           17    UBH and UHC also object to this Interrogatory to the extent that it seeks information which is subject

           18    to a claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object

           19    to this Interrogatory on the grounds that it seeks information outside the statute of limitations.

           20           Subject to and without waiving the foregoing objections, consistent with Rule 33(d), UBH

           21    and UHC will produce to Plaintiffs a supplemental claims data production, consistent with

           22    previously-discussed parameters designed to capture putative class claims (see letters dated

           23    November 29, 2021, December 20, 2021, and June 1, 2022), that will include fields identifying the

           24    plan corresponding to each claim line and state whether the plan is “ASO” (i.e., self-funded”) or fully

           25    insured.

           26     INTERROGATORY NO. 2:
           27           Identify all employee welfare health benefit plans insured and/or administered by You, by

           28    plan sponsor and plan year, from January 1, 2015 to present that state that out-of-network benefits are
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             1   paid based on a percentage of usual, customary, and reasonable (“UCR”) rates or amounts,

             2   reasonable and customary amounts, the prevailing rate, or other similar terms that base the rate of

             3   payment on what other healthcare providers in a geographic area charge for their services.

             4   RESPONSE TO INTERROGATORY NO. 2:

             5          UBH and UHC hereby incorporate their General Objections in their entirety into this

             6   response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

             7   about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

             8   programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

             9   including plans that did not include Viant’s OPR product in its program offerings, as well as plans

           10    whose members did not have any of the claims at issue. UBH and UHC further object to this

           11    Interrogatory on the grounds that it is overly broad and unduly burdensome, including to the extent

           12    that it seeks to force UHC and UBH to identify “all” plans of a certain category. In particular,

           13    Plaintiffs’ request that UBH and UHC identify “all employee welfare health benefit plans insured

           14    and/or administered by” UBH and UHC involving particular plan language, which would require

           15    UBH and UHC to review thousands of client relationships and health plans individually, most of

           16    which are completely irrelevant to the allegations in this action. UBH and UHC further object to the

           17    extent this Interrogatory is suggesting that all of the listed phrases mean the same thing, or that they

           18    all require reimbursement based on provider charges, as opposed to competitive fees, amounts

           19    accepted, or other reimbursement methodologies. UBH and UHC further object to this Interrogatory

           20    on the ground that it seeks information not involving Plaintiffs or any putative class members to the

           21    extent it seeks information about plans that did not include Viant’s OPR product. UBH and UHC

           22    further object to this Interrogatory on the grounds that it is vague and ambiguous as to the terms

           23    “employee welfare health benefit plans insured and/or administered by you” and “identify.” UBH

           24    and UHC further object to this Request to the extent it seeks information outside of UBH’s or UHC’s

           25    possession, custody, or control, or more reasonably obtained from a party or third party other than

           26    UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months to serve their

           27    first set of interrogatories and now there is limited time left in which this information can be

           28    identified and produced before the close of discovery. UBH and UHC further object to this
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             1   Interrogatory on the grounds that it exceeds the scope of the parties’ agreed-upon claims sample,

             2   which was negotiated months ago. UBH and UHC further object to this Interrogatory as seeking

             3   information contained in documents that have been produced in discovery, in searchable form, so

             4   therefore Plaintiffs can search for and identify any specific words and phrases they wish to identify.

             5   UBH and UHC also object to this Interrogatory to the extent that it seeks information which is subject

             6   to a claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object

             7   to this Interrogatory on the grounds that it seeks information outside the statute of limitations. UBH

             8   and UHC further object to the extent this Interrogatory is duplicative of other Interrogatories,

             9   including Interrogatory No. 1.

           10           Subject to and without waiving the foregoing objections, consistent with Rule 33(d), UBH

           11    and UHC will produce to Plaintiffs a supplemental claims data production, consistent with

           12    previously-discussed parameters designed to capture putative class claims (see letters dated

           13    November 29, 2021, December 20, 2021, and June 1, 2022), that will include fields identifying the

           14    plan corresponding to each claim line. UBH and UHC also refer Plaintiffs to the plan documents

           15    produced by UHC in response to Plaintiffs’ previous requests and the parties’ negotiated parameters

           16    for a claims sample. Although the terms of these plans vary widely and they do not all use the words

           17    and phrases listed in this Interrogatory, these plans correspond to one or more putative class claims in

           18    the claim data production discussed in response to Interrogatory No. 1 (which generally were

           19    reimbursed based on Viant OPR’s charge-based data and/or fee negotiations). See UBH000029

           20    (Apple 2018 SPD);UBH000634 (Apple 2019 SPD); UHC000208108 (American Express 2015);

           21    UHC000208280 (American Express 2016); UHC000208650 (American Express 2017);

           22    UHC000208451 (American Express 2018); UHC000209937 (Cisco 2018); UHC000210186-10286

           23    (Cisco 2019); UHC000210286-UHC000210594 (Cisco 2020); UHC000210594 to UHC000210857

           24    (Cisco 2021); UHC000211462-UHC000212016 (Deloitte 2017); UHC000219215-UHC000220054,

           25    UHC000220220-UHC000221094 and UHC000221260-UHC000226409 (Discovery Inc. 2016-2022)

           26    UHC000233907-UHC000237003 and UHC000237005-UHC000237621 (Goldman Sachs 2017-

           27    2021); UHC000239211-UHC000240136 and UHC000240149-UHC000246809 (Mastercard 2017-

           28    2021); UHC000250706-UHC000251255 and UHC000252088-UHC000255728 (Nestle USA);
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             1   UHC000255771-UHC000258818 (Paypal 2017-2022); UHC000261348-UHC000262193;

             2   UHC000262353-UHC000262522; UHC000262684-UHC000264034; UHC000264194-

             3   UHC000264363; UHC000264525-UHC000265875; UHC000266035-UHC000266208;

             4   UHC000266374-UHC000267238; UHC000267403-UHC000268089; UHC000268255-

             5   UHC000269632 (Salesforce 2021-2022); UHC000269797-UHC000269960; UHC000270674-

             6   UHC000271353; UHC000272100-UHC000272814; UHC000273510-UHC000274182;

             7   UHC000274527-UHC000274853; UHC000275196-UHC000275521; UHC000275900-

             8   UHC000276783 (Target 2018-2021); UHC000277823-UHC000278374; UHC000278547-

             9   UHC000279069; UHC000279242-UHC000279762; UHC000279933-UHC000280100;

           10    UHC000280271-UHC000282948 (Tesla 2018-2020); UHC000288877-UHC000289793 (Viacom

           11    2016).

           12             The foregoing list identifies examples of documents produced in the case based on

           13    previously-discussed parameters memorialized in the above correspondence. However, the above list

           14    is not intended to be exhaustive, because each plan contains its own out-of-network reimbursement

           15    provision, these provisions differ from plan to plan, and in many cases they changed over time even

           16    for the same plan. Accordingly, it would not be possible to list all provisions for all plans here.

           17    Additionally, the United Defendants’ productions of plan documents are ongoing, and Plaintiffs

           18    should also refer to the out-of-network provisions contained in additional plan documents that will be

           19    produced over the next several weeks.

           20    INTERROGATORY NO. 3:

           21             Identify all employee welfare health benefit plans insured and/or administered by You, by

           22    plan sponsor and plan year, from January 1, 2015 to present, that contain the following language:

           23    “UCR stands for the usual, customary, and reasonable rates for health care services provided in your

           24    geographic region.”

           25    RESPONSE TO INTERROGATORY NO. 3:

           26             UBH and UHC hereby incorporate their General Objections in their entirety into this

           27    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           28    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient
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             1   programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

             2   including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

             3   further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

             4   including to the extent that it seeks to force UHC and UBH to identify “all” plans of a certain

             5   category. In particular, Plaintiffs’ request that UBH and UHC identify “all employee welfare health

             6   benefit plans insured and/or administered by” UBH and UHC which would require UBH and UHC to

             7   review thousands of client relationships and health plans, most of which are completely irrelevant to

             8   the allegations in this action. UBH and UHC further object to this Interrogatory on the ground that it

             9   seeks information not involving Plaintiffs or any putative class members to the extent it seeks

           10    information about plans that did not include Viant’s OPR product. UBH and UHC further object to

           11    this Interrogatory on the grounds that it is vague and ambiguous as to the terms “employee welfare

           12    health benefit plans insured and/or administered by you” and “identify.” UBH and UHC further

           13    object to this Request to the extent it seeks information outside of UBH’s or UHC’s possession,

           14    custody, or control, or more reasonably obtained from a party or third party other than UBH or UHC.

           15    UBH and UHC also object on the basis that Plaintiffs waited months to serve their first set of

           16    interrogatories and now there is limited time left in which this information can be identified and

           17    produced before the close of discovery. UBH and UHC further object to this Interrogatory on the

           18    grounds that it exceeds the scope of the parties’ agreed-upon claims sample, which was negotiated

           19    months ago. UBH and UHC further object to this Interrogatory as seeking information contained in

           20    documents that have been produced in discovery, in searchable form, so therefore Plaintiffs can

           21    search for and identify any specific words and phrases they wish to identify. UBH and UHC also

           22    object to this Interrogatory to the extent that it seeks information which is subject to a claim of

           23    privilege or which is otherwise protected from disclosure. UBH and UHC further object to this

           24    Interrogatory on the grounds that it seeks information outside the statute of limitations. UBH and

           25    UHC further object to the extent this Interrogatory is duplicative of other Interrogatories, including

           26    Interrogatories Nos. 1-2.

           27           Subject to and without waiving the foregoing objections, consistent with Rule 33(d), UBH

           28    and UHC refer Plaintiffs to the following plans produced in connection with the parties’ negotiated
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             1   samples. See UHC000083532 (Apple 2016), UHC000083873 (Apple 2017) and UBH000029

             2   (Apple 2018). Additionally, although the following plans vary and do not contain the specific

             3   language used in this Interrogatory, because they define UCR using some of the same words and

             4   phrases, the United Defendants also refer Plaintiffs to the following: UHC000247252 (Morgan

             5   Stanley 2016), UHC000251396 (Oracle 2016), and UHC000251357 (American Express 2016). See

             6   also UHC000233632 (Georgia-Pacific 2019 SPD) (similar language section); UHC000215509 (Delta

             7   2019 SPD) (similar language section).

             8          The foregoing list identifies examples of documents produced in the case based on

             9   previously-discussed parameters memorialized in the above correspondence. However, the above list

           10    is not intended to be exhaustive, because each plan contains its own out-of-network reimbursement

           11    provision, these provisions differ from plan to plan, and in many cases they changed over time even

           12    for the same plan. Accordingly, it would not be possible to list all provisions for all plans here.

           13    Additionally, the United Defendants’ productions of plan documents are ongoing, and Plaintiffs

           14    should also refer to the out-of-network provisions contained in additional plan documents that will be

           15    produced over the next several weeks.

           16    INTERROGATORY NO. 4:

           17           Identify all employee welfare health benefit plans insured and/or administered by You, by

           18    plan sponsor and plan year, from January 1, 2015 to present, that contain the following language:

           19    “For Covered Health Services other than Pharmaceutical Products, Eligible Expenses are determined

           20    based on available data resources of competitive fees in that geographic area.”

           21    RESPONSE TO INTERROGATORY NO. 4:

           22           UBH and UHC hereby incorporate their General Objections in their entirety into this

           23    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           24    about UBH and UHC hereby incorporate their General Objections in their entirety into this response.

           25    UBH and UHC further object to this Interrogatory on the ground that it seeks information about

           26    topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           27    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           28    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC
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             1   further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

             2   including to the extent that it seeks to force UHC and UBH to identify “all” plans of a certain

             3   category. In particular, Plaintiffs’ request that UBH and UHC identify “all employee welfare health

             4   benefit plans insured and/or administered by” UBH and UHC which would require UBH and UHC to

             5   review thousands of client relationships and health plans, most of which are completely irrelevant to

             6   the allegations in this action. UBH and UHC further object to this Interrogatory on the ground that it

             7   seeks information not involving Plaintiffs or any putative class members to the extent it seeks

             8   information about plans that did not include Viant’s OPR product. UBH and UHC further object to

             9   this Interrogatory on the grounds that it is vague and ambiguous as to the terms “employee welfare

           10    health benefit plans insured and/or administered by you” and “identify.” UBH and UHC further

           11    object to this Request to the extent it seeks information outside of UBH’s or UHC’s possession,

           12    custody, or control, or more reasonably obtained from a party or third party other than UBH or UHC.

           13    UBH and UHC also object on the basis that Plaintiffs waited months to serve their first set of

           14    interrogatories and now there is limited time left in which this information can be identified and

           15    produced before the close of discovery. UBH and UHC further object to this Interrogatory on the

           16    grounds that it exceeds the scope of the parties’ agreed-upon claims sample, which was negotiated

           17    months ago. UBH and UHC further object to this Interrogatory as seeking information contained in

           18    documents that have been produced in discovery, in searchable form, so therefore Plaintiffs can

           19    search for and identify any specific words and phrases they wish to identify. UBH and UHC also

           20    object to this Interrogatory to the extent that it seeks information which is subject to a claim of

           21    privilege or which is otherwise protected from disclosure. UBH and UHC further object to this

           22    Interrogatory on the grounds that it seeks information outside the statute of limitations. UBH and

           23    UHC further object to the extent this Interrogatory is duplicative of other Interrogatories, including

           24    Interrogatory No. 1.

           25           Subject to and without waiving the foregoing objections, consistent with Rule 33(d), UBH

           26    and UHC hereby refer Plaintiffs to the following plans produced in connection with the parties’

           27    negotiated samples: UBH000634 (Apple 2019 SPD); UHC000013594; UHC000208108 (American

           28    Express 2015); UHC000208280 (American Express 2016); UHC000208650 (American Express
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             1   2017); UHC000208451 (American Express 2018); Cisco 2018 UHC000209850-10095 (Cisco 2018);

             2   UHC000210186-10286 (Cisco 2019); UHC000210286-UHC000210594 (Cisco 2020);

             3   UHC000210594 to UHC000210857 (Cisco 2021); UHC000211462-UHC000212016 (Deloitte 2017);

             4   UHC000219215-UHC000220054, UHC000220220-UHC000221094 and UHC000221260-

             5   UHC000226409 (Discovery Inc 2016-2022); UHC000233907-UHC000237003 and UHC000237005-

             6   UHC000237621 (Goldman Sachs 2017-2021); UHC000239211-UHC000240136 and

             7   UHC000240149-UHC000246809 (Mastercard 2017-2021); UHC000250706-UHC000251255 and

             8   UHC000252088-UHC000255728 (Nestle USA); UHC000251537 (Oracle 2019 SPD)

             9   UHC000255771-UHC000258818 (Paypal 2017-2022); UHC000258978 (Raytheon 2016 SPD);

           10    UHC000261348-UHC000262193; UHC000262353-UHC000262522; UHC000262684-

           11    UHC000264034; UHC000264194-UHC000264363; UHC000264525-UHC000265875;

           12    UHC000266035-UHC000266208; UHC000266374-UHC000267238; UHC000267403-

           13    UHC000268089; UHC000268255-UHC000269632 (Salesforce 2021-2022); UHC000269797-

           14    UHC000269960; UHC000270674-UHC000271353; UHC000272100-UHC000272814;

           15    UHC000273510-UHC000274182; UHC000274527-UHC000274853; UHC000275196-

           16    UHC000275521; UHC000275900-UHC000276783 (Target 2018-2021); UHC000277823-

           17    UHC000278374; UHC000278547-UHC000279069; UHC000279242-UHC000279762;

           18    UHC000279933-UHC000280100; UHC000280271-UHC000282948 (Tesla 2018-2020);

           19    UHC000288877-UHC000289793 (Viacom 2016).

           20           The foregoing list identifies examples of documents produced in the case based on

           21    previously-discussed parameters memorialized in the above correspondence. However, the above list

           22    is not intended to be exhaustive, because each plan contains its own out-of-network reimbursement

           23    provision, these provisions differ from plan to plan, and in many cases they changed over time even

           24    for the same plan. Accordingly, it would not be possible to list all provisions for all plans here.

           25    Additionally, the United Defendants’ productions of plan documents are ongoing, and Plaintiffs

           26    should also refer to the out-of-network provisions contained in additional plan documents that will be

           27    produced over the next several weeks.

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             1   INTERROGATORY NO. 5:

             2          Identify all Persons involved in drafting the plan language quoted in Interrogatory No. 4.

             3   RESPONSE TO INTERROGATORY NO. 5:

             4          UBH and UHC hereby incorporate their General Objections in their entirety into this

             5   response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

             6   about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

             7   programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

             8   including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

             9   further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

           10    including to the extent that it seeks to force UHC and UBH to identify “all Persons” of a certain

           11    category to determine who may have been involved in drafting plan language for each one of

           12    potentially thousands of plans. In particular, Plaintiffs’ Interrogatory would require UBH and UHC

           13    to review thousands of client relationships and health plans, most of which are completely irrelevant

           14    to the allegations in this action. Moreover, each plan document is customized and varies from plan to

           15    plan, and most or all of the ASO plans (which account for most or all of the putative class) control

           16    their own plan design and language. UBH and UHC further object to this Interrogatory on the

           17    ground that it seeks information not involving Plaintiffs or any putative class members to the extent it

           18    seeks information about plans that did not include Viant’s OPR product. UBH and UHC further

           19    object to this Interrogatory on the grounds that it is vague and ambiguous as to the terms “Identify”

           20    and “Persons.” UBH and UHC further object to this Request to the extent it seeks information

           21    outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a

           22    party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs

           23    waited months to serve their first set of interrogatories and now there is limited time left in which this

           24    information can be identified and produced before the close of discovery. UBH and UHC also object

           25    to this Interrogatory to the extent that it seeks information which is subject to a claim of privilege or

           26    which is otherwise protected from disclosure. UBH and UHC further object to this Interrogatory on

           27    the grounds that it seeks information outside the statute of limitations.

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             1           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

             2   follows: for most plans, plan design and language are controlled by the third party ASO plan

             3   sponsor, as reflected in the administrative services contracts produced as part of the plan samples

             4   discussed above (see, e.g., UHC000296542), though they will sometimes receive recommendations

             5   or input from UHC personnel. The specific personnel involved will vary from plan to plan and based

             6   on the period at issue, but could include account personnel (which vary from plan to plan), various

             7   UHC in-house counsel and regulatory affairs personnel, the out-of-network programs group (which

             8   reports to Becky Paradise) insofar as the language involves these programs, and potentially others as

             9   well.

           10    INTERROGATORY NO. 6:

           11            Describe in detail the results of any and all underwriting analyses You conducted, considered,

           12    and/or reviewed regarding the implications of using the plan language quoted in Interrogatory No. 4

           13    in employee welfare health benefit plans insured and/or administered by You.

           14    RESPONSE TO INTERROGATORY NO. 6:

           15            UBH and UHC hereby incorporate their General Objections in their entirety into this

           16    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           17    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           18    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           19    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           20    further object to this Interrogatory on the ground that it seeks information not involving Plaintiffs or

           21    any putative class members to the extent it seeks information about plans that did not include Viant’s

           22    OPR product. UBH and UHC further object to this Interrogatory on the grounds that it is vague and

           23    ambiguous as to the terms “underwriting analyses,” “considered,” “conducted,” “reviewed,” and

           24    “implications.” UBH and UHC further object to this Request to the extent it seeks information

           25    outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a

           26    party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs

           27    waited months to serve their first set of interrogatories and now there is limited time left in which this

           28    information can be identified and produced before the close of discovery. UBH and UHC also object
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             1   to this Interrogatory to the extent that it seeks information which is subject to a claim of privilege or

             2   which is otherwise protected from disclosure, including but not limited to the attorney-client

             3   privilege, the attorney work-product doctrine, confidentiality agreements, or any other applicable

             4   privilege, doctrine, or protection. UBH and UHC further object to this Interrogatory on the grounds

             5   that it seeks information outside the statute of limitations.

             6          Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

             7   follows: based on a reasonable, good faith search using the parties’ negotiated ESI parameters, no

             8   responsive underwriting analyses have been identified. Although not precisely the type of analysis

             9   sought through this request, various cost analyses of the Facility R&C program can be found in

           10    UHC’s document productions; by way of example only, see UHC000089628, UHC000089886,

           11    UHC000199259, UHC000097146, UHC000097182, UHC000097224, UHC000097226,

           12    UHC000047103, UHC000047105, UHC000047109, UHC000017763, UHC000202919,

           13    UHC000185868, and UHC000096196.

           14    INTERROGATORY NO. 7:

           15           Describe in detail the results of any and all actuarial analyses You conducted, considered,

           16    and/or reviewed regarding the implications of using the plan language quoted in Interrogatory No. 4

           17    in employee welfare health benefit plans insured and/or administered by You.

           18    RESPONSE TO INTERROGATORY NO. 7:

           19           UBH and UHC hereby incorporate their General Objections in their entirety into this

           20    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           21    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           22    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           23    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           24    further object to this Interrogatory on the ground that it seeks information not involving Plaintiffs or

           25    any putative class members to the extent it seeks information about plans that did not include Viant’s

           26    OPR product. UBH and UHC further object to this Interrogatory on the grounds that it is vague and

           27    ambiguous as to the terms “actuarial analyses,” “considered,” “conducted,” “reviewed,” and

           28    “implications.” UBH and UHC further object to this Request to the extent it seeks information
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             1   outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a

             2   party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs

             3   waited months to serve their first set of interrogatories and now there is limited time left in which this

             4   information can be identified and produced before the close of discovery. UBH and UHC also object

             5   to this Interrogatory to the extent that it seeks information which is subject to a claim of privilege or

             6   which is otherwise protected from disclosure, including but not limited to the attorney-client

             7   privilege, the attorney work-product doctrine, confidentiality agreements, or any other applicable

             8   privilege, doctrine, or protection. UBH and UHC further object to this Interrogatory on the grounds

             9   that it seeks information outside the statute of limitations. UBH and UHC further object to this

           10    Interrogatory to the extent it is duplicative of other Interrogatories, including Interrogatory No. 6.

           11           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           12    follows: based on a reasonable, good faith search using the parties’ negotiated ESI parameters, no

           13    responsive actuarial analyses have been identified. Although not precisely the type of analysis sought

           14    through this request, other cost analyses of the Facility R&C program can be found in the

           15    productions, including UHC000089628, UHC000089886, UHC000199259, UHC000097146,

           16    UHC000097182, UHC000097224, UHC000097226, UHC000047103, UHC000047105,

           17    UHC000047109, UHC000017763, UHC000202919, UHC000185868, and UHC000096196.

           18    INTERROGATORY NO. 8:

           19           Identify any and all committees and committee members, including their position, role, and

           20    title, at United responsible for proposing, evaluating and/or approving changes to employee welfare

           21    health benefit plan language regarding payment of out-of-network benefits from January 1, 2015 to

           22    present.

           23    RESPONSE TO INTERROGATORY NO. 8:

           24           UBH and UHC hereby incorporate their General Objections in their entirety into this

           25    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           26    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           27    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           28    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC
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             1   further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

             2   including to the extent that it seeks to force UHC and UBH to identify “all committees and committee

             3   members” of a certain category to determine who may have been involved in drafting plan language

             4   for each one of potentially thousands of plans. In particular, Plaintiffs’ Interrogatory would require

             5   UBH and UHC to review thousands of client relationships and health plans, most of which are

             6   completely irrelevant to the allegations in this action. Moreover, each plan document is customized

             7   and varies from plan to plan, and most or all of the ASO plans (which account for most or all of the

             8   putative class) control their own plan design and language. UBH and UHC further object to this

             9   Interrogatory on the ground that it seeks information not involving Plaintiffs or any putative class

           10    members to the extent it seeks information about plans that did not include Viant’s OPR product.

           11    UBH and UHC further object to this Interrogatory on the grounds that it is vague and ambiguous as

           12    to the terms “Identify” and “committees.” UBH and UHC further object to this Request to the extent

           13    it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more reasonably

           14    obtained from a party or third party other than UBH or UHC. UBH and UHC also object on the basis

           15    that Plaintiffs waited months to serve their first set of interrogatories and now there is limited time

           16    left in which this information can be identified and produced before the close of discovery. UBH and

           17    UHC also object to this Interrogatory to the extent that it seeks information which is subject to a

           18    claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object to

           19    this Interrogatory on the grounds that it seeks information outside the statute of limitations. UBH and

           20    UHC further object to the extent this Interrogatory is duplicative of other Interrogatories, including

           21    Interrogatory No. 1.

           22           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           23    follows: for most plans, plan design and language are controlled by the third party ASO plan

           24    sponsor, as reflected in the administrative services contracts produced as part of the plan samples

           25    discussed above (see, e.g., UHC000296542), though they will sometimes receive recommendations

           26    or input from UHC personnel. The specific personnel involved will vary from plan to plan and based

           27    on the period at issue, but could include account personnel (which vary from plan to plan), various

           28    UHC in-house counsel and regulatory affairs personnel, the out-of-network programs group (which
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             1   reports to Becky Paradise) insofar as the language involves these programs, and potentially others as

             2   well.

             3   INTERROGATORY NO. 9:

             4           Describe in detail Your processes and procedures from January 1, 2015 to present for

             5   proposing, drafting, evaluating and/or approving changes to employee welfare health benefit plan

             6   language regarding payment of out-of-network benefits.

             7   RESPONSE TO INTERROGATORY NO. 9:

             8           UBH and UHC hereby incorporate their General Objections in their entirety into this

             9   response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           10    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           11    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           12    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           13    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

           14    including to the extent that it seeks to force UHC and UBH to describe “processes and procedures” of

           15    a certain category involved in drafting plan language for each one of potentially thousands of plans.

           16    In particular, Plaintiffs’ Interrogatory would require UBH and UHC to review thousands of client

           17    relationships and health plans, most of which are completely irrelevant to the allegations in this

           18    action. Moreover, each plan document is customized and varies from plan to plan, and most or all of

           19    the ASO plans (which account for most or all of the putative class) control their own plan design and

           20    language. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           21    not involving Plaintiffs or any putative class members to the extent it seeks information about plans

           22    that did not include Viant’s OPR product. UBH and UHC further object to this Interrogatory on the

           23    grounds that it is vague and ambiguous as to the terms “describe” and “procedures.” UBH and UHC

           24    further object to this Request to the extent it seeks information outside of UBH’s or UHC’s

           25    possession, custody, or control, or more reasonably obtained from a party or third party other than

           26    UBH or UHC. UBH and UHC also object on the basis that Plaintiffs waited months to serve their

           27    first set of interrogatories and now there is limited time left in which this information can be

           28    identified and produced before the close of discovery. UBH and UHC also object to this
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             1   Interrogatory to the extent that it seeks information which is subject to a claim of privilege or which

             2   is otherwise protected from disclosure. UBH and UHC further object to this Interrogatory on the

             3   grounds that it seeks information outside the statute of limitations.

             4          Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

             5   follows: for most plans, plan design and language are controlled by the third party ASO plan

             6   sponsor, as reflected in the administrative services contracts produced as part of the plan samples

             7   discussed above (see, e.g., UHC000296542), though they will sometimes receive recommendations

             8   or input from UHC personnel. For the minority of plans that are fully-insured and regulated by state

             9   insurance laws, UHC also needs to prepare filings and receive approval from state regulators, and this

           10    process varies from state to state. The specific personnel involved and process will vary from plan to

           11    plan and based on the period at issue, but could include account personnel, various UHC in-house

           12    counsel and regulatory affairs personnel, the out-of-network programs group (which reports to Becky

           13    Paradise) insofar as the language involves these programs, and potentially others as well.

           14    INTERROGATORY NO. 10:

           15           Identify all Persons at United involved in designing and/or implementing out of network

           16    savings and vendor programs.

           17    RESPONSE TO INTERROGATORY NO. 10:

           18           UBH and UHC hereby incorporate their General Objections in their entirety into this

           19    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           20    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           21    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           22    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           23    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

           24    including to the extent that it seeks to force UHC and UBH to identify “all Persons” who had certain

           25    responsibilities for each one of potentially thousands of plans. UBH and UHC further object to this

           26    Interrogatory on the grounds that it is vague and ambiguous as to the terms “out of network savings”

           27    and “vendor programs.” UBH and UHC further object to this Request to the extent it seeks

           28    information outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained
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             1   from a party or third party other than UBH or UHC. UBH and UHC also object on the basis that

             2   Plaintiffs waited months to serve their first set of interrogatories and now there is limited time left in

             3   which this information can be identified and produced before the close of discovery. UBH and UHC

             4   also object to this Interrogatory to the extent that it seeks information which is subject to a claim of

             5   privilege or which is otherwise protected from disclosure, including but not limited to the attorney-

             6   client privilege, the attorney work-product doctrine, confidentiality agreements, or any other

             7   applicable privilege, doctrine, or protection. UBH and UHC further object to this Interrogatory on

             8   the grounds that it seeks information outside the statute of limitations.

             9          Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           10    follows: Various members of the out-of-network program group had some role in designing or

           11    implementing the Facility R&C program, including Viant OPR, including Rebecca Paradise, Jolene

           12    Bradley, Radames Lopez, John Haben, and Sarah Peterson. In addition, the OON programs group

           13    consults with other impacted groups depending on the change to the program to discuss proposed

           14    changes. Consistent with Rule 33(d), Defendants further refer Plaintiffs to UHC’s document

           15    productions, which identify these and other persons involved in these programs and show each

           16    individual’s involvement in particular projects or functions related to the Facility R&C program.

           17    INTERROGATORY NO. 11:

           18           Identify all employee welfare health benefit plans insured and/or administered by You, by

           19    plan sponsor and plan year, in force from January 1, 2015 to present that contain language granting

           20    discretionary authority to United.

           21    RESPONSE TO INTERROGATORY NO. 11:

           22           UBH and UHC hereby incorporate their General Objections in their entirety into this

           23    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           24    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           25    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           26    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           27    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

           28    including to the extent that it seeks to force UHC and UBH to identify “all” plans of a certain
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             1   category. In particular, Plaintiffs’ request that UBH and UHC identify “all employee welfare health

             2   benefit plans insured and/or administered by” UBH and UHC which would require UBH and UHC to

             3   review thousands of client relationships and health plans, most of which are completely irrelevant to

             4   the allegations in this action. UBH and UHC further object to this Interrogatory on the ground that it

             5   seeks information not involving Plaintiffs or any putative class members to the extent it seeks

             6   information about plans that did not include Viant’s OPR product. UBH and UHC further object to

             7   this Interrogatory on the grounds that it is vague and ambiguous as to the terms “employee welfare

             8   health benefit plans insured and/or administered by you.” UBH and UHC further object to this

             9   Request to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or

           10    control, or more reasonably obtained from a party or third party other than UBH or UHC. UBH and

           11    UHC also object on the basis that Plaintiffs waited months to serve their first set of interrogatories

           12    and now there is limited time left in which this information can be identified and produced before the

           13    close of discovery. UBH and UHC further object to this Interrogatory as seeking information

           14    contained in documents that have been produced in discovery, in searchable form, so therefore

           15    Plaintiffs can search for and identify any specific words and phrases they wish to identify. UBH and

           16    UHC also object to this Interrogatory to the extent that it seeks information which is subject to a

           17    claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object to

           18    this Interrogatory on the grounds that it seeks information outside the statute of limitations.

           19           Subject to and without waiving the foregoing objections, consistent with Rule 33(d), UBH

           20    and UHC refer Plaintiffs to the following plan documents produced in connection with the parties’

           21    negotiated samples. UHC000013594; UHC000208051-UHC000208063 (American Express ASA);

           22    UHC00208946 and UHC000209050 (American Express SPD 2021); UHC000209101 (Cisco ASA);

           23    UHC000210104 (2018 Cisco SPD), UHC000210297-98UHC209861 (2019 Cisco SPD);

           24    UHC000210349 (Cisco 2020 SPD); UHC000210608 (Cisco SPD 2021); UHC000211002 (Coca-

           25    Cola ASA); UHC000211239 (Deloitte ASA); UHC000211485 and UHC000211434 (Deloitte 2017

           26    SPD); UHC000212127 (Delta ASA); UHC000214523-524 (Delta SPD); UHC000228001 (General

           27    Dynamics ASA); UHC000228268 (General Dynamics 2017 SPD) UHC000229433 (General

           28    Dynamics 2018 SPD); UHC000233919 (Goldman Sachs 2017 SPD); UHC000237752 (JP Morgan
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             1   Chase ASA); UHC000246860 (Morgan Stanley ASA); UHC000248125 (Morgan Stanley 2018

             2   SPD); UHC000248572 (Nestle SPD); UHC000258828 (Raytheon ASA); UHC000252422 (PayPal

             3   2017 SPD); UHC000263039 (Salesforce 2020 SPD); UHC000287082 (Union Pacific SPD 2018);

             4   UHC000288853 (Viacom 2018 ASA); UHC000293645 (VMWare 2019 SPD).

             5          The foregoing list identifies examples of documents produced in the case based on

             6   previously-discussed parameters memorialized in the above correspondence. However, the above list

             7   is not intended to be exhaustive, because each plan contains its own discretion-granting provisions,

             8   these provisions differ from plan to plan, and in many cases they changed over time even for the

             9   same plan. Accordingly, it would not be possible to list all provisions for all plans here.

           10    Additionally, the United Defendants’ productions of plan documents are ongoing, and Plaintiffs

           11    should also refer to the discretion-granting provisions contained in additional plan documents that

           12    will be produced over the next several weeks. As a general matter, most or all ASO plans should

           13    contain discretion-granting provisions, though not all fully-insured plans contain such language.

           14    INTERROGATORY NO. 12:

           15           Identify all employee welfare health benefit plans insured and/or administered by You, by

           16    plan sponsor and plan year, in force from January 1, 2015 to present that do not contain language

           17    granting discretionary authority to United.

           18    RESPONSE TO INTERROGATORY NO. 12:

           19           UBH and UHC hereby incorporate their General Objections in their entirety into this

           20    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           21    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           22    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           23    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           24    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

           25    including to the extent that it seeks to force UHC and UBH to identify “all” plans of a certain

           26    category. In particular, Plaintiffs’ request that UBH and UHC identify “all employee welfare health

           27    benefit plans insured and/or administered by” UBH and UHC which would require UBH and UHC to

           28    review thousands of client relationships and health plans, most of which are completely irrelevant to
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             1   the allegations in this action. UBH and UHC further object to this Interrogatory on the ground that it

             2   seeks information not involving Plaintiffs or any putative class members to the extent it seeks

             3   information about plans that did not include Viant’s OPR product. UBH and UHC further object to

             4   this Interrogatory on the grounds that it is vague and ambiguous as to the terms “employee welfare

             5   health benefit plans insured and/or administered by you.” UBH and UHC further object to this

             6   Request to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or

             7   control, or more reasonably obtained from a party or third party other than UBH or UHC. UBH and

             8   UHC also object on the basis that Plaintiffs waited months to serve their first set of interrogatories

             9   and now there is limited time left in which this information can be identified and produced before the

           10    close of discovery. UBH and UHC further object to this Interrogatory as seeking information

           11    contained in documents that have been produced in discovery, in searchable form, so therefore

           12    Plaintiffs can search for and identify any specific words and phrases they wish to identify. UBH and

           13    UHC also object to this Interrogatory to the extent that it seeks information which is subject to a

           14    claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object to

           15    this Interrogatory on the grounds that it seeks information outside the statute of limitations. UBH and

           16    UHC further object to the extent this Interrogatory is duplicative of other Interrogatories.

           17            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           18    follows: UBH and UHC have not identified any plans in the productions to date that do not grant

           19    discretion to UBH or UHC; however, given the breadth of the putative class, there may be some plans

           20    in the putative class that do not grant discretion (e.g., fully insured plans in states for which the state

           21    insurance regulators do not allow discretion-granting provisions). As a general matter, most or all

           22    ASO plans should contain discretion-granting provisions, though not all fully-insured plans contain

           23    such language. Plaintiffs stated in meet and confers that they do not intend to include fully-insured

           24    plans in the putative class, but in the event that this position has shifted the United Defendants are

           25    available to meet and confer to discuss how to address this category of plans.

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             1   INTERROGATORY NO. 13:

             2          Identify all employee welfare health benefit plans insured and/or administered by You, by

             3   plan sponsor and plan year, from January 1, 2015 to present that state that out-of-network benefits are

             4   or may be paid based on a rate recommended by Viant.

             5   RESPONSE TO INTERROGATORY NO. 13:

             6          UBH and UHC hereby incorporate their General Objections in their entirety into this

             7   response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

             8   about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

             9   programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           10    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           11    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

           12    including to the extent that it seeks to force UHC and UBH to identify “all” plans of a certain

           13    category. In particular, Plaintiffs’ request that UBH and UHC identify “all employee welfare health

           14    benefit plans insured and/or administered by” UBH and UHC which would require UBH and UHC to

           15    review thousands of client relationships and health plans, most of which are completely irrelevant to

           16    the allegations in this action. UBH and UHC further object to this Interrogatory on the ground that it

           17    seeks information not involving Plaintiffs or any putative class members to the extent it seeks

           18    information about plans that did not include Viant’s OPR product. UBH and UHC further object to

           19    this Interrogatory on the grounds that it is vague and ambiguous as to the terms “employee welfare

           20    health benefit plans insured and/or administered by you.” UBH and UHC further object to this

           21    Request to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or

           22    control, or more reasonably obtained from a party or third party other than UBH or UHC. UBH and

           23    UHC also object on the basis that Plaintiffs waited months to serve their first set of interrogatories

           24    and now there is limited time left in which this information can be identified and produced before the

           25    close of discovery. UBH and UHC further object to this Interrogatory as seeking information

           26    contained in documents that have been produced in discovery, in searchable form, so therefore

           27    Plaintiffs can search for and identify any specific words and phrases they wish to identify. UBH and

           28    UHC also object to this Interrogatory to the extent that it seeks information which is subject to a
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             1   claim of privilege or which is otherwise protected from disclosure. UBH and UHC further object to

             2   this Interrogatory on the grounds that it seeks information outside the statute of limitations. UBH and

             3   UHC further object to the extent this Interrogatory is duplicative of other Interrogatories.

             4          Subject to and without waiving the foregoing objections, consistent with Rule 33(d), UBH

             5   and UHC refer Plaintiffs to the following plan documents produced in connection with the parties’

             6   negotiated samples. UHC000260999. The foregoing is an example of documents produced in the

             7   case using the terms specified in this Interrogatory, based on previously-discussed parameters

             8   memorialized in the above correspondence. However, the above example is not intended to be

             9   exhaustive, because each plan contains its own out-of-network reimbursement provisions, these

           10    provisions differ from plan to plan, and in many cases they changed over time even for the same plan.

           11    Accordingly, it would not be possible to list all provisions for all plans here. Additionally, the United

           12    Defendants’ productions of plan documents are ongoing, and Plaintiffs should also refer to the

           13    provisions contained in additional plan documents that will be produced over the next several weeks.

           14    INTERROGATORY NO. 14:

           15           Describe in detail the results of any and all actuarial, underwriting, or other analyses You

           16    conducted, considered, and/or reviewed regarding the implications of using language stating that out-

           17    of-network benefits are or may be paid based on a rate recommended by Viant in employee welfare

           18    health benefit plans insured and/or administered by You.

           19    RESPONSE TO INTERROGATORY NO. 14:

           20           UBH and UHC hereby incorporate their General Objections in their entirety into this

           21    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           22    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           23    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           24    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           25    further object to this Interrogatory on the ground that it seeks information not involving Plaintiffs or

           26    any putative class members to the extent it seeks information about plans that did not include Viant’s

           27    OPR product. UBH and UHC further object to this Interrogatory on the grounds that it is vague and

           28    ambiguous as to the terms “actuarial, underwriting, or other analyses,” “considered,” “conducted,”
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             1   “reviewed,” and “implications.” UBH and UHC further object to this Request to the extent it seeks

             2   information outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained

             3   from a party or third party other than UBH or UHC. UBH and UHC also object on the basis that

             4   Plaintiffs waited months to serve their first set of interrogatories and now there is limited time left in

             5   which this information can be identified and produced before the close of discovery. UBH and UHC

             6   also object to this Interrogatory to the extent that it seeks information which is subject to a claim of

             7   privilege or which is otherwise protected from disclosure, including but not limited to the attorney-

             8   client privilege, the attorney work-product doctrine, confidentiality agreements, or any other

             9   applicable privilege, doctrine, or protection. UBH and UHC further object to this Interrogatory on

           10    the grounds that it seeks information outside the statute of limitations.

           11           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           12    follows: based on a reasonable, good faith search using the parties’ negotiated ESI parameters, no

           13    responsive underwriting analyses have been identified. Although not precisely the type of analysis

           14    sought through this request, other cost analyses of the Facility R&C program can be found in the

           15    productions, including UHC000089628, UHC000089886, UHC000199259, UHC000097146,

           16    UHC000097182, UHC000097224, UHC000097226, UHC000047103, UHC000047105,

           17    UHC000047109, UHC000017763, UHC000202919, UHC000185868, and UHC000096196.

           18    INTERROGATORY NO. 15:

           19           Describe in detail the results of any and all actuarial, underwriting, or other analyses You

           20    conducted, considered, and/or reviewed regarding the implications of using rates recommended by

           21    Viant to pay out-of-network benefits.

           22    RESPONSE TO INTERROGATORY NO. 15:

           23           UBH and UHC hereby incorporate their General Objections in their entirety into this

           24    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           25    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           26    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           27    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           28    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,
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             1   including to the extent that it seeks to force UHC and UBH to describe in detail “any and all

             2   actuarial, underwriting, or other analyses” for each one of potentially thousands of plans. In

             3   particular, Plaintiffs’ Interrogatory would require UBH and UHC to review thousands of client

             4   relationships and health plans, most of which are completely irrelevant to the allegations in this

             5   action. UBH and UHC further object to this Interrogatory on the ground that it seeks information not

             6   involving Plaintiffs or any putative class members to the extent it seeks information about plans that

             7   did not include Viant’s OPR product. UBH and UHC further object to this Interrogatory on the

             8   grounds that it is vague and ambiguous as to the terms “actuarial, underwriting, or other analyses,”

             9   “considered,” “conducted,” “reviewed,” and “implications,” and “rates recommended by Viant to pay

           10    out-of-network benefits.” UBH and UHC further object to this Interrogatory to the extent it seeks

           11    information outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained

           12    from a party or third party other than UBH or UHC. UBH and UHC also object on the basis that

           13    Plaintiffs waited months to serve their first set of interrogatories and now there is limited time left in

           14    which this information can be identified and produced before the close of discovery. UBH and UHC

           15    also object to this Interrogatory to the extent that it seeks information which is subject to a claim of

           16    privilege or which is otherwise protected from disclosure, including but not limited to the attorney-

           17    client privilege, the attorney work-product doctrine, confidentiality agreements, or any other

           18    applicable privilege, doctrine, or protection. UBH and UHC further object to this Interrogatory on

           19    the grounds that it seeks information outside the statute of limitations. UBH and UHC further object

           20    to this Interrogatory to the extent it is duplicative of other Interrogatories, including Interrogatory

           21    Nos. 6, 7, and 14.

           22           Subject to and without waiving the foregoing objections, consistent with Rule 33(d), UBH

           23    and UHC hereby respond as follows: UBH and UHC refer Plaintiffs to various documents in their

           24    production involving various types of analyses including, for example, UHC000089628,

           25    UHC000089886, UHC000199259, UHC000097146, UHC000097182, UHC000097224,

           26    UHC000097226, UHC000047103, UHC000047105, UHC000047109, UHC000017763,

           27    UHC000202919, UHC000185868, and UHC000096196. The foregoing list identifies examples of

           28    documents produced in the case based on previously-discussed parameters memorialized in the above
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             1   correspondence. However, the above example is not intended to be exhaustive, because this

             2   Interrogatory is broadly worded and there have been various “analyses” of Facility R&C and/or Viant

             3   OPR throughout the multiple years at issue in this case. Accordingly, it would not be possible to list

             4   all “analyses” here. Additionally, the United Defendants’ productions of plan documents are

             5   ongoing, and Plaintiffs should also refer to additional documents that will be produced over the next

             6   several weeks.

             7   INTERROGATORY NO. 16:

             8          Describe in detail the results of any and all actuarial, underwriting, or other analyses You

             9   conducted, considered, and/or reviewed regarding the implications of changes to the Facility R&C

           10    Program percentile used to pay out-of-network benefits.

           11    RESPONSE TO INTERROGATORY NO. 16:

           12           UBH and UHC hereby incorporate their General Objections in their entirety into this

           13    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           14    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           15    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           16    including any changes to percentiles that did not impact the claims at issue in this case (e.g., changes

           17    to the percentiles for reimbursement of ambulatory surgical centers, which are not at issue in this

           18    case). UBH and UHC further object to this Interrogatory on the ground that it seeks information not

           19    involving Plaintiffs or any putative class members to the extent it seeks information about plans that

           20    did not include Viant’s OPR product. UBH and UHC further object to this Interrogatory on the

           21    grounds that it is vague and ambiguous as to the terms “actuarial, underwriting, or other analyses,”

           22    “considered,” “conducted,” “reviewed,” and “implications.” UBH and UHC further object to this

           23    Request to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or

           24    control, or more reasonably obtained from a party or third party other than UBH or UHC. UBH and

           25    UHC also object on the basis that Plaintiffs waited months to serve their first set of interrogatories

           26    and now there is limited time left in which this information can be identified and produced before the

           27    close of discovery. UBH and UHC also object to this Interrogatory to the extent that it seeks

           28    information which is subject to a claim of privilege or which is otherwise protected from disclosure,
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             1   including but not limited to the attorney-client privilege, the attorney work-product doctrine,

             2   confidentiality agreements, or any other applicable privilege, doctrine, or protection. UBH and UHC

             3   further object to this Interrogatory on the grounds that it seeks information outside the statute of

             4   limitations.

             5           Subject to and without waiving the foregoing objections, consistent with Rule 33(d), UBH

             6   and UHC hereby refer Plaintiffs to the following documents (and others like them in the

             7   productions): See, e.g., UHC000205524-UHC000205528; UHC000207874-UHC000207875 This

             8   list is not intended to be exhaustive, as there may be other documents in the productions discussing

             9   these or other cost analyses.

           10    INTERROGATORY NO. 17:

           11            Describe in detail the results of any and all underwriting analyses You conducted, considered,

           12    and/or reviewed regarding the implications of modifying plan language to reflect changes to the

           13    Facility R&C Program/Viant OPR percentile used to pay out-of-network benefits (e.g.: changing

           14    from 60th to 40th percentile of Viant OPR).

           15    RESPONSE TO INTERROGATORY NO. 17:

           16            UBH and UHC hereby incorporate their General Objections in their entirety into this

           17    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           18    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           19    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           20    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           21    further object to this Interrogatory on the ground that it seeks information not involving Plaintiffs or

           22    any putative class members to the extent it seeks information about plans that did not include Viant’s

           23    OPR product. UBH and UHC further object to this Interrogatory on the grounds that it is vague and

           24    ambiguous as to the terms “underwriting analyses,” “considered,” “conducted,” “reviewed,” and

           25    “implications.” UBH and UHC further object to this Request to the extent it seeks information

           26    outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a

           27    party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs

           28    waited months to serve their first set of interrogatories and now there is limited time left in which this
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             1   information can be identified and produced before the close of discovery. UBH and UHC also object

             2   to this Interrogatory to the extent that it seeks information which is subject to a claim of privilege or

             3   which is otherwise protected from disclosure, including but not limited to the attorney-client

             4   privilege, the attorney work-product doctrine, confidentiality agreements, or any other applicable

             5   privilege, doctrine, or protection. UBH and UHC further object to this Interrogatory on the grounds

             6   that it seeks information outside the statute of limitations.

             7          Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

             8   follows: based on a reasonable, good faith search using the parties’ negotiated ESI parameters, no

             9   responsive underwriting analyses have been identified. Although not precisely the type of analysis

           10    sought through this request, other analyses of the potential cost impact of changing the Viant

           11    percentiles for claims that included (but were not limited to) the IOP services at issue in this case:

           12    See, e.g., UHC000205524-UHC000205528; UHC000207874-UHC000207875. This list is not

           13    intended to be exhaustive, as there may be other documents in the productions discussing these or

           14    other cost analyses.

           15    INTERROGATORY NO. 18:

           16           Describe in detail the results of any and all actuarial analyses You conducted, considered,

           17    and/or reviewed regarding the implications of modifying plan language to reflect changes to the

           18    Facility R&C Program percentile used to pay out-of-network benefits.

           19    RESPONSE TO INTERROGATORY NO. 18:

           20           UBH and UHC hereby incorporate their General Objections in their entirety into this

           21    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           22    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           23    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           24    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           25    further object to this Interrogatory on the ground that it seeks information not involving Plaintiffs or

           26    any putative class members to the extent it seeks information about plans that did not include Viant’s

           27    OPR product. UBH and UHC further object to this Interrogatory on the grounds that it is vague and

           28    ambiguous as to the terms “actuarial analyses,” “considered,” “conducted,” “reviewed,” and
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             1   “implications.” UBH and UHC further object to this Request to the extent it seeks information

             2   outside of UBH’s or UHC’s possession, custody, or control, or more reasonably obtained from a

             3   party or third party other than UBH or UHC. UBH and UHC also object on the basis that Plaintiffs

             4   waited months to serve their first set of interrogatories and now there is limited time left in which this

             5   information can be identified and produced before the close of discovery. UBH and UHC also object

             6   to this Interrogatory to the extent that it seeks information which is subject to a claim of privilege or

             7   which is otherwise protected from disclosure, including but not limited to the attorney-client

             8   privilege, the attorney work-product doctrine, confidentiality agreements, or any other applicable

             9   privilege, doctrine, or protection. UBH and UHC further object to this Interrogatory on the grounds

           10    that it seeks information outside the statute of limitations.

           11           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           12    follows: based on a reasonable, good faith search using the parties’ negotiated ESI parameters, no

           13    responsive analyses have been identified. Although not precisely the type of analysis sought through

           14    this request, other analyses of the potential cost impact of changing the Viant percentiles for claims

           15    that included (but were not limited to) the IOP services at issue in this case: See, e.g.,

           16    UHC000205524-UHC000205528; UHC000207874-UHC000207875. This list is not intended to be

           17    exhaustive, as there may be other documents in the productions discussing these or other cost

           18    analyses.

           19    INTERROGATORY NO. 19:

           20           Describe in detail the cost to United of processing an out-of-network claim for benefits

           21    through United’s Facility R&C Program.

           22    RESPONSE TO INTERROGATORY NO. 19:

           23           UBH and UHC hereby incorporate their General Objections in their entirety into this

           24    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           25    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           26    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           27    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           28    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,
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             1   including to the extent that it seeks to force UHC and UBH to “describe in detail.” UBH and UHC

             2   further object to this Interrogatory on the grounds that it is vague and ambiguous as to the terms

             3   “describe,” “detail,” “cost,” and “processing,” particularly to the extent this Interrogatory is asking

             4   for a generalized “cost” associated with “an out-of-network claim,” when these costs can vary widely

             5   from claim to claim and based on various factors. UBH and UHC further object to this Interrogatory

             6   to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more

             7   reasonably obtained from a party or third party other than UBH or UHC. UBH and UHC also object

             8   on the basis that Plaintiffs waited months to serve their first set of interrogatories and now there is

             9   limited time left in which this information can be identified and produced before the close of

           10    discovery. UBH and UHC also object to this Interrogatory to the extent that it seeks information

           11    which is subject to a claim of privilege or which is otherwise protected from disclosure, including but

           12    not limited to the attorney-client privilege, the attorney work-product doctrine, confidentiality

           13    agreements, or any other applicable privilege, doctrine, or protection.

           14            Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           15    follows: UBH and UHC will meet and confer with Plaintiffs to understand what information is

           16    sought, and what documents or information, if any, can be reasonably provided.

           17    INTERROGATORY NO. 20:

           18            Describe in detail how reference numbers given on verification of benefits, authorization of

           19    benefits, utilization review, or other similar calls are generated, where such data are stored, and how

           20    such numbers may be used to then locate and/or identify recordings, notes, or other material relating

           21    to those calls.

           22    RESPONSE TO INTERROGATORY NO. 20:

           23            UBH and UHC hereby incorporate their General Objections in their entirety into this

           24    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           25    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           26    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           27    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           28    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,
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             1   including to the extent that it seeks to force UHC and UBH to “describe in detail.” UBH and UHC

             2   further object to this Interrogatory on the grounds that it is vague and ambiguous as to the terms

             3   “describe,” “detail,” “reference numbers,” “verification of benefits,” “authorization of benefits,”

             4   “utilization review,” and “similar calls.” UBH and UHC further object to this Interrogatory to the

             5   extent it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more

             6   reasonably obtained from a party or third party other than UBH or UHC. UBH and UHC also object

             7   on the basis that Plaintiffs waited months to serve their first set of interrogatories and now there is

             8   limited time left in which this information can be identified and produced before the close of

             9   discovery. UBH and UHC also object to this Interrogatory to the extent that it seeks information

           10    which is subject to a claim of privilege or which is otherwise protected from disclosure, including but

           11    not limited to the attorney-client privilege, the attorney work-product doctrine, confidentiality

           12    agreements, or any other applicable privilege, doctrine, or protection.

           13           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           14    follows: UBH and UHC will meet and confer with Plaintiffs to understand what information is

           15    sought, and what documents or information, if any, can be reasonably provided.

           16    INTERROGATORY NO. 21:

           17           Describe in detail what steps, actions, policies, and/or procedures are taken by United or its

           18    agents with regard to members who receive balance bills for out-of-network claims priced through

           19    United’s Facility R&C program from January 1, 2015 to present.

           20    RESPONSE TO INTERROGATORY NO. 21:

           21           UBH and UHC hereby incorporate their General Objections in their entirety into this

           22    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           23    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           24    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           25    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           26    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

           27    including to the extent that it seeks to force UHC and UBH to “describe in detail.” UBH and UHC

           28    further object to this Interrogatory on the grounds that it is vague and ambiguous as to the terms
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             1   “describe,” “detail,” “steps,” “actions,” “United,” and “agents.” UBH and UHC further object to this

             2   Interrogatory to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or

             3   control, or more reasonably obtained from a party or third party other than UBH or UHC. UBH and

             4   UHC also object on the basis that Plaintiffs waited months to serve their first set of interrogatories

             5   and now there is limited time left in which this information can be identified and produced before the

             6   close of discovery. UBH and UHC also object to this Interrogatory to the extent that it seeks

             7   information which is subject to a claim of privilege or which is otherwise protected from disclosure,

             8   including but not limited to the attorney-client privilege, the attorney work-product doctrine,

             9   confidentiality agreements, or any other applicable privilege, doctrine, or protection.

           10           Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

           11    follows: for the out-of-network IOP services at issue in this case, involving claims for which allowed

           12    amounts were calculated based on Viant OPR through the Facility R&C program, when a member

           13    informs UBH or UHC that he or she is being balance billed by the provider, UHC will generally

           14    engage with the member, as well as MultiPlan/Viant, to try to protect the member from paying

           15    unnecessary amounts on any balance bill. The specific workflow and results can vary based on a

           16    variety of factors; for example, in some cases, UHC may be able to educate the member about the

           17    plan, balance-billing, or related topics, and through this discussion it may become clear that no

           18    further steps are needed (e.g., sometimes the discussion reveals that a member actually has not

           19    received a balance bill from the provider and therefore does not owe any outstanding balance). In

           20    other cases, when the member actually has received a balance bill, a negotiated resolution can be

           21    reached with the provider (generally by Viant through its fee negotiation/patient advocacy service)

           22    and through the negotiated resolution the provider agrees not to balance bill the member in exchange

           23    for an increased payment on the claim. In other cases when the member has received a balance bill,

           24    no negotiated resolution can be reached with the provider, and in the event the provider pursues its

           25    balance bill the member may need to pay some or all of the balance bill (a possibility that is generally

           26    explained in the members’ plan documents). Members also have the option of appealing an adverse

           27    determination through the plan’s administrative appeals process, and the resolution of the appeal will

           28    depend on various plan-specific and claim-specific factors, as well as any information submitted with
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             1   the appeal. Consistent with Rule 33(d), the United Defendants also refer Plaintiffs to documents

             2   produced regarding the fee negotiation/patient advocacy process described above (see, e.g.,

             3   PLTFIRSTPROD0000001, PLTFIRSTPROD0000447, and PLTFIRSTPROD0000984;

             4   UHC000088195; UHC000296557).

             5   INTERROGATORY NO. 22:

             6          Describe in detail any studies, analysis, or projects to determine whether the Facility R&C

             7   program as administered, implemented, and/or utilized by United complied with the terms of the

             8   plans insured and/or administered by United along with the dates, findings, and individuals associated

             9   with such studies, analysis, or projects.

           10    RESPONSE TO INTERROGATORY NO. 22:

           11           UBH and UHC hereby incorporate their General Objections in their entirety into this

           12    response. UBH and UHC further object to this Interrogatory on the ground that it seeks information

           13    about topics other than the reimbursement amount for out-of-network claims for intensive outpatient

           14    programs to treat substance abuse for which rates were calculated using Viant’s OPR product,

           15    including plans that did not include Viant’s OPR product in its program offerings. UBH and UHC

           16    further object to this Interrogatory on the grounds that it is overly broad and unduly burdensome,

           17    including to the extent that it seeks to force UHC and UBH to identify “any studies, analysis, or

           18    projects” regarding plan language for each one of potentially thousands of plans. In particular,

           19    Plaintiffs’ Interrogatory would require UBH and UHC to review thousands of client relationships and

           20    health plans, most of which are completely irrelevant to the allegations in this action. UBH and UHC

           21    further object to this Interrogatory on the ground that it seeks information not involving Plaintiffs or

           22    any putative class members to the extent it seeks information about plans that did not include Viant’s

           23    OPR product. UBH and UHC further object to this Interrogatory on the grounds that it is vague and

           24    ambiguous as to the terms “Describe” and “projects.” UBH and UHC further object to this Request

           25    to the extent it seeks information outside of UBH’s or UHC’s possession, custody, or control, or more

           26    reasonably obtained from a party or third party other than UBH or UHC. UBH and UHC also object

           27    on the basis that Plaintiffs waited months to serve their first set of interrogatories and now there is

           28    limited time left in which this information can be identified and produced before the close of
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             1   discovery. UBH and UHC also object to this Interrogatory to the extent that it seeks information

             2   which is subject to a claim of privilege or which is otherwise protected from disclosure. UBH and

             3   UHC further object to this Interrogatory on the grounds that it seeks information outside the statute of

             4   limitations. UBH and UHC further object to this Interrogatory to the extent it is duplicative of other

             5   Interrogatories, including Interrogatory Nos. 6, 7, 14, 15, 16, 17, and 18.

             6          Subject to and without waiving the foregoing objections, UBH and UHC hereby respond as

             7   follows: various UHC in-house counsel and regulatory affairs personnel were involved on an

             8   ongoing basis with reviewing plan language and ensuring that it supported UHC’s out-of-network

             9   programs, including Facility R&C, as well as changes to this program over time. Analyses by these

           10    in-house lawyers generally are privileged.

           11

           12    Dated: July 7, 2022

           13                                                  GIBSON, DUNN & CRUTCHER LLP
           14

           15                                                  By: /s/ Geoffrey Sigler
                                                                       Geoffrey Sigler (admitted pro hac vice)
           16

           17                                                  Attorneys for Defendants
                                                               UNITED BEHAVIORAL HEALTH and UNITED
           18                                                  HEALTHCARE INSURANCE COMPANY
           19

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            1
                                                          CERTIFICATION
            2

            3           I, Rebecca Paradise, certify that I have reviewed the foregoing Objections and Responses on

            4    behalf of UBH and UHC in the above-captioned matter; and with respect to UBH and UHC’s

            5    answers to these Interrogatories that I have either personal knowledge of the factual information or

            6    have reviewed as UBH and UHC’s agent information that is contained in, or contained within the

            7    non-objectionable parts, of UBH and UHC’s answers, except to the extent information is being

            8    provided through business records pursuant to Federal Rule 33(d), and that these responses, subject to

            9    inadvertent or undiscovered errors, are based upon and, therefore, limited by the records and

           10    information still in existence, presently recollected, and thus far discovered in the course of the

           11    preparation of these answers; that consequently, I reserve, on behalf of UBH and UHC’s, the right to

           12    make changes in the answers if it appears at any time that omissions or errors have been made therein

           13    or that more accurate information is available; and that subject to the limitations set forth herein, the

           14    said answers are true to the best of my knowledge, information and belief.

           15
                                    July 6, 2022
                        Executed on ______________.
           16

           17

           18                                                          ___________________________________
           19                                                                       Rebecca Paradise
           20                                                                       Authorized Agent
           21

           22

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             1
                                                     CERTIFICATE OF SERVICE
             2
                         I, hereby certify that on this 7th day of July 2022, pursuant to an agreement of the parties dated
             3   April 23, 2021, a copy of the foregoing was served via email to the following:
             4           Matthew M. Lavin, Esq. (pro hac vice)
                         Aaron Richard Modiano (pro hac vice)
             5           ARNALL GOLDEN GREGORY LLP
             6           1775 Pennsylvania Ave. NW, Suite 1000
                         Washington, DC 2006
             7           matt.lavin@agg.com
                         aaron.modiano@agg.com
             8
                         David M. Lilienstein
             9           Katie J. Spielman
                         DL Law Group
           10            345 Franklin St.
                         San Francisco, CA 94102
           11
                         david@dllawgroup.com
           12            katie@dllawgroup.com

           13

           14
                                                                 /s/ Geoffrey Sigler
           15                                                                          Geoffrey M. Sigler

           16

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Crutcher LLP
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            6    GEOFFREY SIGLER (admitted pro hac vice)
                   gsigler@gibsondunn.com
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                 Telephone: 202.995.8500
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          10     Attorneys for Defendant
                 UNITED BEHAVIORAL HEALTH
          11
                                                 UNITED STATES DISTRICT COURT
          12
                                              NORTHERN DISTRICT OF CALIFORNIA
          13
                                                         OAKLAND DIVISION
          14
                 LD, DB, BW, RH and CJ, on behalf of              CASE NO. 4:20-cv-02254
          15     themselves and all others similarly situated,
                                                                  DEFENDANT UNITED BEHAVIORAL
          16                            Plaintiffs,               HEALTH’S RESPONSES AND
                                                                  OBJECTIONS TO PLAINTIFFS’ FIRST SET
          17            v.                                        OF REQUESTS FOR PRODUCTION
          18     UNITED BEHAVIORAL HEALTH, a
                 California Corporation, and MULTIPLAN
          19     INC., a New York corporation,
          20                            Defendants.
          21

          22     PROPOUNDING PARTY:                    LD, DB, BW, RH and CJ

          23     RESPONDING PARTY:                     UNITED BEHAVIORAL HEALTH

          24     SET NUMBER:                           One

          25

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                  DEFENDANT UNITED BEHAVIORAL HEALTH’S RESPONSES TO PLAINTIFF’S FIRST SET OF REQUESTS
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            1                                       PRELIMINARY STATEMENT
            2           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Civil Rules
            3    for the United States District Court for the Northern District of California, Defendant United
            4    Behavioral Health (“UBH”) responds to Plaintiffs’ First Set of Requests for Production of Documents
            5    (the “Requests” and each individual “Request”). Pursuant to Federal Rule of Civil Procedure
            6    34(b)(2)(B), UBH plans to begin a rolling production of documents UBH has agreed to produce, as
            7    described in the responses below, shortly after entry of an Electronic Stored Information (“ESI”)
            8    protocol, and plans to produce substantially all of the non-custodial documents it has agreed to
            9    produce below by September 30, 2021, and to produce the remainder (including custodial data) by
          10     the close of fact discovery. However, meeting this target will depend on prompt and reasonable
          11     resolution of the objections and other issues set out below, through a meet-and-confer that should be
          12     scheduled shortly after Plaintiffs’ counsel have had an opportunity to review these responses. UBH
          13     reserves the right to amend, supplement, and correct its objections or responses as necessary.
          14                                           GENERAL OBJECTIONS
          15            1.      UBH objects to each and every Request, Definition, and Instruction to the extent it
          16     purports to impose obligations on UBH greater than or beyond those required under the Federal Rules
          17     of Civil Procedure (“Federal Rules”), and the Local Civil Rules of the United States District Court for
          18     the Northern District of California (“Local Rules”), or the Parties’ anticipated ESI Protocol.
          19            2.      UBH objects to each and every Request, Definition, and Instruction as overly broad to
          20     the extent it seeks discovery on merits issues outside the scope of the administrative record for the
          21     claims at issue in this case. Plaintiffs’ case involves claims for benefits under ERISA, and therefore
          22     discovery should generally be limited to the administrative record for the claims at issue. See
          23     Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).
          24            3.      UBH objects to each and every Request, Definition, and Instruction to the extent that
          25     it seeks information that is exempt from discovery and protected from disclosure by the attorney-
          26     client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
          27     applicable privilege, doctrine, or protection.
          28

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                   DEFENDANT UNITED BEHAVIORAL HEALTH’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ FIRST
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            1            4.      UBH objects to each and every Request, Definition, and Instruction as overly broad to
            2    the extent it seeks information not relevant to the claims or defenses of any party, or information
            3    disproportionate to the needs of the case and of such marginal relevance that its probative value is
            4    substantially outweighed by the burden imposed on UBH in having to search for and provide such
            5    information.
            6            5.      UBH objects to each and every Request, Definition, and Instruction to the extent that
            7    it seeks proprietary or other confidential information. To the extent any confidential health
            8    information or other sensitive or protected business information is non-privileged and responsive to
            9    the Requests for Production of Documents and not otherwise objectionable, UBH will provide such
          10     information pursuant to the protections stipulated in the Parties’ protective order and in accordance
          11     with such other procedures as the Parties or Court may establish to protect sensitive or confidential
          12     information. UBH also reserves the right to redact discrete categories of especially sensitive
          13     information that are not directly relevant to the issues in this case (e.g., fee schedules and other
          14     compensation information in contracts with third parties, discussions of products, third parties, and
          15     services not at issue in the case).
          16             6.      UBH objects to each and every Request, Definition, and Instruction to the extent that
          17     the documents requested are already in Plaintiffs’ possession or are available to Plaintiffs from
          18     another source that is more convenient, less burdensome, or less expensive.
          19             7.      UBH objects to each and every Request, Definition, and Instruction to the extent it
          20     calls for production of documents or electronic information that would be unduly burdensome.
          21             8.      UBH objects to each and every Request, Definition, and Instruction to the extent it
          22     calls for production of electronic information that is not reasonably accessible, including any
          23     archived data or backup tapes that would be unduly burdensome to search or restore.
          24             9.      UBH objects to each and every Request, Definition, and Instruction to the extent that
          25     it implicates the privacy interests of third parties established by law, contract, or custom. This
          26     includes, but is not limited to, information covered by the Health Insurance Portability and
          27     Accountability Act, and in particular sensitive health information regarding the mental health and
          28     substance abuse conditions and treatments of participants and beneficiaries who are not named

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            1    Plaintiffs in this case. To the extent any confidential health information is non-privileged and
            2    responsive to the Requests and not otherwise objectionable, UBH will provide such documents and
            3    information pursuant to the Protective Order, and reserves the right to redact identifiers and other
            4    patient-specific information as well.
            5           10.     UBH objects to each and every Request, Definition, and Instruction to the extent that
            6    it seeks documents outside of UBH’s possession, custody, and control, including to the extent any
            7    Requests seek information from a “United” entity other than UBH. For those Requests seeking
            8    documents from UnitedHealthcare Insurance Company, as stated in previous correspondence to
            9    Plaintiffs, UBH’s counsel will work with Plaintiffs to facilitate a subpoena that may be served on
          10     UnitedHealthcare Insurance Company to obtain the relevant information.
          11            11.     Nothing contained herein or provided in response to the Requests consists of, or
          12     should be construed as, an admission relating to the accuracy, relevance, existence, or nonexistence
          13     of any alleged facts or information referenced in any Requests. By indicating that it will produce
          14     non-objectionable, non-privileged responsive documents, UBH does not make a representation that
          15     such documents exist or are in UBH’s possession, but only that UBH will conduct the reasonable
          16     searches indicated for the documents sought.
          17            12.     UBH objects to each and every Request, Definition, and Instruction to the extent that
          18     it seeks documents outside of the relevant scope of discovery and statute of limitations for this case
          19     which is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims. See
          20     Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238 F.3d
          21     1006, 1108 (9th Cir. 2001). In the event that UBH agrees to produce documents outside of the April
          22     2, 2016 to present timeframe—the governing statute of limitations in this case—such agreement
          23     should be deemed limited to that specific Request and is not to be construed as a waiver or admission
          24     of any kind.
          25            13.     UBH objects to each and every Request, Definition, and Instruction to the extent that
          26     it is overly broad, unduly burdensome, and imposes substantial, unjustifiable, and significant
          27     discovery costs and search burdens on UBH.
          28

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                   DEFENDANT UNITED BEHAVIORAL HEALTH’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ FIRST
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            1            14.    Inadvertent production or identification of documents or communications that are
            2    privileged or otherwise immune from discovery shall not constitute a waiver of any such claim with
            3    respect to the disclosed documents or communications or any other documents or communications or
            4    of the right of UBH to object to the use of any such documents or the subject matter thereof during
            5    subsequent proceedings. In the event of inadvertent disclosure of such documents, Plaintiff will
            6    return the documents to UBH and will be precluded from disclosing or relying upon such documents
            7    in any way.
            8            15.    All the General Objections contained herein and Objections to Definitions and
            9    Instructions are expressly incorporated into each of the responses set forth below.
          10                                      OBJECTIONS TO DEFINITIONS
          11             1.     UBH objects to Plaintiffs’ definition of “United” (as well as “You” and “Your”) on
          12     the ground that it is vague, ambiguous, overly broad and unduly burdensome. In particular, Plaintiffs
          13     purport to sweep in various distinct persons and entities through this definition who are not proper
          14     parties to this case and not properly subject to discovery. UBH will respond to these Requests for
          15     Production of Documents on behalf of United Behavioral Health, which is the named defendant in
          16     this case.
          17             2.     UBH objects to Plaintiffs’ definition of “person” on the ground that it is overly broad
          18     and unduly burdensome. In particular, Plaintiffs purport to sweep in various distinct persons and
          19     entities through this definition who are not proper parties to this case and not properly subject to
          20     discovery. UBH will respond to these Requests for Production of Documents on behalf of United
          21     Behavioral Health, which is the named defendant in this case.
          22             3.     UBH objects to the definition of SSPe on the ground that it is overly broad and unduly
          23     burdensome in that it seeks information about programs that are not relevant to Plaintiffs’ claims and
          24     allegations in this case, which challenge Viant’s OPR pricing for intensive outpatient programs.
          25             4.     UBH objects to the definition of “Facility R&C” on the ground that it is overly broad
          26     and unduly burdensome in that it seeks information about programs that are not relevant to Plaintiffs’
          27     claims and allegations in this case, which challenge Viant’s OPR pricing for intensive outpatient
          28     programs.

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            1           5.      UBH objects to Plaintiffs’ definition of “document(s)” to the extent that it seeks to
            2    impose obligations on UBH beyond those required by the Federal rules. UBH further objects to this
            3    definition to the extent it calls for production of electronic information that is not reasonably
            4    accessible, including any archived data or backup tapes that would be unduly burdensome to search
            5    or restore. UBH will use the definition of “documents” set out in Federal Rule 34.
            6                                    OBJECTIONS TO INSTRUCTIONS
            7           1.      UBH objects to Plaintiffs’ failure to number the Instructions. For purposes of clarity
            8    in responding and objecting to Plaintiffs’ Instructions, UBH has assigned a number to each
            9    Instruction based on the Instruction’s paragraph break.
          10            2.      UBH objects to Plaintiffs’ Instruction 1 as vague, ambiguous, and unduly burdensome
          11     because it calls for the production of documents within Plaintiffs’ possession, and not Defendant
          12     UBH. UBH will interpret this Instruction as referring to documents in UBH’s possession and not
          13     documents in Plaintiffs’ possession. UBH further objects to Plaintiffs’ Instruction 1 to the extent it
          14     seeks documents that are exempt from discovery and protected from disclosure by the attorney-client
          15     privilege, the attorney work-product doctrine, confidentiality agreements, or any other applicable
          16     privilege, doctrine or protection.
          17            3.      UBH objects to Plaintiffs’ Instruction 2 that “these requests refer to the time, place,
          18     and circumstances of the occurrence described in the Complaint” to the extent that this Instruction
          19     includes periods outside the relevant scope of discovery and statute of limitations for this case which
          20     is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims. See Withrow v.
          21     Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238 F.3d 1006, 1108
          22     (9th Cir. 2001). Subject to and without waiving these objections in responding to these Requests,
          23     absent further agreement between the Parties, UBH will use April 2, 2016 to present as the relevant
          24     discovery period in responding to these Requests. However, as stated above, UBH is willing to meet
          25     and confer with Plaintiffs in an attempt to reach an agreed approach to a relevant period for
          26     discovery. UBH also objects to Plaintiff’s Instruction 2 to the extent it seeks documents and
          27     information irrelevant to the claims at issue in the Complaint, including to the extent it seeks
          28     documents and information irrelevant to IOP services. Plaintiffs’ Complaint alleges that Defendants

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            1    “den[ied] proper payment for the IOP treatment services that Plaintiffs received” and “under-
            2    reimburse[d] Plaintiffs’ claims for medically necessary IOP services provided to them.” See, e.g.,
            3    Second Amended Complaint (“SAC”) ¶¶ 5, 29; see also SAC ¶¶ 437–38 (noting that the alleged
            4    harm is limited to “underpa[yment]” of the “IOP claims of the Plaintiffs and the class”).
            5             4.    UBH objects to Plaintiffs’ Instruction 5 that each request “refer[s] to all documents
            6    that are either known by Defendant to exist or that can be located or discovered by reasonably
            7    diligent efforts of the Defendant” to the extent that this Instruction seeks to impose obligations on
            8    UBH beyond those required by the Federal Rules. UBH further objects to Instruction 5 to the extent
            9    it calls for the production of information outside of UBH’s possession, custody, and control and
          10     includes documents that may already be in Plaintiffs’ possession or are available to Plaintiffs from
          11     another source that is more convenient, less burdensome, or less expensive.
          12              5.    UBH objects to Plaintiffs’ Instruction 6 that each request be deemed “continuing,” on
          13     the ground that such obligation would be unduly burdensome given the broad scope and number of
          14     the requests. UBH further objects to Instruction 6 as vague, ambiguous, and nonsensical on the
          15     ground that this Instruction purports to require UBH to “seasonably supplement the production.”
          16              6.    UBH objects to Plaintiffs’ Instruction 8 to the extent it purports to confer obligations
          17     on UBH beyond what the Parties have agreed to in their ESI protocol (e.g., subpart (a)). UBH further
          18     objects to Instruction 8 to the extent that this Instruction seeks to impose obligations on UBH beyond
          19     those required by the Federal Rules.
          20              7.    UBH objects to Plaintiffs’ Instruction 9 to the extent it purports to confer obligations
          21     beyond what the Parties have agreed to in their ESI protocol (e.g., subparts (a) and (b)). By way of
          22     example only, the Parties’ ESI protocol does not reference or call for the maintenance of an “online
          23     repository . . . maintained by an independent vendor.” UBH further objects to Instruction 9 to the
          24     extent that this Instruction seeks to impose obligations on UBH beyond those required by the Federal
          25     Rules.
          26              8.    UBH objects to Plaintiffs’ Instruction 10 to the extent it purports to confer obligations
          27     beyond what the Parties have agreed to in their ESI protocol. By way of example only, there is no
          28     reference to requirements for hard copy productions in the ESI protocol. UBH further objects to

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            1    Instruction 10 to the extent that this Instruction seeks to impose obligations on UBH beyond those
            2    required by the Federal Rules.
            3             9.    UBH objects to Plaintiffs’ Instruction 11 to the extent it purports to confer obligations
            4    on UBH beyond what the Parties have agreed to in their ESI protocol (e.g., subpart (1)(b)(5)). UBH
            5    further objects to Instruction 11 to the extent that this Instruction seeks to impose obligations on UBH
            6    beyond those required by the Federal Rules.
            7             10.   UBH objects to Plaintiffs’ Instruction 12 to the extent it purports to confer obligations
            8    on UBH beyond what the Parties have agreed to in their ESI protocol. By way of example only, the
            9    Instruction purports to require UBH to “identif[y]” and “enter[] separately” attachments to a
          10     document, but the Parties’ ESI protocol states that “[a]ttachments to privileged email messages do not
          11     need to be identified on the Privilege Log separately from, or in addition to the privilege email.”
          12     UBH further objects to Instruction 12 to the extent that this Instruction seeks to impose obligations on
          13     UBH beyond those required by the Federal Rules.
          14              11.   UBH objects to Plaintiffs’ Instruction 13 to the extent that this Instruction seeks to
          15     impose obligations on UBH beyond those required by the Federal Rules. UBH further objects to
          16     Instruction 13 to the extent the Instruction calls for the information exempt from discovery and
          17     protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,
          18     confidentiality agreements, or any other applicable privilege, doctrine or protection.
          19              12.   UBH objects to Plaintiffs’ Instruction 14 to the extent that this Instruction seeks to
          20     impose obligations on UBH beyond those required by the Federal Rules, including to the extent it
          21     purports to require UBH to “ventur[e] beyond the parties to the litigation and include non-parties.”
          22     UBH further objects to Instruction 14 to the extent the Instruction calls for the information exempt
          23     from discovery and protected from disclosure by the attorney-client privilege, the attorney work-
          24     product doctrine, confidentiality agreements, or any other applicable privilege, doctrine or protection.
          25              13.   UBH objects to Plaintiffs’ Instruction 15 that “any objections as to an alleged burden
          26     shall clearly set out the nature of the alleged burden by affidavit or other reliable evidence” to the
          27     extent that this Instruction seeks to impose obligations on UBH beyond those required by the Federal
          28     Rules.

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            1           14.       UBH objects to Plaintiffs’ Instruction 16 to the extent it requires UBH to “set forth . . .
            2    the interpretation that [it] [has] chosen to use in responding to the request.” Where a request is
            3    ambiguous UBH will provide its interpretation to the extent possible, and otherwise reserves the right
            4    to meet and confer.
            5           15.       UBH objects to Plaintiffs’ Instruction 17 that each Request be deemed “continuing in
            6    nature” on the ground that such obligation would be unduly burdensome given the broad scope and
            7    number of the Requests. UBH further objects to Instruction 17 to the extent it is duplicative of
            8    Instruction 6.
            9         SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
          10     REQUEST NO. 1:
          11            For the period January 1, 2015, to present, produce a claims report identifying all OON claims
          12     paid or adjudicated by United for claims with HCPCS Code H0015, H2036, and S9480.
          13     RESPONSE TO REQUEST NO. 1:
          14            UBH hereby incorporates its General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          16     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          17     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          18     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          19     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          20     unduly burdensome. By way of example only, this Request is overly broad and unduly burdensome
          21     to the extent it purports to require UBH to “produce” a “claims report” specifically for this litigation
          22     containing “all” claims within a broadly-defined category that includes multiple codes, including
          23     HCPCS Code H2036, that have no apparent connection to the IOP services at issue in the case.
          24     Furthermore, as framed, this Request is overly broad because it is not limited to claims “paid or
          25     adjudicated” using the Viant OPR data that Plaintiffs challenge in the Complaint. UBH also objects
          26     to the extent this Request seeks documents outside the time period properly subject to discovery for
          27     Plaintiffs’ claims and allegations in this case.
          28

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs regarding
            3    the parameters of a claim data summary regarding the putative class members’ claims involving IOP
            4    services priced using Viant’s OPR data that can be reasonably be produced by UBH to satisfy this
            5    request.
            6    REQUEST NO. 2:
            7           For the period January 1, 2015, to present, produce a claims report identifying all OON
            8    outpatient claims with HCPCS Code H0015, H2036 and S9480 that were priced using Viant OPR
            9    and were paid by United, including data on any adjustments to the initial pricing and whether the plan
          10     was ASO or Fl.
          11     RESPONSE TO REQUEST NO. 2:
          12            UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          14     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          15     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          16     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          17     calculated using Viant’s OPR product. UBH further objects to this Request as vague and ambiguous,
          18     particularly with respect to the phrase “adjustments to the initial pricing.” UBH further objects to
          19     this Request as overly broad and unduly burdensome. By way of example only, this Request is
          20     overly broad and unduly burdensome to the extent it purports require UBH to “produce” a “claims
          21     report” specifically for this litigation containing “all” claims within a broadly-defined category that
          22     includes multiple codes, including HCPCS Code H2036, that have no apparent connection to the IOP
          23     services at issue in the case. UBH also objects to the extent this Request seeks documents outside the
          24     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          25            Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs regarding
          27     the parameters of a claim data summary regarding the putative class members’ claims involving IOP
          28

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            1    services priced using Viant’s OPR data that can be reasonably be produced by UBH to satisfy this
            2    request.
            3    REQUEST NO. 3:
            4           A full and complete copy of the Network Access Agreement between UnitedHealthcare
            5    Insurance Company and MultiPlan Inc, including the original agreement and all subsequent
            6    amendments thereto through present.
            7    RESPONSE TO REQUEST NO. 3:
            8           UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH objects to this Request as seeking information
          10     outside its possession, custody, and control, in that the agreement at issue involves a separate entity,
          11     UnitedHealthcare Insurance Company. UBH objects to this Request on the ground that it seeks
          12     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          13     to the discovery of admissible evidence, in that it appears to seek amendments having nothing to do
          14     with the Viant OPR data that Plaintiffs challenge in this case. UBH further objects to this Request as
          15     overly broad and unduly burdensome, in that it seeks information about agreements that are not
          16     relevant to Plaintiffs’ claims and allegations in this case, which challenge Viant’s OPR pricing for
          17     intensive outpatient programs. UBH also objects to the extent this Request seeks documents outside
          18     the time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          19            Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH will search for and produce non-privileged,
          21     responsive contracts and amendments regarding Viant’s OPR data relevant to the claims at issue that
          22     were in effect during the putative class period pursuant to this Request, subject to the completion of a
          23     meet and confer with Plaintiffs regarding a subpoena that may be served on UnitedHealthcare
          24     Insurance Company to obtain these documents.
          25     REQUEST NO. 4:
          26            For the period January 1, 2015, to present, produce a report of all fees and all internal
          27     operating income derived by United’s SSP/SSPe.
          28

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            1    RESPONSE TO REQUEST NO. 4:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
            6    not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
            7    discovery of admissible evidence. By way of example only, UBH objects to this Request as seeking
            8    to impose a broad search for documents related to UBH’s SSP/SSPe that is not related to Viant’s
            9    OPR pricing for intensive outpatient programs. UBH further objects to this Request as overly broad
          10     and unduly burdensome, to the extent it asks UBH to “produce” a report of “all” fees and internal
          11     operating income regarding broadly defined programs not limited to the claims and services at issue
          12     in the case. UBH also objects to this Request as duplicative of Request No. 5. UBH also objects to
          13     the extent this Request seeks documents outside the time period properly subject to discovery for
          14     Plaintiffs’ claims and allegations in this case.
          15     REQUEST NO. 5:
          16            For the period January 1, 2015, to present, produce a report of all internal operating income
          17     derived from/by United’s SSP/SSPe, specifically from its use of the Viant OPR solution.
          18     RESPONSE TO REQUEST NO. 5:
          19            UBH hereby incorporates its General Objections and Objections to Definitions and
          20     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          21     outside its possession, custody, and control, to the extent that this Request seeks information from a
          22     “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
          23     not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
          24     discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
          25     used to price IOP services that Plaintiffs challenge in this case. By way of example only, UBH
          26     objects to this Request as seeking to impose a broad search for documents related to UBH’s
          27     SSP/SSPe that is not related to Viant’s OPR pricing for intensive outpatient programs. UBH further
          28     objects to this Request as overly broad and unduly burdensome, in that it seeks information about

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            1    programs that are not relevant to Plaintiffs’ claims and allegations in this case, which challenge
            2    Viant’s pricing methods for intensive outpatient programs. UBH also objects to the extent this
            3    Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
            4    and allegations in this case.
            5    REQUEST NO. 6:
            6           For the period January 1, 2015, to present, produce a report showing all actual fees paid to
            7    Multiplan under the Network Access Agreement.
            8    RESPONSE TO REQUEST NO. 6:
            9           UBH hereby incorporates its General Objections and Objections to Definitions and
          10     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          11     outside its possession, custody, and control, to the extent that this Request seeks information from a
          12     “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
          13     not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
          14     discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
          15     used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request
          16     as overly broad and unduly burdensome. By way of example only, this Request seeks information
          17     about fees that are not limited to claims and allegations related to Viant’s OPR pricing for intensive
          18     outpatient programs. UBH also objects to the extent this Request seeks documents outside the time
          19     period properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH further
          20     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          21     control, including but not limited to any documents that may be in the possession of MultiPlan but
          22     not UBH.
          23            Subject to and without waiving the General Objections, the Objections to Definitions and
          24     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          25     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          26     provided.
          27

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            1    REQUEST NO. 7:
            2           For the period January 1, 2015, to present, produce a report showing all actual fees paid to
            3    Multiplan specifically related to United’s use of the Viant OPR solution.
            4    RESPONSE TO REQUEST NO. 7:
            5           UBH hereby incorporates its General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            7    outside its possession, custody, and control, to the extent that this Request seeks information from a
            8    “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
            9    not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
          10     discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
          11     used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request
          12     on the grounds that the term “solution” is vague and undefined. UBH further objects to this Request
          13     as overly broad and unduly burdensome. By way of example only, this Request seeks information
          14     about fees that are not limited to claims and allegations related to Viant’s OPR pricing for intensive
          15     outpatient programs. UBH also objects to the extent this Request seeks documents outside the time
          16     period properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH further
          17     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          18     control, including but not limited to any documents that may be in the possession of MultiPlan but
          19     not UBH.
          20            Subject to and without waiving the General Objections, the Objections to Definitions and
          21     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          22     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          23     provided.
          24     REQUEST NO. 8:
          25            For the period January 1, 2015, to the present, produce any and all quarterly update / quarter
          26     in review PowerPoint slide deck presentations prepared by MultiPlan for United.
          27

          28

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            1    RESPONSE TO REQUEST NO. 8:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as vague and
            4    ambiguous, in that the “quarterly update / quarter in review” documents are not defined or tied to the
            5    topics or services at issue in the case. UBH objects to this Request as seeking information outside its
            6    possession, custody, and control, to the extent that this Request seeks information from a “United”
            7    entity other than UBH. UBH objects to this Request on the ground that it seeks information not
            8    relevant to the claims or defenses of any party and not reasonably calculated to lead to the discovery
            9    of admissible evidence, in that it appears to seek information beyond the Viant OPR data used to
          10     price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request as overly
          11     broad and unduly burdensome. By way of example only, this Request seeks presentations that are
          12     that are not related to Viant’s OPR pricing for intensive outpatient programs. UBH also objects to
          13     the extent this Request seeks documents outside the time period properly subject to discovery for
          14     Plaintiffs’ claims and allegations in this case. UBH further objects to this Request to the extent it
          15     seeks information outside of UBH’s possession, custody, and control, including but not limited to any
          16     documents that may be in the possession of MultiPlan but not UBH.
          17            Subject to and without waiving the General Objections, the Objections to Definitions and
          18     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          19     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          20     provided.
          21     REQUEST NO. 9:
          22            For the period of January 1, 2015, to present, any and all correspondence relating to the
          23     regular quarterly meetings between United and MultiPlan.
          24     RESPONSE TO REQUEST NO. 9:
          25            UBH hereby incorporates its General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          27     outside its possession, custody, and control, to the extent that this Request seeks information from a
          28     “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information

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            1    not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
            2    discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
            3    used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request
            4    as overly broad and unduly burdensome. By way of example only, this Request seeks information
            5    about meetings that are not related to Viant’s OPR pricing for intensive outpatient programs. UBH
            6    objects to this Request as vague and ambiguous, in that the “quarterly meeting” documents are not
            7    defined or tied to the topics or services at issue in the case. UBH also objects to the extent this
            8    Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
            9    and allegations in this case. UBH further objects to this Request to the extent it seeks information
          10     outside of UBH’s possession, custody, and control, including but not limited to any documents that
          11     may be in the possession of MultiPlan but not UBH.
          12            Subject to and without waiving the General Objections, the Objections to Definitions and
          13     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          14     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          15     identify non-privileged documents in its possession, custody, and control that are responsive to this
          16     Request.
          17     REQUEST NO. 10:
          18            For the period of January 1, 2015, to present, any and all WebEx or other recordings of
          19     quarterly meetings between United and MultiPlan covering the period of January 1, 2015 to present.
          20     RESPONSE TO REQUEST NO. 10:
          21            UBH hereby incorporates its General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          23     outside its possession, custody, and control, to the extent that this Request seeks information from a
          24     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          25     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          26     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          27     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          28     Request as overly broad and unduly burdensome. By way of example only, this Request seeks

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            1    information about meetings that are not related to Viant’s OPR pricing for intensive outpatient
            2    programs. UBH objects to this Request as vague and ambiguous, in that the “quarterly meeting”
            3    documents are not defined or tied to the topics or services at issue in the case. UBH also objects to
            4    the extent this Request seeks documents outside the time period properly subject to discovery for
            5    Plaintiffs’ claims and allegations in this case. UBH further objects to this Request to the extent it
            6    seeks information outside of UBH’s possession, custody, and control, including but not limited to any
            7    documents that may be in the possession of MultiPlan but not UBH.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          11     identify non-privileged documents in its possession, custody, and control that are responsive to this
          12     Request.
          13     REQUEST NO. 11:
          14            For the period of January 1, 2015, to present, any and all agendas prepared for any meetings,
          15     including quarterly meetings, between United and MultiPlan covering the period of January 1, 2015
          16     to present.
          17     RESPONSE TO REQUEST NO. 11:
          18            UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          20     outside its possession, custody, and control, to the extent that this Request seeks information from a
          21     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          22     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          23     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          24     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          25     Request as overly broad and unduly burdensome. By way of example only, this Request seeks
          26     information about meetings that are not related to Viant’s pricing methods for intensive outpatient
          27     programs. UBH objects to this Request as vague and ambiguous, in that the “quarterly meeting”
          28     documents are not defined or tied to the topics or services at issue in the case. UBH also objects to

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            1    the extent this Request seeks documents outside the time period properly subject to discovery for
            2    Plaintiffs’ claims and allegations in this case. UBH further objects to this Request to the extent it
            3    seeks information outside of UBH’s possession, custody, and control, including but not limited to any
            4    documents that may be in the possession of MultiPlan but not UBH.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            7    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            8    identify non-privileged documents in its possession, custody, and control that are responsive to this
            9    Request.
          10     REQUEST NO. 12:
          11            For the period of January 1, 2015, to present, any and all “white papers,” documents entitled
          12     “Viant Facility U&C Review — Outpatient Review (OPR) Module” or summaries of methodologies
          13     prepared by MultiPlan concerning or applicable to OON outpatient claim pricing that includes or
          14     relates to MultiPlan’s Viant OPR medical reimbursement analysis solution or the pricing of OON
          15     outpatient and Facility R&C claims and any related correspondence
          16     RESPONSE TO REQUEST NO. 12:
          17            UBH hereby incorporates its General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          19     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          20     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          21     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          22     Request as vague, ambiguous, overly broad, and unduly burdensome. By way of example only, the
          23     term “white papers” is undefined and, as written, could encompass reports or summaries regarding
          24     any and all issues in UBH’s possession. UBH also objects to the extent this Request seeks
          25     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          26     in this case. UBH further objects to this Request to the extent it seeks information outside of UBH’s
          27     possession, custody, and control, including but not limited to any documents that may be in the
          28     possession of MultiPlan but not UBH.

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            3    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            4    provided.
            5    REQUEST NO. 13:
            6           For the period January 1, 2015, to the present, any and all documents related to United’s
            7    selection of Multiple Procedure Parameters (“MPR”) to be used by Multiplan in pricing Facility
            8    R&C, Viant OPR and/or OON outpatient claims and all related correspondence.
            9    RESPONSE TO REQUEST NO. 13:
          10            UBH hereby incorporates its General Objections and Objections to Definitions and
          11     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          12     outside its possession, custody, and control, to the extent that this Request seeks information from a
          13     “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
          14     not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
          15     discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
          16     used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request
          17     as overly broad and unduly burdensome, in that it seeks information about programs that are not
          18     relevant to Plaintiffs’ claims and allegations in this case, which challenge Viant’s OPR pricing for
          19     intensive outpatient programs. UBH further objects to this Request as vague and ambiguous. By
          20     way of example only, the term “Multiple Procedure Parameters” is vague and ambiguous because it
          21     is undefined. UBH also objects to the extent this Request seeks documents outside the time period
          22     properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH further objects
          23     to this Request to the extent it seeks information outside of UBH’s possession, custody, and control,
          24     including but not limited to any documents that may be in the possession of MultiPlan but not UBH.
          25            Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          27     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          28     provided.

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            1    REQUEST NO. 14:
            2           For the period of January 1, 2015, to present, any and all documents, both internal and
            3    external, relating to Facility R&C Default Rates applied to OON mental health / behavioral health
            4    claims when the Facility R&C methodology does not have a rate available.
            5    RESPONSE TO REQUEST NO. 14:
            6           UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            8    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            9    lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          10     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          11     Request as overly broad and unduly burdensome, in that it seeks information about programs that are
          12     not relevant to Plaintiffs’ claims and allegations in this case, which challenge Viant’s OPR pricing for
          13     intensive outpatient programs. UBH further objects to the extent this Request seeks documents
          14     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          15     case. UBH further objects to the phrase “Facility R&C Default Rates” and “Facility R&C
          16     methodology” as vague and ambiguous because those phrases are undefined.
          17            Subject to and without waiving the General Objections, the Objections to Definitions and
          18     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          19     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          20     provided.
          21     REQUEST NO. 15:
          22            For the period of January 1, 2015, to present, any and all reports in United’s custody prepared
          23     by or relating to Dr. Bernard Siskin and any correspondence related to or referencing such reports.
          24     RESPONSE TO REQUEST NO. 15:
          25            UBH hereby incorporates its General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          27     outside its possession, custody, and control, to the extent that this Request seeks information from a
          28     “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information

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            1    not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
            2    discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
            3    used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request
            4    as overly broad and unduly burdensome, to the extent it purports to request reports that are not
            5    relevant to Plaintiffs’ claims and allegations in this case, which challenge Viant’s OPR pricing for
            6    intensive outpatient programs. UBH also objects to the extent this Request seeks documents outside
            7    the time period properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH
            8    further objects to this Request to the extent it seeks information outside of UBH’s possession,
            9    custody, and control, including but not limited to any documents that may be in the possession of
          10     MultiPlan but not UBH.
          11            Subject to and without waiving the General Objections, the Objections to Definitions and
          12     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          13     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          14     provided.
          15     REQUEST NO. 16:
          16            For the period of January 1, 2015, to present, all correspondence from Emma Johnson to
          17     Rebecca Paradise or Sarah Peterson referencing reports by Dr. Siskin.
          18     RESPONSE TO REQUEST NO. 16:
          19            UBH hereby incorporates its General Objections and Objections to Definitions and
          20     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          21     outside its possession, custody, and control, to the extent that this Request seeks information from a
          22     “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
          23     not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
          24     discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
          25     used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request
          26     as overly broad and unduly burdensome, to the extent it purports to request correspondence and
          27     reports that are not relevant to Plaintiffs’ claims and allegations in this case, which challenge Viant’s
          28     OPR pricing for intensive outpatient programs. UBH also objects to the extent this Request seeks

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            1    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
            2    in this case. UBH further objects to this Request to the extent it seeks information outside of UBH’s
            3    possession, custody, and control, including but not limited to any documents that may be in the
            4    possession of MultiPlan but not UBH.
            5            Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            7    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            8    provided.
            9    REQUEST NO. 17:
          10             For the period January 1, 2015, to present, produce all documents and correspondence related
          11     to United’s SSP/SSPe fees and internal operating income earned by United.
          12     RESPONSE TO REQUEST NO. 17:
          13             UBH hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          15     outside its possession, custody, and control, to the extent that this Request seeks information from a
          16     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          17     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          18     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          19     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          20     Request as overly broad and unduly burdensome on the ground that it seeks “all documents and
          21     correspondence” and to the extent the Request is not limited to documents related to Viant’s OPR
          22     pricing for intensive outpatient programs. By way of example only, UBH objects to this Request as
          23     seeking to impose a broad search for documents related to UBH’s SSP/SSPe that is not related to
          24     Viant’s OPR pricing for intensive outpatient programs. UBH further objects to this Request to the
          25     extent it is duplicative of Request No. 18. UBH also objects to the extent this Request seeks
          26     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          27     in this case.
          28

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            1    REQUEST NO. 18:
            2           For the period January 1, 2015, to present, produce all internal presentations including
            3    PowerPoint slide decks and spreadsheets related to United’s SSP/SSPe fees and internal operating
            4    income earned by United.
            5    RESPONSE TO REQUEST NO. 18:
            6           UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          10     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          11     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          12     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          13     Request as overly broad and unduly burdensome on the ground that it seeks “all internal presentations
          14     . . . and spreadsheets” and to the extent the Request is not limited to documents related to Viant’s
          15     OPR pricing for intensive outpatient programs. By way of example only, UBH objects to this
          16     Request as seeking to impose a broad search for documents related to UBH’s SSP/SSPe that is not
          17     related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects that this
          18     Request is duplicative of Request No. 17. UBH further objects to this Request as vague and
          19     ambiguous, particularly with respect to the phrase “internal presentations.” UBH also objects to the
          20     extent this Request seeks documents outside the time period properly subject to discovery for
          21     Plaintiffs’ claims and allegations in this case.
          22     REQUEST NO. 19:
          23            For the period January 1, 2015, to the present, any and all presentations prepared by
          24     MultiPlan relating to enhancing United’s competitive position in the healthcare market, or
          25     “landscape”, and any related correspondence.
          26     RESPONSE TO REQUEST NO. 19:
          27            UBH hereby incorporates its General Objections and Objections to Definitions and
          28     Instructions in their entirety into this response. UBH objects to this Request as seeking information

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            1    outside its possession, custody, and control, to the extent that this Request seeks information from a
            2    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            3    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            4    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            5    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            6    Request as overly broad and unduly burdensome on the ground that it seeks “any and all
            7    presentations” and to the extent the Request is not limited to documents related to Viant’s OPR
            8    pricing for intensive outpatient programs. By way of example only, this Request is overly broad and
            9    unduly burdensome because the phrase “any and all presentations prepared by MultiPlan relating to
          10     enhancing United’s competitive position in the healthcare market, or ‘landscape’” is not limited to
          11     materials related to Viant’s OPR pricing for intensive outpatient programs. Additionally, UBH
          12     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          13     control, including but not limited to any presentations that may be in the possession of MultiPlan but
          14     not UBH. UBH also objects to the extent this Request seeks documents outside the time period
          15     properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          16     REQUEST NO. 20:
          17            For the period January 1, 2015, to present, any and all correspondence, presentation,
          18     PowerPoint slide decks or reports, either internal or external, relating to changes in OPR percentiles
          19     and/or the pricing of OON outpatient claims. This request includes email correspondence to, from or
          20     including any of the following: Rebecca Paradise, John Haben, Sarah Peterson, Ray Lopez,
          21     Jacqueline Kienzle, Emma Johnson, Mark Edwards, Dale White, and Tina Smith.
          22     RESPONSE TO REQUEST NO. 20:
          23            UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          25     outside its possession, custody, and control, to the extent that this Request seeks information from a
          26     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          27     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          28     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR

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            1    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            2    Request as overly broad and unduly burdensome on the ground that it seek “any and all
            3    correspondence, presentation[s], PowerPoint slide decks or reports” and to the extent the Request is
            4    not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. By way
            5    of example only, this Request is overly broad and unduly burdensome because the Request, which
            6    asks for documents involving, among other things, “the pricing of OON outpatient claims,” is not
            7    limited to materials related to Viant’s OPR pricing for intensive outpatient programs. UBH further
            8    objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
            9    control, including but not limited to any documents that may be in the possession of MultiPlan but
          10     not UBH. UBH also objects to the extent this Request seeks documents outside the time period
          11     properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          12            Subject to and without waiving the General Objections, the Objections to Definitions and
          13     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          14     what documents Plaintiffs seek through this request and what documents, if any, can reasonably be
          15     provided.
          16     REQUEST NO. 21:
          17            For the period January 1, 2015, to present, any and all internal PowerPoint slide deck
          18     presentations, models, spreadsheets or projections relating to changes in Facility R&C pricing and/or
          19     Viant OPR percentiles applied to OON outpatient claims.
          20     RESPONSE TO REQUEST NO. 21:
          21            UBH hereby incorporates its General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          23     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          24     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          25     OPR data used to price IOP services that Plaintiffs challenge in this case. By way of example only,
          26     the Request seeks information about “presentations, models, spreadsheets or projections” that are not
          27     limited to claims and allegations related to Viant’s pricing methods for intensive outpatient programs.
          28     UBH further objects to this Request as overly broad and unduly burdensome on the ground that it

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            1    seeks “any and all . . . presentations, models, spreadsheets or projections” and to the extent it seeks
            2    information not related to Viant’s OPR pricing for intensive outpatient programs. UBH also objects
            3    to the extent this Request seeks documents outside the time period properly subject to discovery for
            4    Plaintiffs’ claims and allegations in this case.
            5              Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            7    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            8    identify non-privileged documents in its possession, custody, and control that are responsive to this
            9    Request.
          10     REQUEST NO. 22:
          11               For the period January 1, 2015, to present, any and all internal presentations, PowerPoint slide
          12     decks, spreadsheets, models or projections relating to Shared Savings Program fees resulting from
          13     changes in Facility R&C pricing and/or Viant OPR percentiles applied by United to OON outpatient
          14     claims.
          15     RESPONSE TO REQUEST NO. 22:
          16               UBH hereby incorporates its General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          18     outside its possession, custody, and control, to the extent that this Request seeks information from a
          19     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          20     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          21     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          22     data used to price IOP services that Plaintiffs challenge in this case. UBH also objects that this
          23     Request is duplicative of Request No. 21. UBH further objects to this Request as overly broad and
          24     unduly burdensome on the ground that it seeks “any and all . . . presentations . . . slide decks,
          25     spreadsheets, models or projections” and to the extent it seeks information not related to Viant’s OPR
          26     pricing for intensive outpatient programs. By way of example only, UBH objects to this Request as
          27     seeking to impose a broad search for documents related to UBH’s “Shared Savings Program,” which
          28     Plaintiffs have defined to include “SSP/SSPe,” that is not related to Viant’s OPR pricing for intensive

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            1    outpatient programs. UBH also objects to the extent this Request seeks documents outside the time
            2    period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            6    provided.
            7    REQUEST NO. 23:
            8            For the period of January 1, 2015, to present, any and all internal presentations or projections
            9    relating to changes in OON outpatient, Facility R&C and/or OPR percentiles prepared by any
          10     individuals employed in United’s Out of Network Payment Strategy department.
          11     RESPONSE TO REQUEST NO. 23:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          14     outside its possession, custody, and control, to the extent that this Request seeks information from a
          15     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          16     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          17     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          18     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          19     Request as overly broad and unduly burdensome on the ground that it seeks “any and all internal
          20     presentations or projections” and to the extent it seeks information not related to Viant’s OPR pricing
          21     for intensive outpatient programs. By way of example only, UBH objects to this Request as seeking
          22     to impose a broad search for documents related to “Facility R&C” or “OON outpatient” or “OPR
          23     percentiles” that is not related to Viant’s OPR pricing for intensive outpatient programs. UBH
          24     further objects to this Request on the grounds that the term “Out of Network Payment Strategy
          25     department” is vague and undefined. UBH also objects to the extent this Request seeks documents
          26     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          27     case.
          28

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            3    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            4    provided.
            5    REQUEST NO. 24:
            6           For the period January 1, 2015, to present, any and all communications and documents
            7    relating to changing Facility R&C and OPR percentiles, including for the Facility R&C and Viant
            8    OPR percentile reduction changes occurring in 2018 and 2020, and the Facility R&C Compare
            9    implementation occurring in 2018.
          10     RESPONSE TO REQUEST NO. 24:
          11            UBH hereby incorporates its General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          13     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          14     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          15     OPR data used to price IOP services that Plaintiffs challenge in this case. By way of example only,
          16     the Request seeks information about “Facility R&C” and “OPR Percentiles” that is not limited to
          17     claims and allegations related to Viant’s OPR pricing for intensive outpatient programs. UBH also
          18     objects that this Request is duplicative of Request No. 23. UBH further objects to this Request as
          19     overly broad and unduly burdensome on the ground that it seeks “any and all communications or
          20     documents” and to the extent it seeks information not related to Viant’s OPR pricing for intensive
          21     outpatient programs. UBH further objects to this Request on the grounds that the term “Facility R&C
          22     Compare” is vague and undefined. UBH further objects to this Request to the extent it seeks
          23     information outside of UBH’s possession, custody, and control, including but not limited to any
          24     documents that may be in the possession of MultiPlan but not UBH. UBH also objects to the extent
          25     this Request seeks documents outside the time period properly subject to discovery for Plaintiffs’
          26     claims and allegations in this case.
          27            Subject to and without waiving the General Objections, the Objections to Definitions and
          28     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss

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            1    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            2    provided.
            3    REQUEST NO. 25:
            4           For the period January 1, 2015, to present, all Change Request Forms, and related
            5    correspondence with attachments, prepared by United and transmitted to Multiplan regarding
            6    reductions in OPR percentiles and Facility Benchmark Pricing.
            7    RESPONSE TO REQUEST NO. 25:
            8           UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH objects to this Request as seeking information
          10     outside its possession, custody, and control, to the extent that this Request seeks information from a
          11     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          12     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          13     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          14     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          15     Request as overly broad and unduly burdensome on the ground that it seeks “all Change Request
          16     Forms and related correspondence” to the extent it seeks information not related to Viant’s OPR
          17     pricing for intensive outpatient programs. UBH further objects to this Request on the grounds that
          18     the term “Change Request Form” is vague and undefined. UBH also objects to the extent this
          19     Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
          20     and allegations in this case.
          21            Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          23     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          24     provided.
          25     REQUEST NO. 26:
          26            For the period January 1, 2015, to present, any and all correspondence, both internal and
          27     external, and documents related to the appeal of OON outpatient and Facility R&C claims, i.e., rules
          28     regarding appeals and appeal negotiation parameters set by United, for Facility R&C claims.

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            1    RESPONSE TO REQUEST NO. 26:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            6    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            7    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            8    data used to price IOP services that Plaintiffs challenge in this case. By way of example only, the
            9    Request seeks information about “correspondence” and “documents related to the appeal” that is not
          10     limited to claims and allegations related to Viant’s OPR pricing for intensive outpatient programs.
          11     UBH further objects to this Request as overly broad and unduly burdensome on the ground that it
          12     seeks “any and all correspondence . . . and documents” and to the extent it seeks information not
          13     related to Viant’s OPR pricing for intensive outpatient programs. UBH also objects to the extent this
          14     Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
          15     and allegations in this case.
          16            Subject to and without waiving the General Objections, the Objections to Definitions and
          17     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          18     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          19     identify non-privileged documents in its possession, custody, and control that are responsive to this
          20     Request.
          21     REQUEST NO. 27:
          22            For the period January 1, 2015, to present, all scripts used by United customer service to
          23     address disputes of Viant OPR priced claims.
          24     RESPONSE TO REQUEST NO. 27:
          25            UBH hereby incorporates its General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          27     outside its possession, custody, and control, to the extent that this Request seeks information from a
          28     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks

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            1    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            2    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            3    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            4    Request as overly broad and unduly burdensome on the ground that it seeks “all scripts” and to the
            5    extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
            6    programs. UBH also objects to the extent this Request seeks documents outside the time period
            7    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH objects to this
            8    Request on the grounds that it seeks information which is subject to a claim of privilege or which is
            9    otherwise protected from disclosure by, including without limitation, the attorney-client privilege or
          10     the attorney work product doctrine.
          11            Subject to and without waiving the General Objections, the Objections to Definitions and
          12     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          13     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          14     identify non-privileged documents in its possession, custody, and control that are responsive to this
          15     Request.
          16     REQUEST NO. 28:
          17            For the period January 1, 2015, to present, produce a report showing all disputed OON
          18     outpatient and Facility R&C claims that had been initially priced by Viant OPR but were later
          19     adjusted and paid at either billed charges or the R&C amount.
          20     RESPONSE TO REQUEST NO. 28:
          21            UBH hereby incorporates its General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          23     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          24     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          25     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          26     Request as overly broad and unduly burdensome to the extent the Request is not limited to Viant’s
          27     OPR pricing for intensive outpatient programs and to the extent it purports to require to UBH to
          28     produce a “report” specifically for this litigation beyond what is required by the Federal Rules. UBH

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            1    objects to the extent this Request seeks documents outside the time period properly subject to
            2    discovery for Plaintiffs’ claims and allegations in this case.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            6    provided.
            7    REQUEST NO. 29:
            8           For the period January 1, 2015, to present, any and all documents related to dispute
            9    procedures is response to provider balance billing for OON outpatient and Facility R&C claims.
          10     RESPONSE TO REQUEST NO. 29:
          11            UBH hereby incorporates its General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          13     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          14     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          15     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          16     further objects to this Request as vague and ambiguous, particularly with respect to the term “dispute
          17     procedures.” UBH further objects to this Request as overly broad and unduly burdensome on the
          18     ground that it seeks “any and all documents” and to the extent the Request is not limited to
          19     documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also objects to the
          20     extent this Request seeks documents outside the time period properly subject to discovery for
          21     Plaintiffs’ claims and allegations in this case.
          22            Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          24     what documents Plaintiffs seek through this request and what documents, if any, can reasonably be
          25     provided.
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            1    REQUEST NO. 30:
            2           For the period of January 1, 2015, to present, any and all documents related to policies and
            3    procedures to hold members harmless for OON outpatient and Facility R&C claims, including, but
            4    not limited to, claim negotiation and legal action by United.
            5    RESPONSE TO REQUEST NO. 30:
            6           UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          10     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          11     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          12     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          13     Request as overly broad and unduly burdensome on the ground that it seeks “any and all documents”
          14     and to the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
          15     outpatient programs. By way of example only, this Request is overly broad and unduly burdensome
          16     to the extent it seeks information about “policies and procedures to hold members harmless for OON
          17     outpatient and Facility R&C claims” that is not related to Viant’s OPR pricing for intensive
          18     outpatient programs. UBH also objects to the extent this Request seeks documents outside the time
          19     period properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH objects
          20     to this Request on the grounds that it seeks information which is subject to a claim of privilege or
          21     which is otherwise protected from disclosure by, including without limitation, the attorney-client
          22     privilege or the attorney work product doctrine.
          23            Subject to and without waiving the General Objections, the Objections to Definitions and
          24     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          25     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          26     identify non-privileged documents in its possession, custody, and control that are responsive to this
          27     Request.
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            1    REQUEST NO. 31:
            2            For the period of January 1, 2015, to present, all documents relating to the Remark Code
            3    ‘CY’.
            4    RESPONSE TO REQUEST NO. 31:
            5            UBH hereby incorporates its General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            7    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            8    calculated to lead to the discovery of admissible evidence, in that it appears to seek information
            9    beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          10     further objects to this Request as overly broad and unduly burdensome on the ground that it seeks “all
          11     documents relating to the Remark Code ‘CY’ and to the extent the Request is not limited to
          12     documents related to Viant’s OPR pricing for intensive outpatient programs. By way of example
          13     only, this Request is overly broad and unduly burdensome because it requests information about the
          14     Remark Code ‘CY’ that is not limited to documents related to intensive outpatient programs or
          15     Viant’s OPR pricing for intensive outpatient programs, but rather any and all documents related to
          16     the Remark Code ‘CY” made on wholly unrelated bases. UBH also objects to the extent this Request
          17     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          18     allegations in this case.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          21     what documents Plaintiffs seek through this request and to develop a reasonable search protocol to
          22     identify non-privileged documents in its possession, custody, and control that are responsive to this
          23     Request.
          24     REQUEST NO. 32:
          25             For the period of January 1, 2015, to present, any and all documents, correspondence,
          26     PowerPoint slide decks and spreadsheets, both internal and external, relating to Facility R&C Default
          27     Rates applied to OON mental health / behavioral health claims when the Facility R&C/Viant OPR
          28     methodology does not have a rate available.

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            1    RESPONSE TO REQUEST NO. 32:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            4    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            5    lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
            6    OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            7    Request as overly broad and unduly burdensome on the ground that it seeks “any and all documents,
            8    correspondence, PowerPoint slide decks and spreadsheets” and to the extent the Request is not
            9    limited to documents related to Viant’s OPR pricing for intensive outpatient programs. By way of
          10     example only, UBH objects to this Request as overly broad and unduly burdensome to the extent it
          11     seeks documents related to “Facility R&C Default Rates” and “Facility R&C/Viant OPR
          12     methodology” that is not related to Viant’s OPR pricing for intensive outpatient programs. UBH
          13     further objects to the phrase “Facility R&C Default Rates” and “Facility R&C/Viant OPR
          14     methodology” as vague and ambiguous because those phrases are undefined. UBH further objects
          15     because this Request is duplicative of Request No. 14. UBH also objects to the extent this Request
          16     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          17     allegations in this case.
          18             Subject to and without waiving the General Objections, the Objections to Definitions and
          19     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          20     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          21     identify non-privileged documents in its possession, custody, and control that are responsive to this
          22     Request.
          23     REQUEST NO. 33:
          24             For the period of January 1, 2015, to present, any and all documents relating to any pricing
          25     methodology applied to OON UB claims that either contained HCPS / CPT code H0015 or had
          26     HCPS / CPT code H0015 appended after the claims were submitted.
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            1    RESPONSE TO REQUEST NO. 33:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, in that it appears to seek information
            6    beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
            7    further objects to this Request as overly broad and unduly burdensome on the ground that it seeks
            8    “any and all documents” and to the extent the Request is not limited to documents related to Viant’s
            9    OPR pricing for intensive outpatient programs. UBH further objects to this Request as vague and
          10     ambiguous, particularly with respect to the phrase “pricing methodology.” UBH also objects to the
          11     extent this Request seeks documents outside the time period properly subject to discovery for
          12     Plaintiffs’ claims and allegations in this case. UBH further objects to this Request to the extent it
          13     seeks information outside of UBH’s possession, custody, and control, including but not limited to any
          14     documents that may be in the possession of MultiPlan but not UBH.
          15            Subject to and without waiving the General Objections, the Objections to Definitions and
          16     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          17     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          18     identify non-privileged documents in its possession, custody, and control that are responsive to this
          19     Request.
          20     REQUEST NO. 34:
          21            For the period of January 1, 2015, to present, any and all documents relating to the
          22     methodology or solution applied to BMP-eligible claims sent to Viant Facility U&C where the Viant
          23     Facility U&C allowed amount exceeded the Benchmark Pricing Target amount returned from
          24     MultiPlan’s DUKE system with 043 or 044 return codes.
          25     RESPONSE TO REQUEST NO. 34:
          26            UBH hereby incorporates its General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          28     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to

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            1    lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
            2    OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            3    Request as overly broad and unduly burdensome on the ground that it seeks “any and all policy and
            4    procedure manuals or similar documents” and to the extent the Request is not limited to documents
            5    related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to this
            6    Request as vague and ambiguous, on the ground that the terms “BMP-eligible claims,” “MultiPlan’s
            7    DUKE system,” and “Viant Facility U&C” are undefined. UBH further objects to this Request to the
            8    extent it seeks information outside of UBH’s possession, custody, and control, including but not
            9    limited to any presentations that may be in the possession of MultiPlan but not UBH. UBH also
          10     objects to the extent this Request seeks documents outside the time period properly subject to
          11     discovery for Plaintiffs’ claims and allegations in this case.
          12            Subject to and without waiving the General Objections, the Objections to Definitions and
          13     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          14     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          15     identify non-privileged documents in its possession, custody, and control that are responsive to this
          16     Request.
          17     REQUEST NO. 35:
          18            For the period of January 1, 2015, to present, any and all presentations, PowerPoint slide
          19     decks, and spreadsheets, prepared for regular Governance Meetings between United and Multiplan.
          20     RESPONSE TO REQUEST NO. 35:
          21            UBH hereby incorporates its General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          23     outside its possession, custody, and control, to the extent that this Request seeks information from a
          24     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          25     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          26     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          27     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          28     Request as overly broad and unduly burdensome on the ground that it seeks “any and all

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            1    presentations, PowerPoint slide decks, and spreadsheets” and to the extent it seeks information not
            2    related Viant’s OPR pricing for intensive outpatient programs. UBH further objects to this Request
            3    on the grounds that the term “Governance Meetings” is vague and undefined. UBH also objects to
            4    the extent this Request seeks documents outside the time period properly subject to discovery for
            5    Plaintiffs’ claims and allegations in this case. UBH further objects to this Request to the extent it
            6    seeks information outside of UBH’s possession, custody, and control, including but not limited to any
            7    documents that may be in the possession of MultiPlan but not UBH.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          11     provided.
          12     REQUEST NO. 36:
          13            For the period of January 1, 2015, to present, any and all agendas for United and MultiPlan’s
          14     Governance Meetings.
          15     RESPONSE TO REQUEST NO. 36:
          16            UBH hereby incorporates its General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          18     outside its possession, custody, and control, to the extent that this Request seeks information from a
          19     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          20     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          21     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          22     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          23     Request as overly broad and unduly burdensome on the ground that it seeks “any and all agendas”
          24     and to the extent it seeks information not related Viant’s OPR pricing for intensive outpatient
          25     programs. UBH further objects to this Request on the grounds that the term “Governance Meetings”
          26     is vague and undefined. UBH also objects to the extent this Request seeks documents outside the
          27     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH
          28     further objects to this Request to the extent it seeks information outside of UBH’s possession,

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            1    custody, and control, including but not limited to any documents that may be in the possession of
            2    MultiPlan but not UBH.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            6    provided.
            7    REQUEST NO. 37:
            8           For the period of January 1, 2015, to present, any and all correspondence concerning United
            9    and MultiPlan’s Governance Meetings.
          10     RESPONSE TO REQUEST NO. 37:
          11            UBH hereby incorporates its General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          13     outside its possession, custody, and control, to the extent that this Request seeks information from a
          14     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          15     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          16     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          17     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          18     Request as overly broad and unduly burdensome on the ground that it seeks “any and all
          19     correspondence” and to the extent it seeks information not related Viant’s OPR pricing for intensive
          20     outpatient programs. UBH further objects to this Request on the grounds that the term “Governance
          21     Meetings” is vague and undefined. UBH further objects to this Request to the extent it seeks
          22     information outside of UBH’s possession, custody, and control, including but not limited to any
          23     documents that may be in the possession of MultiPlan but not UBH. UBH also objects to the extent
          24     this Request seeks documents outside the time period properly subject to discovery for Plaintiffs’
          25     claims and allegations in this case.
          26            Subject to and without waiving the General Objections, the Objections to Definitions and
          27     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          28

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            1    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            2    provided.
            3    REQUEST NO. 38:
            4           For the period of January 1, 2015, to present, any and all WebEx or other recordings of
            5    United and MultiPlan’s Governance Meetings from 2015 to present.
            6    RESPONSE TO REQUEST NO. 38:
            7           UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            9    outside its possession, custody, and control, to the extent that this Request seeks information from a
          10     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          11     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          12     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          13     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          14     Request as overly broad and unduly burdensome on the ground that it seeks “any and all WebEx or
          15     other recordings” and to the extent it seeks information not related Viant’s OPR pricing for intensive
          16     outpatient programs. UBH further objects to this Request on the grounds that the term “Governance
          17     Meetings” is vague and undefined. UBH further objects to this Request to the extent it seeks
          18     information outside of UBH’s possession, custody, and control, including but not limited to any
          19     documents that may be in the possession of MultiPlan but not UBH. UBH also objects to the extent
          20     this Request seeks documents outside the time period properly subject to discovery for Plaintiffs’
          21     claims and allegations in this case.
          22            Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          24     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          25     provided.
          26     REQUEST NO. 39:
          27            For the period of January 1, 2015, to present, any and all documents or correspondence
          28     concerning any meetings between United and Multiplan occurring from January 1, 2015, to present.

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            1    RESPONSE TO REQUEST NO. 39:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            6    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            7    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            8    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            9    Request as overly broad and unduly burdensome on the ground that it seeks “any and all documents
          10     or correspondence concerning any meetings” and to the extent it seeks information not related to
          11     Viant’s pricing methods for intensive outpatient programs. UBH further objects to this request to the
          12     extent it is duplicative of Request No. 37. UBH further objects to this Request to the extent it seeks
          13     information outside of UBH’s possession, custody, and control, including but not limited to any
          14     documents that may be in the possession of MultiPlan but not UBH. UBH also objects to the extent
          15     this Request seeks documents outside the time period properly subject to discovery for Plaintiffs’
          16     claims and allegations in this case.
          17            Subject to and without waiving the General Objections, the Objections to Definitions and
          18     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          19     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          20     provided.
          21     REQUEST NO. 40:
          22            For the period of January 1, 2015, to present, any and all documents, presentations,
          23     PowerPoint slide decks, prepared by MultiPlan for United that include, relate to, or pertain to any
          24     ‘Savings Analysis’ of Facility R&C/Viant OPR from 2015 to the present.
          25     RESPONSE TO REQUEST NO. 40:
          26            UBH hereby incorporates its General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          28     outside its possession, custody, and control, to the extent that this Request seeks information from a

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            1    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            2    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            3    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            4    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            5    Request as overly broad and unduly burdensome on the ground that it seeks “any and all documents,
            6    presentations, [and] PowerPoint slide decks” and to the extent the Request is not limited to
            7    documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to
            8    this Request on the grounds that the term “Savings Analysis” is vague and undefined. UBH further
            9    objects to this Request to the extent it is duplicative of other Requests, including Request No. 35.
          10     UBH further objects to this Request to the extent it seeks information outside of UBH’s possession,
          11     custody, and control, including but not limited to any presentations that may be in the possession of
          12     MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
          13     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          16     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          17     provided.
          18     REQUEST NO. 41:
          19            For the period of January 1, 2015, to present, any and all internal presentations, documents,
          20     and correspondence, that include, relate to, or pertain to OON outpatient and Facility R&C claims
          21     and/or ‘savings’ related to OON outpatient and Facility R&C claims.
          22     RESPONSE TO REQUEST NO. 41:
          23            UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          25     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          26     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          27     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          28     Request as overly broad and unduly burdensome on the ground that it seeks “any and all internal

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            1    presentations, documents, and correspondence” and is not limited to documents related to Viant’s
            2    OPR pricing for intensive outpatient programs. UBH further objects to the extent this Request is
            3    duplicative of other Requests, including Request No. 22. UBH further objects to this Request on the
            4    grounds that the term “savings” is vague and undefined. UBH also objects to the extent this Request
            5    seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
            6    allegations in this case.
            7            Subject to and without waiving the General Objections, the Objections to Definitions and
            8    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            9    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          10     provided.
          11     REQUEST NO. 42:
          12             For the period of January 1, 2015, to present, any and all internal presentations, documents
          13     and correspondence, that include, relate to, or pertain to Vaint OPR claims and/or ‘savings’ related to
          14     Viant OPR claims.
          15     RESPONSE TO REQUEST NO. 42:
          16             UBH hereby incorporates its General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          18     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          19     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          20     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          21     objects to this Request as overly broad and unduly burdensome on the ground that it seeks “any and
          22     all internal presentations, documents, and correspondence” and to the extent the Request is not
          23     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further
          24     objects to the extent this Request is duplicative of other Requests, including Request No. 40. UBH
          25     further objects to this Request on the grounds that the term “savings” is vague and undefined. UBH
          26     also objects to the extent this Request seeks documents outside the time period properly subject to
          27     discovery for Plaintiffs’ claims and allegations in this case.
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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            3    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            4    provided.
            5    REQUEST NO. 43:
            6           For the period of January 1, 2015, to present, any and all correspondence and documents
            7    relating to the language used in PAD letters for claims priced using OON outpatient and Facility
            8    R&C and/or Viant OPR claims, including external correspondence with Multiplan.
            9    RESPONSE TO REQUEST NO. 43:
          10            UBH hereby incorporates its General Objections and Objections to Definitions and
          11     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          12     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          13     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          14     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          15     Request as overly broad and unduly burdensome to the extent it seeks “any and all” documents and
          16     correspondence and to the extent it seeks information not related Viant’s OPR pricing for intensive
          17     outpatient programs. UBH further objects to this Request to the extent it seeks information outside of
          18     UBH’s possession, custody, and control, including but not limited to any presentations that may be in
          19     the possession of MultiPlan but not UBH. UBH also objects to the extent this Request seeks
          20     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          21     in this case. UBH objects to this Request to the extent it seeks information which is subject to a
          22     claim of privilege or which is otherwise protected from disclosure by, including without limitation,
          23     the attorney-client privilege or the attorney work product doctrine.
          24            Subject to and without waiving the General Objections, the Objections to Definitions and
          25     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          26     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          27     provided.
          28

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            1    REQUEST NO. 44:
            2           For the period of January 1, 2015, to present, any and all correspondence and documents
            3    relating to the language used in EOBs for claims priced using OON outpatient and Facility R&C
            4    and/or Viant OPR, including external correspondence with Multiplan.
            5    RESPONSE TO REQUEST NO. 44:
            6           UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            8    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          10     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          11     objects to this Request as overly broad and unduly burdensome on the ground that it seeks “any and
          12     all correspondence and documents” and to the extent it seeks information not related Viant’s OPR
          13     pricing for intensive outpatient programs. UBH further objects to this Request to the extent it seeks
          14     information outside of UBH’s possession, custody, and control, including but not limited to any
          15     presentations that may be in the possession of MultiPlan but not UBH. UBH also objects to the
          16     extent this Request seeks documents outside the time period properly subject to discovery for
          17     Plaintiffs’ claims and allegations in this case. UBH further objects to this Request to the extent it
          18     seeks information which is subject to a claim of privilege or which is otherwise protected from
          19     disclosure by, including without limitation, the attorney-client privilege or the attorney work product
          20     doctrine.
          21            Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          23     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          24     provided.
          25     REQUEST NO. 45:
          26            For the period of January 1, 2015, to present, any and all correspondence and documents
          27     relating to the language used in PRAs for claims priced using Facility R&C and/or Viant OPR,
          28     including external correspondence with Multiplan.

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            1    RESPONSE TO REQUEST NO. 45:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            4    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            5    lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
            6    OPR data used to price IOP services that Plaintiffs challenge in this case. By way of example only,
            7    UBH objects that the term “PRAs” and concerns providers which are not at issue in this matter
            8    because this Action concerns claims brought by members and the related Provider action brought by
            9    Summit Estate was dismissed by the Court. UBH further objects to this Request as overly broad and
          10     unduly burdensome on the ground that it seeks “any and all correspondence and documents” and to
          11     the extent it seeks information not related Viant’s OPR pricing for intensive outpatient programs.
          12     UBH further objects to this Request to the extent it seeks information outside of UBH’s possession,
          13     custody, and control, including but not limited to any documents that may be in the possession of
          14     MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
          15     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH
          16     further objects to this Request to the extent it seeks information which is subject to a claim of
          17     privilege or which is otherwise protected from disclosure by, including without limitation, the
          18     attorney-client privilege or the attorney work product doctrine.
          19     REQUEST NO. 46:
          20            For the period of January 1, 2015, to present, any and all correspondence and documents
          21     relating to Summary Plan Description (SPD), Certificate of Coverage (CoC) or other benefit plan
          22     language used to support or describe claims priced using Facility R&C and/or Viant OPR, including
          23     external correspondence with Multiplan.
          24     RESPONSE TO REQUEST NO. 46:
          25            UBH hereby incorporates its General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          27     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          28     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant

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            1    OPR data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this
            2    Request as overly broad and unduly burdensome on the ground that it seeks “any and all
            3    correspondence and documents” and to the extent the Request is not limited to documents related to
            4    Viant’s OPR pricing for intensive outpatient programs. UBH further objects to this Request on the
            5    grounds that the terms “Summary Plan Description” and “Certificate of Coverage” are vague and
            6    undefined. UBH also objects to the extent this Request seeks documents outside the time period
            7    properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH further objects
            8    to this Request to the extent it seeks information which is subject to a claim of privilege or which is
            9    otherwise protected from disclosure by, including without limitation, the attorney-client privilege or
          10     the attorney work product doctrine.
          11            Subject to and without waiving the General Objections, the Objections to Definitions and
          12     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          13     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          14     provided.
          15     REQUEST NO. 47:
          16            For the period of January 1, 2015, to present, any and all internal correspondence,
          17     presentations, reports, and documents relating to the drafting of plan language in SPDs and CoCs to
          18     describe or support the pricing of OON outpatient, Facility R&C claims and “Eligible Expenses”.
          19     RESPONSE TO REQUEST NO. 47:
          20            UBH hereby incorporates its General Objections and Objections to Definitions and
          21     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          22     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          23     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          24     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this
          25     Request as overly broad and unduly burdensome on the ground that it seeks “any and all internal
          26     correspondence, presentation, reports, and documents” and to the extent it seeks information not
          27     related Viant’s OPR pricing for intensive outpatient programs. UBH also objects to the extent this
          28     Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims

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            1    and allegations in this case. UBH further objects to this Request to the extent it seeks information
            2    which is subject to a claim of privilege or which is otherwise protected from disclosure by, including
            3    without limitation, the attorney-client privilege or the attorney work product doctrine.
            4    REQUEST NO. 48:
            5           For the period of January 1, 2015, to present, all internal analysis and reports prepared by You
            6    regarding plan language in SPDs and CoCs regarding and whether existing language supports Facility
            7    R&C, Viant OPR, and BMP pricing.
            8    RESPONSE TO REQUEST NO. 48:
            9           UBH hereby incorporates its General Objections and Objections to Definitions and
          10     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          11     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          12     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          13     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          14     Request as overly broad and unduly burdensome on the ground that it seeks “all internal analysis and
          15     reports” and to the extent it seeks information not related Viant’s OPR pricing for intensive outpatient
          16     programs. UBH further objects to the extent this Request is duplicative of other Requests, including
          17     Request No. 47. UBH also objects to the extent this Request seeks documents outside the time period
          18     properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH further objects
          19     to this Request to the extent it seeks information which is subject to a claim of privilege or which is
          20     otherwise protected from disclosure by, including without limitation, the attorney-client privilege or
          21     the attorney work product doctrine.
          22            Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          24     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          25     provided.
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            1    REQUEST NO. 49:
            2           For the period of January 1, 2015, to present, any and all correspondence, PowerPoint slide
            3    decks, spreadsheets, presentations, documents prepared by MultiPlan for United concerning, relating
            4    to, or referring to OON outpatient and/or Facility R&C and/or OPR.
            5    RESPONSE TO REQUEST NO. 49:
            6           UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          10     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          11     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          12     data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
          13     overly broad and unduly burdensome on the ground that it seeks “any and all correspondence,
          14     PowerPoint slide decks, spreadsheets, presentations, documents” and to the extent the Request is not
          15     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further
          16     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          17     control, including but not limited to any presentations that may be in the possession of MultiPlan but
          18     not UBH. UBH further objects to the extent this Request is duplicative of other Requests, including
          19     Request No. 12. UBH also objects to the extent this Request seeks documents outside the time period
          20     properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          21            Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          23     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          24     provided.
          25     REQUEST NO. 50:
          26            For the period of January 1, 2015, to present, any and all documents prepared by MultiPlan
          27     for United relating to or concerning savings related to OON outpatient and Facility R&C claims.
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            1    RESPONSE TO REQUEST NO. 50:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            6    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            7    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            8    data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
            9    overly broad and unduly burdensome on the ground that it seeks “any and all documents” and to the
          10     extent the Request is not limited to documents related to Viant’s pricing methods for intensive
          11     outpatient programs. UBH further objects to this Request to the extent it seeks information outside of
          12     UBH’s possession, custody, and control, including but not limited to any presentations that may be in
          13     the possession of MultiPlan but not UBH. UBH further objects to this Request as vague and
          14     ambiguous, particularly with respect to the phrase “savings.” UBH further objects to the extent this
          15     Request is duplicative of other Requests, including Request No. 40. UBH also objects to the extent
          16     this Request seeks documents outside the time period properly subject to discovery for Plaintiffs’
          17     claims and allegations in this case.
          18            Subject to and without waiving the General Objections, the Objections to Definitions and
          19     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          20     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          21     provided.
          22     REQUEST NO. 51:
          23            For the period of January 1, 2015, to present, any and all documents concerning or relating to
          24     the percentile used by the Viant OPR methodology.
          25     RESPONSE TO REQUEST NO. 51:
          26            UBH hereby incorporates its General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH objects to this Request as overly broad and
          28     unduly burdensome on the ground that it seeks “any and all documents” and to the extent the Request

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            1    is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
            2    further objects to the extent this Request is duplicative of other Requests, including Requests No. 21,
            3    22 and 24. UBH further objects to this Request to the extent it seeks information outside of UBH’s
            4    possession, custody, and control, including but not limited to any documents that may be in the
            5    possession of MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents
            6    outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
            7    case.
            8            Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          11     provided.
          12     REQUEST NO. 52:
          13             For the period of January 1, 2015, to present, any and all documents concerning or relating to
          14     the comparing of MultiPlan network pricing to a percentile used by the Viant OPR methodology.
          15     RESPONSE TO REQUEST NO. 52:
          16             UBH hereby incorporates its General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          18     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          19     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          20     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          21     objects to this Request as overly broad and unduly burdensome on the ground that it seeks “any and
          22     all documents” and to the extent the Request is not limited to documents related to Viant’s OPR
          23     pricing for intensive outpatient programs. UBH further objects to the request as overly broad because
          24     it seeks information regarding MultiPlan network pricing which is not at issue in this matter. UBH
          25     further objects to the extent this Request is duplicative of other Requests, including Request No. 51.
          26     UBH further objects to this Request to the extent it seeks information outside of UBH’s possession,
          27     custody, and control, including but not limited to any documents that may be in the possession of
          28

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            1    MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
            2    time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            3    REQUEST NO. 53:
            4           For the period of January 1, 2015, to present, any and all correspondence between MultiPlan
            5    and United involving Benefit Plan Language.
            6    RESPONSE TO REQUEST NO. 53:
            7           UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            9    outside its possession, custody, and control, to the extent that this Request seeks information from a
          10     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          11     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          12     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          13     data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
          14     overly broad and unduly burdensome on the ground that it seeks “any and all correspondence” and to
          15     the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
          16     outpatient programs. UBH further objects to this Request on the grounds that the term “benefit plan
          17     language” is vague and undefined. UBH also objects to the extent this Request seeks documents
          18     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          19     case. UBH further objects to this Request to the extent it seeks information outside of UBH’s
          20     possession, custody, and control, including but not limited to any documents that may be in the
          21     possession of MultiPlan but not UBH. UBH also objects to this Request to the extent that it seeks
          22     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          23     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          24            Subject to and without waiving the General Objections, the Objections to Definitions and
          25     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          26     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          27     identify non-privileged documents in its possession, custody, and control that are responsive to this
          28     Request.

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            1    REQUEST NO. 54:
            2           For the period of January 1, 2015, to present, any and all correspondence between MultiPlan
            3    and United involving EOB language requirements.
            4    RESPONSE TO REQUEST NO. 54:
            5           UBH hereby incorporates its General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            7    outside its possession, custody, and control, to the extent that this Request seeks information from a
            8    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            9    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          10     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          11     data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
          12     overly broad and unduly burdensome on the ground that it seeks “any and all correspondence” and to
          13     the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
          14     outpatient programs. UBH further objects to the extent this Request is duplicative of other Requests,
          15     including Request No. 44. UBH also objects to the extent this Request seeks documents outside the
          16     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case. UBH
          17     further objects to this Request to the extent it seeks information outside of UBH’s possession,
          18     custody, and control, including but not limited to any documents that may be in the possession of
          19     MultiPlan but not UBH. UBH objects to this Request to the extent that it seeks information which is
          20     subject to a claim of privilege or which is otherwise protected from disclosure by, including without
          21     limitation, the attorney-client privilege or the attorney work product doctrine.
          22            Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          24     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          25     identify non-privileged documents in its possession, custody, and control that are responsive to this
          26     Request.
          27

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            1    REQUEST NO. 55:
            2           For the period of January 1, 2015, to present, any and all United internal correspondence and
            3    documents relating to plan benefit language and/or language in EOBs to support claims priced using
            4    the Viant OPR methodology.
            5    RESPONSE TO REQUEST NO. 55:
            6           UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          10     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          11     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          12     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          13     Request as overly broad and unduly burdensome on the ground that it seeks “any and all United
          14     internal correspondence and documents” and to the extent the Request is not limited to documents
          15     related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to the extent
          16     this Request is duplicative of other Requests, including Request Nos. 44 and 54. UBH also objects to
          17     the extent this Request seeks documents outside the time period properly subject to discovery for
          18     Plaintiffs’ claims and allegations in this case. UBH objects to this Request to the extent that it seeks
          19     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          20     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          21            Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          23     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          24     identify non-privileged documents in its possession, custody, and control that are responsive to this
          25     Request.
          26     REQUEST NO. 56:
          27            For the period of January 1, 2015, to present, any and all documents or correspondence
          28     relating to the Viant U&C solution.

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            1    RESPONSE TO REQUEST NO. 56:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, in that it appears to seek information
            6    beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
            7    objects to this Request as overly broad and unduly burdensome on the ground that it seeks “any and
            8    all documents or correspondence” and to the extent the Request is not limited to documents related to
            9    Viant’s OPR pricing for intensive outpatient programs. UBH further objects to this Request on the
          10     grounds that the term “Viant U&C solution” is vague and undefined. UBH also objects to the extent
          11     this Request seeks documents outside the time period properly subject to discovery for Plaintiffs’
          12     claims and allegations in this case. UBH further objects to this Request to the extent it seeks
          13     information outside of UBH’s possession, custody, and control, including but not limited to any
          14     documents that may be in the possession of MultiPlan but not UBH.
          15            Subject to and without waiving the General Objections, the Objections to Definitions and
          16     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          17     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          18     identify non-privileged documents in its possession, custody, and control that are responsive to this
          19     Request.
          20     REQUEST NO. 57:
          21            For the period of January 1, 2015, to present, any and all documents relating to the Viant OPR
          22     methodology’s geozip grouping.
          23     RESPONSE TO REQUEST NO. 57:
          24            UBH hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          26     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          27     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          28     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this

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            1    Request to the extent it seeks information outside of UBH’s possession, custody, and control,
            2    including but not limited to any documents that may be in the possession of MultiPlan but not UBH.
            3    UBH further objects to this Request as overly broad and unduly burdensome on the ground that it
            4    seeks “any and all documents” and to the extent the Request is not limited to documents related to
            5    Viant’s OPR pricing for intensive outpatient programs. UBH further objects to this Request on the
            6    grounds that the term “geozip grouping” is vague and undefined. UBH also objects to the extent this
            7    Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
            8    and allegations in this case.
            9           Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          11     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          12     identify non-privileged documents in its possession, custody, and control that are responsive to this
          13     Request.
          14     REQUEST NO. 58:
          15            For the period of January 1, 2015, to present, any and all documents relating to Viant’s
          16     Facility Outpatient Usual and Customary (U&C) Review Service.
          17     RESPONSE TO REQUEST NO. 58:
          18            UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          21     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          22     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          23     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          24     control, including but not limited to any documents that may be in the possession of MultiPlan but
          25     not UBH. UBH further objects to this Request as overly broad and unduly burdensome on the
          26     ground that it seeks “any and all documents” and to the extent the Request is not limited to
          27     documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to
          28     this Request on the grounds that the term “Viant’s Facility Outpatient Usual and Customary (U&C)

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            1    Review Service” is vague and undefined. UBH further objects to the extent this Request is
            2    duplicative of other Requests, including Request No. 34. UBH also objects to the extent this Request
            3    seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
            4    allegations in this case.
            5            Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            7    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            8    identify non-privileged documents in its possession, custody, and control that are responsive to this
            9    Request.
          10     REQUEST NO. 59:
          11             For the period of January 1, 2015, to present, any and all documents relating to Viant’s
          12     Outpatient Review Service.
          13     RESPONSE TO REQUEST NO. 59:
          14             UBH hereby incorporates its General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          16     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          17     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          18     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this
          19     Request to the extent it seeks information outside of UBH’s possession, custody, and control,
          20     including but not limited to any documents that may be in the possession of MultiPlan but not UBH.
          21     UBH further objects to this Request as overly broad and unduly burdensome on the ground that it
          22     seeks “any and all documents” and to the extent the Request is not limited to documents related to
          23     Viant’s OPR pricing for intensive outpatient programs. UBH further objects to this Request on the
          24     grounds that the term “Viant’s Outpatient Review Service” is vague and undefined. UBH also
          25     objects to the extent this Request seeks documents outside the time period properly subject to
          26     discovery for Plaintiffs’ claims and allegations in this case.
          27             Subject to and without waiving the General Objections, the Objections to Definitions and
          28     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss

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            1    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            2    identify non-privileged documents in its possession, custody, and control that are responsive to this
            3    Request.
            4    REQUEST NO. 60:
            5           For the period of January 1, 2015, to present, any and all documents relating to the provider
            6    charge data used in the Viant OPR methodology.
            7    RESPONSE TO REQUEST NO. 60:
            8           UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH further objects to this Request on the ground
          10     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          11     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          12     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          13     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          14     control, including but not limited to any presentations that may be in the possession of MultiPlan but
          15     not UBH. UBH further objects to this Request as overly broad and unduly burdensome on the
          16     ground that it seeks “any and all documents” and to the extent the Request is not limited to
          17     documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to
          18     the extent this Request is duplicative of other Requests, including Request Nos. 32, 51, and 52. UBH
          19     also objects to the extent this Request seeks documents outside the time period properly subject to
          20     discovery for Plaintiffs’ claims and allegations in this case.
          21            Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          23     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          24     identify non-privileged documents in its possession, custody, and control that are responsive to this
          25     Request.
          26     REQUEST NO. 61:
          27            For the period of January 1, 2015, to present, any and all documents relating to the Standard
          28     Analytical Outpatient File data used in Viant OPR.

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            1    RESPONSE TO REQUEST NO. 61:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, in that it appears to seek information
            6    beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
            7    objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
            8    control, including but not limited to any presentations that may be in the possession of MultiPlan but
            9    not UBH. UBH further objects to this Request as overly broad and unduly burdensome on the
          10     ground that it seeks “any and all documents” and to the extent the Request is not limited to
          11     documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also objects to the
          12     extent this Request seeks documents outside the time period properly subject to discovery for
          13     Plaintiffs’ claims and allegations in this case.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          16     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          17     identify non-privileged documents in its possession, custody, and control that are responsive to this
          18     Request.
          19     REQUEST NO. 62:
          20            For the period of January 1, 2015, to present, any and all documents relating to the Status
          21     Indicators assigned through the CMS crosswalk used in the Viant OPR.
          22     RESPONSE TO REQUEST NO. 62:
          23            UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          26     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          27     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          28     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and

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            1    control, including but not limited to any presentations that may be in the possession of MultiPlan but
            2    not UBH. UBH further objects to this Request as overly broad and unduly burdensome on the
            3    ground that it seeks “any and all documents” and to the extent the Request is not limited to
            4    documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to
            5    this Request on the grounds that the terms “status indicators” and “CMS crosswalk” are vague and
            6    undefined. UBH also objects to the extent this Request seeks documents outside the time period
            7    properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          11     identify non-privileged documents in its possession, custody, and control that are responsive to this
          12     Request.
          13     REQUEST NO. 63:
          14            For the period of January 1, 2015, to present, any and all documents relating to the
          15     comparison of a facility’s billed charge and facility charges for the same service within the
          16     geographic area used by Viant to determine the Usual and Customary (U&C) value of charges.
          17     RESPONSE TO REQUEST NO. 63:
          18            UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          21     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          22     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          23     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          24     control, including but not limited to any presentations that may be in the possession of MultiPlan but
          25     not UBH. UBH further objects to this Request as overly broad and unduly burdensome on the
          26     ground that it seeks “any and all documents” and to the extent the Request is not limited to
          27     documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to
          28     this Request as vague and ambiguous, particularly with respect to the phrases “comparison of a

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            1    facility’s billed charge” and “facility charges for the same service within the geographic area used by
            2    Viant.” UBH also objects to the extent this Request seeks documents outside the time period
            3    properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            4              Subject to and without waiving the General Objections, the Objections to Definitions and
            5    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            6    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            7    identify non-privileged documents in its possession, custody, and control that are responsive to this
            8    Request.
            9    REQUEST NO. 64:
          10               For the period of January 1, 2015, to present, any and all documents related to United’s
          11     selection of the percentile to be used by Viant OPR in pricing OON outpatient and Facility R&C
          12     claims.
          13     RESPONSE TO REQUEST NO. 64:
          14               UBH hereby incorporates its General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          16     outside its possession, custody, and control, to the extent that this Request seeks information from a
          17     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          18     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          19     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          20     data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
          21     overly broad and unduly burdensome on the ground that it seeks “any and all documents” and to the
          22     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          23     programs. UBH further objects to this Request to the extent it seeks information outside of UBH’s
          24     possession, custody, and control, including but not limited to any documents that may be in the
          25     possession of MultiPlan but not UBH. UBH further objects to the extent this Request is duplicative
          26     of other Requests, including Request Nos. 20, 22, 23 and 24 among others. UBH also objects to the
          27     extent this Request seeks documents outside the time period properly subject to discovery for
          28     Plaintiffs’ claims and allegations in this case.

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            1            Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            3    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            4    provided.
            5    REQUEST NO. 65:
            6            For the period of January 1, 2015, to present, any and all documents related to United’s
            7    selection of Claim Dollar Thresholds to be used by Viant in pricing OON outpatient and Facility
            8    R&C claims.
            9    RESPONSE TO REQUEST NO. 65:
          10             UBH hereby incorporates its General Objections and Objections to Definitions and
          11     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          12     outside its possession, custody, and control, to the extent that this Request seeks information from a
          13     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          14     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          15     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          16     data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
          17     overly broad and unduly burdensome on the ground that it seeks “any and all documents” and to the
          18     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          19     programs. UBH further objects to this Request on the grounds that the term “Claim Dollar
          20     Threshold” is vague and undefined. UBH also objects to the extent this Request seeks documents
          21     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          22     case.
          23             Subject to and without waiving the General Objections, the Objections to Definitions and
          24     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          25     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          26     provided.
          27

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            1    REQUEST NO. 66:
            2            For the period of January 1, 2015, to present, any and all documents related to United’s
            3    selection of Multiplan Patient Advocacy options to be used by Viant in relation to OON outpatient
            4    and Facility R&C claims.
            5    RESPONSE TO REQUEST NO. 66:
            6            UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          10     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          11     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          12     data used to price IOP services that Plaintiffs challenge in this case. By way of example only, the
          13     Request seeks information about “Multiplan Patient Advocacy options” that are not limited to claims
          14     and allegations related to Viant’s pricing methods for intensive outpatient programs. UBH objects to
          15     this Request as overly broad and unduly burdensome on the ground that it seeks “any and all
          16     documents” and to the extent the Request is not limited to documents related to Viant’s OPR pricing
          17     for intensive outpatient programs. UBH further objects to this Request on the grounds that the term
          18     “Patient Advocacy” is vague and undefined. UBH also objects to the extent this Request seeks
          19     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          20     in this case.
          21             Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          23     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          24     provided.
          25     REQUEST NO. 67:
          26             For the period of January 1, 2015, to present, any and all documents related to United’s
          27     selection of Provider U&C Inquiry Management services to be used in relation to OON outpatient
          28     and Facility R&C claims.

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            1    RESPONSE TO REQUEST NO. 67:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            6    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            7    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            8    data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
            9    overly broad and unduly burdensome on the ground that it seeks “any and all documents” and to the
          10     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          11     programs. UBH further objects to this Request on the grounds that the term “Provider U&C Inquiry
          12     Management” is vague and undefined. UBH also objects to the extent this Request seeks documents
          13     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          14     case.
          15             Subject to and without waiving the General Objections, the Objections to Definitions and
          16     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          17     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          18     provided.
          19     REQUEST NO. 68:
          20             For the period of January 1, 2015, to present, any and all documents related to the Patient
          21     Advocacy Process to be used in relation to Facility R&C claims.
          22     RESPONSE TO REQUEST NO. 68:
          23             UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          25     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          26     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          27     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          28     Request as overly broad and unduly burdensome on the ground that it seeks “any and all documents”

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            1    and to the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
            2    outpatient programs. UBH further objects to this Request on the grounds that the term “Patient
            3    Advocacy Process” is vague and undefined. UBH further objects to the extent this Request is
            4    duplicative of other Requests, including Request No. 66. UBH further objects to this Request to the
            5    extent it seeks information outside of UBH’s possession, custody, and control, including but not
            6    limited to any documents that may be in the possession of MultiPlan but not UBH. UBH also objects
            7    to the extent this Request seeks documents outside the time period properly subject to discovery for
            8    Plaintiffs’ claims and allegations in this case.
            9           Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          11     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          12     provided.
          13     REQUEST NO. 69:
          14            For the period of January 1, 2015, to present, any and all documents relating to Appealed
          15     Savings for claims priced through Viant OPR and Facility R&C for OON outpatient claims.
          16     RESPONSE TO REQUEST NO. 69:
          17            UBH hereby incorporates its General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          19     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          20     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          21     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. By way
          22     of example only, the Request seeks information about “Appealed Savings” for claims that are not
          23     limited to claims and allegations related to Viant’s pricing methods for intensive outpatient programs.
          24     UBH objects to this Request as overly broad and unduly burdensome on the ground that it seeks “any
          25     and all documents” and to the extent the Request is not limited to documents related to Viant’s OPR
          26     pricing for intensive outpatient programs. UBH further objects to this Request on the grounds that
          27     the term “Appealed Savings” is vague and undefined. UBH also objects to the extent this Request
          28

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            1    seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
            2    allegations in this case.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            6    provided.
            7    REQUEST NO. 70:
            8            For the period of January 1, 2015, to present, any and all documents relating to the use of
            9    Stand on Data (SOD) in appeals of claims priced through Viant OPR / Facility R&C.
          10     RESPONSE TO REQUEST NO. 70:
          11             UBH hereby incorporates its General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          13     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          14     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          15     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          16     objects to this Request as overly broad and unduly burdensome on the ground that it seeks “any and
          17     all documents” and to the extent the Request is not limited to documents related to Viant’s OPR
          18     pricing for intensive outpatient programs. UBH further objects to this Request on the grounds that
          19     the term “Stand on Data” is vague and undefined. UBH also objects to the extent this Request seeks
          20     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          21     in this case.
          22             Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          24     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          25     provided.
          26     REQUEST NO. 71:
          27             For the period of January 1, 2015, to present, any and all documents relating to United’s
          28     standard operating procedure (SOP) for appeals of claims priced through Viant OPR / Facility R&C.

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            1    RESPONSE TO REQUEST NO. 71:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            6    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            7    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            8    data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
            9    overly broad and unduly burdensome on the ground that it seeks “any and all documents” and to the
          10     extent it seeks information not related to Viant’s OPR pricing for intensive outpatient programs.
          11     UBH further objects to this Request on the grounds that the term “standard operating procedure” is
          12     vague and undefined. UBH further objects to the extent this Request is duplicative of other Requests,
          13     including Request Nos. 26 and 70, among others. UBH also objects to the extent this Request seeks
          14     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          15     in this case.
          16             Subject to and without waiving the General Objections, the Objections to Definitions and
          17     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          18     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          19     identify non-privileged documents in its possession, custody, and control that are responsive to this
          20     Request.
          21     REQUEST NO. 72:
          22             For the period of January 1, 2015, to present, any and all documents relating to the application
          23     of Viant’s proprietary fee schedule to United’s SSP/SSPe and OON outpatient and/or Facility R&C
          24     programs
          25     RESPONSE TO REQUEST NO. 72:
          26             UBH hereby incorporates its General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          28     outside its possession, custody, and control, to the extent that this Request seeks information from a

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            1    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            2    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            3    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            4    data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
            5    overly broad and unduly burdensome on the ground that it seeks “any and all documents” and to the
            6    extent it seeks information not related to Viant’s OPR pricing for intensive outpatient programs. By
            7    way of example only, UBH objects to this Request as seeking to impose a broad search for
            8    documents related to UBH’s SSP/SSPe that is not related to Viant’s OPR pricing for intensive
            9    outpatient programs. UBH further objects to this Request on the grounds that the term “proprietary
          10     fee schedule” is vague and undefined. UBH further objects to the extent this Request is duplicative
          11     of other Requests, including Request Nos. 4, 5, 17, and 18 among others. UBH also objects to the
          12     extent this Request seeks documents outside the time period properly subject to discovery for
          13     Plaintiffs’ claims and allegations in this case. UBH further objects to this Request to the extent it
          14     seeks information outside of UBH’s possession, custody, and control, including but not limited to any
          15     documents that may be in the possession of MultiPlan but not UBH.
          16            Subject to and without waiving the General Objections, the Objections to Definitions and
          17     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          18     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          19     identify non-privileged documents in its possession, custody, and control that are responsive to this
          20     Request.
          21     REQUEST NO. 73:
          22            For the period of January 1, 2015, to present, any and all documents, including claims
          23     flowcharts, relating to the reimbursement hierarchy for OON claims with HCPCS Code H0015,
          24     H2036, and/or S9480.
          25     RESPONSE TO REQUEST NO. 73:
          26            UBH hereby incorporates its General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          28     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to

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            1    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
            2    than out-of-network claims for intensive outpatient programs for which reimbursement rates were
            3    calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
            4    unduly burdensome on the ground that it seeks “any and all documents” and to the extent it seeks
            5    information not related to Viant’s OPR pricing for intensive outpatient programs. UBH further
            6    objects to this Request as overly broad and unduly burdensome. By way of example only, this
            7    Request is overly broad and unduly burdensome to the extent it purports to seek information within a
            8    broadly-defined category that includes multiple codes, including HCPCS Code H2036, that have no
            9    apparent connection to the IOP services at issue in the case. Furthermore, as framed, this Request is
          10     overly broad because it is not limited to claims “paid or adjudicated” using the Viant OPR data that
          11     Plaintiffs challenge in the Complaint. UBH further objects to this Request on the grounds that the
          12     term “reimbursement hierarchy” is vague and undefined. UBH also objects to the extent this Request
          13     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          14     allegations in this case.
          15             Subject to and without waiving the General Objections, the Objections to Definitions and
          16     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          17     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          18     identify non-privileged documents in its possession, custody, and control that are responsive to this
          19     Request.
          20     REQUEST NO. 74:
          21             For the period of January 1, 2015, to present, any and all documents relating to UB / Facility
          22     claim OPR Target Pricing.
          23     RESPONSE TO REQUEST NO. 74:
          24             UBH hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          26     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          27     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          28     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this

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            1    Request as overly broad and unduly burdensome on the ground that it seeks “any and all documents”
            2    and to the extent it seeks information not related to Viant’s OPR pricing for intensive outpatient
            3    programs. UBH further objects to this Request on the grounds that the term “target pricing” is vague
            4    and undefined. UBH also objects to the extent this Request seeks documents outside the time period
            5    properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            6            Subject to and without waiving the foregoing objections, UBH is willing to meet and confer
            7    with Plaintiffs to determine what specific, relevant documents Plaintiffs are seeking and what non-
            8    privileged documents are in UBH’s possession, custody, and control and can be reasonably provided
            9    in response to this Request.
          10     REQUEST NO. 75:
          11             For the period of January 1, 2015, to present, any and all documents that relate to or compare
          12     Viant OPR / Facility R&C/OON outpatient reimbursement amounts and FAIR Health, UCR, R&C or
          13     any other charge-based metric.
          14     RESPONSE TO REQUEST NO. 75:
          15             UBH hereby incorporates its General Objections and Objections to Definitions and
          16     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          17     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          18     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          19     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          20     objects to this Request as overly broad and unduly burdensome on the ground that it seeks “any and
          21     all documents” and to the extent it seeks information not related to Viant’s OPR pricing for intensive
          22     outpatient programs. UBH further objects to this Request to the extent it seeks information outside of
          23     UBH’s possession, custody, and control, including but not limited to any documents that may be in
          24     the possession of MultiPlan but not UBH. UBH further objects to this Request on the grounds that
          25     the term “charge-based metric” is vague and undefined. UBH also objects to the extent this Request
          26     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          27     allegations in this case.
          28

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            1           Subject to and without waiving the foregoing objections, UBH is willing to meet and confer
            2    with Plaintiffs to determine what specific, relevant documents Plaintiffs are seeking and what non-
            3    privileged documents are in UBH’s possession, custody, and control and can be reasonably provided
            4    in response to this Request.
            5    REQUEST NO. 76:
            6           For the period of January 1, 2015, to present, samples of any ‘cease and desist’ letters sent by
            7    United to any healthcare provider for claims with HCPCS Code H0015, H20136, and/or S9480.
            8    RESPONSE TO REQUEST NO. 76:
            9           UBH hereby incorporates its General Objections and Objections to Definitions and
          10     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          11     outside its possession, custody, and control, to the extent that this Request seeks information from a
          12     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          13     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          14     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          15     data used to price IOP services that Plaintiffs challenge in this case. By way of example only, there
          16     are no allegations pertaining to any “cease and desist” letters in Plaintiffs’ complaint. UBH further
          17     objects to this Request as overly broad and unduly burdensome. By way of example only, this
          18     Request is overly broad and unduly burdensome to the extent it purports to seek information within a
          19     broadly-defined category that includes multiple codes, including HCPCS Code H2036, that have no
          20     apparent connection to the IOP services at issue in the case. UBH also objects to the extent this
          21     Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
          22     and allegations in this case.
          23            Subject to and without waiving the foregoing objections, UBH is willing to meet and confer
          24     with Plaintiffs to determine what specific, relevant documents Plaintiffs are seeking and what non-
          25     privileged documents are in UBH’s possession, custody, and control and can be reasonably provided
          26     in response to this Request.
          27

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            1    REQUEST NO. 77:
            2             For the period of January 1, 2015, to present, any and all non-privileged documents relating to
            3    lawsuits filed by United or on their behalf for claims with HCPCS Code H0015, H2036, and/or
            4    S9480.
            5    RESPONSE TO REQUEST NO. 77:
            6             UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH objects to this Request to the extent that it requests documents
          10     that are publicly available and equally accessible to Plaintiffs. UBH also objects to the extent this
          11     Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
          12     and allegations in this case.
          13     REQUEST NO. 78:
          14              For the period of January 1, 2015, to present, all documents and correspondence relating to
          15     the Apple, Inc. ASO plans / package options - including the ASO agreement and all amendments -
          16     between United and Apple, as well as a report of all fees, including SSP/SSPe/Facility R&C fees,
          17     earned by United pursuant to that agreement.
          18     RESPONSE TO REQUEST NO. 78:
          19              UBH hereby incorporates its General Objections and Objections to Definitions and
          20     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          21     outside its possession, custody, and control, to the extent that this Request seeks information from a
          22     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          23     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          24     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          25     data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
          26     overly broad and unduly burdensome on the ground that it seeks “any and all documents and
          27     correspondence” and to the extent the Request is not limited to documents related to Viant’s OPR
          28     pricing for intensive outpatient programs. By way of example only, UBH objects to this Request as

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            1    seeking to impose a broad search for documents related to UBH’s SSP/SSPe that is not related to
            2    Viant’s OPR pricing for intensive outpatient programs and to the extent the Request purports to
            3    require UBH to produce a “report” specifically for this litigation beyond what is required by the
            4    Federal Rules. UBH further objects to this Request on the grounds that it seeks information which is
            5    subject to a claim of privilege or which is otherwise protected from disclosure by, including without
            6    limitation, the attorney-client privilege or the attorney work product doctrine. UBH also objects to
            7    the extent this Request seeks documents outside the time period properly subject to discovery for
            8    Plaintiffs’ claims and allegations in this case.
            9    REQUEST NO. 79:
          10            Produce a report and all communications and documents relating to charges to Apple by
          11     United that are related to the Apple employees whose claims are at issue in this matter, including for
          12     claims submitted to United by Summit Estate.
          13     RESPONSE TO REQUEST NO. 79:
          14            UBH hereby incorporates its General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          16     outside its possession, custody, and control, to the extent that this Request seeks information from a
          17     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          18     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          19     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          20     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          21     Request as overly broad and unduly burdensome on the ground that it seeks “all communications and
          22     documents” and to the extent the Request is not limited to documents related to Viant’s OPR pricing
          23     for intensive outpatient programs. By way of example only, this Request is overly broad and unduly
          24     burdensome to the extent it purports to require UBH to produce a “report” specifically for this
          25     litigation beyond what is required by the Federal Rules. UBH further objects to this Request as
          26     vague and ambiguous, particularly with respect to the phrase “relating to charges to Apple by
          27     United.” UBH further objects to the extent this Request is duplicative of other Requests, including
          28     Request No. 78. UBH further objects to this Request on the grounds that it seeks information which

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            1    is subject to a claim of privilege or which is otherwise protected from disclosure by, including
            2    without limitation, the attorney-client privilege or the attorney work product doctrine. UBH also
            3    objects to the extent this Request seeks documents outside the time period properly subject to
            4    discovery for Plaintiffs’ claims and allegations in this case.
            5           Subject to and without waiving the General Objections and Objections to Definitions and
            6    Instructions in their entirety, UBH will produce records related to the Apple employees whose claims
            7    are at issue in this matter pursuant to this Request that are in UBH’s possession, custody, or control.
            8    REQUEST NO. 80:
            9           For the period of January 1, 2015 to present, all documents and correspondence relating to the
          10     Tesla, Inc. ASO plans / package options - including the ASO agreement and all amendments -
          11     between United and Tesla, as well as a report of all fees, including SSP/SSPe/Facility R&C fees,
          12     earned by United pursuant to that agreement.
          13     RESPONSE TO REQUEST NO. 80:
          14            UBH hereby incorporates its General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          16     outside its possession, custody, and control, to the extent that this Request seeks information from a
          17     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          18     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          19     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          20     data used to price IOP services that Plaintiffs challenge in this case. UBH objects to this Request as
          21     overly broad and unduly burdensome on the ground that it seeks “any and all documents and
          22     correspondence” and to the extent the Request is not limited to documents related to Viant’s OPR
          23     pricing for intensive outpatient programs. By way of example only, UBH objects to this Request as
          24     seeking to impose a broad search for documents related to UBH’s SSP/SSPe that is not related to
          25     Viant’s OPR pricing for intensive outpatient programs and to the extent the Request purports to
          26     require UBH to produce a “report” specifically for this litigation beyond what is required by the
          27     Federal Rules. UBH further objects to this Request on the grounds that it seeks information which is
          28     subject to a claim of privilege or which is otherwise protected from disclosure by, including without

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            1    limitation, the attorney-client privilege or the attorney work product doctrine. UBH also objects to
            2    the extent this Request seeks documents outside the time period properly subject to discovery for
            3    Plaintiffs’ claims and allegations in this case.
            4           Subject to and without waiving the General Objections and Objections to Definitions and
            5    Instructions in their entirety, UBH will produce records related to the Apple employees whose claims
            6    are at issue in this matter pursuant to this Request that are in UBH’s possession, custody, or control.
            7    REQUEST NO. 81:
            8           Produce a report and all communications and documents relating to charges to Tesla by
            9    United that are related to the Tesla employee whose claims are at issue in this matter, including for
          10     claims submitted to United by Summit Estate.
          11     RESPONSE TO REQUEST NO. 81:
          12            UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          14     outside its possession, custody, and control, to the extent that this Request seeks information from a
          15     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          16     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          17     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          18     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          19     Request as overly broad and unduly burdensome on the ground that it seeks “all communications and
          20     documents” and to the extent the Request is not limited to documents related to Viant’s OPR pricing
          21     for intensive outpatient programs. By way of example only, this Request is overly broad and unduly
          22     burdensome to the extent it purports to require UBH to produce a “report” specifically for this
          23     litigation beyond what is required by the Federal Rules. UBH further objects to this Request as
          24     vague and ambiguous, particularly with respect to the phrase “relating to charges to Tesla by United.”
          25     UBH further objects to the extent this Request is duplicative of other Requests, including Request
          26     No. 80. UBH further objects to this Request on the grounds that it seeks information which is subject
          27     to a claim of privilege or which is otherwise protected from disclosure by, including without
          28     limitation, the attorney-client privilege or the attorney work product doctrine. UBH also objects to

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            1    the extent this Request seeks documents outside the time period properly subject to discovery for
            2    Plaintiffs’ claims and allegations in this case.
            3            Subject to and without waiving the General Objections and Objections to Definitions and
            4    Instructions in their entirety, UBH will produce records related to the Tesla employee whose claims
            5    are at issue in this matter pursuant to this Request that are in UBH’s possession, custody, or control.
            6    REQUEST NO. 82:
            7            For the period of January 1, 2015, to present, produce all correspondence between United and
            8    Apple and United and Tesla regarding OON outpatient and/or Facility R&C benefit changes and/or
            9    Viant OPR percentile reductions.
          10     RESPONSE TO REQUEST NO. 82:
          11             UBH hereby incorporates its General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          13     outside its possession, custody, and control, to the extent that this Request seeks information from a
          14     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          15     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          16     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          17     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          18     Request as overly broad and unduly burdensome on the ground that it seeks “all correspondence” and
          19     to the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
          20     outpatient programs. UBH further objects to the extent this Request is duplicative of other Requests,
          21     including Request Nos. 78 and 80. UBH also objects to the extent this Request seeks documents
          22     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          23     case.
          24     REQUEST NO. 83:
          25             For the period of January 1, 2015, to present, produce all correspondence between United and
          26     Plaintiffs notifying them of OON outpatient and/or Facility R&C benefit changes and/or Viant OPR
          27     percentile reductions.
          28

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            1    RESPONSE TO REQUEST NO. 83:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
            6    not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
            7    discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
            8    used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request
            9    as overly broad and unduly burdensome on the ground that it seeks “all correspondence” and to the
          10     extent the Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient
          11     programs. UBH further objects to the extent this Request is duplicative of other Requests, including
          12     Request No. 24. UBH further objects to this Request to the extent it seeks documents and
          13     information more reasonably obtained from a party or third party other than UBH, including to the
          14     extent such documents or information are in Plaintiffs’ possession. UBH also objects to the extent
          15     this Request seeks documents outside the time period properly subject to discovery for Plaintiffs’
          16     claims and allegations in this case.
          17            Subject to and without waiving the General Objections and Objections to Definitions and
          18     Instructions in their entirety, UBH will produce correspondence with Plaintiffs pursuant to this
          19     Request and to the extent Plaintiffs are requesting something different via this Request, UBH is
          20     willing to meet and confer with Plaintiffs to determine what specific, relevant documents Plaintiffs
          21     are seeking and what non-privileged documents are in UBH’s possession, custody, and control and
          22     can be reasonably provided in response to this Request.
          23     REQUEST NO. 84:
          24            For the period of January 1, 2015, to present, produce all correspondence between United and
          25     its “key account” and “national account” ASO customers notifying them of OON outpatient and/or
          26     Facility R&C benefit changes and/or Viant OPR percentile reductions.
          27

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            1    RESPONSE TO REQUEST NO. 84:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            6    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            7    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            8    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            9    Request as overly broad and unduly burdensome on the ground that it seeks “all correspondence” and
          10     to the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
          11     outpatient programs. UBH further objects to this Request on the ground that the terms “key account”
          12     and “national account” are vague and undefined. UBH further objects to the extent this Request is
          13     duplicative of other Requests, including Request No. 24. UBH also objects to the extent this Request
          14     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          15     allegations in this case.
          16             Subject to and without waiving the General Objections, the Objections to Definitions and
          17     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          18     what documents Plaintiffs seek through this request and what documents, if any, can reasonably be
          19     provided.
          20     REQUEST NO. 85:
          21             For the period of January 1, 2015, to present, produce all correspondence between United and
          22     its “key account” and “national account” ASO customers discussing opt-outs from OON outpatient or
          23     Facility R&C benefit changes and/or Viant OPR percentile reductions.
          24     RESPONSE TO REQUEST NO. 85:
          25             UBH hereby incorporates its General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          27     outside its possession, custody, and control, to the extent that this Request seeks information from a
          28     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks

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            1    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            2    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            3    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            4    Request as overly broad and unduly burdensome on the ground that it seeks “all correspondence” and
            5    to the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
            6    outpatient programs. UBH further objects to this Request on the ground that the terms “key account”
            7    and “national account” are vague and undefined. UBH further objects to the extent this Request is
            8    duplicative of other Requests, including Request Nos. 24 and 84, among others. UBH also objects to
            9    the extent this Request seeks documents outside the time period properly subject to discovery for
          10     Plaintiffs’ claims and allegations in this case.
          11            Subject to and without waiving the General Objections, the Objections to Definitions and
          12     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          13     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          14     provided.
          15     REQUEST NO. 86:
          16            For the period of January 1, 2015, to present, produce a spreadsheet indicating ASO customer
          17     opt-outs from OON outpatient or Facility R&C benefit changes and/or Viant OPR percentile
          18     reductions.
          19     RESPONSE TO REQUEST NO. 86:
          20            UBH hereby incorporates its General Objections and Objections to Definitions and
          21     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          22     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          23     lead to the discovery of admissible evidence, in that it appears to seek information beyond the Viant
          24     OPR data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          25     Request as overly broad and unduly burdensome on the ground that it purports to require UBH to
          26     produce a “spreadsheet” specifically for this litigation beyond what is required by the Federal Rules
          27     and to the extent the Request is not limited to documents and information related to Viant’s OPR
          28     pricing for intensive outpatient programs. UBH also objects to the extent this Request seeks

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            1    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
            2    in this case.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            6    provided.
            7    REQUEST NO. 87:
            8            For the period of January 1, 2015, to present, produce correspondence between United and its
            9    members notifying them of OON outpatient and Facility R&C changes and/or Viant OPR percentile
          10     reductions. This request applies to members of ASO and FI plans.
          11     RESPONSE TO REQUEST NO. 87:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          14     outside its possession, custody, and control, to the extent that this Request seeks information from a
          15     “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
          16     not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
          17     discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR data
          18     used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this Request
          19     as overly broad and unduly burdensome. By way of example only, UBH objects to the extent the
          20     Request is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs.
          21     UBH further objects to the extent this Request is duplicative of other Requests, including Request
          22     Nos. 24 and 83. UBH also objects to the extent this Request seeks documents outside the time period
          23     properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          24             Subject to and without waiving the General Objections and Objections to Definitions and
          25     Instructions in their entirety, UBH will produce a sample of EOBs and appeal correspondence with
          26     its members that is in its possession, custody, or control, pursuant to this Request.
          27

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            1    REQUEST NO. 88:
            2           For the period of January 1, 2015, to present, produce all communications of United’s ASO
            3    sales team related to OON outpatient and Facility R&C changes and/or Viant OPR percentile
            4    reductions.
            5    RESPONSE TO REQUEST NO. 88:
            6           UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          10     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          11     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          12     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          13     Request as overly broad and unduly burdensome on the ground that it seeks “all communications”
          14     and to the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
          15     outpatient programs. UBH further objects to this Request as vague and ambiguous, particularly with
          16     respect to the phrase “all communications” as it does not identify with whom the communications
          17     occurred. UBH further objects to the extent this Request is duplicative of other Requests, including
          18     Request Nos. 20, 24, 78, 80, 83, 84, and 85, among others. UBH also objects to the extent this
          19     Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
          20     and allegations in this case.
          21     REQUEST NO. 89:
          22            All documents relating to Your process and procedures for responding to patients who have
          23     reported receiving balance bills from OON mental health / behavioral health providers from January
          24     1, 2015, to present.
          25     RESPONSE TO REQUEST NO. 89:
          26            UBH hereby incorporates its General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          28     that it seeks information not relevant to the claims or defenses of any party and not reasonably

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            1    calculated to lead to the discovery of admissible evidence, in that it appears to seek information
            2    beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
            3    further objects to this Request as overly broad and unduly burdensome on the ground that it seeks “all
            4    documents” and to the extent it seeks information not related Viant’s OPR pricing for intensive
            5    outpatient programs. UBH also objects to the extent this Request seeks documents outside the time
            6    period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            7           Subject to and without waiving the General Objections, the Objections to Definitions and
            8    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            9    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          10     provided.
          11     REQUEST NO. 90:
          12            All documents, other than those specifically prepared for or in response to litigation, relating
          13     to legal or regulatory concerns relating to Viant OPR and/or OON outpatient and Facility R&C from
          14     January 1, 2015 to present.
          15     RESPONSE TO REQUEST NO. 90:
          16            UBH hereby incorporates its General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          18     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          19     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          20     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          21     further objects to this Request as overly broad and unduly burdensome on the ground that it seeks “all
          22     documents” and to the extent the Request is not limited to documents related to Viant’s OPR pricing
          23     for intensive outpatient programs. UBH further objects to this Request on the grounds that it seeks
          24     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          25     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          26            Subject to and without waiving the General Objections, the Objections to Definitions and
          27     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          28     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to

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            1    identify non-privileged documents in its possession, custody, and control that are responsive to this
            2    Request.
            3    REQUEST NO. 91:
            4           Complete copies of the outbound EDI files sent by United to MultiPlan that contain the claims
            5    of LD, DB, BW, RH, and CJ identified in the Complaint sent as part of a regular batch process.
            6    RESPONSE TO REQUEST NO. 91:
            7           UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            9    outside its possession, custody, and control, to the extent that this Request seeks information from a
          10     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          11     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          12     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          13     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          14     Request as overly broad and unduly burdensome on the ground that it seeks “complete copies of the
          15     outbound EDI files” and to the extent the Request is not limited to documents related to Viant’s OPR
          16     pricing for intensive outpatient programs. UBH further objects to this Request to the extent it seeks
          17     information outside of UBH’s possession, custody, and control, including but not limited to any
          18     documents that may be in the possession of MultiPlan but not UBH.
          19            Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          21     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          22     identify non-privileged documents in its possession, custody, and control that are responsive to this
          23     Request.
          24     REQUEST NO. 92:
          25            Complete copies of the inbound EDT files received by United from MultiPlan that contain the
          26     claims of LD, DB, BW, RH, and CJ identified in the Complaint sent as part of a regular batch
          27     process.
          28

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            1    RESPONSE TO REQUEST NO. 92:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            4    outside its possession, custody, and control, to the extent that this Request seeks information from a
            5    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            6    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            7    to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
            8    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            9    Request as overly broad and unduly burdensome on the ground that it seeks “complete copies of the
          10     inbound EDI files” and to the extent the Request is not limited to documents related to Viant’s OPR
          11     pricing for intensive outpatient programs. UBH further objects to this Request to the extent it seeks
          12     information outside of UBH’s possession, custody, and control, including but not limited to any
          13     documents that may be in the possession of MultiPlan but not UBH.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          16     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          17     identify non-privileged documents in its possession, custody, and control that are responsive to this
          18     Request
          19     REQUEST NO. 93:
          20            Complete copies of the inbound EDT files received by United from MultiPlan that contain the
          21     claims of LD, DB, BW, RH, and CJ identified in the Complaint.
          22     RESPONSE TO REQUEST NO. 93:
          23            UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          25     outside its possession, custody, and control, to the extent that this Request seeks information from a
          26     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          27     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          28     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR

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            1    data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
            2    Request on the grounds that it is duplicative of Request No. 92. UBH further objects to this Request
            3    as overly broad and unduly burdensome on the ground that it seeks “complete copies of the inbound
            4    EDI files” and to the extent the Request is not limited to documents related to Viant’s OPR pricing
            5    for intensive outpatient programs. UBH further objects to this Request to the extent it seeks
            6    information outside of UBH’s possession, custody, and control, including but not limited to any
            7    documents that may be in the possession of MultiPlan but not UBH.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          11     identify non-privileged documents in its possession, custody, and control that are responsive to this
          12     Request.
          13     REQUEST NO. 94:
          14            Any and all Pricing Statements created by the MultiPlan Client Portal website for the
          15     Plaintiffs’ claims as set forth in the Complaint.
          16     RESPONSE TO REQUEST NO. 94:
          17            UBH hereby incorporates its General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          19     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          20     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          21     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. UBH
          22     further objects to this Request on the grounds that it is vague and ambiguous as to the terms “Pricing
          23     Statements” and “MultiPlan Client Portal.” UBH further objects to this Request to the extent it seeks
          24     information outside of UBH’s possession, custody, and control, including but not limited to any
          25     documents that may be in the possession of MultiPlan but not UBH. UBH further objects to this
          26     Request as overbroad and unduly burdensome on the ground that it seeks “any and all Pricing
          27     Statements” And to the extent the Request is not limited to documents related to Viant’s OPR pricing
          28     for intensive outpatient programs.

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            3    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            4    identify non-privileged documents in its possession, custody, and control that are responsive to this
            5    Request.
            6    REQUEST NO. 95:
            7           Any and all recordings and transcripts of the verification of benefits calls relative to the
            8    claims of LD, DB, BW, RH, and CJ identified in the Complaint.
            9    RESPONSE TO REQUEST NO. 95:
          10            UBH hereby incorporates its General Objections and Objections to Definitions and
          11     Instructions in their entirety into this response. UBH further objects to this Request on the grounds
          12     that it is overbroad and unduly burdensome including to the extent it seeks “any and all” recordings
          13     and transcripts.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will produce documents titled “BH Notes” or
          16     “Case Notes” which reflect the caller, as well as dates, times, and subjects of calls, and will update
          17     this information as appropriate.
          18     REQUEST NO. 96:
          19            Any and all recordings and transcripts of the prior authorization calls relative to the claims of
          20     LD, DB, BW, RH, and CJ identified in the Complaint.
          21     RESPONSE TO REQUEST NO. 96:
          22            UBH hereby incorporates its General Objections and Objections to Definitions and
          23     Instructions in their entirety into this response. UBH further objects to this Request on the grounds
          24     that it is overbroad and unduly burdensome including to the extent that it seeks “any and all”
          25     recordings and transcripts.
          26            Subject to and without waiving the General Objections, the Objections to Definitions and
          27     Instructions, or the foregoing specific objections, UBH will produce documents titled “BH Notes” or
          28

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            1    “Case Notes” which reflect the caller, as well as dates, times, and subjects of calls, and will update
            2    this information as appropriate.
            3    REQUEST NO. 97:
            4           Any and all documents pertaining or relating to Summit Estate treatment center in Your
            5    possession.
            6    RESPONSE TO REQUEST NO. 97:
            7           UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it seeks information not relevant to the claims or defenses of any party and not reasonably
          10     calculated to lead to the discovery of admissible evidence, in that it appears to seek information
          11     beyond the Viant OPR data used to price IOP services that Plaintiffs challenge in this case. By way
          12     of example only, this Action concerns claims brought by members and the related Provider action
          13     brought by Summit Estate was dismissed by the Court. UBH objects to this Request on the grounds
          14     that it is vague and ambiguous including as to the terms “pertaining to” and “relating to.” UBH
          15     further objects to this Request on the grounds that it is overbroad and unduly burdensome including
          16     to the extent it seeks “any and all documents” and to the extent the Request is not limited to
          17     documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to
          18     this Request to the extent it seeks information outside of UBH’s possession, custody, and control,
          19     including but not limited to any documents that may be in the possession of MultiPlan but not UBH.
          20     UBH also objects to this Request to the extent that it seeks information which is subject to a claim of
          21     privilege or which is otherwise protected from disclosure by, including without limitation, the
          22     attorney-client privilege or the attorney work product doctrine.
          23            Subject to and without waiving the General Objections, the Objections to Definitions and
          24     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          25     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          26     identify non-privileged documents in its possession, custody, and control that are responsive to this
          27     Request.
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            1    REQUEST NO. 98:
            2           Any and all recordings and transcripts of telephone calls between Plaintiffs and United,
            3    including, but not limited to, calls between Plaintiffs and United’s customer service agents.
            4    RESPONSE TO REQUEST NO. 98:
            5           UBH hereby incorporates its General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH objects to this Request as seeking information
            7    outside its possession, custody, and control, to the extent that this Request seeks information from a
            8    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            9    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          10     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          11     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          12     Request on the grounds that it is overbroad and unduly burdensome including to the extent that it
          13     seeks “any and all” recordings and transcripts and to the extent the Request is not limited to
          14     documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further objects to
          15     the extent this Request is duplicative of other Requests, including Request No. 95 and 96.
          16            Subject to and without waiving the General Objections, the Objections to Definitions and
          17     Instructions, or the foregoing specific objections, UBH will produce documents titled “BH Notes” or
          18     “Case Notes” which reflect the caller, as well as dates, times, and subjects of calls.
          19     REQUEST NO. 99:
          20            Any and all recordings and transcripts of telephone calls between Summit Estate treatment
          21     center and United, including, but not limited to, calls between Plaintiffs’ Providers and United’s
          22     customer service agents.
          23     RESPONSE TO REQUEST NO. 99:
          24            UBH hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          26     outside its possession, custody, and control, to the extent that this Request seeks information from a
          27     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          28     information not relevant to the claims or defenses of any party and not reasonably calculated to lead

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            1    to the discovery of admissible evidence, to the extent it seeks information about claims other than
            2    out-of-network claims for intensive outpatient programs for which reimbursement rates were
            3    calculated using Viant’s OPR product. By way of example only, the Request seeks information about
            4    telephone calls that are not limited to claims and allegations related to Viant’s pricing methods for
            5    intensive outpatient programs. Moreover, this Action concerns claims brought by members and the
            6    related Provider action brought by Summit Estate was dismissed by the Court. UBH further objects
            7    to this Request on the grounds that it is vague and ambiguous as to the terms “recordings,”
            8    “transcripts,” “Providers,” and “customer service agents.” UBH further objects to this Request on the
            9    grounds that it is overbroad and unduly burdensome including to the extent that it seeks “any and all”
          10     recordings and transcripts and to the extent the Request is not limited to documents related to Viant’s
          11     OPR pricing for intensive outpatient programs. UBH further objects to the extent this Request is
          12     duplicative of other Requests, including Request Nos. 95, 96, and 97.
          13            Subject to and without waiving the General Objections, the Objections to Definitions and
          14     Instructions, or the foregoing specific objections UBH will produce documents titled “BH Notes” or
          15     “Case Notes” which reflect the caller, as well as dates, times, and subjects of calls.
          16     REQUEST NO. 100:
          17            Any and all recordings of telephone calls or documents relating to any appeals of Plaintiffs
          18     claims in United’s possession, custody, or control.
          19     RESPONSE TO REQUEST NO. 100:
          20            UBH hereby incorporates its General Objections and Objections to Definitions and
          21     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          22     outside its possession, custody, and control, to the extent that this Request seeks information from a
          23     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          24     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          25     to the discovery of admissible evidence, to the extent it seeks information about claims other than
          26     out-of-network claims for intensive outpatient programs for which reimbursement rates were
          27     calculated using Viant’s OPR product. By way of example only, the Request seeks information about
          28     appeals that are not limited to claims and allegations related to Viant’s pricing methods for intensive

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            1    outpatient programs. UBH further objects to this Request on the grounds that it is vague and
            2    ambiguous as to the terms “recordings” and “appeals.” UBH further objects to this Request on the
            3    grounds that it is overbroad and unduly burdensome including to the extent that it seeks “any and all”
            4    recordings or documents and to the extent the Request is not limited to documents related to Viant’s
            5    OPR pricing for intensive outpatient programs. UBH further objects to the extent this Request is
            6    duplicative of other Requests, including Request Nos. 95, 96, 97, and 98.
            7           Subject to and without waiving the General Objections, the Objections to Definitions and
            8    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            9    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          10     identify non-privileged documents in its possession, custody, and control that are responsive to this
          11     Request.
          12     REQUEST NO. 101:
          13            Complete copies of any records for the claims of LD, DB, BW, RH, and CJ identified in the
          14     Complaint submitted by United to MultiPlan using MultiPlan’s Repricing Webservice.
          15     RESPONSE TO REQUEST NO. 101:
          16            UBH hereby incorporates its General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          18     outside its possession, custody, and control, to the extent that this Request seeks information from a
          19     “United” entity other than UBH. UBH objects to this Request on the ground that it seeks information
          20     not relevant to the claims or defenses of any party and not reasonably calculated to lead to the
          21     discovery of admissible evidence, to the extent it seeks information about claims other than out-of-
          22     network claims for intensive outpatient programs for which reimbursement rates were calculated
          23     using Viant’s OPR product. UBH objects to this Request on the grounds that it is vague and
          24     ambiguous as to the terms “records,” “claims,” and “Repricing Webservice.” UBH further objects to
          25     this Request on the grounds that it is overbroad and unduly burdensome including to the extent that it
          26     seeks “complete copies” and “any” records regarding broadly defined programs not limited to the
          27     claims and services at issue in this case, and to the extent the Request is not limited to documents
          28     related to Viant’s OPR pricing for intensive outpatient programs.

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            3    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            4    identify non-privileged documents in its possession, custody, and control that are responsive to this
            5    Request.
            6    REQUEST NO. 102:
            7           For each and every Plaintiff (LD, DB, BW, RH and CJ as identified in the Complaint):
            8           a.      A copy of Your entire claim file. This includes, but is not limited to, all reports and
            9    notes regarding the claims, electronic mail messages (e-mails), instant messages, activity logs,
          10     correspondence with medical reviewers, and medical reports. This also includes, but is not limited to,
          11     all medical records, paper and electronic, including, but not limited to, records of diagnostic tests and
          12     lab reports, doctors’ notes, nurses’ notes, office notes, discharge summaries, medications lists,
          13     prognosis, third party records, any correspondence with the claimant, third parties, claim policies,
          14     claim handling manual and/or guidelines, CVs of doctors or medical professionals involved in
          15     determining claim eligibility, and any other claimant documents;
          16            b.      The applicable health plan and related documents, including the official plan
          17     document, the certificate of insurance, and the Summary Plan Description, which were in effect on
          18     the dates of service for the claims;
          19            c.      Any statements of policy of guidance or Claims manuals of the Plaintiffs’ employers,
          20     of United Behavioral Health and its parent and subsidiary companies; any peer review companies; the
          21     Plan Administrator; or any of their affiliates with respect to the Plaintiffs’ diagnoses. These
          22     documents are requested pursuant to 29 C.F.R. § 2560.503-1(m)(8);
          23            d.      The date on which the actual contents of the policy coverage or the Summary Plan
          24     Description was made available to plan participants;
          25            e.      The official name of the Employee Benefits Plan and the name and address of the Plan
          26     Administrator and the Claim Administrator if not the same as the Plan Administrator;
          27            f.      The name and address of the registered agent for service of process for the Employee
          28     Benefits Plan, the Plan Administrator, and the Claim Administrator;

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            1              g.     A copy of any specific rule, guideline, or protocol relied upon in processing the
            2    claims.
            3              h.     All appeals or disputes raised or submitted by the member and/or the member’s
            4    provider and Your response to the appeal or dispute.
            5              i.     All communications between You and the member and the member’s provider,
            6    including all EOBs, PRAs, PAD letters, and any other communications.
            7    RESPONSE TO REQUEST NO. 102:
            8              UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          10     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          11     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          12     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          13     calculated using Viant’s OPR product. UBH objects to this Request on the grounds that it is vague
          14     and ambiguous as to the terms “notes,” “activity logs,” “medical reviewers,” “medical reports,”
          15     “medical records,” “doctors’ notes,” “nurses’ notes,” “office notes,” “third party records,” “third
          16     parties,” “claim handling manual and/or guidelines,” “claimant documents,” “statements of policy of
          17     guidance,” “peer review companies,” “Employee Benefits Plan,” “Plan Administrator,” and “Claims
          18     Administrator.” UBH further objects to this Request on the grounds that it is overbroad and unduly
          19     burdensome including to the extent that it seeks “all” or “any” of the requested documents and
          20     information regarding broadly defined programs not limited to the claims and services at issue in this
          21     case, and to the extent the Request is not limited to documents related to Viant’s OPR pricing for
          22     intensive outpatient programs. UBH further objects to this Request to the extent it seeks documents
          23     and information outside of UBH’s possession, custody, or control, or more reasonably obtained from
          24     a party or third party other than UBH. UBH also objects to this Request to the extent that it seeks
          25     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          26     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          27               Subject to and without waiving the General Objections, the Objections to Definitions and
          28     Instructions, or the foregoing specific objections, UBH is willing to produce the following documents

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            1    for the IOP claims at issue: claim forms, explanations of benefits, appeals correspondence, summary
            2    plan descriptions, BH notes and case notes, and certain call recordings. UBH will meet and confer
            3    with Plaintiffs to discuss what documents Plaintiffs seek through this Request and to develop a
            4    reasonable search protocol to identify non-privileged documents in its possession, custody, and
            5    control that are responsive to this Request.
            6    REQUEST NO. 103:
            7           Any and all documents to or from Dale White pertaining to the claims at issue in this action
            8    including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR, and FAIR
            9    Health from January 1, 2015, to present.
          10     RESPONSE TO REQUEST NO. 103:
          11            UBH hereby incorporates its General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          13     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          14     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          15     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          16     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          17     unduly burdensome on the ground that it seeks “any and all documents” to the extent the Request is
          18     not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
          19     further objects to this Request to the extent it seeks information outside of UBH’s possession,
          20     custody, and control, including but not limited to any documents that may be in the possession of
          21     MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
          22     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          23            Subject to and without waiving the General Objections, the Objections to Definitions and
          24     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          25     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          26     identify non-privileged documents in its possession, custody, and control that are responsive to this
          27     Request.
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            1    REQUEST NO. 104:
            2           Any and all documents to or from Mark Tabak pertaining to the claims at issue in this action
            3    including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR, and FAIR
            4    Health from January 1, 2015, to present.
            5    RESPONSE TO REQUEST NO. 104:
            6           UBH hereby incorporates its General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            8    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            9    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          10     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          11     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          12     unduly burdensome on the ground that it seeks “any and all documents” and to the extent the Request
          13     is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
          14     further objects to this Request to the extent it seeks information outside of UBH’s possession,
          15     custody, and control, including but not limited to any documents that may be in the possession of
          16     MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
          17     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          18            Subject to and without waiving the General Objections, the Objections to Definitions and
          19     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          20     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          21     identify non-privileged documents in its possession, custody, and control that are responsive to this
          22     Request.
          23     REQUEST NO. 105:
          24            Any and all documents to or from Michael Ferrante pertaining to the claims at issue in this
          25     action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR, and
          26     FAIR Health from January 1, 2015, to present.
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            1    RESPONSE TO REQUEST NO. 105:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            4    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            5    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
            6    than out-of-network claims for intensive outpatient programs for which reimbursement rates were
            7    calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
            8    unduly burdensome on the ground that it seeks “any and all documents” and to the extent the Request
            9    is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
          10     further objects to this Request to the extent it seeks information outside of UBH’s possession,
          11     custody, and control, including but not limited to any documents that may be in the possession of
          12     MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
          13     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          16     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          17     identify non-privileged documents in its possession, custody, and control that are responsive to this
          18     Request.
          19     REQUEST NO. 106:
          20            Any and all documents to or from Mark Edwards pertaining to the claims at issue in this
          21     action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR, and
          22     FAIR Health from January 1, 2015, to present.
          23     RESPONSE TO REQUEST NO. 106:
          24            UBH hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          26     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          27     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          28     than out-of-network claims for intensive outpatient programs for which reimbursement rates were

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            1    calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
            2    unduly burdensome on the ground that it seeks “any and all documents” and to the extent the Request
            3    is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
            4    further objects to this Request to the extent it seeks information outside of UBH’s possession,
            5    custody, and control, including but not limited to any documents that may be in the possession of
            6    MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
            7    time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          11     identify non-privileged documents in its possession, custody, and control that are responsive to this
          12     Request.
          13     REQUEST NO. 107:
          14            Any and all documents to or from Tina Smith pertaining to the claims at issue in this action
          15     including OON outpatient, Facility R&C, Viant OPR, and FAIR Health from January 1, 2015, to
          16     present.
          17     RESPONSE TO REQUEST NO. 107:
          18            UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          20     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          21     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          22     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          23     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          24     unduly burdensome on the ground that it seeks “any and all documents” and to the extent the Request
          25     is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
          26     further objects to this Request to the extent it seeks information outside of UBH’s possession,
          27     custody, and control, including but not limited to any documents that may be in the possession of
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            1    MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
            2    time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            6    identify non-privileged documents in its possession, custody, and control that are responsive to this
            7    Request.
            8    REQUEST NO. 108:
            9           Any and all documents to or from Susan Mohler pertaining to the claims at issue in this action
          10     including OON outpatient, Facility R&C, Viant OPR, and FAIR Health from January 1, 2015, to
          11     present.
          12     RESPONSE TO REQUEST NO. 108:
          13            UBH hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          15     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          16     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          17     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          18     calculated using Viant’s OPR product. UBH objects to this Request as overly broad and unduly
          19     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          20     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further
          21     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          22     control, including but not limited to any documents that may be in the possession of MultiPlan but
          23     not UBH. UBH also objects to the extent this Request seeks documents outside the time period
          24     properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          25            Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          27     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
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            1    identify non-privileged documents in its possession, custody, and control that are responsive to this
            2    Request.
            3    REQUEST NO. 109:
            4           Any and all documents to or from Bill Ginther pertaining to the claims at issue in this action
            5    including OON outpatient, Facility R&C, Viant OPR, and FAIR Health from January 1, 2015, to
            6    present.
            7    RESPONSE TO REQUEST NO. 109:
            8           UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          10     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          11     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          12     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          13     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          14     unduly burdensome on the ground that it seeks “any and all documents” and to the extent the Request
          15     is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
          16     further objects to this Request to the extent it seeks information outside of UBH’s possession,
          17     custody, and control, including but not limited to any documents that may be in the possession of
          18     MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
          19     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          20            Subject to and without waiving the General Objections, the Objections to Definitions and
          21     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          22     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          23     identify non-privileged documents in its possession, custody, and control that are responsive to this
          24     Request.
          25     REQUEST NO. 110:
          26            Any and all documents to or from Emma Johnson pertaining to the claims at issue in this
          27     action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR, and
          28     FAIR Health from January 1, 2015, to present.

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            1    RESPONSE TO REQUEST NO. 110:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            4    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            5    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
            6    than out-of-network claims for intensive outpatient programs for which reimbursement rates were
            7    calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
            8    unduly burdensome on the ground that it seeks “any and all documents” and to the extent the Request
            9    is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
          10     further objects to this Request to the extent it seeks information outside of UBH’s possession,
          11     custody, and control, including but not limited to any documents that may be in the possession of
          12     MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
          13     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          16     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          17     identify non-privileged documents in its possession, custody, and control that are responsive to this
          18     Request.
          19     REQUEST NO. 111:
          20            Any and all documents to or from Mike McEttrick pertaining to the claims at issue in this
          21     action including OON outpatient, Facility R&C, Viant OPR, and FAIR Health from January 1, 2015,
          22     to present.
          23     RESPONSE TO REQUEST NO. 111:
          24            UBH hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          26     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          27     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          28     than out-of-network claims for intensive outpatient programs for which reimbursement rates were

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            1    calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
            2    unduly burdensome on the ground that it seeks “any and all documents” and to the extent the Request
            3    is not limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH
            4    further objects to this Request to the extent it seeks information outside of UBH’s possession,
            5    custody, and control, including but not limited to any documents that may be in the possession of
            6    MultiPlan but not UBH. UBH also objects to the extent this Request seeks documents outside the
            7    time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          11     identify non-privileged documents in its possession, custody, and control that are responsive to this
          12     Request.
          13     REQUEST NO. 112:
          14            Any and all documents to or from Sean Crandell pertaining to the claims at issue in this action
          15     including OON outpatient, Facility R&C, Viant OPR, and FAIR Health from January 1, 2015, to
          16     present.
          17     RESPONSE TO REQUEST NO. 112:
          18            UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          20     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          21     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          22     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          23     calculated using Viant’s OPR product. UBH objects to this Request as overly broad and unduly
          24     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          25     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further
          26     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          27     control, including but not limited to any documents that may be in the possession of MultiPlan but
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            1    not UBH. UBH also objects to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            6    identify non-privileged documents in its possession, custody, and control that are responsive to this
            7    Request.
            8    REQUEST NO. 113:
            9           Any and all documents to or from Ben Fuchsen pertaining to the claims at issue in this action
          10     including OON outpatient, Facility R&C, Viant OPR, and FAIR Health from January 1, 2015, to
          11     present.
          12     RESPONSE TO REQUEST NO. 113:
          13            UBH hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          15     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          16     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          17     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          18     calculated using Viant’s OPR product. UBH objects to this Request as overly broad and unduly
          19     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          20     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further
          21     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          22     control, including but not limited to any documents that may be in the possession of MultiPlan but
          23     not UBH. UBH also objects to the extent this Request seeks documents outside the time period
          24     properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          25            Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          27     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
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            1    identify non-privileged documents in its possession, custody, and control that are responsive to this
            2    Request.
            3    REQUEST NO. 114:
            4           Any and all documents to or from Jacqueline Kienzle pertaining to the claims at issue in this
            5    action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR, and
            6    FAIR Health from January 1, 2015, to present.
            7    RESPONSE TO REQUEST NO. 114:
            8           UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          10     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          11     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          12     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          13     calculated using Viant’s OPR product. UBH objects to this Request as overly broad and unduly
          14     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          15     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further
          16     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          17     control, including but not limited to any documents that may be in the possession of MultiPlan but
          18     not UBH. UBH also objects to the extent this Request seeks documents outside the time period
          19     properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          20            Subject to and without waiving the General Objections, the Objections to Definitions and
          21     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          22     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          23     identify non-privileged documents in its possession, custody, and control that are responsive to this
          24     Request.
          25     REQUEST NO. 115:
          26            Any and all documents to or from Kim Dugan pertaining to the claims in this action including
          27     the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR, and FAIR Health from
          28     January 1, 2015, to present.

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            1    RESPONSE TO REQUEST NO. 115:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            4    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            5    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
            6    than out-of-network claims for intensive outpatient programs for which reimbursement rates were
            7    calculated using Viant’s OPR product. UBH objects to this Request as overly broad and unduly
            8    burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
            9    limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH further
          10     objects to this Request to the extent it seeks information outside of UBH’s possession, custody, and
          11     control, including but not limited to any documents that may be in the possession of MultiPlan but
          12     not UBH. UBH also objects to the extent this Request seeks documents outside the time period
          13     properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          16     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          17     identify non-privileged documents in its possession, custody, and control that are responsive to this
          18     Request.
          19     REQUEST NO. 116:
          20            Any and all documents for which Rebecca Paradise was the custodian pertaining to the claims
          21     in this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR,
          22     and FAIR Health from January 1, 2015, to present.
          23     RESPONSE TO REQUEST NO. 116:
          24            UBH hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          26     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          27     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          28     than out-of-network claims for intensive outpatient programs for which reimbursement rates were

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            1    calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
            2    outside its possession, custody, and control, to the extent that this Request seeks information from a
            3    “United” entity other than UBH. UBH objects to this Request as overly broad and unduly
            4    burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
            5    limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
            6    objects to the extent this Request seeks documents outside the time period properly subject to
            7    discovery for Plaintiffs’ claims and allegations in this case.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          11     identify non-privileged documents in its possession, custody, and control that are responsive to this
          12     Request.
          13     REQUEST NO. 117:
          14            Any and all documents for which Radames (Ray) Lopez was the custodian pertaining to the
          15     claims in this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant
          16     OPR, and FAIR Health from January 1, 2015, to present.
          17     RESPONSE TO REQUEST NO. 117:
          18            UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          20     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          21     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          22     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          23     calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
          24     outside its possession, custody, and control, to the extent that this Request seeks information from a
          25     “United” entity other than UBH. UBH objects to this Request as overly broad and unduly
          26     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          27     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
          28

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            1    objects to the extent this Request seeks documents outside the time period properly subject to
            2    discovery for Plaintiffs’ claims and allegations in this case.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            6    identify non-privileged documents in its possession, custody, and control that are responsive to this
            7    Request.
            8    REQUEST NO. 118:
            9           Any and all documents for which Sarah Peterson was the custodian pertaining to the claims in
          10     this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR,
          11     and FAIR Health from January 1, 2015, to present.
          12     RESPONSE TO REQUEST NO. 118:
          13            UBH hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          15     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          16     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          17     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          18     calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
          19     outside its possession, custody, and control, to the extent that this Request seeks information from a
          20     “United” entity other than UBH. UBH further objects to this Request as overly broad and unduly
          21     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          22     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
          23     objects to the extent this Request seeks documents outside the time period properly subject to
          24     discovery for Plaintiffs’ claims and allegations in this case.
          25            Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          27     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          28

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            1    identify non-privileged documents in its possession, custody, and control that are responsive to this
            2    Request.
            3    REQUEST NO. 119:
            4           Any and all documents for which Jolene Bradley was the custodian pertaining to the claims in
            5    this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR,
            6    and FAIR Health from January 1, 2015, to present.
            7    RESPONSE TO REQUEST NO. 119:
            8           UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          10     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          11     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          12     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          13     calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
          14     outside its possession, custody, and control, to the extent that this Request seeks information from a
          15     “United” entity other than UBH. UBH further objects to this Request as overly broad and unduly
          16     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          17     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
          18     objects to the extent this Request seeks documents outside the time period properly subject to
          19     discovery for Plaintiffs’ claims and allegations in this case.
          20            Subject to and without waiving the General Objections, the Objections to Definitions and
          21     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          22     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          23     identify non-privileged documents in its possession, custody, and control that are responsive to this
          24     Request.
          25     REQUEST NO. 120:
          26            Any and all documents for which Kelly Valentine was the custodian pertaining to the claims
          27     in this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR,
          28     and FAIR Health from January 1, 2015, to present.

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            1    RESPONSE TO REQUEST NO. 120:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            4    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            5    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
            6    than out-of-network claims for intensive outpatient programs for which reimbursement rates were
            7    calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH objects to this Request as overly broad and unduly
          10     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          11     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
          12     objects to the extent this Request seeks documents outside the time period properly subject to
          13     discovery for Plaintiffs’ claims and allegations in this case.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          16     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          17     identify non-privileged documents in its possession, custody, and control that are responsive to this
          18     Request.
          19     REQUEST NO. 121:
          20            Any and all documents for which Marie Rickmyer was the custodian pertaining to the claims
          21     in this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR,
          22     and FAIR Health from January 1, 2015, to present.
          23     RESPONSE TO REQUEST NO. 121:
          24            UBH hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          26     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          27     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          28     than out-of-network claims for intensive outpatient programs for which reimbursement rates were

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            1    calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
            2    outside its possession, custody, and control, to the extent that this Request seeks information from a
            3    “United” entity other than UBH. UBH further objects to this Request as overly broad and unduly
            4    burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
            5    limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
            6    objects to the extent this Request seeks documents outside the time period properly subject to
            7    discovery for Plaintiffs’ claims and allegations in this case.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          11     identify non-privileged documents in its possession, custody, and control that are responsive to this
          12     Request.
          13     REQUEST NO. 122:
          14            Any and all documents for which Lisa LaMaster was the custodian pertaining to the claims in
          15     this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR,
          16     and FAIR Health from January 1, 2015, to present.
          17     RESPONSE TO REQUEST NO. 122:
          18            UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          20     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          21     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          22     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          23     calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
          24     outside its possession, custody, and control, to the extent that this Request seeks information from a
          25     “United” entity other than UBH. UBH further objects to this Request as overly broad and unduly
          26     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          27     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
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            1    objects to the extent this Request seeks documents outside the time period properly subject to
            2    discovery for Plaintiffs’ claims and allegations in this case.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            5    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            6    identify non-privileged documents in its possession, custody, and control that are responsive to this
            7    Request.
            8    REQUEST NO. 123:
            9           Any and all documents for which Jacqueline Buccini was the custodian pertaining to the
          10     claims in this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant
          11     OPR, and FAIR Health from January 1, 2015, to present.
          12     RESPONSE TO REQUEST NO. 123:
          13            UBH hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          15     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          16     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          17     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          18     calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
          19     outside its possession, custody, and control, to the extent that this Request seeks information from a
          20     “United” entity other than UBH. UBH objects to this Request as overly broad and unduly
          21     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          22     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
          23     objects to the extent this Request seeks documents outside the time period properly subject to
          24     discovery for Plaintiffs’ claims and allegations in this case.
          25            Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          27     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
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            1    identify non-privileged documents in its possession, custody, and control that are responsive to this
            2    Request.
            3    REQUEST NO. 124:
            4           Any and all documents for which Carolyn Larson was the custodian pertaining to the claims
            5    in this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR,
            6    and FAIR Health from January 1, 2015, to present.
            7    RESPONSE TO REQUEST NO. 124:
            8           UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          10     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          11     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          12     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          13     calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
          14     outside its possession, custody, and control, to the extent that this Request seeks information from a
          15     “United” entity other than UBH. UBH further objects to this Request as overly broad and unduly
          16     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          17     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
          18     objects to the extent this Request seeks documents outside the time period properly subject to
          19     discovery for Plaintiffs’ claims and allegations in this case.
          20            Subject to and without waiving the General Objections, the Objections to Definitions and
          21     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          22     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          23     identify non-privileged documents in its possession, custody, and control that are responsive to this
          24     Request.
          25     REQUEST NO. 125:
          26            Any and all documents for which John Haben was the custodian pertaining to the claims in
          27     this action including the Network Access Agreement, OON outpatient, Facility R&C, Viant OPR,
          28     and/or FAIR Health from January 1, 2015, to present.

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            1    RESPONSE TO REQUEST NO. 125:
            2           UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            4    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            5    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
            6    than out-of-network claims for intensive outpatient programs for which reimbursement rates were
            7    calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
            8    outside its possession, custody, and control, to the extent that this Request seeks information from a
            9    “United” entity other than UBH. UBH further objects to this Request as overly broad and unduly
          10     burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
          11     limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
          12     objects to the extent this Request seeks documents outside the time period properly subject to
          13     discovery for Plaintiffs’ claims and allegations in this case.
          14            Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          16     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          17     identify non-privileged documents in its possession, custody, and control that are responsive to this
          18     Request.
          19     REQUEST NO. 126:
          20            Any and all documents for which Patricia Olson pertaining to the claims in this action
          21     including the Network Access Agreement, OON outpatient, OON outpatient, Facility R&C, Viant
          22     OPR, and FAIR Health from January 1, 2015, to present.
          23     RESPONSE TO REQUEST NO. 126:
          24            UBH hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          26     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          27     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          28     than out-of-network claims for intensive outpatient programs for which reimbursement rates were

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            1    calculated using Viant’s OPR product. UBH further objects to this Request as seeking information
            2    outside its possession, custody, and control, to the extent that this Request seeks information from a
            3    “United” entity other than UBH. UBH objects to this Request as overly broad and unduly
            4    burdensome on the ground that it seeks “any and all documents” and to the extent the Request is not
            5    limited to documents related to Viant’s OPR pricing for intensive outpatient programs. UBH also
            6    objects to the extent this Request seeks documents outside the time period properly subject to
            7    discovery for Plaintiffs’ claims and allegations in this case.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          10     what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
          11     identify non-privileged documents in its possession, custody, and control that are responsive to this
          12     Request.
          13     REQUEST NO. 127:
          14            For the period January 1, 2015, to present, any and all policy and procedure manuals or
          15     similar documents pertaining or relating to the verification of member benefits for out of network
          16     mental/behavioral health claims in effect on the dates Plaintiffs received services as set forth in the
          17     Complaint.
          18     RESPONSE TO REQUEST NO. 127:
          19            UBH hereby incorporates its General Objections and Objections to Definitions and
          20     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          21     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          22     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          23     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          24     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          25     unduly burdensome on the ground that it seeks “any and all policy and procedure manuals or similar
          26     documents” and to the extent the Request is not limited to documents related to Viant’s OPR pricing
          27     for intensive outpatient programs. UBH further objects to the Request as vague and ambiguous. By
          28     way of example only, the Request is vague and ambiguous because the phrase “similar documents” is

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            1    undefined. UBH also objects to the extent this Request seeks documents outside the time period
            2    properly subject to discovery for Plaintiffs’ claims and allegations in this case and to the extent this
            3    Request seeks documents and information outside of UBH’s possession, custody, or control.
            4            Subject to and without waiving the General Objections, the Objections to Definitions and
            5    Instructions, or the foregoing specific objections, UBH will produce Plaintiffs’ Summary Plan
            6    Descriptions and will meet and confer with Plaintiffs to discuss what documents Plaintiffs seek
            7    through this Request and what documents, if any, can reasonably be provided.
            8    REQUEST NO. 128:
            9            Any and all policy and procedure manuals or similar documents pertaining or relating to the
          10     authorization of member benefits for out of network mental/behavioral health claims in effect on the
          11     dates Plaintiffs received services as set forth in the Complaint.
          12     RESPONSE TO REQUEST NO. 128:
          13             UBH hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          15     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          16     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          17     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          18     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          19     unduly burdensome on the ground that it seeks “any and all policy and procedure manuals or similar
          20     documents” and to the extent the Request is not limited to documents related to Viant’s OPR pricing
          21     for intensive outpatient programs. UBH further objects to the Request as vague and ambiguous. By
          22     way of example only, the Request is vague and ambiguous because the phrase “similar documents” is
          23     undefined. UBH further objects to this Request to the extent it is duplicative of other Requests
          24     including Request Nos. 129 and 130. UBH also objects to the extent this Request seeks documents
          25     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          26     case.
          27             Subject to and without waiving the General Objections, the Objections to Definitions and
          28     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss

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            1    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            2    provided.
            3    REQUEST NO. 129:
            4            Any and all internal training manuals or similar documents pertaining or relating to the
            5    verification of member benefits for out of network mental/behavioral health claims in effect on the
            6    dates Plaintiffs received services as set forth in the Complaint.
            7    RESPONSE TO REQUEST NO. 129:
            8            UBH hereby incorporates its General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          10     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          11     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          12     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          13     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          14     unduly burdensome on the ground that it seeks “any and all internal training manuals or similar
          15     documents” and to the extent the Request is not limited to documents related to Viant’s OPR pricing
          16     for intensive outpatient programs. UBH further objects UBH further objects to the Request as vague
          17     and ambiguous. By way of example only, the Request is vague and ambiguous because the phrase
          18     “similar documents” is undefined. UBH further objects to this Request to the extent it is duplicative
          19     of other Requests including Request Nos. 128 and 130. UBH also objects to the extent this Request
          20     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          21     allegations in this case.
          22             Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, will meet and confer with Plaintiffs to discuss what
          24     documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          25     provided.
          26     REQUEST NO. 130:
          27

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            1            Any and all internal manuals or similar documents pertaining or relating to the authorization
            2    of member benefits for out of network mental/behavioral health claims in effect on the dates
            3    Plaintiffs received services as set forth in the Complaint.
            4    RESPONSE TO REQUEST NO. 130:
            5            UBH hereby incorporates its General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            7    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            8    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
            9    than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          10     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          11     unduly burdensome on the ground that it seeks “any and all internal manuals or similar documents”
          12     and to the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive
          13     outpatient programs. UBH further objects to the Request as vague and ambiguous. By way of
          14     example only, the Request is vague and ambiguous because the phrase “similar documents” is
          15     undefined. UBH further objects to this Request to the extent it is duplicative of other Requests
          16     including Request Nos. 128 and 129. UBH also objects to the extent this Request seeks documents
          17     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          18     case.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, will meet and confer with Plaintiffs to discuss what
          21     documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          22     provided.
          23     REQUEST NO. 131:
          24             Produce all documents and internal correspondence related to United’s internal Project
          25     resulting in the creation of Naviguard.
          26     RESPONSE TO REQUEST NO. 131:
          27             UBH hereby incorporates its General Objections and Objections to Definitions and
          28     Instructions in their entirety into this response. UBH objects to this Request as seeking information

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            1    outside its possession, custody, and control, to the extent that this Request seeks information from a
            2    “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
            3    information not relevant to the claims or defenses of any party and not reasonably calculated to lead
            4    to the discovery of admissible evidence, to the extent it seeks information about claims other than
            5    out-of-network claims for intensive outpatient programs for which reimbursement rates were
            6    calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
            7    unduly burdensome to the extent it seeks information not related Viant’s OPR pricing for intensive
            8    outpatient programs. UBH further objects to the Request to the extent it seeks information regarding
            9    Naviguard that is not relevant to Plaintiffs’ claims and allegations in this case. UBH also objects to
          10     this Request on the grounds that it seeks information which is subject to a claim of privilege or which
          11     is otherwise protected from disclosure by, including without limitation, the attorney-client privilege
          12     or the attorney work product doctrine, and to the extent it seeks trade secrets or proprietary or
          13     confidential business information. UBH also objects to the extent this Request seeks documents
          14     outside the time period properly subject to discovery for Plaintiffs’ claims and allegations in this
          15     case.
          16     REQUEST NO. 132:
          17             Produce all documents, presentations and correspondence relating to the internal Project
          18     culminating in United’s June 2021 statement to the public that it would no longer provide OON
          19     coverage for non-emergent, non-hospital and non-network facility-based services.
          20     RESPONSE TO REQUEST NO. 132:
          21             UBH hereby incorporates its General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          23     outside its possession, custody, and control, to the extent that this Request seeks information from a
          24     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          25     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          26     to the discovery of admissible evidence, to the extent it seeks information about claims other than
          27     out-of-network claims for intensive outpatient programs for which reimbursement rates were
          28     calculated using Viant’s OPR product. By way of example only, this Requests seeks irrelevant

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            1    information because by its terms it applies to facility services outside of the service area and therefore
            2    should not apply to outpatient services for which one would need to be near his or her home. UBH
            3    objects to this Request as overly broad and unduly burdensome to the extent it seeks information not
            4    related Viant’s OPR pricing for intensive outpatient programs. UBH also objects to this Request on
            5    the grounds that it seeks information which is subject to a claim of privilege or which is otherwise
            6    protected from disclosure by, including without limitation, the attorney-client privilege or the
            7    attorney work product doctrine. UBH also objects to the extent this Request seeks documents outside
            8    the time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            9    REQUEST NO. 133:
          10            Produce a report showing all actions taken by United relating to the collection of ESI and
          11     documents responsive to Plaintiffs’ requests contained herein.
          12     RESPONSE TO REQUEST NO. 133:
          13            UBH hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          15     outside its possession, custody, and control, to the extent that this Request seeks information from a
          16     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          17     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          18     to the discovery of admissible evidence, to the extent it seeks information about claims other than
          19     out-of-network claims for intensive outpatient programs for which reimbursement rates were
          20     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          21     unduly burdensome. By way of example only, this Request is overly broad and unduly burdensome
          22     to the extent it purports to require UBH to produce a “report” specifically for this litigation beyond
          23     what is required by the Federal Rules. UBH further objects to this Request as vague and ambiguous,
          24     particularly with respect to the phrase “all actions taken.” UBH further objects to this Request on the
          25     grounds that it seeks information which is subject to a claim of privilege or which is otherwise
          26     protected from disclosure by, including without limitation, the attorney-client privilege or the
          27     attorney work product doctrine.
          28

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            3    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            4    provided.
            5    REQUEST NO. 134:
            6           Produce a report showing all procedures, software, and search terms used to filter or cull ESI
            7    for production to Plaintiffs.
            8    RESPONSE TO REQUEST NO. 134:
            9           UBH hereby incorporates its General Objections and Objections to Definitions and
          10     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          11     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          12     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          13     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          14     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          15     unduly burdensome. By way of example only, this Request is overly broad and unduly burdensome
          16     to the extent it purports to require UBH to produce a “report” specifically for this litigation beyond
          17     what is required by the Federal Rules. UBH further objects to this Request on the grounds that it
          18     seeks information which is subject to a claim of privilege or which is otherwise protected from
          19     disclosure by, including without limitation, the attorney-client privilege or the attorney work product
          20     doctrine.
          21            Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          23     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          24     provided.
          25     REQUEST NO. 135:
          26            Produce a report showing all databases and other systems used to produce the information
          27     requested herein.
          28     RESPONSE TO REQUEST NO. 135:

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            1             UBH hereby incorporates its General Objections and Objections to Definitions and
            2    Instructions in their entirety into this response. UBH objects to this Request on the ground that it
            3    seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
            4    lead to the discovery of admissible evidence, to the extent it seeks information about claims other
            5    than out-of-network claims for intensive outpatient programs for which reimbursement rates were
            6    calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
            7    unduly burdensome. By way of example only, this Request is overly broad and unduly burdensome
            8    to the extent it purports to require UBH to produce a “report” specifically for this litigation
            9    containing “all” databases and systems within a broadly-defined category and beyond what is
          10     required by the Federal Rules. UBH also objects to this Request on the grounds that it seeks
          11     information which is subject to a claim of privilege or which is otherwise protected from disclosure
          12     by, including without limitation, the attorney-client privilege or the attorney work product doctrine.
          13              Subject to and without waiving the General Objections, the Objections to Definitions and
          14     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
          15     what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
          16     provided.
          17     REQUEST NO. 136:
          18              Produce any and all ESI or event data records that involves the Plaintiffs or their healthcare
          19     providers including:
          20              a.     Email communications;
          21              b.     Computer applications or programs such as customer order forms or customer service
          22     forms;
          23              c.     Instant messaging;
          24              d.     Short Message Service (SMS) systems;
          25              e.     Work phone, home phone, cell phone, or pager records;
          26              f.     Voicemail systems;
          27              g.     IVR systems and recordings therefrom;
          28              h.     Any data reflecting Plaintiffs’ claims;

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            1           i.      Any data reflecting claims submission from United;
            2           j.      Word processing systems, spreadsheet, and database systems;
            3           k.      System history files;
            4           1.      Claims tracking databases;
            5           m.      E-mail tracking databases;
            6           n.      Member databases;
            7           o.      Calendar systems;
            8           p.      Intranet systems used or accessed that relate to MultiPlan;
            9    RESPONSE TO REQUEST NO. 136:
          10            UBH hereby incorporates its General Objections and Objections to Definitions and
          11     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          12     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          13     lead to the discovery of admissible evidence, to the extent it seeks information about claims other
          14     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          15     calculated using Viant’s OPR product. By way of example only, this requests seeks information and
          16     documents that involves Plaintiffs’ healthcare providers but this Action concerns claims brought by
          17     members and the related Provider action brought by Summit Estate was dismissed by the Court.
          18     UBH further objects to this Request as overly broad and unduly burdensome on the ground that it
          19     seeks “any and all ESI or event data records” and to the extent the Request is not limited to
          20     documents related to Viant’s OPR pricing for intensive outpatient programs. UBH objects to this
          21     Request to the extent it is duplicative of Request No. 134 and other Requests. UBH also objects to
          22     this Request on the grounds that it seeks information which is subject to a claim of privilege or which
          23     is otherwise protected from disclosure by, including without limitation, the attorney-client privilege
          24     or the attorney work product doctrine. UBH further objects to this Request to the extent it seeks
          25     information outside of UBH’s possession, custody, and control, including but not limited to any
          26     documents that may be in the possession of MultiPlan but not UBH.
          27            Subject to and without waiving the General Objections, the Objections to Definitions and
          28     Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss

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            1    what documents Plaintiffs seek through this Request and to develop a reasonable search protocol to
            2    identify non-privileged documents in its possession, custody, and control that are responsive to this
            3    Request.
            4    REQUEST NO. 137:
            5            Any and all documents relating to the retention, collection, and production of documents
            6    (electronic and physical) related to Plaintiffs’ litigation:
            7            a.      Scope of the Litigation hold;
            8            b.      Steps taken by United to advise their employees, including, but not limited to, “Key
            9    Custodians” with respect to the facts underlying the litigation, and information systems personnel, of
          10     the substantive principles governing
          11             c.      Collection of ESI and documents responsive to Plaintiffs’ document requests;
          12             d.      Procedures, software, and search terms used to filter or cull ESI for production to
          13     Plaintiffs;
          14             e.      Databases used to produce the information demanded by Plaintiffs’ Discovery
          15     Demands;
          16             f.      United’s archival and backup systems, including those onsite, offsite and maintained
          17     by third party vendors;
          18             g.      United’s document retention policies.
          19     RESPONSE TO REQUEST NO. 137:
          20             UBH hereby incorporates its General Objections and Objections to Definitions and
          21     Instructions in their entirety into this response. UBH objects to this Request as seeking information
          22     outside its possession, custody, and control, to the extent that this Request seeks information from a
          23     “United” entity other than UBH. UBH further objects to this Request on the ground that it seeks
          24     information not relevant to the claims or defenses of any party and not reasonably calculated to lead
          25     to the discovery of admissible evidence, in that it appears to seek information beyond the Viant OPR
          26     data used to price IOP services that Plaintiffs challenge in this case. UBH further objects to this
          27     Request as overly broad and unduly burdensome on the ground that it seeks “any and all documents”
          28     and to the extent the Request is not limited to documents related to Viant’s OPR pricing for intensive

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            1    outpatient programs. UBH objects to this Request on the grounds that it seeks information which is
            2    subject to a claim of privilege or which is otherwise protected from disclosure by, including without
            3    limitation, the attorney-client privilege or the attorney work product doctrine.
            4           Subject to and without waiving the General Objections, the Objections to Definitions and
            5    Instructions, or the foregoing specific objections, UBH will meet and confer with Plaintiffs to discuss
            6    what documents Plaintiffs seek through this Request and what documents, if any, can reasonably be
            7    provided.
            8

            9    Dated: August 27, 2021
          10                                                   GIBSON, DUNN & CRUTCHER LLP
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          12                                                   By: /s/ Geoffrey M. Sigler
                                                                   Geoffrey Sigler (admitted pro hac vice)
          13                                                       Lauren M. Blas
                                                                   Nicole R. Matthews
          14
                                                               Attorney for Defendant UNITED BEHAVIORAL
          15                                                   HEALTH
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                   DEFENDANT UNITED BEHAVIORAL HEALTH’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ FIRST
                                 SET OF REQUESTS FOR PRODUCTION – CASE NO. 4:20-CV-02254
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            1                                      CERTIFICATE OF SERVICE
            2           I, hereby certify that on this 27th day of August 2021, pursuant to an agreement of the parties
                 dated April 23, 2021, a copy of the foregoing was served via email to the following:
            3

            4           Matthew M. Lavin, Esq. (pro hac vice)
                        Aaron Richard Modiano (pro hac vice)
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                        Los Angeles, CA 90045
            7           MLavin@napolilaw.com
                        amodiano@napolilaw.com
            8
                        David M. Lilienstein
            9           Katie J. Spielman
          10            DL Law Group
                        345 Franklin St.
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                        david@dllawgroup.com
          12            katie@dllawgroup.com
          13

          14                                                  /s/ Geoffrey M. Sigler
                                                                              Geoffrey M. Sigler
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          10     Attorneys for Defendant
                 UNITED BEHAVIORAL HEALTH
          11
                                                 UNITED STATES DISTRICT COURT
          12
                                              NORTHERN DISTRICT OF CALIFORNIA
          13
                                                         OAKLAND DIVISION
          14
                 LD, DB, BW, RH and CJ, on behalf of              CASE NO. 4:20-cv-02254
          15     themselves and all others similarly situated,
                                                                  DEFENDANT UNITED BEHAVIORAL
          16                            Plaintiffs,               HEALTH’S RESPONSES AND
                                                                  OBJECTIONS TO PLAINTIFFS’ SECOND
          17            v.                                        SET OF REQUESTS FOR PRODUCTION
          18     UNITED BEHAVIORAL HEALTH, a
                 California Corporation, and MULTIPLAN
          19     INC., a New York corporation,
          20                            Defendants.
          21

          22     PROPOUNDING PARTY:                    LD, DB, BW, RH and CJ

          23     RESPONDING PARTY:                     UNITED BEHAVIORAL HEALTH

          24     SET NUMBER:                           Two

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            1                                       PRELIMINARY STATEMENT
            2           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Civil Rules
            3    for the United States District Court for the Northern District of California, Defendant United
            4    Behavioral Health (“UBH”) responds to Plaintiffs’ Second Set of Requests for Production of
            5    Documents (the “Requests” and each individual “Request”). Pursuant to Federal Rule of Civil
            6    Procedure 34(b)(2)(B), UBH will continue the rolling production of documents UBH has agreed to
            7    produce, as described in the responses below. However, meeting this target will depend on prompt
            8    and reasonable resolution of the objections and other issues set out below, through a meet-and-confer
            9    that should be scheduled shortly after Plaintiffs’ counsel have had an opportunity to review these
          10     responses. UBH reserves the right to amend, supplement, and correct its objections or responses as
          11     necessary.
          12                                           GENERAL OBJECTIONS
          13            1.      UBH objects to each and every Request, Definition, and Instruction to the extent it
          14     purports to impose obligations on UBH greater than or beyond those required under the Federal Rules
          15     of Civil Procedure (“Federal Rules”), and the Local Civil Rules of the United States District Court for
          16     the Northern District of California (“Local Rules”), or the Parties’ anticipated ESI Protocol.
          17            2.      UBH objects to each and every Request, Definition, and Instruction as overly broad to
          18     the extent it seeks discovery on merits issues outside the scope of the administrative record for the
          19     claims at issue in this case. Plaintiffs’ case involves claims for benefits under ERISA, and therefore
          20     discovery should generally be limited to the administrative record for the claims at issue. See
          21     Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).
          22            3.      UBH objects to each and every Request, Definition, and Instruction to the extent that
          23     it seeks information that is exempt from discovery and protected from disclosure by the attorney-
          24     client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
          25     applicable privilege, doctrine, or protection.
          26            4.      UBH objects to each and every Request, Definition, and Instruction as overly broad to
          27     the extent it seeks information not relevant to the claims or defenses of any party, or information
          28     disproportionate to the needs of the case and of such marginal relevance that its probative value is

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            1    substantially outweighed by the burden imposed on UBH in having to search for and provide such
            2    information.
            3           5.      UBH objects to each and every Request, Definition, and Instruction to the extent that
            4    it seeks proprietary or other confidential information. To the extent any confidential health
            5    information or other sensitive or protected business information is non-privileged and responsive to
            6    the Requests for Production of Documents and not otherwise objectionable, UBH will provide such
            7    information pursuant to the protections stipulated in the Parties’ protective order and in accordance
            8    with such other procedures as the Parties or Court may establish to protect sensitive or confidential
            9    information. UBH also reserves the right to redact discrete categories of especially sensitive
          10     information that are not directly relevant to the issues in this case.
          11            6.      UBH objects to each and every Request, Definition, and Instruction to the extent that
          12     the documents requested are already in Plaintiffs’ possession or are available to Plaintiffs from
          13     another source that is more convenient, less burdensome, or less expensive.
          14            7.      UBH objects to each and every Request, Definition, and Instruction to the extent it
          15     calls for production of documents or electronic information that would be unduly burdensome.
          16            8.      UBH objects to each and every Request, Definition, and Instruction to the extent it
          17     calls for production of electronic information that is not reasonably accessible, including any
          18     archived data or backup tapes that would be unduly burdensome to search or restore.
          19            9.      UBH objects to each and every Request, Definition, and Instruction to the extent that
          20     it implicates the privacy interests of third parties established by law, contract, or custom. This
          21     includes, but is not limited to, information covered by the Health Insurance Portability and
          22     Accountability Act, and in particular sensitive health information regarding the mental health and
          23     substance abuse conditions and treatments of participants and beneficiaries who are not named
          24     Plaintiffs in this case. To the extent any confidential health information is non-privileged and
          25     responsive to the Requests and not otherwise objectionable, UBH will provide such documents and
          26     information pursuant to the Protective Order, and reserves the right to redact identifiers and other
          27     patient-specific information as well.
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            1           10.     UBH objects to each and every Request, Definition, and Instruction to the extent that
            2    it seeks documents outside of UBH’s possession, custody, and control, including to the extent any
            3    Requests seek information from a “United” entity other than UBH.
            4           11.     Nothing contained herein or provided in response to the Requests consists of, or
            5    should be construed as, an admission relating to the accuracy, relevance, existence, or nonexistence
            6    of any alleged facts or information referenced in any Requests. By indicating that it will produce
            7    non-objectionable, non-privileged responsive documents, UBH does not make a representation that
            8    such documents exist or are in UBH’s possession, but only that UBH will conduct the reasonable
            9    searches indicated for the documents sought.
          10            12.     UBH objects to each and every Request, Definition, and Instruction to the extent that
          11     it seeks documents outside of the relevant scope of discovery and statute of limitations for this case
          12     which is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims. See
          13     Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238 F.3d
          14     1006, 1108 (9th Cir. 2001). In the event that UBH agrees to produce documents outside of the April
          15     2, 2016 to present timeframe—the governing statute of limitations in this case—such agreement
          16     should be deemed limited to that specific Request and is not to be construed as a waiver or admission
          17     of any kind.
          18            13.     UBH objects to each and every Request, Definition, and Instruction to the extent that
          19     it is overly broad, unduly burdensome, and imposes substantial, unjustifiable, and significant
          20     discovery costs and search burdens on UBH.
          21            14.     Inadvertent production or identification of documents or communications that are
          22     privileged or otherwise immune from discovery shall not constitute a waiver of any such claim with
          23     respect to the disclosed documents or communications or any other documents or communications or
          24     of the right of UBH to object to the use of any such documents or the subject matter thereof during
          25     subsequent proceedings. In the event of inadvertent disclosure of such documents, Plaintiff will
          26     return the documents to UBH and will be precluded from disclosing or relying upon such documents
          27     in any way.
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            1            15.    All the General Objections contained herein and Objections to Definitions and
            2    Instructions are expressly incorporated into each of the responses set forth below.
            3                                     OBJECTIONS TO DEFINITIONS
            4            1.     UBH objects to Plaintiffs’ definition of “United” (as well as “You” and “Your”) on
            5    the ground that it is vague, ambiguous, overly broad and unduly burdensome. In particular, Plaintiffs
            6    purport to sweep in various distinct persons and entities through this definition who are not proper
            7    parties to this case and not properly subject to discovery. UBH will respond to these Requests for
            8    Production of Documents on behalf of United Behavioral Health, which is the named defendant in
            9    this case.
          10             2.     UBH objects to Plaintiffs’ definition of “person” on the ground that it is overly broad
          11     and unduly burdensome. In particular, Plaintiffs purport to sweep in various distinct persons and
          12     entities through this definition who are not proper parties to this case and not properly subject to
          13     discovery. UBH will respond to these Requests for Production of Documents on behalf of United
          14     Behavioral Health, which is the named defendant in this case.
          15             3.     UBH objects to Plaintiffs’ definition of “Complaint” on the ground that there is a new
          16     operative complaint in this action—the Third Amended Complaint (“TAC”) filed on September 10,
          17     2021 (Dkt. 91). UBH will interpret this definition as referring to the TAC.
          18             4.     UBH objects to Plaintiffs’ definition of “document(s)” to the extent that it seeks to
          19     impose obligations on UBH beyond those required by the Federal rules. UBH further objects to this
          20     definition to the extent it calls for production of electronic information that is not reasonably
          21     accessible, including any archived data or backup tapes that would be unduly burdensome to search
          22     or restore. UBH will use the definition of “documents” set out in Federal Rule 34.
          23                                     OBJECTIONS TO INSTRUCTIONS
          24             1.     UBH objects to Plaintiffs’ failure to number the Instructions. For purposes of clarity
          25     in responding and objecting to Plaintiffs’ Instructions, UBH has assigned a number to each
          26     Instruction based on the Instruction’s paragraph break.
          27             2.     UBH objects to Plaintiffs’ Instruction 1 as vague, ambiguous, and unduly burdensome
          28     because it calls for the production of documents within Plaintiffs’ possession, and not Defendant

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            1    UBH. UBH will interpret this Instruction as referring to documents in UBH’s possession and not
            2    documents in Plaintiffs’ possession. UBH further objects to Plaintiffs’ Instruction 1 to the extent it
            3    seeks documents that are exempt from discovery and protected from disclosure by the attorney-client
            4    privilege, the attorney work-product doctrine, confidentiality agreements, or any other applicable
            5    privilege, doctrine or protection.
            6               3.   UBH objects to Plaintiffs’ Instruction 2 that “these requests refer to the time, place,
            7    and circumstances of the occurrence described in the Complaint” to the extent that this Instruction
            8    includes periods outside the relevant scope of discovery and statute of limitations for this case which,
            9    unless otherwise noted in the specific responses below, is four years for Plaintiffs’ ERISA claims and
          10     four years for Plaintiffs’ RICO claims. See Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir.
          11     2011); see also Pincay v. Andrews, 238 F.3d 1006, 1108 (9th Cir. 2001). UBH also objects to
          12     Plaintiffs’ Instruction 2 to the extent it seeks documents and information irrelevant to the claims at
          13     issue in the Complaint, including to the extent it seeks documents and information irrelevant to IOP
          14     services. Plaintiffs’ Complaint alleges that Defendants “den[ied] proper payment for the IOP
          15     treatment services that Plaintiffs received” and “under-reimburse[d] Plaintiffs’ claims for medically
          16     necessary IOP services provided to them.” See, e.g., TAC ¶¶ 4, 28; see also id. ¶¶ 447–48 (noting
          17     that the alleged harm is limited to “underpa[yment]” of the “IOP claims of the Plaintiffs and the
          18     class”).
          19                4.   UBH objects to Plaintiffs’ Instruction 5 that each request “refer to all documents that
          20     are either known by Defendant to exist or that can be located or discovered by reasonably diligent
          21     efforts of the Defendant” to the extent that this Instruction seeks to impose obligations on UBH
          22     beyond those required by the Federal Rules. UBH further objects to Instruction 5 to the extent it calls
          23     for the production of information outside of UBH’s possession, custody, and control and includes
          24     documents that may already be in Plaintiffs’ possession or are available to Plaintiffs from another
          25     source that is more convenient, less burdensome, or less expensive.
          26                5.   UBH objects to Plaintiffs’ Instruction 6 that each request be deemed “continuing,” on
          27     the ground that such obligation would be unduly burdensome given the broad scope and number of
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            1    the requests. UBH further objects to Instruction 6 as vague, ambiguous, and nonsensical on the
            2    ground that this Instruction purports to require UBH to “seasonably supplement the production.”
            3             6.    UBH objects to Plaintiffs’ Instruction 8 to the extent it purports to confer obligations
            4    on UBH beyond what the Parties have agreed to in their ESI protocol (e.g. subpart (a)). UBH further
            5    objects to Instruction 8 to the extent that this Instruction seeks to impose obligations on UBH beyond
            6    those required by the Federal Rules.
            7             7.    UBH objects to Plaintiffs’ Instruction 9 to the extent it purports to confer obligations
            8    beyond what the Parties have agreed to in their ESI protocol (e.g. subparts (a) and (b)). By way of
            9    example only, the Parties’ ESI protocol does not reference or call for the maintenance of an “online
          10     repository . . . maintained by an independent vendor.” UBH further objects to Instruction 9 to the
          11     extent that this Instruction seeks to impose obligations on UBH beyond those required by the Federal
          12     Rules.
          13              8.    UBH objects to Plaintiffs’ Instruction 10 to the extent it purports to confer obligations
          14     beyond what the Parties have agreed to in their ESI protocol. By way of example only, there is no
          15     reference to requirements for hard copy productions in the ESI protocol. UBH further objects to
          16     Instruction 10 to the extent that this Instruction seeks to impose obligations on UBH beyond those
          17     required by the Federal Rules.
          18              9.    UBH objects to Plaintiffs’ Instruction 11 to the extent it purports to confer obligations
          19     on UBH beyond what the Parties have agreed to in their ESI protocol (e.g., subpart (1)(b)(5)). UBH
          20     further objects to Instruction 11 to the extent that this Instruction seeks to impose obligations on UBH
          21     beyond those required by the Federal Rules.
          22              10.   UBH objects to Plaintiffs’ Instruction 12 to the extent it purports to confer obligations
          23     on UBH beyond what the Parties have agreed to in their ESI protocol. By way of example only, the
          24     Instruction purports to require UBH to “identif[y]” and “enter[] separately” attachments to a
          25     document, but the Parties’ ESI protocol states that “[a]ttachments to privileged email messages do not
          26     need to be identified on the Privilege Log separately from, or in addition to the privilege email.”
          27     UBH further objects to Instruction 12 to the extent that this Instruction seeks to impose obligations on
          28     UBH beyond those required by the Federal Rules.

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            1             11.     UBH objects to Plaintiffs’ Instruction 13 to the extent that this Instruction seeks to
            2    impose obligations on UBH beyond those required by the Federal Rules. UBH further objects to
            3    Instruction 13 to the extent the Instruction calls for the information exempt from discovery and
            4    protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,
            5    confidentiality agreements, or any other applicable privilege, doctrine or protection
            6             12.     UBH objects to Plaintiffs’ Instruction 14 to the extent that this Instruction seeks to
            7    impose obligations on UBH beyond those required by the Federal Rules, including to the extent it
            8    purports to require UBH to “ventur[e] beyond the parties to the litigation and include non-parties.”
            9    UBH further objects to Instruction 14 to the extent the Instruction calls for the information exempt
          10     from discovery and protected from disclosure by the attorney-client privilege, the attorney work-
          11     product doctrine, confidentiality agreements, or any other applicable privilege, doctrine or protection.
          12              13.     UBH objects to Plaintiffs’ Instruction 15 that “any objections as to an alleged burden
          13     shall clearly set out the nature of the alleged burden by affidavit or other reliable evidence” to the
          14     extent that this Instruction seeks to impose obligations on UBH beyond those required by the Federal
          15     Rules.
          16              14.     UBH objects to Plaintiffs’ Instruction 16 to the extent it requires UBH to “set forth . . .
          17     the interpretation that [it] [has] chosen to use in responding to the request.” Where a request is
          18     ambiguous UBH will provide its interpretation to the extent possible, and otherwise reserves the right
          19     to meet and confer.
          20              15.     UBH objects to Plaintiffs’ Instruction 17 that each request be deemed “continuing in
          21     nature” on the ground that such obligation would be unduly burdensome given the broad scope and
          22     number of the requests. UBH further objects to Instruction 17 to the extent it is duplicative of
          23     Instruction 6.
          24          SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
          25     REQUEST NO. 1:
          26              For the period of January 1, 2015 to present, for those United members and/or beneficiaries
          27     who had a claim submitted by United or any of its affiliates to MultiPlan, for HCPCS Code H0015,
          28     S9480, and/or Revenue Codes 0905/0906, for those claims for which MultiPlan returned a price to

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            1    United that was calculated by MultiPlan using its Viant OPR methodology, for those members and/or
            2    beneficiaries contained in the aforementioned set; for the three months preceding the initial date of
            3    service for each of those member’s Viant priced claims, all claims submitted by or on behalf of those
            4    members to United that include any of the following: Revenue Code 0126, 1002, 0913, 0912;
            5    HCPCS H0010, H0012, H0018, H0019, H2036, S0201 1, produce a spreadsheet report containing:
            6               •   The Claim number
            7               •   The Bill Type (HCFA UB, and Bill Type Code, 131, 111 etc.)
            8               •   Service Dates (to and from)
            9               •   Service zip code
          10                •   Provider Name, address, and TIN
          11                •   Total Charge and Line Data submitted by the Provider
          12                •   Line Number
          13                •   Line Charge
          14                •   Revenue Code
          15                •   Units
          16                •   HCPCS/CPT Codes
          17                •   Any and all Modifiers
          18                •   Any line exclude amounts
          19                •   Any non-covered amounts
          20                •   Any indicators denoting exclusion in whole or in part
          21                •   Any line notes indicating how the line was handled
          22                •   Any diagnosis codes and procedure codes on the claim (e.g. ICD10 codes).
          23                •   Please indicate any edits taken to reduce the claim, any CCI edits, Proprietary edits,
          24                    and/or unit reductions.
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                      Revenue Code 0126 and HCPCS H0010/H0012 represent Detox treatment. Revenue Code 1002
          28          and HCPCS H0018/H0019 represent Residential treatment. Revenue Codes 0912/0913 and
                      HCPCS H2036/S0201 represent Partial Hospitalization treatment.
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            1               •   Identification of the methodology used to price the claim (e.g., Billed Charges, third-
            2                   party network agreement, Viant, Data iSight, Negotiation, % of CMS, or other method
            3                   or tool).
            4               •   The entity that applied the pricing methodology (e.g United, MultiPlan, Zelis or other)
            5               •   The allowed amount for each claim
            6               •   Any “Savings Amount” taken by United off of the provider’s billed charges.
            7               •   Any Shared Savings Fees or other fees charged by United as part of an ASA / ASO or
            8                   other agreement.
            9               •   The date the date and amounts withdrawn from each ERISA plan’s trust account
          10                    associated with the above claims.
          11                •   Any other factors applied to the final price such as Override, Caps, Benchmark Pricing,
          12                    Target Pricing, or Amount Change on Appeal.
          13                •   The Fair Health usual and customary benchmark amount for the same time period at the
          14                    70th and 80th percentile for each claim responsive to this request.
          15                •   Whether any appeals were made as to those claims.
          16                •   The additional amount, if any, paid following appeals.
          17                •   The final allowed amount.
          18     RESPONSE TO REQUEST NO. 1:
          19            UBH hereby incorporates its General Objections and Objections to Definitions and
          20     Instructions in their entirety into this response. UBH objects to this Request on the ground that it
          21     seeks information not relevant to the claims or defenses of any party and not reasonably calculated to
          22     lead to the discovery of admissible evidence, and to the extent it seeks information about claims other
          23     than out-of-network claims for intensive outpatient programs for which reimbursement rates were
          24     calculated using Viant’s OPR product. UBH further objects to this Request as overly broad and
          25     unduly burdensome. By way of example only, this Request is overly broad and unduly burdensome
          26     to the extent it purports to require UBH to “produce” a “spreadsheet report” specifically for this
          27     litigation containing “all” claims within a broadly-defined category that includes multiple codes,
          28     including HCPCS Code H2036, that have no apparent connection to the IOP services at issue in the

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            1    case. Assembling a three-month history for many thousands of claims would be incredibly
            2    burdensome and require extensive manual effort to match class member claims to three-month
            3    histories that are not in scope for the putative class. Additionally, as the Request acknowledges,
            4    Revenue Codes 0126, 1002, 0913, and 0912, and HCPCS H0010, H0012, H0018, H0019, and
            5    H2036, S0201, relate to other levels of care not involving the IOP services at issue in this case.
            6    Further, as framed the Request appears to seek detailed information about claims and payments not
            7    involving Viant’s OPR product. This Request also appears to seek numerous specific data fields that
            8    are not readily available in the relevant systems of UBH, and that do not appear to be relevant to the
            9    issues in this case. UBH also objects to the extent this Request seeks documents outside the time
          10     period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          11            Subject to and without waiving the General Objections, the Objections to Definitions and
          12     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will continue to
          13     meet and confer with Plaintiffs regarding the parameters of a claims data summary for the putative
          14     class members’ claims involving IOP services priced using Viant’s OPR data that can be reasonably
          15     be produced by UBH to satisfy this request.
          16     REQUEST NO. 2:
          17            Please produce any and all documents supporting your contention in Paragraph 1 of your
          18     Answer wherein You stated United “denies any alleged scheme to underpay valid, medically
          19     necessary claims; denies Plaintiffs suffered any legally compensable injury; and denies that
          20     Plaintiffs’ claims can be properly pursued as a class action as alleged in Paragraph 1.”.
          21     RESPONSE TO REQUEST NO. 2:
          22            UBH hereby incorporates its General Objections and Objections to Definitions and
          23     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          24     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          25     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          26     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          27     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          28     privilege or the attorney work product doctrine.

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            1            Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            3    produce, if it has not already done so or if such documents have not already been produced by other
            4    parties or third parties, any responsive, non-privileged documents sufficient to support the contention
            5    listed in this Request.
            6    REQUEST NO. 3:
            7            Please produce any and all documents supporting your contention in Paragraph 95 of your
            8    Answer wherein You stated that United “denies that it transitioned to ASAM following a ruling in the
            9    Wit litigation that previous guidelines were “illegal.””
          10     RESPONSE TO REQUEST NO. 3:
          11             UBH hereby incorporates its General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          13     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          14     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          15     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          16     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          17     privilege or the attorney work product doctrine.
          18             Subject to and without waiving the General Objections, the Objections to Definitions and
          19     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          20     produce, if it has not already done so or if such documents have not been produced be other parties or
          21     third parties, any responsive, non-privileged documents sufficient to support the contention listed in
          22     this Request.
          23     REQUEST NO. 4:
          24             Please produce any and all documents supporting your contention in Paragraph 491 of your
          25     Answer wherein You stated “UBH denies that Plaintiffs or any putative class is entitled to any of the
          26     relief requested.”
          27

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            1    RESPONSE TO REQUEST NO. 4:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the contention
          13     listed in this Request.
          14     REQUEST NO. 5:
          15             Please produce any and all documents supporting your contention in Paragraph 491 of your
          16     Answer wherein You stated “UBH denies that Plaintiffs or any putative class is entitled to any of the
          17     relief requested.”
          18     RESPONSE TO REQUEST NO. 5:
          19             UBH hereby incorporates its General Objections and Objections to Definitions and
          20     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          21     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          22     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          23     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          24     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          25     privilege or the attorney work product doctrine. UBH further objects that this Request is identical to
          26     Request No. 4.
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            1    REQUEST NO. 6:
            2            Please produce any and all documents supporting your contention in Paragraph 492 of your
            3    Answer wherein You stated “UBH denies that Plaintiffs are entitled to any of the relief requested.”
            4    RESPONSE TO REQUEST NO. 6:
            5            UBH hereby incorporates its General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            7    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            8    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            9    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          10     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          11     privilege or the attorney work product doctrine.
          12             Subject to and without waiving the General Objections, the Objections to Definitions and
          13     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          14     produce, if it has not already done so or if such documents have not already been produced by other
          15     parties or third parties, any responsive, non-privileged documents sufficient to support the contention
          16     listed in this Request.
          17     REQUEST NO. 7:
          18             Please produce any and all documents supporting your First Affirmative Defense (Statutory
          19     Compliance).
          20     RESPONSE TO REQUEST NO. 7:
          21             UBH hereby incorporates its General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          23     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          24     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          25     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          26     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          27     privilege or the attorney work product doctrine.
          28

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            1            Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            3    produce, if it has not already done so or if such documents have not already been produced by other
            4    parties or third parties, any responsive and non-privileged documents sufficient to support the defense
            5    listed in this Request.
            6    REQUEST NO. 8:
            7            Please produce any and all documents supporting your Second Affirmative Defense (Full
            8    Contractual Performance).
            9    RESPONSE TO REQUEST NO. 8:
          10             UBH hereby incorporates its General Objections and Objections to Definitions and
          11     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          12     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          13     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          14     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          15     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          16     privilege or the attorney work product doctrine.
          17             Subject to and without waiving the General Objections, the Objections to Definitions and
          18     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          19     produce, if it has not already done so or if such documents have not already been produced by other
          20     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          21     listed in this Request.
          22     REQUEST NO. 9:
          23             Please produce any and all documents supporting your Third Affirmative Defense (Lack of
          24     Article III Standing).
          25     RESPONSE TO REQUEST NO. 9:
          26             UBH hereby incorporates its General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          28     that it is premature at this early phase in the case. UBH further objects to this Request as overly

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            1    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            2    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            3    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            4    privilege or the attorney work product doctrine.
            5            Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            7    produce, if it has not already done so or if such documents have not already been produced by other
            8    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            9    listed in this Request.
          10     REQUEST NO. 10:
          11             Please produce any and all documents supporting your Fourth Affirmative Defense (Redress).
          12     RESPONSE TO REQUEST NO. 10:
          13             UBH hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          15     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          16     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          17     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          18     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          19     privilege or the attorney work product doctrine.
          20             Subject to and without waiving the General Objections, the Objections to Definitions and
          21     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          22     produce, if it has not already done so or if such documents have not already been produced by other
          23     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          24     listed in this Request.
          25     REQUEST NO. 11:
          26             Please produce any and all documents supporting your Fifth Affirmative Defense (Improper
          27     Defendant).
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            1    RESPONSE TO REQUEST NO. 11:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 12:
          15             Please produce any and all documents supporting your Sixth Affirmative Defense (UBH as
          16     Distinct Entity).
          17     RESPONSE TO REQUEST NO. 12:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
          28

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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 13:
            4            Please produce any and all documents supporting your Seventh Affirmative Defense
            5    (Exclusive Remedies - ERISA).
            6    RESPONSE TO REQUEST NO. 13:
            7            UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UBH further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 14:
          20             Please produce any and all documents supporting your Eighth Affirmative Defense (No
          21     Fiduciary Duty).
          22     RESPONSE TO REQUEST NO. 14:
          23             UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          28

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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 15:
            9            Please produce any and all documents supporting your Ninth Affirmative Defense
          10     (Comparative Fault of Third Parties/No Vicarious Liability).
          11     RESPONSE TO REQUEST NO. 15:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 16:
          25             Please produce any and all documents supporting your Tenth Affirmative Defense (Lack of
          26     Causation).
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            1    RESPONSE TO REQUEST NO. 16:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 17:
          15             Please produce any and all documents supporting your Eleventh Affirmative Defense
          16     (Fraud/Improper Conduct by Third Parties).
          17     RESPONSE TO REQUEST NO. 17:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 18:
            4            Please produce any and all documents supporting your Twelfth Affirmative Defense
            5    (Assignment).
            6    RESPONSE TO REQUEST NO. 18:
            7            UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UBH further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 19:
          20             Please produce any and all documents supporting your Thirteenth Affirmative Defense
          21     (Breach of Contract/Failure to Perform).
          22     RESPONSE TO REQUEST NO. 19:
          23             UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          28

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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 20:
            9            Please produce any and all documents supporting your Fourteenth Affirmative Defense (No
          10     Exhaustion).
          11     RESPONSE TO REQUEST NO. 20:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 21:
          25             Please produce any and all documents supporting your Fifteenth Affirmative Defense (Set-
          26     Off).
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            1    RESPONSE TO REQUEST NO. 21:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 22:
          15             Please produce any and all documents supporting your Sixteenth Affirmative Defense (Claims
          16     Barred by the Statute of Limitations).
          17     RESPONSE TO REQUEST NO. 22:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 23:
            4            Please produce any and all documents supporting your Seventeenth Affirmative Defense
            5    (Claims Barred by Contractual Limitations).
            6    RESPONSE TO REQUEST NO. 23:
            7            UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UBH further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 24:
          20             Please produce any and all documents supporting your Eighteenth Affirmative Defense
          21     (Equitable Doctrines).
          22     RESPONSE TO REQUEST NO. 24:
          23             UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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Crutcher LLP
                 DEFENDANT UNITED BEHAVIORAL HEALTH’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 25:
            9            Please produce any and all documents supporting your Nineteenth Affirmative Defense (No
          10     Reliance).
          11     RESPONSE TO REQUEST NO. 25:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 26:
          25             Please produce any and all documents supporting your Twentieth Affirmative Defense
          26     (Presumed Knowledge).
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            1    RESPONSE TO REQUEST NO. 26:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 27:
          15             Please produce any and all documents supporting your Twenty-First Affirmative Defense (No
          16     Scienter).
          17     RESPONSE TO REQUEST NO. 27:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 28:
            4            Please produce any and all documents supporting your Twenty-Second Affirmative Defense
            5    (No Duty to Disclose).
            6    RESPONSE TO REQUEST NO. 28:
            7            UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UBH further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 29:
          20             Please produce any and all documents supporting your Twenty-Third Affirmative Defense
          21     (No Primary Jurisdiction).
          22     RESPONSE TO REQUEST NO. 29:
          23             UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 30:
            9            Please produce any and all documents supporting your Twenty-Fourth Affirmative Defense
          10     (No Exclusive Jurisdiction).
          11     RESPONSE TO REQUEST NO. 30:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 31:
          25             Please produce any and all documents supporting your Twenty-Fifth Affirmative Defense
          26     (Filed Rate Doctrine).
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            1    RESPONSE TO REQUEST NO. 31:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 32:
          15             Please produce any and all documents supporting your Twenty-Sixth Affirmative Defense
          16     (Reverse Preemption McCarran-Ferguson Act).
          17     RESPONSE TO REQUEST NO. 32:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 33:
            4            Please produce any and all documents supporting your Twenty-Seventh Affirmative Defense
            5    (Release).
            6    RESPONSE TO REQUEST NO. 33:
            7            UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UBH further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 34:
          20             Please produce any and all documents supporting your Twenty-Eighth Affirmative Defense
          21     (Constitutional Defenses).
          22     RESPONSE TO REQUEST NO. 34:
          23             UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 35:
            9            Please produce any and all documents supporting your Twenty-Ninth Affirmative Defense
          10     (Failure to Mitigate).
          11     RESPONSE TO REQUEST NO. 35:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 36:
          25             Please produce any and all documents supporting your Thirtieth Affirmative Defense
          26     (Speculative Damages).
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            1    RESPONSE TO REQUEST NO. 36:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 37:
          15             Please produce any and all documents supporting your Thirty-First Affirmative Defense
          16     (Adequate Remedy at Law).
          17     RESPONSE TO REQUEST NO. 37:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
          28

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                 DEFENDANT UNITED BEHAVIORAL HEALTH’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 38:
            4            Please produce any and all documents supporting your Thirty-Second Affirmative Defense
            5    (No Imminent Harm).
            6    RESPONSE TO REQUEST NO. 38:
            7            UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UBH further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 39:
          20             Please produce any and all documents supporting your Thirty-Third Affirmative Defense (No
          21     Attorneys’ Fees).
          22     RESPONSE TO REQUEST NO. 39:
          23             UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 40:
            9            Please produce any and all documents supporting your Thirty-Fourth Affirmative Defense
          10     (Failure to Meet Particularity).
          11     RESPONSE TO REQUEST NO. 40:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 41:
          25             Please produce any and all documents supporting your Thirty-Fifth Affirmative Defense
          26     (Lack of Predicate Act).
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            1    RESPONSE TO REQUEST NO. 41:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 42:
          15             Please produce any and all documents supporting your Thirty-Sixth Affirmative Defense (No
          16     RICO Conspiracy).
          17     RESPONSE TO REQUEST NO. 42:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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                 DEFENDANT UNITED BEHAVIORAL HEALTH’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 43:
            4            Please produce any and all documents supporting your Thirty-Seventh Affirmative Defense
            5    (No RICO Enterprise).
            6    RESPONSE TO REQUEST NO. 43:
            7            UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UBH further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 44:
          20             Please produce any and all documents supporting your Thirty-Eighth Affirmative Defense
          21     (No RICO Statutory Standing).
          22     RESPONSE TO REQUEST NO. 44:
          23             UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 45:
            9            Please produce any and all documents supporting your Thirty-Ninth Affirmative Defense
          10     (Improperly Joined Plaintiffs).
          11     RESPONSE TO REQUEST NO. 45:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 46:
          25             Please produce any and all documents supporting your Fortieth Affirmative Defense (Class
          26     Requirements Not Met).
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            1    RESPONSE TO REQUEST NO. 46:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 47:
          15             Please produce any and all documents supporting your Forty-First Affirmative Defense
          16     (Improper Expansion of Rule 23).
          17     RESPONSE TO REQUEST NO. 47:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 48:
            4              Please produce any and all documents supporting your Forty-Second Affirmative Defense
            5    (Fourteenth Amendment).
            6    RESPONSE TO REQUEST NO. 48:
            7              UBH hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UBH further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14               Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request
          19     REQUEST NO. 49:
          20               Please produce any and all documents supporting your Forty-Third Affirmative Defense (Jury
          21     Trial).
          22     RESPONSE TO REQUEST NO. 49:
          23               UBH hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 50:
            9            Please produce any and all documents supporting your Forty-Fourth Affirmative Defense
          10     (Conflict of Interest).
          11     RESPONSE TO REQUEST NO. 50:
          12             UBH hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 51:
          25             Please produce any and all documents supporting your Forty-Fifth Affirmative Defense (Res
          26     Judicata and Collateral Estoppel).
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            1    RESPONSE TO REQUEST NO. 51:
            2            UBH hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UBH further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 52:
          15             Please produce any and all documents supporting your Forty-Sixth Affirmative Defense
          16     (Additional Defenses).
          17     RESPONSE TO REQUEST NO. 52:
          18             UBH hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UBH further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UBH further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UBH further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH responds as follows: UBH will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3

            4
                 Dated: September 27, 2021
            5
                                                              GIBSON, DUNN & CRUTCHER LLP
            6

            7
                                                              By: /s/ Geoffrey M. Sigler
            8                                                     Geoffrey Sigler (admitted pro hac vice)
                                                                  Lauren M. Blas
            9                                                     Nicole R. Matthews
          10                                                  Attorney for Defendant UNITED BEHAVIORAL
                                                              HEALTH
          11

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            1                                      CERTIFICATE OF SERVICE
            2            I, hereby certify that on this 27th day of September 2021, pursuant to an agreement of the
                 parties dated April 23, 2021, a copy of the foregoing was served via email to the following:
            3

            4           Matthew M. Lavin, Esq. (pro hac vice)
                        Aaron Richard Modiano (pro hac vice)
            5           ARNALL GOLDEN GREGORY LLP
            6           1775 Pennsylvania Ave. NW, Suite 1000
                        Washington, DC 2006
            7           matt.lavin@agg.com
                        aaron.modiano@agg.com
            8
                        David M. Lilienstein
            9           Katie J. Spielman
          10            DL Law Group
                        345 Franklin St.
          11            San Francisco, CA 94102
                        david@dllawgroup.com
          12            katie@dllawgroup.com
          13

          14                                                  /s/ Geoffrey M. Sigler
                                                                              Geoffrey M. Sigler
          15

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            1    LAUREN M. BLAS, SBN 296823
                   lblas@gibsondunn.com
            2    NICOLE R. MATTHEWS, SBN 328977
                   nmatthews@gibsondunn.com
            3    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            4    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            5    Facsimile: 213.229.7520
            6    GEOFFREY SIGLER,(admitted pro hac vice)
                   gsigler@gibsondunn.com
            7    GIBSON, DUNN & CRUTCHER LLP
                 1050 Connecticut Avenue, N.W.
            8    Washington, DC 20036-5306
                 Telephone: 202.955.8500
            9    Facsimile: 202.467.0539
          10     Attorneys for Defendant
                 UNITED BEHAVIORAL HEALTH and
          11     UNITED HEALTHCARE INSURANCE COMPANY
          12                                     UNITED STATES DISTRICT COURT

          13                                  NORTHERN DISTRICT OF CALIFORNIA

          14                                             OAKLAND DIVISION

          15     LD, DB, BW, RH and CJ, on behalf of               CASE NO. 4:20-cv-02254
                 themselves and all others similarly situated,
          16                                                       DEFENDANT UNITED BEHAVIORAL
                                        Plaintiffs,                HEALTH’S AND UNITED HEALTHCARE
          17                                                       INSURANCE COMPANY’S RESPONSES
                        v.                                         AND OBJECTIONS TO PLAINTIFF’S
          18                                                       THIRD SET OF REQUESTS FOR
                 UNITED HEALTHCARE INSURANCE                       PRODUCTION OF DOCUMENTS
          19     COMPANY, a Connecticut Corporation,
                 UNITED BEHAVIORAL HEALTH, a
          20     California Corporation, and MULTIPLAN
                 INC., a New York corporation,
          21
                                        Defendants.
          22

          23     PROPOUNDING PARTY:                    LD, DB, BW, RH and CJ

          24     RESPONDING PARTY:                     UNITED BEHAVIORAL HEALTH and UNITED
                                                       HEALTHCARE INSURANCE CO.
          25
                 SET NUMBER:                           Three (3)
          26

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            1                                       PRELIMINARY STATEMENT
            2           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Civil Rules
            3    for the United States District Court for the Northern District of California, Defendant United
            4    Behavioral Health (“UBH”) and United Healthcare Insurance Co. (“UHC”) respond to Plaintiffs’
            5    Third Set of Requests for Production of Documents (the “Requests” and each individual “Request”).
            6    Pursuant to Federal Rule of Civil Procedure 34(b)(2)(B), UBH and UHC will continue the rolling
            7    production of documents UBH and UHC have agreed to produce, as described in the responses
            8    below. However, meeting this target will depend on prompt and reasonable resolution of the
            9    objections and other issues set out below, through a meet-and-confer that should be scheduled shortly
          10     after Plaintiffs’ counsel have had an opportunity to review these responses. UBH and UHC reserve
          11     the right to amend, supplement, and correct its objections or responses as necessary. UBH and UHC
          12     further note that Plaintiffs have now served 282 requests for production on UBH and UHC.
          13                                           GENERAL OBJECTIONS
          14            1.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          15     extent it purports to impose obligations on UBH and UHC greater than or beyond those required
          16     under the Federal Rules of Civil Procedure (“Federal Rules”), and the Local Civil Rules of the United
          17     States District Court for the Northern District of California (“Local Rules”), or the Parties’
          18     anticipated ESI Protocol.
          19            2.      UBH and UHC object to each and every Request, Definition, and Instruction as overly
          20     broad to the extent it seeks discovery on merits issues outside the scope of the administrative record
          21     for the claims at issue in this case. Plaintiffs’ case involves claims for benefits under ERISA, and
          22     therefore discovery should generally be limited to the administrative record for the claims at issue.
          23     See Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).
          24            3.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          25     extent that it seeks information that is exempt from discovery and protected from disclosure by the
          26     attorney-client privilege, the attorney work-product doctrine, confidentiality agreements, or any other
          27     applicable privilege, doctrine, or protection.
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            1           4.      UBH and UHC object to each and every Request, Definition, and Instruction as overly
            2    broad to the extent it seeks information not relevant to the claims or defenses of any party, or
            3    information disproportionate to the needs of the case and of such marginal relevance that its probative
            4    value is substantially outweighed by the burden imposed on UBH and UHC in having to search for
            5    and provide such information.
            6           5.      UBH and UHC object to each and every Request, Definition, and Instruction to the
            7    extent that it seeks proprietary or other confidential information. To the extent any confidential
            8    health information or other sensitive or protected business information is non-privileged and
            9    responsive to the Requests for Production of Documents and not otherwise objectionable, UBH and
          10     UHC will provide such information pursuant to the protections stipulated in the Parties’ protective
          11     order and in accordance with such other procedures as the Parties or Court may establish to protect
          12     sensitive or confidential information. UBH and UHC also reserve the right to redact discrete
          13     categories of especially sensitive information that are not directly relevant to the issues in this case.
          14            6.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          15     extent that the documents requested are already in Plaintiffs’ possession or are available to Plaintiffs
          16     from another source that is more convenient, less burdensome, or less expensive.
          17            7.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          18     extent it calls for production of documents or electronic information that would be unduly
          19     burdensome.
          20            8.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          21     extent it calls for production of electronic information that is not reasonably accessible, including any
          22     archived data or backup tapes that would be unduly burdensome to search or restore.
          23            9.      UBH and UHC object to each and every Request, Definition, and Instruction to the
          24     extent that it implicates the privacy interests of third parties established by law, contract, or custom.
          25     This includes, but is not limited to, information covered by the Health Insurance Portability and
          26     Accountability Act, and in particular sensitive health information regarding the mental health and
          27     substance abuse conditions and treatments of participants and beneficiaries who are not named
          28     Plaintiffs in this case. To the extent any confidential health information is non-privileged and

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            1    responsive to the Requests and not otherwise objectionable, UBH and UHC will provide such
            2    documents and information pursuant to the Protective Order, and reserves the right to redact
            3    identifiers and other patient-specific information as well.
            4           10.     UBH and UHC object to each and every Request, Definition, and Instruction to the
            5    extent that it seeks documents outside of UBH’s and UHC’s respective possession, custody, and
            6    control, including to the extent any Requests seek information from a “United” entity other than UBH
            7    or UHC.
            8           11.     Nothing contained herein or provided in response to the Requests consists of, or
            9    should be construed as, an admission relating to the accuracy, relevance, existence, or nonexistence
          10     of any alleged facts or information referenced in any Requests. By indicating that they will produce
          11     non-objectionable, non-privileged responsive documents, UBH and UHC do not make a
          12     representation that such documents exist or are in UBH’s or UHC’s respective possession, but only
          13     that UBH and UHC will conduct the reasonable searches indicated for the documents sought.
          14            12.     UBH and UHC object to each and every Request, Definition, and Instruction to the
          15     extent that it seeks documents outside of the relevant scope of discovery and statute of limitations for
          16     this case which is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims.
          17     See Withrow v. Halsey, 655 F.3d 1032, 1035–36 (9th Cir. 2011); see also Pincay v. Andrews, 238
          18     F.3d 1006, 1108 (9th Cir. 2001). In the event that UBH and/or UHC agree to produce documents
          19     outside of the April 2, 2016 to present timeframe—the governing statute of limitations in this case—
          20     such agreement should be deemed limited to that specific Request and is not to be construed as a
          21     waiver or admission of any kind.
          22            13.     UBH and UHC object to each and every Request, Definition, and Instruction to the
          23     extent that it is overly broad, unduly burdensome, and imposes substantial, unjustifiable, and
          24     significant discovery costs and search burdens on UBH and UHC.
          25            14.     Inadvertent production or identification of documents or communications that are
          26     privileged or otherwise immune from discovery shall not constitute a waiver of any such claim with
          27     respect to the disclosed documents or communications or any other documents or communications or
          28     of the rights of UBH and UHC to object to the use of any such documents or the subject matter

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            1    thereof during subsequent proceedings. In the event of inadvertent disclosure of such documents,
            2    Plaintiff will return the documents to UBH and/or UHC and will be precluded from disclosing or
            3    relying upon such documents in any way.
            4           15.     All the General Objections contained herein and Objections to Definitions and
            5    Instructions are expressly incorporated into each of the responses set forth below.
            6                                     OBJECTIONS TO DEFINITIONS
            7           1.      UBH and UHC object to Plaintiffs’ definition of “United” (as well as “You” and
            8    “Your”) on the ground that it is vague, ambiguous, overly broad and unduly burdensome. In
            9    particular, Plaintiffs purport to sweep in various distinct persons and entities through this definition
          10     who are not proper parties to this case and not properly subject to discovery. UBH and UHC will
          11     respond to these Requests for Production of Documents on behalf of United Behavioral Health and
          12     UnitedHealthcare Insurance Company, which are the named defendants in this case.
          13            2.      UBH and UHC object to Plaintiffs’ definition of “Complaint” on the ground that there
          14     is a new operative complaint in this action—the Third Amended Complaint (“TAC”) filed on
          15     September 10, 2021 (Dkt. 91). UBH and UHC will interpret this definition as referring to the TAC.
          16            3.      UBH and UHC object to Plaintiffs’ definition of “document(s)” to the extent that it
          17     seeks to impose obligations on UBH and UHC beyond those required by the Federal rules. UBH and
          18     UHC further object to this definition to the extent it calls for production of electronic information that
          19     is not reasonably accessible, including any archived data or backup tapes that would be unduly
          20     burdensome to search or restore. UBH and UHC will use the definition of “documents” set out in
          21     Federal Rule 34.
          22            4.      UBH and UHC object to the definition of “Facility R&C” on the ground that it is
          23     overly broad and unduly burdensome in that it seeks information about programs that are not relevant
          24     to Plaintiffs’ claims and allegations in this case, which challenge Viant’s OPR pricing for intensive
          25     outpatient programs.
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            1                                   OBJECTIONS TO INSTRUCTIONS
            2           1.      UBH and UHC object to Plaintiffs’ failure to number the Instructions. For purposes of
            3    clarity in responding and objecting to Plaintiffs’ Instructions, UBH and UHC have assigned a number
            4    to each Instruction based on the Instruction’s paragraph break.
            5           2.      UBH and UHC object to Plaintiffs’ Instruction 1 to the extent it seeks documents that
            6    are exempt from discovery and protected from disclosure by the attorney-client privilege, the attorney
            7    work-product doctrine, confidentiality agreements, or any other applicable privilege, doctrine or
            8    protection.
            9           3.      UBH and UHC object to Plaintiffs’ Instruction 2 that Defendants “must make a
          10     diligent search of your records and of other papers and materials in your possession or available to
          11     you or your representatives” to the extent that this Instruction seeks to impose obligations on UBH
          12     and UHC beyond those required by the Federal Rules. UBH and UHC further objects to Instruction 2
          13     to the extent it calls for the production of information outside of UBH’s and UHC’s possession,
          14     custody, and control and includes documents that may already be in Plaintiffs’ possession or are
          15     available to Plaintiffs from another source that is more convenient, less burdensome, or less
          16     expensive.
          17            4.      UBH and UHC object to Plaintiffs’ Instruction 4 to the extent it requires Defendants to
          18     “[i]dentify the portion to which you cannot respond; state the reason for your inability to respond to
          19     it; and provide whatever materials you possess regarding that portion.” Where UBH and UHC are
          20     unable to fully respond to a request, UBH and UHC will state the reason for its inability to respond,
          21     and otherwise reserves the right to meet and confer.
          22            5.      UBH and UHC object to Plaintiffs’ Instruction 5 to the extent it purports to confer
          23     obligations on UBH and UHC beyond what the Parties have agreed to in their ESI protocol.
          24            6.      UBH and UHC object to Plaintiffs’ Instruction 6 to the extent that this Instruction
          25     seeks to impose obligations on UBH and UHC beyond those required by the Federal Rules.
          26            7.      UBH and UHC object to Plaintiffs’ Instruction 7 that “you should identify the relevant
          27     Bates or reference number (or range of numbers) that corresponds” on the ground that such obligation
          28     would be unduly burdensome given the broad scope and number of the requests.

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            1            8.      UBH and UHC object to Plaintiffs’ Instruction 8 that the “time period encompassed by
            2    each Request for Production is the same as the time period relevant to the allegations in the
            3    Complaint” to the extent that this Instruction includes periods outside the relevant scope of discovery
            4    and statute of limitations for this case which, unless otherwise noted in the specific responses below,
            5    is four years for Plaintiffs’ ERISA claims and four years for Plaintiffs’ RICO claims. See Withrow,
            6    655 F.3d at 1035–36; see also Pincay, 238 F.3d at 1108. UBH and UHC also object to Plaintiffs’
            7    Instruction 8 to the extent it seeks documents and information irrelevant to the claims at issue in the
            8    Complaint, including to the extent it seeks documents and information irrelevant to IOP services.
            9    Plaintiffs’ Complaint alleges that Defendants “den[ied] proper payment for the IOP treatment
          10     services that Plaintiffs received” and “under-reimburse[d] Plaintiffs’ claims for medically necessary
          11     IOP services provided to them.” See, e.g., Third Amended Complaint (“TAC”) ¶¶ 4, 28; see also
          12     TAC ¶¶ 447–48 (noting that the alleged harm is limited to “underpa[yment]” of the “IOP claims of
          13     the Plaintiffs and the class”).
          14             9.      UBH and UHC object to Plaintiffs’ Instruction 9 that each request be deemed
          15     “continuing in nature” on the ground that such obligation would be unduly burdensome given the
          16     broad scope and number of the requests.
          17             10.     UBH and UHC object to Plaintiffs’ Instruction 10 that “[c]opies, if authenticated, of
          18     the original documents may be supplied in response” and that “[i]f the documents are provided
          19     electronically as TIFF images, they should be accompanied by OCR” to the extent it purports to
          20     confer obligations on UBH and UHC beyond what the Parties have agreed to in their ESI protocol.
          21          SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
          22     REQUEST NO. 1:
          23             Any and all documents relating to Facility R&C Program pricing for claims with HCPCS
          24     Code H0015, S9480, and/or Revenue Codes 0905/0906.
          25     RESPONSE TO REQUEST NO. 1:
          26             UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          28     that it seeks information not relevant to the claims or defenses of any party and not reasonably

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            1    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            2    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            3    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            4    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            5    unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
            6    documents” within a broadly-defined category that includes multiple codes. UBH and UHC further
            7    object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery requests.
            8    UBH and UHC object to this Request on the grounds that it seeks information which is subject to a
            9    claim of privilege or which is otherwise protected from disclosure by, including without limitation,
          10     the attorney-client privilege or the attorney work product doctrine. UBH and UHC also object to the
          11     extent this Request seeks documents outside the time period properly subject to discovery for
          12     Plaintiffs’ claims and allegations in this case.
          13            Subject to and without waiving the General Objections, the Objections to Definitions and
          14     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          15     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          16     reasonably provided.
          17     REQUEST NO. 2:
          18            Any and all documents provided to MultiPlan relating to Facility R&C Program pricing for
          19     claims with HCPCS Code H0015, S9480, and/or Revenue Codes 0905/0906.
          20     RESPONSE TO REQUEST NO. 2:
          21            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          23     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          24     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          25     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          26     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          27     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          28     unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all

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            1    documents” within a broadly-defined category that includes multiple codes. UBH and UHC further
            2    object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery requests and
            3    to the extent it is duplicative of Request No. 1. UBH and UHC further object to this Request to the
            4    extent it seeks information outside of UBH’s and UHC’s possession, custody, and control, including
            5    but not limited to any documents that may be in the possession of MultiPlan, but not UBH or UHC.
            6    UBH and UHC also object to the extent this Request seeks documents outside the time period
            7    properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            8           Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          10     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          11     reasonably provided.
          12     REQUEST NO. 3:
          13            Any and all documents related to the Facility R&C Program.
          14     RESPONSE TO REQUEST NO. 3:
          15            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          16     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          17     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          18     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          19     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          20     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          21     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          22     unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
          23     documents” within a broadly-defined category. UBH and UHC further object to the extent this
          24     Request is duplicative of Plaintiffs’ previously-served discovery requests and to the extent it is
          25     duplicative of Request Nos. 1 and 2. UBH and UHC object to this Request on the grounds that it
          26     seeks information which is subject to a claim of privilege or which is otherwise protected from
          27     disclosure by, including without limitation, the attorney-client privilege or the attorney work product
          28

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            1    doctrine. UBH and UHC also object to the extent this Request seeks documents outside the time
            2    period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            5    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            6    reasonably provided.
            7    REQUEST NO. 4:
            8           Any and all documents for packages and product configurations provided to/for United, its
            9    subsidiaries, and/or affiliates, which included the Facility R&C Program.
          10     RESPONSE TO REQUEST NO. 4:
          11            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          13     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          14     and UHC further object to this Request on the ground that it seeks information not relevant to the
          15     claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
          16     evidence, to the extent it seeks information about claims other than out-of-network claims for
          17     intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
          18     product. UBH and UHC further object to this Request on the grounds that the terms “packages” and
          19     “product configurations” are vague and undefined. UBH and UHC further object to this Request as
          20     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          21     unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
          22     documents” within a broadly-defined category. UBH and UHC further object to this Request to the
          23     extent it seeks documents about entities, i.e. “subsidiaries, and/or affiliates” which are not parties to
          24     or at issue in this case. UBH and UHC further object to the extent this Request is duplicative of
          25     Plaintiffs’ previously-served discovery requests. UBH and UHC further object to this Request to the
          26     extent it seeks information outside of UBH’s and UHC’s possession, custody, and control, including
          27     but not limited to any documents that may be in the possession of third parties, but not UBH or UHC.
          28

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            1    UHC also object to the extent this Request seeks documents outside the time period properly subject
            2    to discovery for Plaintiffs’ claims and allegations in this case.
            3           Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            5    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            6    reasonably provided.
            7    REQUEST NO. 5:
            8           Any and all documents that relate to or compare the Facility R&C Program reimbursement
            9    amounts and FAIR Health.
          10     RESPONSE TO REQUEST NO. 5:
          11            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          12     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          13     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          14     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          15     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          16     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
          17     the grounds that the term “reimbursement amounts” is vague and undefined. UBH and UHC further
          18     object to this Request as overly broad and unduly burdensome. By way of example only, this
          19     Request is overly broad and unduly burdensome to the extent it purports to require UBH and UHC to
          20     produce “any and all documents” within a broadly-defined category. UBH and UHC further object to
          21     the extent this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and
          22     UHC object to this Request on the grounds that it seeks information which is subject to a claim of
          23     privilege or which is otherwise protected from disclosure by, including without limitation, the
          24     attorney-client privilege or the attorney work product doctrine. UBH and UHC also object to the
          25     extent this Request seeks documents outside the time period properly subject to discovery for
          26     Plaintiffs’ claims and allegations in this case.
          27            Subject to and without waiving the General Objections, the Objections to Definitions and
          28     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs

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            1    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            2    reasonably provided.
            3    REQUEST NO. 6:
            4            Any and all documents relating to ‘plan language’ and the Facility R&C Program.
            5    RESPONSE TO REQUEST NO. 6:
            6            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            7    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            8    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            9    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          10     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          11     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
          12     the grounds that the term “plan language” is vague and undefined. UBH and UHC further object to
          13     this Request as overly broad and unduly burdensome. By way of example only, this Request is
          14     overly broad and unduly burdensome to the extent it purports to require UBH and UHC to produce
          15     “any and all documents” within a broadly-defined category. UBH and UHC further object to the
          16     extent this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC
          17     object to this Request on the grounds that it seeks information which is subject to a claim of privilege
          18     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          19     privilege or the attorney work product doctrine. UBH and UHC also object to the extent this Request
          20     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          21     allegations in this case.
          22             Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          24     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          25     reasonably provided.
          26     REQUEST NO. 7:
          27             All documents relating to Facility R&C Program plan language exchanged by United and
          28     MultiPlan.

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            1    RESPONSE TO REQUEST NO. 7:
            2            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
            4    is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
            5    and UHC further object to this Request on the ground that it seeks information not relevant to the
            6    claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
            7    evidence, to the extent it seeks information about claims other than out-of-network claims for
            8    intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
            9    product. UBH and UHC further object to this request to the extent that it assumes that there is
          10     standard “plan language” about “Facility R&C.” UBH and UHC further object to this Request on the
          11     grounds that the term “plan language” is vague and undefined. UBH and UHC further object to this
          12     Request as overly broad and unduly burdensome. By way of example only, this Request is overly
          13     broad and unduly burdensome to the extent it purports to require UBH and UHC to produce “all
          14     documents” within a broadly-defined category. UBH and UHC further object to the extent this
          15     Request is duplicative of Plaintiffs’ previously-served discovery requests and to the extent it is
          16     duplicative of Request No. 6. UBH and UHC further object to this Request to the extent it seeks
          17     information outside of UBH’s and UHC’s possession, custody, and control, including but not limited
          18     to any documents that may be in the possession of MultiPlan, but not UBH or UHC. UBH and UHC
          19     object to this Request on the grounds that it seeks information which is subject to a claim of privilege
          20     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          21     privilege or the attorney work product doctrine. UBH and UHC also object to the extent this Request
          22     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          23     allegations in this case.
          24             Subject to and without waiving the General Objections, the Objections to Definitions and
          25     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          26     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          27     reasonably provided.
          28

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            1    REQUEST NO. 8:
            2           All documents relating to payments from United to MultiPlan for ‘savings’ provided by
            3    MultiPlan related to the Facility R&C Program.
            4    RESPONSE TO REQUEST NO. 8:
            5           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
            7    is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
            8    and UHC further object to this Request on the ground that it seeks information not relevant to the
            9    claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
          10     evidence, to the extent it seeks information about claims other than out-of-network claims for
          11     intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
          12     product. UBH and UHC further object to this Request on the grounds that the term “savings” is
          13     vague and undefined. UBH and UHC further object to this Request as overly broad and unduly
          14     burdensome. By way of example only, this Request is overly broad and unduly burdensome to the
          15     extent it purports to require UBH and UHC to produce “all documents” within a broadly-defined
          16     category. UBH and UHC further object to the extent this Request is duplicative of Plaintiffs’
          17     previously-served discovery requests. UBH and UHC further object to this Request to the extent it
          18     seeks information outside of UBH’s and UHC’s possession, custody, and control, including but not
          19     limited to any documents that may be in the possession of MultiPlan, but not UBH or UHC. UBH
          20     and UHC object to this Request on the grounds that it seeks information which is subject to a claim of
          21     privilege or which is otherwise protected from disclosure by, including without limitation, the
          22     attorney-client privilege or the attorney work product doctrine. UBH and UHC also object to the
          23     extent this Request seeks documents outside the time period properly subject to discovery for
          24     Plaintiffs’ claims and allegations in this case.
          25            Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          27     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          28     reasonably provided.

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            1    REQUEST NO. 9:
            2           Any and all invoices sent by United to the Tesla plan related to the Facility R&C Program.
            3    RESPONSE TO REQUEST NO. 9:
            4           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            5    Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
            6    is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
            7    and UHC further object to this Request on the ground that it seeks information not relevant to the
            8    claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
            9    evidence, to the extent it seeks information about claims other than out-of-network claims for
          10     intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
          11     product. UBH and UHC further object to this Request on the grounds that the term “Tesla plan” is
          12     vague and undefined. UBH and UHC further object to this Request as overly broad and unduly
          13     burdensome. By way of example only, this Request is overly broad and unduly burdensome to the
          14     extent it purports to require UBH and UHC to produce “any and all documents” within a broadly-
          15     defined category. UBH and UHC further object to the extent this Request is duplicative of Plaintiffs’
          16     previously-served discovery requests. UBH and UHC further object to this Request to the extent it
          17     seeks information outside of UBH’s and UHC’s possession, custody, and control, including but not
          18     limited to any documents that may be in the possession of third parties, but not UBH or UHC. UBH
          19     and UHC also object to the extent this Request seeks documents outside the time period properly
          20     subject to discovery for Plaintiffs’ claims and allegations in this case.
          21            Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          23     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          24     reasonably provided.
          25     REQUEST NO. 10:
          26            Records of all payments received by United from Tesla for fees related to the Facility R&C
          27     Program.
          28

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            1    RESPONSE TO REQUEST NO. 10:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
            4    is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
            5    and UHC further object to this Request on the ground that it seeks information not relevant to the
            6    claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
            7    evidence, to the extent it seeks information about claims other than out-of-network claims for
            8    intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
            9    product. UBH and UHC further object to this Request as overly broad and unduly burdensome. By
          10     way of example only, this Request is overly broad and unduly burdensome to the extent it purports to
          11     require UBH and UHC to produce “all” documents within a broadly-defined category. UBH and
          12     UHC further object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery
          13     requests and to the extent it is duplicative of Request No. 9. UBH and UHC further object to this
          14     Request to the extent it seeks information outside of UBH’s and UHC’s possession, custody, and
          15     control, including but not limited to any documents that may be in the possession of third parties, but
          16     not UBH or UHC. UBH and UHC also object to the extent this Request seeks documents outside the
          17     time period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          18            Subject to and without waiving the General Objections, the Objections to Definitions and
          19     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          20     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          21     reasonably provided.
          22     REQUEST NO. 11:
          23            Any and all correspondence between United and Tesla related to the Facility R&C Program.
          24     RESPONSE TO REQUEST NO. 11:
          25            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          27     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          28     and UHC further object to this Request on the ground that it seeks information not relevant to the

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            1    claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
            2    evidence, to the extent it seeks information about claims other than out-of-network claims for
            3    intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
            4    product. UBH and UHC further object to this Request as overly broad and unduly burdensome. By
            5    way of example only, this Request is overly broad and unduly burdensome to the extent it purports to
            6    require UBH and UHC to produce “any and all documents” within a broadly-defined category. UBH
            7    and UHC further object to the extent this Request is duplicative of Plaintiffs’ previously-served
            8    discovery requests. UBH and UHC further object to this Request to the extent it seeks information
            9    outside of UBH’s and UHC’s possession, custody, and control, including but not limited to any
          10     documents that may be in the possession of third parties, but not UBH or UHC. UBH and UHC also
          11     object to the extent this Request seeks documents outside the time period properly subject to
          12     discovery for Plaintiffs’ claims and allegations in this case.
          13            Subject to and without waiving the General Objections, the Objections to Definitions and
          14     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          15     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          16     reasonably provided.
          17     REQUEST NO. 12:
          18            Any and all invoices sent by United to the Apple plan related to the Facility R&C Program.
          19     RESPONSE TO REQUEST NO. 12:
          20            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          21     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          22     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          23     and UHC further object to this Request on the ground that it seeks information not relevant to the
          24     claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
          25     evidence, to the extent it seeks information about claims other than out-of-network claims for
          26     intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
          27     product. UBH and UHC further object to this Request on the grounds that the term “Apple plan” is
          28     vague and undefined. UBH and UHC further object to this Request as overly broad and unduly

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            1    burdensome. By way of example only, this Request is overly broad and unduly burdensome to the
            2    extent it purports to require UBH and UHC to produce “any and all documents” within a broadly-
            3    defined category. UBH and UHC further object to the extent this Request is duplicative of Plaintiffs’
            4    previously-served discovery requests. UBH and UHC further object to this Request to the extent it
            5    seeks information outside of UBH’s and UHC’s possession, custody, and control, including but not
            6    limited to any documents that may be in the possession of third parties, but not UBH or UHC. UBH
            7    and UHC also object to the extent this Request seeks documents outside the time period properly
            8    subject to discovery for Plaintiffs’ claims and allegations in this case.
            9           Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          11     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          12     reasonably provided.
          13     REQUEST NO. 13:
          14            Records of all payments received by United from Apple for fees related to the Facility R&C
          15     Program.
          16     RESPONSE TO REQUEST NO. 13:
          17            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          19     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          20     and UHC further object to this Request on the ground that it seeks information not relevant to the
          21     claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
          22     evidence, to the extent it seeks information about claims other than out-of-network claims for
          23     intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
          24     product. UBH and UHC further object to this Request as overly broad and unduly burdensome. By
          25     way of example only, this Request is overly broad and unduly burdensome to the extent it purports to
          26     require UBH and UHC to produce “all” within a broadly-defined category. UBH and UHC further
          27     object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery requests and
          28     to the extent it is duplicative of Request No. 12. UBH and UHC further object to this Request to the

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            1    extent it seeks information outside of UBH’s and UHC’s possession, custody, and control, including
            2    but not limited to any documents that may be in the possession of third parties, but not UBH or UHC.
            3    UBH and UHC also object to the extent this Request seeks documents outside the time period
            4    properly subject to discovery for Plaintiffs’ claims and allegations in this case.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            8    reasonably provided.
            9    REQUEST NO. 14:
          10            Any and all correspondence between United and Apple related to the Facility R&C Program.
          11     RESPONSE TO REQUEST NO. 14:
          12            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          14     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          15     and UHC further object to this Request on the ground that it seeks information not relevant to the
          16     claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
          17     evidence, to the extent it seeks information about claims other than out-of-network claims for
          18     intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
          19     product. UBH and UHC further object to this Request as overly broad and unduly burdensome. By
          20     way of example only, this Request is overly broad and unduly burdensome to the extent it purports to
          21     require UBH and UHC to produce “any and all documents” within a broadly-defined category. UBH
          22     and UHC further object to the extent this Request is duplicative of Plaintiffs’ previously-served
          23     discovery requests. UBH and UHC further object to this Request to the extent it seeks information
          24     outside of UBH’s and UHC’s possession, custody, and control, including but not limited to any
          25     documents that may be in the possession of third parties, but not UBH or UHC. UBH and UHC also
          26     object to the extent this Request seeks documents outside the time period properly subject to
          27     discovery for Plaintiffs’ claims and allegations in this case.
          28

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            3    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            4    reasonably provided.
            5    REQUEST NO. 15:
            6           All documents relating to ASO plans / packages options that include the Facility R&C
            7    Program from January 1, 2015 to present.
            8    RESPONSE TO REQUEST NO. 15:
            9           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          10     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          11     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          12     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          13     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          14     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          15     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          16     unduly burdensome to the extent it purports to require UBH and UHC to produce “all” documents
          17     within a broadly-defined category. UBH and UHC further object to the extent this Request is
          18     duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further object to this
          19     Request to the extent it seeks information outside of UBH’s and UHC’s possession, custody, and
          20     control, including but not limited to any documents that may be in the possession of third parties, but
          21     not UBH or UHC. UBH and UHC object to this Request on the grounds that it seeks information
          22     which is subject to a claim of privilege or which is otherwise protected from disclosure by, including
          23     without limitation, the attorney-client privilege or the attorney work product doctrine. UBH and
          24     UHC also object to the extent this Request seeks documents outside the time period properly subject
          25     to discovery for Plaintiffs’ claims and allegations in this case.
          26            Subject to and without waiving the General Objections, the Objections to Definitions and
          27     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          28

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            1    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            2    reasonably provided.
            3    REQUEST NO. 16:
            4           All documents relating to FI plans / package options that include the Facility R&C Program
            5    from January 1, 2015 to present.
            6    RESPONSE TO REQUEST NO. 16:
            7           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            9    that it seeks information not relevant to the claims or defenses of any party and not reasonably
          10     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          11     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          12     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          13     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          14     unduly burdensome to the extent it purports to require UBH and UHC to produce “any and all
          15     documents” within a broadly-defined category. UBH and UHC further object to the extent this
          16     Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further
          17     object to this Request to the extent it seeks information outside of UBH’s and UHC’s possession,
          18     custody, and control, including but not limited to any documents that may be in the possession of
          19     third parties, but not UBH or UHC. UBH and UHC object to this Request on the grounds that it
          20     seeks information which is subject to a claim of privilege or which is otherwise protected from
          21     disclosure by, including without limitation, the attorney-client privilege or the attorney work product
          22     doctrine. UBH and UHC also object to the extent this Request seeks documents outside the time
          23     period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          24            Subject to and without waiving the General Objections, the Objections to Definitions and
          25     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          26     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          27     reasonably provided.
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            1    REQUEST NO. 17:
            2           All documents relating to the Facility R&C Program for Mental Health and/or Substance Use
            3    Disorder and/or Behavioral Health claims.
            4    RESPONSE TO REQUEST NO. 17:
            5           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            7    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            8    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            9    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          10     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          11     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          12     unduly burdensome to the extent it purports to require UBH and UHC to produce “all” documents
          13     within a broadly-defined category. UBH and UHC further object to the extent this Request is
          14     duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further object to this
          15     Request to the extent it seeks information outside of UBH’s and UHC’s possession, custody, and
          16     control, including but not limited to any documents that may be in the possession of third parties, but
          17     not UBH or UHC. UBH and UHC object to this Request on the grounds that it seeks information
          18     which is subject to a claim of privilege or which is otherwise protected from disclosure by, including
          19     without limitation, the attorney-client privilege or the attorney work product doctrine. UBH and
          20     UHC also object to the extent this Request seeks documents outside the time period properly subject
          21     to discovery for Plaintiffs’ claims and allegations in this case.
          22            Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          24     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          25     reasonably provided.
          26     REQUEST NO. 18:
          27            All documents relating to the fee agreement between You and MultiPlan related to the
          28     Facility R&C Program.

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            1    RESPONSE TO REQUEST NO. 18:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
            4    is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “You.” UBH and
            5    UHC further object to this Request on the ground that it seeks information not relevant to the claims
            6    or defenses of any party and not reasonably calculated to lead to the discovery of admissible
            7    evidence, to the extent it seeks information about claims other than out-of-network claims for
            8    intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
            9    product. UBH and UHC further object to this Request on the grounds that the term “fee agreement”
          10     is vague and undefined. UBH and UHC further object to this Request as overly broad and unduly
          11     burdensome. By way of example only, this Request is overly broad and unduly burdensome to the
          12     extent it purports to require UBH and UHC to produce “all” documents within a broadly-defined
          13     category. UBH and UHC further object to the extent this Request is duplicative of Plaintiffs’
          14     previously-served discovery requests. UBH and UHC further object to this Request to the extent it
          15     seeks information outside of UBH’s and UHC’s possession, custody, and control, including but not
          16     limited to any documents that may be in the possession of Multiplan and/or third parties, but not
          17     UBH or UHC. UBH and UHC object to this Request on the grounds that it seeks information which
          18     is subject to a claim of privilege or which is otherwise protected from disclosure by, including
          19     without limitation, the attorney-client privilege or the attorney work product doctrine. UBH and
          20     UHC also object to the extent this Request seeks documents outside the time period properly subject
          21     to discovery for Plaintiffs’ claims and allegations in this case.
          22            Subject to and without waiving the General Objections, the Objections to Definitions and
          23     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          24     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          25     reasonably provided.
          26     REQUEST NO. 19:
          27            All documents relating to the PRAs and remark codes sent by Defendants relating to the
          28     Facility R&C Program.

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            1    RESPONSE TO REQUEST NO. 19:
            2            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
            8    the grounds that the term “remark code” is vague and undefined. UBH and UHC further object to
            9    this Request as overly broad and unduly burdensome. By way of example only, this Request is
          10     overly broad and unduly burdensome to the extent it purports to require UBH and UHC to produce
          11     “all” documents within a broadly-defined category. UBH and UHC further object to the extent this
          12     Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further
          13     object to this Request to the extent it seeks information outside of UBH’s and UHC’s possession,
          14     custody, and control, including but not limited to any documents that may be in the possession of
          15     third parties and/or MultiPlan, but not UBH or UHC. UBH and UHC object to this Request on the
          16     grounds that it seeks information which is subject to a claim of privilege or which is otherwise
          17     protected from disclosure by, including without limitation, the attorney-client privilege or the
          18     attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
          19     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          20     in this case.
          21             Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          23     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          24     reasonably provided.
          25     REQUEST NO. 20:
          26             All documents relating to the EOBs and remark codes sent by Defendants relating to the
          27     Facility R&C Program.
          28

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            1    RESPONSE TO REQUEST NO. 20:
            2            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
            8    the grounds that the term “remark code” is vague and undefined. UBH and UHC further object to
            9    this Request as overly broad and unduly burdensome. By way of example only, this Request is
          10     overly broad and unduly burdensome to the extent it purports to require UBH and UHC to produce
          11     “all” documents within a broadly-defined category. UBH and UHC further object to the extent this
          12     Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further
          13     object to this Request to the extent it seeks information outside of UBH’s and UHC’s possession,
          14     custody, and control, including but not limited to any documents that may be in the possession of
          15     third parties and/or MultiPlan, but not UBH or UHC. UBH and UHC object to this Request on the
          16     grounds that it seeks information which is subject to a claim of privilege or which is otherwise
          17     protected from disclosure by, including without limitation, the attorney-client privilege or the
          18     attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
          19     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          20     in this case.
          21             Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          23     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          24     reasonably provided.
          25     REQUEST NO. 21:
          26             All documents relating to the PAD letters (including drafts) sent by Defendants relating to the
          27     Facility R&C Program.
          28

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            1    RESPONSE TO REQUEST NO. 21:
            2           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
            4    that it seeks information not relevant to the claims or defenses of any party and not reasonably
            5    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            6    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            7    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
            8    overly broad and unduly burdensome. By way of example only, this Request is overly broad and
            9    unduly burdensome to the extent it purports to require UBH and UHC to produce “all” documents
          10     within a broadly-defined category. UBH and UHC further object to the extent this Request is
          11     duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further object to this
          12     Request to the extent it seeks information outside of UBH’s and UHC’s possession, custody, and
          13     control, including but not limited to any documents that may be in the possession of third parties
          14     and/or MultiPlan, but not UBH or UHC. UBH and UHC object to this Request on the grounds that it
          15     seeks information which is subject to a claim of privilege or which is otherwise protected from
          16     disclosure by, including without limitation, the attorney-client privilege or the attorney work product
          17     doctrine. UBH and UHC also object to the extent this Request seeks documents outside the time
          18     period properly subject to discovery for Plaintiffs’ claims and allegations in this case.
          19            Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          21     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          22     reasonably provided.
          23     REQUEST NO. 22:
          24            All documents relating to the Facility R&C Program Provider dispute process(es).
          25     RESPONSE TO REQUEST NO. 22:
          26            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          28     that it seeks information not relevant to the claims or defenses of any party and not reasonably

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            1    calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
            2    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            3    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
            4    the grounds that the term “dispute process(es)” is vague and undefined. UBH and UHC further
            5    object to this Request as overly broad and unduly burdensome. By way of example only, this
            6    Request is overly broad and unduly burdensome to the extent it purports to require UBH and UHC to
            7    produce “all” documents within a broadly-defined category. UBH and UHC further object to the
            8    extent this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC
            9    further object to this Request to the extent it seeks information outside of UBH’s and UHC’s
          10     possession, custody, and control, including but not limited to any documents that may be in the
          11     possession of third parties, but not UBH or UHC. UBH and UHC object to this Request on the
          12     grounds that it seeks information which is subject to a claim of privilege or which is otherwise
          13     protected from disclosure by, including without limitation, the attorney-client privilege or the
          14     attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
          15     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          16     in this case.
          17             Subject to and without waiving the General Objections, the Objections to Definitions and
          18     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          19     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          20     reasonably provided.
          21     REQUEST NO. 23:
          22             All documents relating to the application of Fair Health’s database for the pricing of Facility
          23     R&C Program claims.
          24     RESPONSE TO REQUEST NO. 23:
          25             UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          26     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          27     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          28     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about

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            1    claims other than out-of-network claims for intensive outpatient programs for which reimbursement
            2    rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
            3    the grounds that the term “Fair Health’s database” is vague and undefined. UBH and UHC further
            4    object to this Request as overly broad and unduly burdensome. By way of example only, this
            5    Request is overly broad and unduly burdensome to the extent it purports to require UBH and UHC to
            6    produce “all” documents within a broadly-defined category. UBH and UHC further object to the
            7    extent this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC
            8    further object to this Request to the extent it seeks information outside of UBH’s and UHC’s
            9    possession, custody, and control, including but not limited to any documents that may be in the
          10     possession of third parties, but not UBH or UHC. UBH and UHC also object to the extent this
          11     Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
          12     and allegations in this case.
          13             Subject to and without waiving the General Objections, the Objections to Definitions and
          14     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          15     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          16     reasonably provided.
          17     REQUEST NO. 24:
          18             All documents relating to the application of the Facility R&C Program for the pricing of
          19     facility claims.
          20     RESPONSE TO REQUEST NO. 24:
          21             UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          23     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          24     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          25     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          26     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          27     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          28     unduly burdensome to the extent it purports to require UBH and UHC to produce “all” documents

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            1    within a broadly-defined category. UBH and UHC further object to the extent this Request is
            2    duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further object to this
            3    Request to the extent it seeks information outside of UBH’s and UHC’s possession, custody, and
            4    control, including but not limited to any documents that may be in the possession of third parties, but
            5    not UBH or UHC. UBH and UHC object to this Request on the grounds that it seeks information
            6    which is subject to a claim of privilege or which is otherwise protected from disclosure by, including
            7    without limitation, the attorney-client privilege or the attorney work product doctrine. UBH and
            8    UHC also object to the extent this Request seeks documents outside the time period properly subject
            9    to discovery for Plaintiffs’ claims and allegations in this case.
          10            Subject to and without waiving the General Objections, the Objections to Definitions and
          11     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          12     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          13     reasonably provided.
          14     REQUEST NO. 25:
          15            Any and all documents relating to the ‘percentile standard’ for Facility R&C Program claims.
          16     RESPONSE TO REQUEST NO. 25:
          17            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          19     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          20     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          21     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          22     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
          23     the grounds that the term “percentile standard” is vague and undefined. UBH and UHC further object
          24     to this Request as overly broad and unduly burdensome. By way of example only, this Request is
          25     overly broad and unduly burdensome to the extent it purports to require UBH and UHC to produce
          26     “any and all” documents within a broadly-defined category. UBH and UHC further object to the
          27     extent this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC
          28     further object to this Request to the extent it seeks information outside of UBH’s and UHC’s

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            1    possession, custody, and control, including but not limited to any documents that may be in the
            2    possession of third parties, but not UBH or UHC. UBH and UHC object to this Request on the
            3    grounds that it seeks information which is subject to a claim of privilege or which is otherwise
            4    protected from disclosure by, including without limitation, the attorney-client privilege or the
            5    attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
            6    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
            7    in this case.
            8            Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          10     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          11     reasonably provided.
          12     REQUEST NO. 26:
          13             Any and all documents relating to the Facility R&C Program percentile values and Fair
          14     Health percentile values.
          15     RESPONSE TO REQUEST NO. 26:
          16             UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          18     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          19     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          20     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          21     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
          22     the grounds that the term “percentile values” is vague and undefined. UBH and UHC further object
          23     to this Request as overly broad and unduly burdensome. By way of example only, this Request is
          24     overly broad and unduly burdensome to the extent it purports to require UBH and UHC to produce
          25     “any and all” documents within a broadly-defined category. UBH and UHC further object to the
          26     extent this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC
          27     further object to this Request to the extent it seeks information outside of UBH’s and UHC’s
          28     possession, custody, and control, including but not limited to any documents that may be in the

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            1    possession of third parties, but not UBH or UHC. UBH and UHC object to this Request on the
            2    grounds that it seeks information which is subject to a claim of privilege or which is otherwise
            3    protected from disclosure by, including without limitation, the attorney-client privilege or the
            4    attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
            5    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
            6    in this case.
            7              Subject to and without waiving the General Objections, the Objections to Definitions and
            8    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            9    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          10     reasonably provided.
          11     REQUEST NO. 27:
          12               All documents relating to reducing reimbursement amounts of the Facility R&C Program
          13     behavioral health reimbursements to amounts less than or equal to those of participating provider
          14     levels.
          15     RESPONSE TO REQUEST NO. 27:
          16               UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          18     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          19     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          20     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          21     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          22     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          23     unduly burdensome to the extent it purports to require UBH and UHC to produce “all” documents
          24     within a broadly-defined category. UBH and UHC further object to the extent this Request assumes
          25     there was a “reduc[tion] [of] reimbursement amounts.” UBH and UHC further object to the extent
          26     this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC
          27     further object to this Request to the extent it seeks information outside of UBH’s and UHC’s
          28     possession, custody, and control, including but not limited to any documents that may be in the

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            1    possession of third parties, but not UBH or UHC. UBH and UHC object to this Request on the
            2    grounds that it seeks information which is subject to a claim of privilege or which is otherwise
            3    protected from disclosure by, including without limitation, the attorney-client privilege or the
            4    attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
            5    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
            6    in this case.
            7            Subject to and without waiving the General Objections, the Objections to Definitions and
            8    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            9    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          10     reasonably provided.
          11     REQUEST NO. 28:
          12             All documents relating to the marketing of products containing the Facility R&C Program.
          13     RESPONSE TO REQUEST NO. 28:
          14             UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          16     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          17     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          18     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          19     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          20     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          21     unduly burdensome to the extent it purports to require UBH and UHC to produce “all” documents
          22     within a broadly-defined category. UBH and UCH further object to this Request on the grounds that
          23     the phrase “marketing of products” is vague and unintelligible. UBH and UHC further object to the
          24     extent this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC
          25     further object to this Request to the extent it seeks information outside of UBH’s and UHC’s
          26     possession, custody, and control, including but not limited to any documents that may be in the
          27     possession of third parties, but not UBH or UHC. UBH and UHC object to this Request on the
          28     grounds that it seeks information which is subject to a claim of privilege or which is otherwise

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            1    protected from disclosure by, including without limitation, the attorney-client privilege or the
            2    attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
            3    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
            4    in this case.
            5            Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            8    reasonably provided.
            9    REQUEST NO. 29:
          10             All documents received from MultiPlan relating to the Facility R&C Program.
          11     RESPONSE TO REQUEST NO. 29:
          12             UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          14     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          15     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          16     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          17     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          18     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          19     unduly burdensome to the extent it purports to require UBH and UHC to produce “all” documents
          20     within a broadly-defined category. UBH and UHC further object to the extent this Request is
          21     duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further object to this
          22     Request to the extent it seeks information outside of UBH’s and UHC’s possession, custody, and
          23     control, including but not limited to any documents that may be in the possession of third parties
          24     and/or MultiPlan, but not UBH or UHC. UBH and UHC object to this Request on the grounds that it
          25     seeks information which is subject to a claim of privilege or which is otherwise protected from
          26     disclosure by, including without limitation, the attorney-client privilege or the attorney work product
          27     doctrine. UBH and UHC also object to the extent this Request seeks documents outside the time
          28     period properly subject to discovery for Plaintiffs’ claims and allegations in this case.

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            1            Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            3    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            4    reasonably provided.
            5    REQUEST NO. 30:
            6            All documents received from MultiPlan relating to ‘savings’ on Facility R&C Program claims
            7    priced by MultiPlan.
            8    RESPONSE TO REQUEST NO. 30:
            9            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          10     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          11     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          12     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          13     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          14     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request on
          15     the grounds that the term “savings” is vague and undefined. UBH and UHC further object to this
          16     Request as overly broad and unduly burdensome. By way of example only, this Request is overly
          17     broad and unduly burdensome to the extent it purports to require UBH and UHC to produce “all”
          18     documents within a broadly-defined category. UBH and UHC further object to the extent this
          19     Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further
          20     object to this Request to the extent it seeks information outside of UBH’s and UHC’s possession,
          21     custody, and control, including but not limited to any documents that may be in the possession of
          22     third parties and/or MultiPlan, but not UBH or UHC. UBH and UHC object to this Request on the
          23     grounds that it seeks information which is subject to a claim of privilege or which is otherwise
          24     protected from disclosure by, including without limitation, the attorney-client privilege or the
          25     attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
          26     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          27     in this case.
          28

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            3    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            4    reasonably provided.
            5    REQUEST NO. 31:
            6           All documents, other than those specifically prepared for or in response to litigation, relating
            7    to legal or regulatory concerns relating to the Facility R&C Program.
            8    RESPONSE TO REQUEST NO. 31:
            9           UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          10     Instructions in their entirety into this response. UBH and UHC object to this Request on the ground
          11     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          12     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          13     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          14     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request as
          15     overly broad and unduly burdensome. By way of example only, this Request is overly broad and
          16     unduly burdensome to the extent it purports to require UBH and UHC to produce “all” documents
          17     within a broadly-defined category. UBH and UHC further object to the extent this Request is
          18     duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further object to this
          19     Request to the extent it seeks information outside of UBH’s and UHC’s possession, custody, and
          20     control, including but not limited to any documents that may be in the possession of third parties, but
          21     not UBH or UHC. UBH and UHC object to this Request on the grounds that it seeks information
          22     which is subject to a claim of privilege or which is otherwise protected from disclosure by, including
          23     without limitation, the attorney-client privilege or the attorney work product doctrine. UBH and
          24     UHC also object to the extent this Request seeks documents outside the time period properly subject
          25     to discovery for Plaintiffs’ claims and allegations in this case.
          26            Subject to and without waiving the General Objections, the Objections to Definitions and
          27     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          28

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            1    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            2    reasonably provided.
            3    REQUEST NO. 32:
            4            For the period January 1, 2015 to the present, all internal communications (including through
            5    email, Salesforce and instant messaging platforms such as Microsoft Lync) and documents
            6    concerning the pricing of United claims for behavioral health and the Facility R&C Program.
            7    RESPONSE TO REQUEST NO. 32:
            8            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
            9    Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          10     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          11     and UHC further object to this Request on the ground that it seeks information not relevant to the
          12     claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
          13     evidence, to the extent it seeks information about claims other than out-of-network claims for
          14     intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
          15     product. UBH and UHC further object to this Request on the grounds that the term “pricing” is
          16     vague and undefined. UBH and UHC further object to this Request as overly broad and unduly
          17     burdensome. By way of example only, this Request is overly broad and unduly burdensome to the
          18     extent it purports to require UBH and UHC to produce “all” documents within a broadly-defined
          19     category. UBH and UHC further object to this Request to the extent the documents and information
          20     sought are not reasonably available or accessible and/or unduly burdensome to capture, collect, and
          21     produce in light of the file format or platform. UBH and UHC further object to the extent this
          22     Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC further
          23     object to this Request to the extent it seeks information outside of UBH’s and UHC’s possession,
          24     custody, and control, including but not limited to any documents that may be in the possession of
          25     third parties, but not UBH or UHC. UBH and UHC also object to the extent this Request seeks
          26     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          27     in this case.
          28

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            1           Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            3    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            4    reasonably provided.
            5    REQUEST NO. 33:
            6           For the period January 1, 2015 to the present, all United-elected overrides related to the
            7    Facility R&C Program suggested or applied on behalf of United or any United owned entity such as
            8    Optum, United Healthcare Insurance Company; United Health Care Services Inc. dba
            9    UnitedHealthcare; UMR, Inc. d/b/a United Medical Resources; and/or Oxford Health Plans, Inc. for
          10     any mental health and/or behavioral health claim sent to MultiPlan.
          11     RESPONSE TO REQUEST NO. 33:
          12            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          14     is directed at nonparties and not UBH and UHC. UBH and UHC object to this Request on the ground
          15     that it seeks information not relevant to the claims or defenses of any party and not reasonably
          16     calculated to lead to the discovery of admissible evidence, to the extent it seeks information about
          17     claims other than out-of-network claims for intensive outpatient programs for which reimbursement
          18     rates were calculated using Viant’s OPR product. UBH and UHC further object to this Request to the
          19     extent it assumes there were “United-elected overrides” relating to the Facility R&C Program. UBH
          20     and UHC further object to this Request on the grounds that the term “United-elected overrides” is
          21     vague and undefined. UBH and UHC further object to this Request as overly broad and unduly
          22     burdensome. By way of example only, this Request is overly broad and unduly burdensome to the
          23     extent it purports to require UBH and UHC to produce “all” documents within a broadly-defined
          24     category. UBH and UHC further object to the extent this Request is duplicative of Plaintiffs’
          25     previously-served discovery requests. UBH and UHC further object to this Request to the extent it
          26     seeks information outside of UBH’s and UHC’s possession, custody, and control, including but not
          27     limited to any documents that may be in the possession of third parties, but not UBH or UHC. UBH
          28     and UHC object to this Request on the grounds that it seeks information which is subject to a claim of

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            1    privilege or which is otherwise protected from disclosure by, including without limitation, the
            2    attorney-client privilege or the attorney work product doctrine. UBH and UHC also object to the
            3    extent this Request seeks documents outside the time period properly subject to discovery for
            4    Plaintiffs’ claims and allegations in this case.
            5           Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
            7    to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
            8    reasonably provided.
            9    REQUEST NO. 34:
          10            For the period January 1, 2015 to the present, all external and internal communications
          11     (including through email, Salesforce and instant messaging platforms such as Microsoft Lync) and
          12     documents connected with or concerning MultiPlan’s meetings with United that discussed, among
          13     other topics, the Facility R&C Program and Multiplan’s repricing methodologies and potential
          14     savings and profits from those program(s).
          15     RESPONSE TO REQUEST NO. 34:
          16            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          17     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          18     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          19     and UHC object to this Request on the ground that it seeks information not relevant to the claims or
          20     defenses of any party and not reasonably calculated to lead to the discovery of admissible evidence,
          21     to the extent it seeks information about claims other than out-of-network claims for intensive
          22     outpatient programs for which reimbursement rates were calculated using Viant’s OPR product.
          23     UBH and UHC further object to this Request as overly broad and unduly burdensome. By way of
          24     example only, this Request is overly broad and unduly burdensome to the extent it purports to require
          25     UBH and UHC to produce “all” documents within a broadly-defined category. UBH and UHC
          26     further object to this Request to the extent the documents and information sought are not reasonably
          27     available or accessible and/or unduly burdensome to capture, collect, and produce in light of the file
          28     format or platform. UBH and UHC further object to the extent this Request is duplicative of

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            1    Plaintiffs’ previously-served discovery requests. UBH and UHC further object to this Request to the
            2    extent it seeks information outside of UBH’s and UHC’s possession, custody, and control, including
            3    but not limited to any documents that may be in the possession of third parties and/or Multiplan, but
            4    not UBH or UHC. UBH and UHC object to this Request on the grounds that it seeks information
            5    which is subject to a claim of privilege or which is otherwise protected from disclosure by, including
            6    without limitation, the attorney-client privilege or the attorney work product doctrine. UBH and
            7    UHC also object to the extent this Request seeks documents outside the time period properly subject
            8    to discovery for Plaintiffs’ claims and allegations in this case.
            9           Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          11     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          12     reasonably provided.
          13     REQUEST NO. 35:
          14            For the period January 1, 2015 to the present, produce all external and internal
          15     communications (including through email, Salesforce and instant messaging platforms such as
          16     Microsoft Lync) and documents connected with or concerning MultiPlan’s meetings with United that
          17     discussed, among other topics, MultiPlan’s repricing methodologies and potential savings and profits
          18     from those programs, related to United’s Facility R&C Program.
          19     RESPONSE TO REQUEST NO. 35:
          20            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          21     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          22     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          23     and UHC object to this Request on the ground that it seeks information not relevant to the claims or
          24     defenses of any party and not reasonably calculated to lead to the discovery of admissible evidence,
          25     to the extent it seeks information about claims other than out-of-network claims for intensive
          26     outpatient programs for which reimbursement rates were calculated using Viant’s OPR product.
          27     UBH and UHC further object to this Request on the grounds that the term “savings” is vague and
          28     undefined. UBH and UHC further object to this Request as overly broad and unduly burdensome.

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            1    By way of example only, this Request is overly broad and unduly burdensome to the extent it
            2    purports to require UBH and UHC to produce “all” documents within a broadly-defined category.
            3    UBH and UHC further object to this Request to the extent the documents and information sought are
            4    not reasonably available or accessible and/or unduly burdensome to capture, collect, and produce in
            5    light of the file format or platform. UBH and UHC further object to the extent this Request is
            6    duplicative of Plaintiffs’ previously-served discovery requests and to the extent it is duplicative of
            7    Request No. 34. UBH and UHC further object to this Request to the extent it seeks information
            8    outside of UBH’s and UHC’s possession, custody, and control, including but not limited to any
            9    documents that may be in the possession of third parties and/or Multiplan, but not UBH or UHC.
          10     UBH and UHC object to this Request on the grounds that it seeks information which is subject to a
          11     claim of privilege or which is otherwise protected from disclosure by, including without limitation,
          12     the attorney-client privilege or the attorney work product doctrine. UBH and UHC also object to the
          13     extent this Request seeks documents outside the time period properly subject to discovery for
          14     Plaintiffs’ claims and allegations in this case.
          15            Subject to and without waiving the General Objections, the Objections to Definitions and
          16     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          17     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          18     reasonably provided.
          19     REQUEST NO. 36:
          20            For the period January 1, 2015 to the present, produce all documents, tables, summaries or
          21     slide presentations presented to United at any meeting between representatives of MultiPlan and
          22     United, including presentations on the Facility R&C Program, including slide decks used at the
          23     quarterly meetings. This request includes meetings conducted in person, on the phone, or over video-
          24     conference.
          25     RESPONSE TO REQUEST NO. 36:
          26            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          28     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH

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            1    and UHC object to this Request on the ground that it seeks information not relevant to the claims or
            2    defenses of any party and not reasonably calculated to lead to the discovery of admissible evidence,
            3    to the extent it seeks information about claims other than out-of-network claims for intensive
            4    outpatient programs for which reimbursement rates were calculated using Viant’s OPR product.
            5    UBH and UHC further object to this Request as overly broad and unduly burdensome. By way of
            6    example only, this Request is overly broad and unduly burdensome to the extent it purports to require
            7    UBH and UHC to produce “all” documents within a broadly-defined category. UBH and UHC
            8    further object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery
            9    requests. UBH and UHC further object to this Request to the extent it seeks information outside of
          10     UBH’s and UHC’s possession, custody, and control, including but not limited to any documents that
          11     may be in the possession of third parties and/or Multiplan, but not UBH or UHC. UBH and UHC
          12     object to this Request on the grounds that it seeks information which is subject to a claim of privilege
          13     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          14     privilege or the attorney work product doctrine. UBH and UHC also object to the extent this Request
          15     seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims and
          16     allegations in this case.
          17             Subject to and without waiving the General Objections, the Objections to Definitions and
          18     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          19     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          20     reasonably provided.
          21     REQUEST NO. 37:
          22             Produce the savings reports showing total savings by month for all United claims related to
          23     the Facility R&C Program, for the period July 1, 2015 to the present, including United’s Internal
          24     Operating Income (“IOI”) related to the Facility R&C Program.
          25     RESPONSE TO REQUEST NO. 37:
          26             UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          28     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH

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            1    and UHC object to this Request on the ground that it seeks information not relevant to the claims or
            2    defenses of any party and not reasonably calculated to lead to the discovery of admissible evidence,
            3    to the extent it seeks information about claims other than out-of-network claims for intensive
            4    outpatient programs for which reimbursement rates were calculated using Viant’s OPR product.
            5    UBH and UHC further object to this Request as overly broad and unduly burdensome. By way of
            6    example only, this Request is overly broad and unduly burdensome to the extent it purports to require
            7    UBH and UHC to produce “all” documents within a broadly-defined category. UBH and UHC
            8    further object to this Request on the grounds that the terms “savings reports” and “United’s Internal
            9    Operating Income (‘IOI’)” is vague and undefined. UBH and UHC further object to the extent this
          10     Request is duplicative of Plaintiffs’ previously-served discovery requests and to the extent it is
          11     duplicative of Request No. 36. UBH and UHC further object to this Request to the extent it seeks
          12     information outside of UBH’s and UHC’s possession, custody, and control, including but not limited
          13     to any documents that may be in the possession of third parties, but not UBH or UHC. UBH and
          14     UHC object to this Request on the grounds that it seeks information which is subject to a claim of
          15     privilege or which is otherwise protected from disclosure by, including without limitation, the
          16     attorney-client privilege or the attorney work product doctrine. UBH and UHC also object to the
          17     extent this Request seeks documents outside the time period properly subject to discovery for
          18     Plaintiffs’ claims and allegations in this case.
          19            Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          21     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          22     reasonably provided.
          23     REQUEST NO. 38:
          24            Produce all records relating to IOI earned by United related to the Facility R&C Program for
          25     the period January 1, 2015 to the present.
          26     RESPONSE TO REQUEST NO. 38:
          27            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          28     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it

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            1    is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
            2    and UHC object to this Request on the ground that it seeks information not relevant to the claims or
            3    defenses of any party and not reasonably calculated to lead to the discovery of admissible evidence,
            4    to the extent it seeks information about claims other than out-of-network claims for intensive
            5    outpatient programs for which reimbursement rates were calculated using Viant’s OPR product.
            6    UBH and UHC further object to this Request as overly broad and unduly burdensome. By way of
            7    example only, this Request is overly broad and unduly burdensome to the extent it purports to require
            8    UBH and UHC to produce “all” documents within a broadly-defined category. UBH and UHC
            9    further object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery
          10     requests and to the extent it is duplicative of Request No. 37. UBH and UHC object to this Request
          11     on the grounds that it seeks information which is subject to a claim of privilege or which is otherwise
          12     protected from disclosure by, including without limitation, the attorney-client privilege or the
          13     attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
          14     documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
          15     in this case.
          16             Subject to and without waiving the General Objections, the Objections to Definitions and
          17     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          18     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          19     reasonably provided.
          20     REQUEST NO. 39:
          21             Produce all records showing all actual fees earned by United as a result of its Facility R&C
          22     Program for the period January 1, 2015 to the present.
          23     RESPONSE TO REQUEST NO. 39:
          24             UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          26     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          27     and UHC object to this Request on the ground that it seeks information not relevant to the claims or
          28     defenses of any party and not reasonably calculated to lead to the discovery of admissible evidence,

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            1    to the extent it seeks information about claims other than out-of-network claims for intensive
            2    outpatient programs for which reimbursement rates were calculated using Viant’s OPR product.
            3    UBH and UHC further object to this Request as overly broad and unduly burdensome. By way of
            4    example only, this Request is overly broad and unduly burdensome to the extent it purports to require
            5    UBH and UHC to produce “all” documents within a broadly-defined category. UBH and UHC
            6    further object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery
            7    requests. UBH and UHC object to this Request on the grounds that it seeks information which is
            8    subject to a claim of privilege or which is otherwise protected from disclosure by, including without
            9    limitation, the attorney-client privilege or the attorney work product doctrine. UBH and UHC also
          10     object to the extent this Request seeks documents outside the time period properly subject to
          11     discovery for Plaintiffs’ claims and allegations in this case.
          12            Subject to and without waiving the General Objections, the Objections to Definitions and
          13     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          14     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          15     reasonably provided.
          16     REQUEST NO. 40:
          17            Produce all internal presentations (whether in PowerPoint, excel or other) created by United
          18     related to or including discussion of the Facility R&C Program for the period January 1, 2015 to the
          19     present.
          20     RESPONSE TO REQUEST NO. 40:
          21            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          23     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          24     and UHC object to this Request on the ground that it seeks information not relevant to the claims or
          25     defenses of any party and not reasonably calculated to lead to the discovery of admissible evidence,
          26     to the extent it seeks information about claims other than out-of-network claims for intensive
          27     outpatient programs for which reimbursement rates were calculated using Viant’s OPR product.
          28     UBH and UHC further object to this Request as overly broad and unduly burdensome. By way of

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            1    example only, this Request is overly broad and unduly burdensome to the extent it purports to require
            2    UBH and UHC to produce “all” documents within a broadly-defined category. UBH and UHC
            3    further object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery
            4    requests. UBH and UHC object to this Request on the grounds that it seeks information which is
            5    subject to a claim of privilege or which is otherwise protected from disclosure by, including without
            6    limitation, the attorney-client privilege or the attorney work product doctrine. UBH and UHC also
            7    object to the extent this Request seeks documents outside the time period properly subject to
            8    discovery for Plaintiffs’ claims and allegations in this case.
            9           Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          11     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          12     reasonably provided.
          13     REQUEST NO. 41:
          14            Produce all internal correspondence by United related to or including discussion of the
          15     Facility R&C Program for the period January 1, 2015 to the present.
          16     RESPONSE TO REQUEST NO. 41:
          17            UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          19     is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          20     and UHC object to this Request on the ground that it seeks information not relevant to the claims or
          21     defenses of any party and not reasonably calculated to lead to the discovery of admissible evidence,
          22     to the extent it seeks information about claims other than out-of-network claims for intensive
          23     outpatient programs for which reimbursement rates were calculated using Viant’s OPR product.
          24     UBH and UHC further object to this Request as overly broad and unduly burdensome. By way of
          25     example only, this Request is overly broad and unduly burdensome to the extent it purports to require
          26     UBH and UHC to produce “all” documents within a broadly-defined category. UBH and UHC
          27     further object to the extent this Request is duplicative of Plaintiffs’ previously-served discovery
          28     requests. UBH and UHC further object to this Request to the extent it seeks information outside of

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            1    UBH’s and UHC’s possession, custody, and control, including but not limited to any documents that
            2    may be in the possession of third parties, but not UBH or UHC. UBH and UHC object to this
            3    Request on the grounds that it seeks information which is subject to a claim of privilege or which is
            4    otherwise protected from disclosure by, including without limitation, the attorney-client privilege or
            5    the attorney work product doctrine. UBH and UHC also object to the extent this Request seeks
            6    documents outside the time period properly subject to discovery for Plaintiffs’ claims and allegations
            7    in this case.
            8            Subject to and without waiving the General Objections, the Objections to Definitions and
            9    Instructions, or the foregoing specific objections, UBH and UHC will meet and confer with Plaintiffs
          10     to discuss what documents Plaintiffs seek through this Request and what documents, if any, can be
          11     reasonably provided.
          12     REQUEST NO. 42:
          13             This request is directed to healthcare claims for which United administered and/or provided
          14     services to Self-funded employee benefit plans (“ERISA” plans). Further, this request applies only to
          15     those plans whose Administrative Services Agreements provided that the plan pay United fees as
          16     compensation for the services that United provided in connection with United’s ‘Facility R&C
          17     Charge Determination Program’, ‘Facility R&C Program’, ‘Facility R&C Bill Management’,
          18     ‘Facility Reasonable & Customary Program’, ‘FR&C’, and/or similar programs and/or package
          19     options.
          20             For the period of January 1, 2015 to present, for those United members and/or beneficiaries
          21     who had a claim submitted by United or any of its affiliates to MultiPlan, for HCPCS Code H0015,
          22     S9480, and/or Revenue Codes 0905/0906, for those claims for which MultiPlan returned a price to
          23     United, for those members and/or beneficiaries contained in the aforementioned set; for the three
          24     months preceding the initial date of service for each of those member’s MultiPlan priced claims, all
          25     claims submitted by or on behalf of those members to United that include any of the following:
          26     Revenue Code 0126, 1002, 0913, 0912; HCPCS H0010, H0012, H0018, H0019, H2036, S0201
          27     (Revenue Code 0126 and HCPCS H0010/H0012 represent Detox treatment. Revenue Code 1002 and
          28

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            1    HCPCS H0018/H0019 represent Residential treatment. Revenue Codes 0912/0913 and HCPCS
            2    H2036/S0201 represent Partial Hospitalization treatment.), produce a spreadsheet report containing:
            3           •   The Claim number
            4
                        •   The Bill Type (HCFA UB, and Bill Type Code, 131, 111 etc.)
            5
                        •   Service Dates (to and from)
            6
                        •   Service zip code
            7
                        •   Provider Name, address, and TIN
            8

            9           •   Total Charge and Line Data submitted by the Provider

          10            •   Line Number

          11            •   Line Charge

          12            •   Revenue Code
          13            •   Units
          14
                        •   HCPCS/CPT Codes
          15
                        •   Any and all Modifiers
          16
                        •   Any line exclude amounts
          17
                        •   Any non-covered amounts
          18

          19            •   Any indicators denoting exclusion in whole or in part

          20            •   Any line notes indicating how the line was handled

          21            •   Any diagnosis codes and procedure codes on the claim (e.g. ICD10 codes).

          22            •   Identify any edits taken to reduce the claim, any CCI edits, Proprietary edits, and/or unit
                            reductions.
          23

          24            •   Identification of the methodology used to price the claim (e.g., Billed Charges, thirdparty
                            network agreement, Viant, Data iSight, Negotiation, % of CMS, or other method or tool).
          25
                        •   The entity that applied the pricing methodology (e.g. United, MultiPlan, Zelis or other)
          26
                        •   The allowed amount for each claim
          27
                        •   Any “Savings Amount” taken by United off of the provider’s billed charges.
          28

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            1           •   Any Shared Savings Fees or other fees charged by United as part of an ASA / ASO or
                            other agreement.
            2

            3           •   The date the date and amounts withdrawn from each ERISA plan’s trust account
                            associated with the above claims.
            4
                        •   Any other factors applied to the final price such as Override, Caps, Benchmark Pricing,
            5               Target Pricing, or Amount Change on Appeal.
            6           •   The Fair Health usual and customary benchmark amount for the same time period at the
                            70th and 80th percentile for each claim responsive to this request.
            7

            8           •   Whether any appeals were made as to those claims.

            9           •   The additional amount, if any, paid following appeals.

          10            •   The final allowed amount.
          11
                 RESPONSE TO REQUEST NO. 42:
          12
                        UBH and UHC hereby incorporate their General Objections and Objections to Definitions and
          13
                 Instructions in their entirety into this response. UBH and UHC object to this Request to the extent it
          14
                 is directed at nonparties and not UBH and UHC based on Plaintiffs’ definition of “United.” UBH
          15
                 and UHC further object to this Request on the ground that it seeks information not relevant to the
          16
                 claims or defenses of any party and not reasonably calculated to lead to the discovery of admissible
          17
                 evidence, and to the extent it seeks information about claims other than out-of-network claims for
          18
                 intensive outpatient programs for which reimbursement rates were calculated using Viant’s OPR
          19
                 product. UBH and UHC further object to this Request as overly broad and unduly burdensome. By
          20
                 way of example only, this Request is overly broad and unduly burdensome to the extent it purports to
          21
                 require to UBH and UHC to “produce” a “spreadsheet report” specifically for this litigation
          22
                 containing a broadly-defined category of claims that includes multiple codes, including HCPCS Code
          23
                 H2046, that have no apparent connection to the IOP services at issue in the case. Assembling a three-
          24
                 month history for many thousands of claims would be incredibly burdensome and require extensive
          25
                 manual effort to match claims member claims to three-month histories that are not in scope for the
          26
                 putative class. Additionally, as the Request acknowledges, Revenue Codes 0126, 1002, 0913, and
          27
                 0912, and HCPCS H0010, H0012, H0018, H0019, and H2036, S0201, relate to other levels of care
          28
                 not involving the IOP services at issue in this case. Further, as framed the Request appears to seek
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            1    detailed information about claims and payments not involving Viant’s OPR product. This Request
            2    also appears to seek numerous specific data fields that are not readily available in the relevant
            3    systems of UBH and UHC, and that do not appear to be relevant to the issues in this case. UBH and
            4    UHC further object that this Request implicates third party privacy concerns by seeking confidential
            5    patient health information (“PHI”) about persons who are not relevant to the case and/or irrelevant
            6    services for persons, who are, at most, absent class members. UBH and UHC further object to the
            7    extent this Request is duplicative of Plaintiffs’ previously-served discovery requests. UBH and UHC
            8    further object to this Request to the extent it seeks information outside of UBH’s and UHC’s
            9    possession, custody, and control, including but not limited to any documents that may be in the
          10     possession of third parties, but not UBH or UHC. UBH and UHC also object to the extent this
          11     Request seeks documents outside the time period properly subject to discovery for Plaintiffs’ claims
          12     and allegations in this case.
          13            Subject to and without waiving the General Objections, the Objections to Definitions and
          14     Instructions, or the foregoing specific objections, UBH and UHC will continue to meet and confer
          15     with Plaintiffs regarding the parameters of a claims data summary for the putative class members’
          16     claims involving IOP services priced using Viant’s OPR data that can be reasonably produced by
          17     UBH and UHC to satisfy this Request.
          18     REQUEST NO. 43:
          19            Please produce any and all documents supporting your contention in Paragraph 1 of your
          20     Answer wherein You stated United “denies any alleged scheme to underpay valid, medically
          21     necessary claims; denies Plaintiffs suffered any legally compensable injury; and denies that
          22     Plaintiffs’ claims can be properly pursued as a class action as alleged in Paragraph 1.”.
          23     RESPONSE TO REQUEST NO. 43:
          24            UHC hereby incorporates its General Objections and Objections to Definitions and
          25     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          26     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          27     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          28     objects to this Request to the extent that it seeks information which is subject to a claim of privilege

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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the contention
            7    listed in this Request.
            8    REQUEST NO. 44:
            9            Please produce any and all documents supporting your contention in Paragraph 95 of your
          10     Answer wherein You stated that United “denies that it transitioned to ASAM following a ruling in the
          11     Wit litigation that previous guidelines were “illegal.””
          12     RESPONSE TO REQUEST NO. 44:
          13             UHC hereby incorporates its General Objections and Objections to Definitions and
          14     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          15     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          16     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          17     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          18     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          19     privilege or the attorney work product doctrine.
          20             Subject to and without waiving the General Objections, the Objections to Definitions and
          21     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          22     produce, if it has not already done so or if such documents have not already been produced by other
          23     parties or third parties, any responsive, non-privileged documents sufficient to support the contention
          24     listed in this Request.
          25     REQUEST NO. 45:
          26             Please produce any and all documents supporting your contention in Paragraph 491 of your
          27     Answer wherein You stated “UBH denies that Plaintiffs or any putative class is entitled to any of the
          28     relief requested.”

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            1    RESPONSE TO REQUEST NO. 45:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the contention
          13     listed in this Request.
          14     REQUEST NO. 46:
          15             Please produce any and all documents supporting your contention in Paragraph 491 of your
          16     Answer wherein You stated “UBH denies that Plaintiffs or any putative class is entitled to any of the
          17     relief requested.”
          18     RESPONSE TO REQUEST NO. 46:
          19             UHC hereby incorporates its General Objections and Objections to Definitions and
          20     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          21     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          22     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          23     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          24     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          25     privilege or the attorney work product doctrine.
          26             Subject to and without waiving the General Objections, the Objections to Definitions and
          27     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          28     produce, if it has not already done so or if such documents have not already been produced by other

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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the contention
            2    listed in this Request.
            3    REQUEST NO. 47:
            4            Please produce any and all documents supporting your contention in Paragraph 492 of your
            5    Answer wherein You stated “UBH denies that Plaintiffs are entitled to any of the relief requested.”
            6    RESPONSE TO REQUEST NO. 47:
            7            UHC hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UHC further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the contention
          18     listed in this Request.
          19     REQUEST NO. 48:
          20             Please produce any and all documents supporting your First Affirmative Defense (Statutory
          21     Compliance).
          22     RESPONSE TO REQUEST NO. 48:
          23             UHC hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 49:
            9            Please produce any and all documents supporting your Second Affirmative Defense (Full
          10     Contractual Performance).
          11     RESPONSE TO REQUEST NO. 49:
          12             UHC hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 50:
          25             Please produce any and all documents supporting your Third Affirmative Defense (Lack of
          26     Article III Standing).
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            1    RESPONSE TO REQUEST NO. 50:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 51:
          15             Please produce any and all documents supporting your Fourth Affirmative Defense (Redress).
          16     RESPONSE TO REQUEST NO. 51:
          17             UHC hereby incorporates its General Objections and Objections to Definitions and
          18     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          19     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          20     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          21     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          22     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          23     privilege or the attorney work product doctrine.
          24             Subject to and without waiving the General Objections, the Objections to Definitions and
          25     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          26     produce, if it has not already done so or if such documents have not already been produced by other
          27     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          28     listed in this Request.

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            1    REQUEST NO. 52:
            2            Please produce any and all documents supporting your Fifth Affirmative Defense (Improper
            3    Defendant).
            4    RESPONSE TO REQUEST NO. 52:
            5            UHC hereby incorporates its General Objections and Objections to Definitions and
            6    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            7    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            8    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            9    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          10     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          11     privilege or the attorney work product doctrine.
          12             Subject to and without waiving the General Objections, the Objections to Definitions and
          13     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          14     produce, if it has not already done so or if such documents have not already been produced by other
          15     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          16     listed in this Request.
          17     REQUEST NO. 53:
          18             Please produce any and all documents supporting your Sixth Affirmative Defense (UBH as
          19     Distinct Entity).
          20     RESPONSE TO REQUEST NO. 53:
          21             UHC hereby incorporates its General Objections and Objections to Definitions and
          22     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          23     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          24     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          25     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          26     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          27     privilege or the attorney work product doctrine.
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            1            Subject to and without waiving the General Objections, the Objections to Definitions and
            2    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            3    produce, if it has not already done so or if such documents have not already been produced by other
            4    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            5    listed in this Request.
            6    REQUEST NO. 54:
            7            Please produce any and all documents supporting your Seventh Affirmative Defense
            8    (Exclusive Remedies - ERISA).
            9    RESPONSE TO REQUEST NO. 54:
          10             UHC hereby incorporates its General Objections and Objections to Definitions and
          11     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          12     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          13     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          14     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          15     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          16     privilege or the attorney work product doctrine.
          17             Subject to and without waiving the General Objections, the Objections to Definitions and
          18     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          19     produce, if it has not already done so or if such documents have not already been produced by other
          20     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          21     listed in this Request.
          22     REQUEST NO. 55:
          23             Please produce any and all documents supporting your Eighth Affirmative Defense (No
          24     Fiduciary Duty).
          25     RESPONSE TO REQUEST NO. 55:
          26             UHC hereby incorporates its General Objections and Objections to Definitions and
          27     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          28     that it is premature at this early phase in the case. UHC further objects to this Request as overly

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            1    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            2    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            3    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            4    privilege or the attorney work product doctrine.
            5            Subject to and without waiving the General Objections, the Objections to Definitions and
            6    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            7    produce, if it has not already done so or if such documents have not already been produced by other
            8    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            9    listed in this Request.
          10     REQUEST NO. 56:
          11             Please produce any and all documents supporting your Ninth Affirmative Defense
          12     (Comparative Fault of Third Parties/No Vicarious Liability).
          13     RESPONSE TO REQUEST NO. 56:
          14             UHC hereby incorporates its General Objections and Objections to Definitions and
          15     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          16     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          17     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          18     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          19     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          20     privilege or the attorney work product doctrine.
          21             Subject to and without waiving the General Objections, the Objections to Definitions and
          22     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          23     produce, if it has not already done so or if such documents have not already been produced by other
          24     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          25     listed in this Request.
          26     REQUEST NO. 57:
          27             Please produce any and all documents supporting your Tenth Affirmative Defense (Lack of
          28     Causation).

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            1    RESPONSE TO REQUEST NO. 57:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 58:
          15             Please produce any and all documents supporting your Eleventh Affirmative Defense
          16     (Fraud/Improper Conduct by Third Parties).
          17     RESPONSE TO REQUEST NO. 58:
          18             UHC hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 59:
            4            Please produce any and all documents supporting your Twelfth Affirmative Defense
            5    (Assignment).
            6    RESPONSE TO REQUEST NO. 59:
            7            UHC hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UHC further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 60:
          20             Please produce any and all documents supporting your Thirteenth Affirmative Defense
          21     (Breach of Contract/Failure to Perform).
          22     RESPONSE TO REQUEST NO. 60:
          23             UHC hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3             Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 61:
            9             Please produce any and all documents supporting your Fourteenth Affirmative Defense (No
          10     Exhaustion).
          11     RESPONSE TO REQUEST NO. 61:
          12              UHC hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19              Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 62:
          25              Please produce any and all documents supporting your Fifteenth Affirmative Defense (Set-
          26     Off).
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            1    RESPONSE TO REQUEST NO. 62:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 63:
          15             Please produce any and all documents supporting your Sixteenth Affirmative Defense (Claims
          16     Barred by the Statute of Limitations).
          17     RESPONSE TO REQUEST NO. 63:
          18             UHC hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
          28

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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 64:
            4            Please produce any and all documents supporting your Seventeenth Affirmative Defense
            5    (Claims Barred by Contractual Limitations).
            6    RESPONSE TO REQUEST NO. 64:
            7            UHC hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UHC further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 65:
          20             Please produce any and all documents supporting your Eighteenth Affirmative Defense
          21     (Equitable Doctrines).
          22     RESPONSE TO REQUEST NO. 65:
          23             UHC hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          28

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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 66:
            9            Please produce any and all documents supporting your Nineteenth Affirmative Defense (No
          10     Reliance).
          11     RESPONSE TO REQUEST NO. 66:
          12             UHC hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 67:
          25             Please produce any and all documents supporting your Twentieth Affirmative Defense
          26     (Presumed Knowledge).
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Crutcher LLP
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            1    RESPONSE TO REQUEST NO. 67:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 68:
          15             Please produce any and all documents supporting your Twenty-First Affirmative Defense (No
          16     Scienter).
          17     RESPONSE TO REQUEST NO. 68:
          18             UHC hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 69:
            4            Please produce any and all documents supporting your Twenty-Second Affirmative Defense
            5    (No Duty to Disclose).
            6    RESPONSE TO REQUEST NO. 69:
            7            UHC hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UHC further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 70:
          20             Please produce any and all documents supporting your Twenty-Third Affirmative Defense
          21     (No Primary Jurisdiction).
          22     RESPONSE TO REQUEST NO. 70:
          23             UHC hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 71:
            9            Please produce any and all documents supporting your Twenty-Fourth Affirmative Defense
          10     (No Exclusive Jurisdiction).
          11     RESPONSE TO REQUEST NO. 71:
          12             UHC hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 72:
          25             Please produce any and all documents supporting your Twenty-Fifth Affirmative Defense
          26     (Filed Rate Doctrine).
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            1    RESPONSE TO REQUEST NO. 72:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 73:
          15             Please produce any and all documents supporting your Twenty-Sixth Affirmative Defense
          16     (Reverse Preemption McCarran-Ferguson Act).
          17     RESPONSE TO REQUEST NO. 73:
          18             UHC hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
          28

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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 74:
            4            Please produce any and all documents supporting your Twenty-Seventh Affirmative Defense
            5    (Release).
            6    RESPONSE TO REQUEST NO. 74:
            7            UHC hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UHC further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 75:
          20             Please produce any and all documents supporting your Twenty-Eighth Affirmative Defense
          21     (Constitutional Defenses).
          22     RESPONSE TO REQUEST NO. 75:
          23             UHC hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          28

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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 76:
            9            Please produce any and all documents supporting your Twenty-Ninth Affirmative Defense
          10     (Failure to Mitigate).
          11     RESPONSE TO REQUEST NO. 76:
          12             UHC hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 77:
          25             Please produce any and all documents supporting your Thirtieth Affirmative Defense
          26     (Speculative Damages).
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            1    RESPONSE TO REQUEST NO. 77:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 78:
          15             Please produce any and all documents supporting your Thirty-First Affirmative Defense
          16     (Adequate Remedy at Law).
          17     RESPONSE TO REQUEST NO. 78:
          18             UHC hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
          28

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Crutcher LLP
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 79:
            4            Please produce any and all documents supporting your Thirty-Second Affirmative Defense
            5    (No Imminent Harm).
            6    RESPONSE TO REQUEST NO. 79:
            7            UHC hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UHC further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 80:
          20             Please produce any and all documents supporting your Thirty-Third Affirmative Defense (No
          21     Attorneys’ Fees).
          22     RESPONSE TO REQUEST NO. 80:
          23             UHC hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          28

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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 81:
            9            Please produce any and all documents supporting your Thirty-Fourth Affirmative Defense
          10     (Failure to Meet Particularity).
          11     RESPONSE TO REQUEST NO. 81:
          12             UHC hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 82:
          25             Please produce any and all documents supporting your Thirty-Fifth Affirmative Defense
          26     (Lack of Predicate Act).
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            1    RESPONSE TO REQUEST NO. 82:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 83:
          15             Please produce any and all documents supporting your Thirty-Sixth Affirmative Defense (No
          16     RICO Conspiracy).
          17     RESPONSE TO REQUEST NO. 83:
          18             UHC hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 84:
            4            Please produce any and all documents supporting your Thirty-Seventh Affirmative Defense
            5    (No RICO Enterprise).
            6    RESPONSE TO REQUEST NO. 84:
            7            UHC hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UHC further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14             Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 85:
          20             Please produce any and all documents supporting your Thirty-Eighth Affirmative Defense
          21     (No RICO Statutory Standing).
          22     RESPONSE TO REQUEST NO. 85:
          23             UHC hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 86:
            9            Please produce any and all documents supporting your Thirty-Ninth Affirmative Defense
          10     (Improperly Joined Plaintiffs).
          11     RESPONSE TO REQUEST NO. 86:
          12             UHC hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 87:
          25             Please produce any and all documents supporting your Fortieth Affirmative Defense (Class
          26     Requirements Not Met).
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            1    RESPONSE TO REQUEST NO. 87:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 88:
          15             Please produce any and all documents supporting your Forty-First Affirmative Defense
          16     (Improper Expansion of Rule 23).
          17     RESPONSE TO REQUEST NO. 88:
          18             UHC hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3    REQUEST NO. 89:
            4              Please produce any and all documents supporting your Forty-Second Affirmative Defense
            5    (Fourteenth Amendment).
            6    RESPONSE TO REQUEST NO. 89:
            7              UHC hereby incorporates its General Objections and Objections to Definitions and
            8    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            9    that it is premature at this early phase in the case. UHC further objects to this Request as overly
          10     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          11     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          12     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          13     privilege or the attorney work product doctrine.
          14               Subject to and without waiving the General Objections, the Objections to Definitions and
          15     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          16     produce, if it has not already done so or if such documents have not already been produced by other
          17     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          18     listed in this Request.
          19     REQUEST NO. 90:
          20               Please produce any and all documents supporting your Forty-Third Affirmative Defense (Jury
          21     Trial).
          22     RESPONSE TO REQUEST NO. 90:
          23               UHC hereby incorporates its General Objections and Objections to Definitions and
          24     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          25     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          26     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          27     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
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            1    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            2    privilege or the attorney work product doctrine.
            3            Subject to and without waiving the General Objections, the Objections to Definitions and
            4    Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
            5    produce, if it has not already done so or if such documents have not already been produced by other
            6    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            7    listed in this Request.
            8    REQUEST NO. 91:
            9            Please produce any and all documents supporting your Forty-Fourth Affirmative Defense
          10     (Conflict of Interest).
          11     RESPONSE TO REQUEST NO. 91:
          12             UHC hereby incorporates its General Objections and Objections to Definitions and
          13     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          14     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          15     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          16     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          17     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          18     privilege or the attorney work product doctrine.
          19             Subject to and without waiving the General Objections, the Objections to Definitions and
          20     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          21     produce, if it has not already done so or if such documents have not already been produced by other
          22     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          23     listed in this Request.
          24     REQUEST NO. 92:
          25             Please produce any and all documents supporting your Forty-Fifth Affirmative Defense (Res
          26     Judicata and Collateral Estoppel).
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            1    RESPONSE TO REQUEST NO. 92:
            2            UHC hereby incorporates its General Objections and Objections to Definitions and
            3    Instructions in their entirety into this response. UHC further objects to this Request on the ground
            4    that it is premature at this early phase in the case. UHC further objects to this Request as overly
            5    broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
            6    objects to this Request to the extent that it seeks information which is subject to a claim of privilege
            7    or which is otherwise protected from disclosure by, including without limitation, the attorney-client
            8    privilege or the attorney work product doctrine.
            9            Subject to and without waiving the General Objections, the Objections to Definitions and
          10     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          11     produce, if it has not already done so or if such documents have not already been produced by other
          12     parties or third parties, any responsive, non-privileged documents sufficient to support the defense
          13     listed in this Request.
          14     REQUEST NO. 93:
          15             Please produce any and all documents supporting your Forty-Sixth Affirmative Defense
          16     (Additional Defenses).
          17     RESPONSE TO REQUEST NO. 93:
          18             UHC hereby incorporates its General Objections and Objections to Definitions and
          19     Instructions in their entirety into this response. UHC further objects to this Request on the ground
          20     that it is premature at this early phase in the case. UHC further objects to this Request as overly
          21     broad and unduly burdensome on the ground that it seeks “any and all documents.” UHC further
          22     objects to this Request to the extent that it seeks information which is subject to a claim of privilege
          23     or which is otherwise protected from disclosure by, including without limitation, the attorney-client
          24     privilege or the attorney work product doctrine.
          25             Subject to and without waiving the General Objections, the Objections to Definitions and
          26     Instructions, or the foregoing specific objections, UHC responds as follows: UHC will search for and
          27     produce, if it has not already done so or if such documents have not already been produced by other
          28

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            1    parties or third parties, any responsive, non-privileged documents sufficient to support the defense
            2    listed in this Request.
            3

            4    Dated: October 20, 2021
            5                                                    GIBSON, DUNN & CRUTCHER LLP
            6

            7                                                    By: /s/ Geoffrey M. Sigler
                                                                         Geoffrey Sigler (admitted pro hac vice)
            8

            9                                                    Attorneys for Defendant
                                                                 UNITED BEHAVIORAL HEALTH and UNITED
          10                                                     HEALTHCARE INSURANCE COMPANY
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                 UBH_LD - DEFENDANT'S RESPONSES AND OBJECTIONS TO PLAINTIFF'S THIRD SET OF RFPS.DOCX
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            1                                      CERTIFICATE OF SERVICE
            2           I, hereby certify that on this 20th day of October 2021, pursuant to an agreement of the parties
                 dated April 23, 2021, a copy of the foregoing was served via email to the following:
            3

            4           Matthew M. Lavin, Esq. (pro hac vice)
                        Aaron Richard Modiano (pro hac vice)
            5           ARNALL GOLDEN GREGORY LLP
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                        david@dllawgroup.com
          12            katie@dllawgroup.com
          13                                                  /s/ Geoffrey M. Sigler
                                                                              Geoffrey M. Sigler
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